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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NORTH DAKOTA


            In re:                                      Case No. 17-30112

            Vanity Shop of Grand Forks, Inc.,           Chapter 11

                               Debtor.



                                                 SCHEDULES




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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NORTH DAKOTA


In re:                                                   Case No. 17-30112

Vanity Shop of Grand Forks, Inc.,1                       Chapter 11

                        Debtor.

               GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                METHODOLOGY, AND DISCLAIMER REGARDING
          DEBTOR’S SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

        Vanity Shop of Grand Forks, Inc., as Debtor-in-Possession in the above-captioned
Chapter 11 case (the “Debtor”), has filed its Schedules of Assets and Liabilities and Statement
of Financial Affairs (the “Schedules” and “SOFA,” with the United States Bankruptcy Court for
the District of North Dakota (the “Bankruptcy Court”). The Schedules and SOFA were
prepared by the Debtor’s management, with the assistance of the Debtor’s personnel, pursuant to
11 U.S.C. § 5212 and Federal Rule of Bankruptcy Procedure 1007 and are unaudited. While the
Debtor’s management has made every effort to ensure that the Schedules and SOFA are accurate
and complete based on information that was available at the time of preparation, inadvertent
errors or omissions may have occurred. The Schedules and SOFA remain subject to further
review and verification by the Debtor. Subsequent information may result in material changes in
financial and other data contained in the Schedules and SOFA. The These Global Notes and
Statement of Limitations, Methodology and Disclaimer Regarding Debtor’s Schedules and
SOFA (the “Global Notes”) are incorporated by reference in, and comprise an integral part of
each of the Schedules and SOFA and should be referred to and reviewed in connection with any
review of the Schedules and SOFA.

       The Global Notes are in addition to any specific notes contained in the Debtor’s
Statements and SOFA. The fact that the Debtor has prepared Global Notes or specific notes with
respect to any information in the Schedules and SOFA and not to other information in the
Schedules and SOFA should not be interpreted as a decision by the Debtor to exclude the
applicability of such Global Notes or specific notes as to the rest of the Debtor’s Schedules and
SOFA, as appropriate.

        Disclosure of information in one or more Schedules, the SOFA, or one or more exhibits
or attachments to the Schedules or SOFA, even if incorrectly placed, shall be deemed to be
disclosed in the correct Schedule, SOFA, exhibits, or attachments.


1
        The Debtor in this case has a federal tax identification number with the last four digits 3548 and is a North
Dakota corporation.
2
          Unless otherwise stated herein, section references are to 11 U.S.C. § 101, et seq. (the “Bankruptcy
Code”).


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        In the event that the Schedules and SOFA differ from the Global Notes, the Global Notes
shall control.

               1.      Case. On March 1, 2017 (the “Petition Date”), the Debtor filed a
voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the Bankruptcy Court.
Unless otherwise indicated, the information provided in the Schedules and SOFA are dated as of
the close of business on February 28, 2017.

                2.     Amendments. The Debtor reserves the right to amend the Schedules and
SOFA in all respects at any time as may be necessary or appropriate, including without
limitation, (a) to assert offsets or defenses to any claim, (b) to amend the amount, liability or
classification of any claim or (c) to otherwise designate any claim as contingent, unliquidated or
disputed.

               3.        Estimates and Assumptions. The preparation of the Schedules and SOFA
required the Debtor to make estimates and assumptions with respect to the reported amounts of
assets and liabilities, the value of contingent assets and liabilities and the reported amounts of
revenues and expenses during the applicable reporting periods. Actual results could differ from
those estimates.

               4.     Prepetition v. Postpetition. The Debtor has allocated liabilities between
the prepetition and postpetition periods based upon information obtained from research
conducted in connection with the preparation of the Schedules and SOFA. As additional
information becomes available and further research is conducted, the allocation of liabilities
between the prepetition and postpetition periods may change. All assets are reported in the
Debtor’s Schedules and SOFA as of close of business on February 28, 2017, unless otherwise
noted.

                  5.     Basis of Presentation. The Schedules and SOFA neither purport to
represent financial statements prepared in accordance with Generally Accepted Accounting
Principles in the United States (“GAAP”), nor are they intended to fully reconcile to the
Debtor’s financial statements. Additionally, the Schedules and SOFA contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtor’s
reasonable best efforts to report the assets and liabilities of the Debtor. Moreover, given the
uncertainty surrounding the collection of certain assets and the valuation and nature of certain
liabilities, to the extent the Debtor shows more assets than liabilities, this is not an admission that
the Debtor was solvent as of the Petition date (as defined herein) or at any time before the
Petition Date. Likewise, to the extent the Debtor shows more liabilities than assets, this is not an
admission that the Debtor was insolvent at the Petition Date or any time before the Petition Date.

               6.      Causes of Action. The Debtor reserves all of its causes of action.
Furthermore, nothing contained in the Schedules and SOFA shall constitute a waiver of any
claim or cause of action that may be asserted, including, but not limited to, equitable
subordination, causes of action arising under Chapter 5 of the Bankruptcy Code and any other
causes of action arising in this Chapter 11 case or under applicable non-bankruptcy law.




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                7.       Insiders. Where the Schedules or SOFA require information concerning
officers, directors or insiders, included therein are the Debtor’s (a) directors (or persons in
similar positions) and (b) employees that are, or were during the relevant period, officers (or
persons in control). Employees may have been included in this disclosure for informational
purposes only and are not necessarily “insiders” as defined in Section 101(31) or as otherwise
defined by applicable law, including, without limitation, any state or federal securities law. The
listing of a party as an insider is not intended to be nor should it be construed as a legal
characterization of such party as an insider, nor should it be construed as an admission that such
party is an insider, all such rights, claims and defenses being expressly reserved.

               8.    Debtor’s Address. As of the Petition Date, the mailing address for the
Debtor and its employees was P. O. Box 547, Fargo, ND 58107-0547.

               9.     Categories or Labels Used in Schedules and SOFA. Information requested
by the Schedules and SOFA requires the Debtor to make judgments regarding the appropriate
category in which information should be presented or how certain parties, claims or other data
should be labeled. The Debtor’s decisions regarding which category or label to use is based on
the best information available to the Debtor as of the filing of these Schedules and SOFA and
within the time constraints imposed. The Debtor reserves the right to modify, change or delete
any information in the Schedules and SOFA by amendment, including to the extent some
information currently presented should be moved to a different category or labeled in a different
way.

                10.     Intellectual Property Rights. Inclusion of certain intellectual property
shall not be construed as an admission that such intellectual property rights have not been
abandoned, have not been terminated or otherwise expired by their terms, or have not been
assigned or otherwise transferred pursuant to a sale, acquisition or other transaction.
Accordingly, the Debtor reserves all of its rights with respect to the legal status of such
intellectual property rights.

               11.      Summary of Significant Reporting Policies and Practices. The Schedules
and SOFA have been signed by James Bennett, Chairman of the Board of Vanity Shop of Grand
Forks, Inc. In reviewing and signing the Schedules and SOFA, Mr. Bennett has necessarily
relied upon the efforts, statements and representations of the Debtor’s accounting and non-
accounting personnel. Mr. Bennett has not (and could not have) personally verified the accuracy
of each such statement and representation contained in the Schedules and SOFA. The Debtor
made its best effort to accurately report asset, liability, disbursement and other information on its
Schedules and SOFA. The following qualifications and limitations apply to the Debtor’s
Schedules and SOFA:

                      a.       Fair Market Value; Book Value. For the preparation of the
Schedules and SOFA, it would be prohibitively expensive and unduly burdensome and time
consuming to obtain current market valuations of all of the Debtor’s property interests.
Accordingly, unless otherwise noted, the Schedules and SOFA reflect the net book value of the
Debtor’s assets and liabilities in accordance with the Debtor’s accounting books and records as
of the Petition Date. As applicable, assets that have been fully depreciated or were expensed for
accounting purposes have no net book value. Unless otherwise noted, the Schedules reflect the


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net book value of the Debtor’s assets as listed in the Debtor’s books and records, and are not
based upon any estimate of their current market value, which may or may not correspond to book
value. For this reason, amounts ultimately realized may vary from net book value and such
variances may be material. As listed above and unless otherwise indicated, all asset value are
listed as of close of business on February 28, 2017. In addition, certain immaterial assets that are
not reported or tracked centrally may have been excluded.

                      b.       Leased Real and Personal Property. In the ordinary course of its
business, the Debtor leases real and personal property, including office equipment, from certain
third-party lessors. Nothing in the Schedules or SOFA is or shall be construed as an admission
or determination as to legal status of any lease (e.g., as a true lease or financing arrangement),
and the Debtor reserves all rights with respect to such issues.

                       c.       Claims. The Schedules and SOFA generally identify parties
holding claims existing as of the Petition Date. The Bankruptcy Court, however, has authorized
the Debtor to continue certain prepetition practices and make payments in respect of certain
prepetition claims, pursuant to First Day Orders or other orders that may be entered by the
Bankruptcy Court. Accordingly, certain of the claims identified in the Schedules and SOFA may
already have been paid or may be paid in the future. The inclusion of such amounts on the
Schedules and SOFA shall not be deemed to create any additional obligation for the Debtor. The
Debtor also has excluded rejection damage Claims of counterparties to executory contracts and
unexpired leases that may be rejected, to the extent such damage Claims exist. In addition,
certain immaterial liabilities that are not reported or tracked centrally may have been excluded.

                       d.      Disputed, Contingent and Unliquidated Claims. The Debtor may
designate certain claims on Schedules D, E and F as disputed, contingent and/or unliquidated, as
applicable. Any failure to designate a claim on the Schedules and SOFA as disputed, contingent
and/or unliquidated does not constitute an admission that such claim is not disputed, contingent
and/or unliquidated, as applicable. The Debtor reserves the right to dispute, or assert offsets or
defenses to, any claim reflected on the Schedules and SOFA as to amount, liability or status.

                 SUMMARY OF GLOBAL NOTE CONVENTIONS FOR THE
                     SCHEDULES OF ASSETS AND LIABILITIES
                12.    The following conventions were adopted by the Debtor in preparation of
the Schedules. For a listing of Debtor’s stores, which are referenced in the Schedules, please see
the Store Listings and Landlords attachment.

                       a.     Schedules Summary. Except as otherwise noted, the asset and the
liability information provided herein represents the Debtor’s data as of the close of business on
February 28, 2017.

                       b.      Schedule A/B 2 and A/B 3. Cash balances and checking account
balances are listed as of the close of business on February 28, 2017. Details with respect to the
Debtor’s cash management system and bank accounts are provided in the Debtor’s Motion for
Entry of Order: (1) Authorizing Continued Use of Cash Management System; (II) Authorizing
Use of Prepetition Bank Accounts, Account Control Agreements, and Certain Payment Methods;


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and (III) Waiving the Requirements of 11 U.S.C. § 345(B) On an Interim Basis, [Doc. No. 16]
(the “Cash Management Motion”).

                     c.      Schedule A/B 21. Inventory is shown as of February 28, 2017.
Inventory is not shown net of accounting inventory reserves (i.e., inventory shrink and write-off
reserves).

                     d.     Schedule A/B 25. The value of the property listed in Part 5, #25,
was “received” within 20 days before the bankruptcy was filed.

                       e.      Schedule A/B 55. The Debtor does not own any real property.
All of the Debtor’s locations and headquarters prior to the Petition Date were leased.

                       f.    Schedule A/B 59-69. Intangibles and Intellectual Property listed
in Schedules A/B 59-69 are listed as an unknown amount. The Debtor has not conducted
appraisals to ascertain the fair market value of any trademarks, domain names or other
intellectual property. The fair market value of such ownership is dependent on numerous
variables and factors and may differ significantly from their net book value.

                       g.      Schedule A/B 63. During the ordinary course of business and
through its various customer programs, the Debtor has developed various customer lists. Such
customer lists are valuable for sales, marketing and product development purposes. However, the
Debtor is unable to estimate the value of such customer lists at this time.

                    h.    Schedule A/B 64. The e-commerce platform utilized by the
Debtor was developed by employees of Vanity, Inc. Debtor is still researching the ownership of
this asset.

                       i.       Schedule A/B 72. The Debtor may be entitled to tax refunds and
credits, the amount of which cannot be determined at this time as they are currently unknown.
The value of such tax refunds and credits may be significant but due to the uncertainty of such
tax refund and credit amounts the Debtor is unable to estimate or confirm the size of these tax
refund and credit assets at this time.

                        j.    Schedule A/B 73. The Debtor maintains a variety of insurance
policies including property, general liability and workers’ compensation policies and other
employee-related policies. The Debtor’s interest in these types of policies is limited to the
amount of the premiums that the Debtor has prepaid, if any, as of the Petition Date. To the
extent the Debtor has made a determination of the amount of prepaid insurance premiums as of
the Petition Date, such amounts are listed on Schedule A/B 8. All policies may not remain in
place through their expiration, and thus there may be potential refunds of premiums paid. More
information regarding the Debtor’s insurance policies is also available on Schedule G. In
addition, the Debtor reserves all rights to seek refunds of any overpayments of premiums paid on
its insurance policies.

                       k.      Schedule A/B 74 and A/B 75. In the ordinary course of business,
the Debtor may have accrued, or subsequently accrue, certain rights to counter-claims, setoffs,
credits, refunds, or potential warranty claims against their suppliers. Additionally, the Debtor


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may be a party to pending litigation in which the Debtor has asserted, or may assert claims as a
plaintiff or counter-claims as a defendant. Because such claims are unknown to the Debtor and
not quantifiable as of the Petition Date, they may not be listed in the Schedules. The Debtor’s
failure to list any causes of action, claims, or rights of any nature is not an admission that such
causes of action, claims, or right do not exist, and should not be construed as a waiver of such
causes of action, claims, or rights. The ultimate value of such claims cannot be determined at this
time. For a listing of those lawsuits for which the Debtor is a party, please reference SOFA #7.
The Debtor may also have various claims against third parties which have not been pursued by
the Debtor to date. The value of such claims is undetermined at this time. The Debtor reserves
all rights to pursue such claims.

                        l.     Schedule D. Except as otherwise agreed pursuant to a stipulation
or order entered by the Bankruptcy Court, the Debtor reserves its right to dispute or challenge the
validity, perfection or immunity from avoidance of any lien purported to be granted or perfected
in any specific asset to a secured creditor listed on Schedule D. Moreover, except as otherwise
agreed pursuant to a stipulation or order entered by the Bankruptcy Court, the Debtor reserves all
rights to dispute or challenge the secured nature of any such creditor’s claim or the
characterization of the structure of any such transaction or any document or instrument
(including, without limitation, any intercompany agreement) related to such creditor’s claim.
The descriptions provided in Schedule D are intended only to be a summary, and reference
should be made to the applicable loan agreements and related documents for a complete
description of any collateral and corresponding liens or security interests. Nothing in the Global
Notes or the Schedules and SOFA shall be deemed a modification or interpretation of the terms
of such agreements. The Debtor has not included on Schedule D any creditor who may assert an
interest in property of the estate by way of setoff rights, deposits posted by or on behalf of the
Debtor or inchoate statutory lien rights. Any such creditors may, however, be listed on
Schedule F.

                      m.      Schedule E/F.

                             (1)     The Bankruptcy Court has authorized the Debtor, at its
discretion, to pay certain liabilities that may be entitled to priority under the applicable
provisions of the Bankruptcy Code. For example, on March 6 and 23, 2017, the Bankruptcy
Court entered Interim and Final Orders: (I) Authorizing Payment of Certain Prepetition Taxes
and Fees and (II) Authorizing Financial Institutions to Honor All Related Checks and Electronic
Payment Requests [Doc. Nos. 89 and 177], and on March 6 and 23, 2017, the Bankruptcy Court
entered its Interim and Final Orders (I) Authorizing the Debtor to Pay and Honor Certain
Prepetition Wages, Benefits, and Other Compensation Obligations, (II) Honor Management
Services Agreement and Pay Prepetition Obligations Related Thereto, and (III) Authorizing
Banks to Honor and Process Checks and Transfers Relating to Such Obligations [Doc. Nos. 97
and 174] (the “Wages Motion”) To the extent that applicable Claims have been paid under one
or more of the foregoing orders, such Claims may not be included in Schedule E/F.

                             (2)    The “Employees” listed on the attachment to “Schedule E –
Employees” is inclusive of direct employees of Vanity Shop of Grand Forks, Inc. (retail) and
those corporate employees retained pursuant to the Management Services Agreement (set out in
the Wages Motion) for purposes of Notice.


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                               (3)    The Debtor’s analysis of potential priority claims is
ongoing and may take significant time to complete. Accordingly, amounts on Schedule E/F have
been classified as non-priority pending conclusion of that analysis.

                              (4)      As part of the “First Day” Orders the Debtor was also
authorized to honor certain gift card programs up until the later of April 15, 2017, or termination
of the store closing sales. As of the Petition Date the Debtor’s estimate of such aggregate
outstanding obligations for gift cards was $975,000. Subsequent to date when all stores are
closed, the remaining outstanding obligations for gift cards may become a priority unsecured
claim as a customer deposit. Given the nature of the gift card program the Debtor is unable to
identify each individual claim that will arise for such gift card holders. However, Debtor
estimates that the aggregate of such liability may be approximately $575,000.

                               (5) The Debtor has used reasonable efforts to report all general
unsecured claims against the Debtor on Schedule E/F, based upon the Debtor’s books and
records as of the Petition Date.

                             (6)      The claims of individual creditors for, among other things,
merchandise, goods, services or taxes have been recorded on the Schedules at the amounts listed
in the Debtor’s books and records and may not reflect credits or allowances due from such
creditors. The Debtor reserves all of its rights respecting such credits and allowances.

                              (7)    The descriptions provided in Schedule F are intended only
to be a summary. Nothing in the Global Notes or the Schedules and SOFA shall be deemed a
modification or interpretation of the terms of any agreements entered into by and between the
Debtor and its creditors.

                              (8)    Schedule F does not include certain deferred charges or
deferred liabilities. Such amounts are, however, reflected on the Debtor’s books and records as
required in accordance with generally accepted accounting principles.

                              (9)    The claims listed in Schedule E/F arose or were incurred on
various dates. A determination of each date upon which each claim in Schedule E/F was
incurred or arose would be unduly burdensome and cost prohibitive and as a result this
information has not been included in Schedule E/F.

                                (10) Schedule E/F contains potential claims on account of
pending litigation involving the Debtor. Each potential claim associated with any such pending
litigation is marked as contingent, unliquidated, and disputed in the Schedules and SOFA.
Schedule E/F also includes potential or threatened litigation claims. Any information contained
in Schedule E/F with respect to such potential litigation shall not be a binding representation of
the Debtor’s liabilities with respect to any of the potential suits and proceedings included therein.
The Debtor expressly incorporates by reference into Schedule E/F all parties to pending litigation
listed in SOFA 7 as contingent, unliquidated, and disputed claims, to the extent not already listed
on Schedule E/F.




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                              (11)     Schedule E/F reflects the prepetition amounts owing to
counterparties to executory contracts and unexpired leases. Additionally, Schedule E/F does not
include potential rejection damage Claims, of the counterparties to executory contracts and
unexpired leases that may be rejected.

                       n.      Schedule G.

                              (1)     While reasonable efforts have been made to ensure the
accuracy of Schedule G, inadvertent errors, omissions or over-inclusions may have occurred.
The Debtor hereby reserves all of it rights to dispute the validity, status, or enforceability of any
contracts, agreements or leases set forth in Schedule G and to amend or supplement Schedule G
as necessary. The contracts, agreements and leases listed on Schedule G may have expired or
may have been modified, amended or supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters and other documents, instruments and
agreements that may not be listed therein.

                               (2)    Certain of the real property leases listed on Schedule G
may contain renewal options, guarantees of payment, options to purchase, rights of first refusal,
rights to lease additional space and other miscellaneous rights. Such rights, powers, duties and
obligations are not set forth on Schedule G. Certain of the executory agreements may not have
been memorialized and could be subject to dispute. Additionally, the Debtor may be parties to
various other agreements concerning real property, such as easements, rights of way,
subordination, nondisturbance and attornment agreements, supplemental agreements,
amendments/letter agreements, title documents, consents, site plans, maps and other
miscellaneous agreements. Such documents are not set forth in Schedule G.

                              (3)    Debtor maintains a general liability insurance policy and
various other insurance policies. A listing of all such insurance policies is set forth on Schedule
G.

                                (4)    Listing a contract or lease on Schedule G does not
constitute an admission that such contract or lease is an executory contract or unexpired lease or
that such contract or lease was in effect on the Petition Date or is valid or enforceable. Any and
all of the Debtor’s rights, claims and causes of action with respect to the contracts and
agreements listed on Schedule G are hereby reserved. In addition, the Debtor may have entered
into various other types of agreements in the ordinary course of business, such as supplemental
agreements, amendments, letter agreements and confidentiality agreements. Such documents
may not be set forth in Schedule G. The Debtor reserves all of its rights to dispute or challenge
the characterization of the structure of any transaction or any document or instrument related to a
creditor’s claim (including, but not limited to, whether the transaction, document or instrument is
a true lease or financing arrangement).

                               (5)    Omission of a contract or lease from Schedule G does not
constitute an admission that such omitted contract or lease is not an executory contract or
unexpired lease. The Debtor’s rights under the Bankruptcy Code with respect to any such
omitted contracts or leases are not impaired by the omission.




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                       o.     Schedule H.

                               (1)   In the ordinary course of business, the Debtor may be
involved in pending or threatened litigation. These matters may involve multiple plaintiffs and
defendants, some or all of whom may assert cross-claims and counter-claims against other
parties. Because all such claims are contingent, disputed, or unliquidated, such claims have not
been set forth individually on Schedule H. Litigation matters can be found on Debtor’s Schedule
D/E/F and SOFA No. 7, as applicable.

                               (2)     The Debtor may not have identified certain guarantees
associated with the Debtor’s executory contracts, unexpired leases, secured financings, debt
instruments, and any other such agreements (if any). The Debtor reserves all rights to amend the
Schedules, including without limitation, to remove any, some or all codebtors as obligors if and
to the extent that the Debtor has paid any of the claims listed, including without limitation claims
listed in Schedule D.

                 SUMMARY OF GLOBAL NOTE CONVENTIONS FOR THE
                       STATEMENT OF FINANCIAL AFFAIRS
               13.     The following conventions were adopted by the Debtor in preparation of
the SOFA:

                        a.     SOFA 1 and 2. The revenue reported is based on fiscal year ends
which are stated specifically in the “Sources of Revenue” column. For the reported three-year
time period, the fiscal year ended on the last Saturday in February of each respective year.

                    b.      SOFA 3. The Debtor has not included in SOFA 3 any ordinary
course payments for wages, compensation or expenses made to or on behalf of Debtor’s
employees; however, wages, compensation or expenses for corporate employees paid pursuant to
the Management Services Agreement are included in the “Vanity, Inc.” entries.

                       c.     SOFA 4.

                               (1)    SOFA 4 accounts       for Debtor’s payments or transfers made
within one year before filing that benefited any insider.    As described in the Wage Motion, in the
ordinary course of business, the Debtor, pursuant to        the terms of the Management Services
Agreement (included in Schedule G), transfers funds         to Vanity, Inc. to fund substantially all
corporate management costs.

                               (2)     Prior to the Petition Date, in the ordinary course of
business, the Debtor and Vanity, Inc. (the “Affiliate”) may have received advances from Debtor
to fund its cash needs. In addition, from time to time, the Affiliate would reimburse Debtor for
some of those advances. From time to time, in the ordinary course of business, Debtor also
makes payments to certain third parties on behalf of the Affiliate. These and other cash and non-
cash transactions are included in the invoices documenting the specific transactions between
Affiliate and Debtor. It would be unduly burdensome for the Debtor to separately identify each
of these transactions for purposes of the Statement of Financial Affairs.


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                               (3)     The listing of a party as an Insider in the Schedules and
SOFA, however, is not intended to be, nor shall be, construed as a legal characterization or
determination of such party as an actual insider and does not act as an admission of any fact,
claim, right or defense, and all such rights, claims, and defenses are hereby expressly reserved.

                       d.      SOFA 5. The Debtor is unaware of any repossessions, foreclosures
or returns other than returns of damaged or defective goods to vendors in the ordinary course of
business. SOFA 5 excludes goods returned in the ordinary course of business.

                      e.      SOFA 6. The Debtor incurs certain setoffs and other similar rights
during the ordinary course of business. Setoffs in the ordinary course can result from various
items including, but not limited to, pricing discrepancies, returns and other disputes between the
Debtor and its customers or suppliers. These normal setoffs and other similar rights are
consistent with the ordinary course of business and are not tracked separately. Therefore,
although such setoffs and other similar rights may have been accounted for when scheduling
certain amounts, setoffs are not independently accounted for, and as such, are excluded from the
Debtor’s Schedules and SOFA. Included in these potential set offs may be credits due to or from
landlords and holdbacks made by credit card processors, where such a setoff has occurred
without the Debtor’s knowledge.

                        f.     SOFA 7. Claims filed pursuant to state workers compensation
regulations which have been resolved on a final basis are not included in SOFA 7 due to the
difficulty of collecting and compiling such data.

                       g.    SOFA 10. The Debtor occasionally incurs losses for a variety of
reasons including, without limitation, theft and property damage. Estimated ordinary course
shrinkage is included.

                      h.      SOFA 11. Payments to professionals related to restructuring,
seeking bankruptcy relief, or filing a bankruptcy case may include advance deposits or retainers
paid prepetition, for postpetition services. All professionals listed in SOFA 11 performed
services for the Debtor related to restructuring, seeking bankruptcy relief, or filing a bankruptcy
case. Certain of the listed professionals may have also provided other types of services for the
Debtor.

                      i.      SOFA 26a-c. The Debtor has listed those individuals and/or firms
that have been identified as having the primary responsibility to maintain or supervise the
keeping of the Debtor’s books and records. Notwithstanding this listing, additional parties not
listed may have had access to Debtor’s books and records.

                      j.      SOFA 26d. The Debtor from time to time provided financial
statements in the ordinary course of business to parties for business, statutory, credit, financing
and other reasons. Recipients have included landlords, regulatory agencies, financial institutions,
shareholders, investment banks, customers, vendors and attorneys. Additionally, financial
statements have been provided to other parties as requested. Pursuant to the prepetition credit
agreement, monthly financial statements and schedules were distributed to Debtor’s primary
lender, Wells Fargo, National Association.



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                                   k.      SOFA 30. The listing of a party as an Insider in the Schedules and
            SOFA, however, is not intended to be, nor shall be, construed as a legal characterization or
            determination of such party as an actual insider and does not act as an admission of any fact,
            claim, right or defense, and all such rights, claims, and defenses are hereby expressly reserved.



                                              GENERAL DISCLAIMER
                           14.     While those members of management responsible for the preparation of
            the Schedules and SOFA have made a reasonable effort to ensure that the Schedules and SOFA
            are accurate and complete based on information known to them at the time of preparation after
            reasonable inquiries, inadvertent errors may exist or the subsequent receipt of information may
            result in material changes in financial and other data contained in the Schedules and SOFA that
            may warrant amendment of the same. Moreover, because the Schedules and SOFA contain
            unaudited information that is subject to further review and potential adjustment there can be no
            assurance that the Schedules and SOFA are entirely complete or accurate.




                                                           11
2845928.2
                Case 17-30112                            Doc 188                 Filed 03/27/17 Entered 03/27/17 19:15:28                                                           Desc Main
                                                                                 Document     Page 13 of 279
 Fill in this information to identify the case:

 Debtor name            Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NORTH DAKOTA

 Case number (if known)               17-30112
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      11,956,195.94

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      11,956,195.94


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        9,572,538.17


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        7,913,834.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        17,486,372.85




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NORTH DAKOTA

 Case number (if known)         17-30112
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                           $50,994.95



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     SEE ATTACHMENT, B#3                                     Checking                                                           $2,099,753.48



 4.         Other cash equivalents (Identify all)
                     Credit Card Receivable at BA Merchant Services for Credit Card Processing (Account
            4.1.     XXX0000)                                                                                                                     $373,455.00



                     Credit Card Receivable at American Express Travel Related Services Company for
            4.2.     Credit Card Processing (Account XXX0048)                                                                                        $3,640.00



                     Credit Card Receivable at Chase Paymentech for Credit Card Processing (Account
            4.3.     XXX0705)                                                                                                                      $49,180.00




 5.         Total of Part 1.                                                                                                                $2,577,023.43
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor            Vanity Shop of Grand Forks, Inc.                                          Case number (If known) 17-30112
                   Name


       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     UTILITY DEPOSIT - STORE #42
                     DEPARTMENT OF PUBLIC UTILITIES
                     PO BOX 1048
            7.1.     VIRGINIA, MN 55792                                                                                              $1,275.00


                     UTILITY DEPOSIT - STORE #218
                     CITY OF ASHEVILLE
                     PO BOX 733
            7.2.     ASHEVILLE, NC 28802                                                                                               $100.00


                     UTILITY DEPOSIT - STORE #218
                     DUKE ENERGY PROGRESS
                     PO BOX 1003
            7.3.     CHARLOTTE, NC 28201                                                                                             $1,280.00


                     UTILITY DEPOSIT - STORE #117
                     OHIO EDISON
                     PO BOX 3687
            7.4.     AKRON, OH 44309                                                                                                   $576.00


                     UTILITY DEPOSIT - STORE #217
                     DUKE ENERGY
                     PO BOX 1046
            7.5.     CHARLOTTE, NC 28272                                                                                               $565.00


                     UTILITY DEPOSIT - STORE #207
                     WE ENERGIES
                     PO BOX 90001
            7.6.     MILWAUKEE, WI 53290                                                                                             $1,319.00


                     UTILITY DEPOSIT - STORE #90
                     DOMINION EAST OHIO
                     PO BOX 26785
            7.7.     RICHMOND, VA 23261                                                                                                $131.00


                     CONSTRUCTION DEPOSIT - STORE #15
                     RIMROCK MALL
                     300 SOUTH 24TH ST W
            7.8.     BILLINGS, MT 59102                                                                                              $5,000.00


                     CONSTRUCTION DEPOSIT - STORE #47
                     FOX RIVER MALL
                     4301 W WISCONSIN AVE
            7.9.     APPLETON, WI 54913                                                                                              $5,000.00


                 CONSTRUCTION DEPOSIT - STORE #73
                 JORDAN CREEK TOWN CENTER
            7.10 101 JORDAN CREEK PARKWAY, STE 12518
            .    WEST DES MOINES, IA 50266                                                                                           $7,500.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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                CONSTRUCTION DEPOSIT - STORE #90
                GREAT LAKES MALL
           7.11 7850 MENTOR AVE SUITE 250
           .    MENTOR, OH 44060                                                                                                     $3,000.00


                CONSTRUCTION DEPOSIT - STORE #114
                THE MALL AT FAIRFIELD
           7.12 2727 FAIRFIELD COMMONS DR
           .    BEAVERCREEK, OH 45431                                                                                                $2,500.00


                CONSTRUCTION DEPOSIT - STORE #148
                FLORENCE MALL
           7.13 2028 FLORENCE MALL
           .    FLORENCE, KY 41042                                                                                                   $5,000.00


                CONSTRUCTION DEPOSIT - STORE #178
                BROADWAY SQUARE MALL
           7.14 461 S BROADWAY AVE
           .    TYLER, TX 75703                                                                                                      $5,000.00


                CONSTRUCTION DEPOSIT - STORE #184
                MORGANTOWN MALL
           7.15 9500 MALL RD
           .    MORGANTOWN, WV 26501                                                                                                 $2,000.00


                CONSTRUCTION DEPOSIT - STORE #207
                BROOKFIELD SQUARE MALL
           7.16 95 N MOORLAND RD
           .    BROOKFIELD, WI 53005                                                                                                 $4,000.00


                CONSTRUCTION DEPOSIT - STORE #232
                COLUMBIA MALL
           7.17 2300 BERNADETTE DR
           .    COLUMBIA, MO 65203                                                                                                   $5,000.00


                CONSTRUCTION DEPOSIT - STORE #249
                OAK PARK MALL LLC
           7.18 11149 WEST 95TH STREET
           .    OVERLAND PARK, KS 66214                                                                                              $2,500.00


                CONSTRUCTION DEPOSIT - STORE #297
                2222 7TH AVE LLC
           7.19 4300 PARK GLEN ROAD
           .    ST. LOUIS PARK, MN 55416                                                                                             $7,500.00


                DEPOSIT ON CASH WRAP PRODUCTION/CONSTRUCTION
                JSM WOODWORKS
           7.20 268 E MAIN AVE
           .    WEST FARGO, ND 58078                                                                                                 $9,504.62


           7.21 UTILITY DEPOSIT - STORE #117                                                                                             $54.00
           .    DOMINION EAST OHIO
                   PO BOX 26785
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
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                  Name

                    RICHMOND VA 23261-6785



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Stony Apparel - Prepaid Deposit                                                                                $75,788.35




           8.2.     A.M.C. Merchandising - Credit Balance                                                                            $2,765.59




           8.3.     Blue Ambrosia - Credit Balance                                                                                   $4,231.96




           8.4.     Heartland Acquisition LLC - Credit Balance                                                                       $9,000.00




           8.5.     JOC International LTD - Credit Balance                                                                             $113.50



                    LIBERTY MUTUAL FIRE INSURANCE COMPANY
           8.6.     HUMAN RESOURCES DEPOSIT - WORKERS COMPENSATION                                                                 $54,232.17



                    CONTINENTAL WESTERN INSTURANCE COMPANY
           8.7.     INSURANCE - PROPERTY/LIABILITY/AUTO/UMBRELLA                                                                   $22,292.71



                    HARTFORD FIRE INS CO
           8.8.     HUMAN RESOURCES DEPOSIT - 401K BOND                                                                                  $72.86



                    WELLS FARGO CAPITAL FINANCE
           8.9.     QUARTERLY LOAN SERVICING FEE                                                                                     $4,147.73



           8.10 SUBERB PACKAGING
           .    BULK BAG SUPPLY ORDER                                                                                            $120,065.90



           8.11 WELLS FARGO CREDIT CARD PURCHASES
           .    REMODELING SUPPLIES AND FIXTURING                                                                                    $9,170.14



           8.12 NELMAR SECURITY
           .    BULK DEPOSIT BAG SUPPLY ORDER                                                                                        $2,112.69



           8.13 STORED VALUE SYSTEMS (SVS)
           .    BULK GIFT CARDS/CARRIERS                                                                                           $20,494.75

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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            8.14 CARLSON
            .    BULK CONSTRUCTION SUPPLIES (GRIDS)                                                                                        $1,177.72



            8.15 DISPLAY IT
            .    BULK SWEATER TABLES/FIXTURING                                                                                           $14,425.00



            8.16 POMEROY
            .    TELECOMMUNICATIONS - DSL MARCH 2017                                                                                     $18,177.10



            8.17 ROCK COMMUNICATIONS
            .    BULK CUSTOMER LOYALTY CARDS                                                                                             $16,144.41



            8.18 DALTILE
            .    BULK CONSTRUCTION SUPPLIES (STANDARDS)                                                                                    $1,466.12



            8.19 AD ART
            .    GRAPHIC SIGN PACKAGE (MAR - APR 17)                                                                                     $31,748.43



            8.20 BRADY MARTZ & ASSOCIATES, PC
            .    YE 2/25/17 INCOME & FRANCHISE TAX RETURNS                                                                               $16,400.00




 9.         Total of Part 2.                                                                                                         $492,831.75
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           150,000.00       -                        150,000.00 = ....                      $0.00
                                              face amount                            doubtful or uncollectible accounts




            11b. Over 90 days old:                           7,149,512.00        -                     7,149,512.00 =....                        $0.00
                                              face amount                            doubtful or uncollectible accounts



            11b. Over 90 days old:                                   14,430.10   -                               0.00 =....              $14,430.10
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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           11b. Over 90 days old:                               150,000.00    -                          150,000.00 =....                              $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               150,000.00    -                          150,000.00 =....                              $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               156,500.00    -                          156,500.00 =....                              $0.00
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                $14,430.10
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last            Net book value of         Valuation method used    Current value of
                                                      physical inventory          debtor's interest         for current value        debtor's interest
                                                                                  (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory taken at all
           retail locations (RGIS)                    1/26/17                          $7,399,765.01        Cost                            $7,399,765.01



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $7,399,765.01
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                       1159700.51 Valuation method             Cost                  Current Value        1159700.51

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 6
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27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture and Fixtures                                                  $1,472,145.65     Net Book Value                    $1,472,145.65



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Included in value of #39, Furniture and
           Fixtures.                                                                        $0.00                                                 $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $1,472,145.65
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           HP LaserJet copier/scanners leased from
           Marco Technologies, LLC (Included in value of
           #39, Furniture and Fixtures.)                                                    $0.00                                                   $0.00


           Media Player equipment with subscription
           music service leased from Mood Media North
           America, LTD                                                                Unknown                                               Unknown




 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     Leasehold
                     Improvements                         Leasehold                $4,835,789.21                                             Unknown


           55.2.     Leasehold interests
                     in store locations
                     listed in
                     ATTACHMENT:
                     SCHEDULE A/B, Part
                     9, SCHEDULES F/G -
                     LANDLORDS                            Leasehold                    Unknown                                               Unknown




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 8
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 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            SEE ATTACHMENT:
            SCHEDULE A/B - PART 10, #60.                                               Unknown                                              Unknown



 61.        Internet domain names and websites
            evanity.com                                                                     $0.00                                           Unknown


            Vanity.net                                                                      $0.00                                           Unknown


            VanityStyle.com                                                             $4,473.01                                           Unknown


            Vanity.com                                                               $300,000.00                                            Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer electronic mailing lists                                          Unknown                                              Unknown



 64.        Other intangibles, or intellectual property
            Facebook -
            https://www.facebook.com/MyVanityStyle                                     Unknown                                              Unknown


            YouTube -
            https://www.youtube.com/user/evanitycom                                    Unknown                                              Unknown


            Twitter - http://www.twitter.com/MyVanityStyle                             Unknown                                              Unknown


            Pinterest -
            http://www.pinterest.com/MyVanityStyle                                     Unknown                                              Unknown


            Instagram -
            http://www.instagram.com/MyVanityStyle                                     Unknown                                              Unknown


            E-commerce Platform (developed internally by
            Vanity, Inc. Employees)                                                    Unknown                                              Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 9
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 65.        Goodwill
            Goodwill                                                                   Unknown                                             Unknown



 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Continental Western Insurance Company
            HUB International Mountain States Limited
            3533 Gabel Road, Billings, MT 59102
            CPA 6021574 21

            Effective Date: 7/1/16
            Expiration Date: 7/1/17 @ 12:01 AM                                                                                             Unknown


            Liberty Mutual Fire Insurance Company
            HUB International Mountain States Limited
            3533 Gabel Road, Billings, MT 59102
            WC2-Z91-446230-016

            Effective date: 7/1/16
            Expiration date: 7/1/17 @ 12:01AM                                                                                              Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 10
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 Debtor         Vanity Shop of Grand Forks, Inc.                                             Case number (If known) 17-30112
                Name

           Bureau of Workers' Compensation
           30 W Spring St
           Columbus, OH 43215-2256
           Policy #: 1466926-0

           Effective date: 7/1/16
           Expiration date: 6/30/17                                                                                                  Unknown


           North Dakota Workforce Safety & Insurance
           1600 East Century Avenue, Suite 1
           PO Box 5585
           Bismarck, ND 58506-5585
           Employer Acct #:637157

           Effective date: 1/1/16
           Expiration date: 12/31/16
           State re-billing for 2017 with an:
           Effective date: 1/1/17
           Expiration date: 6/30/17                                                                                                  Unknown


           Department of Workforce Services
           Worker's Compensation Division
           1510 East Pershing Blvd
           Cheyenne, WY 82002
           Employer Acct #: 000295280                                                                                                Unknown


           Department of Labor and Industries
           PO Box 44171
           Olympia, WA 98504-4171
           Industrial Insurance Acct ID: 51918400                                                                                    Unknown


           Hartford Fire Insurance Company
           Bond Number: 41BDDEQ5265

           ERISA Fidelity Bond
           Effective date: 7/1/07
           Expiration date: Continuous bond until cancelled. Paid
           for 7/1/16-6/30/19.                                                                                                       Unknown


           Continental Insurance Company
           HUB International Mountain States Limited
           3533 Gabel Road, Billings, MT 59102
           OC750533

           Effective date: 7/1/16
           Expiration date: Remains in effect until cancelled by
           either party on thirty (30) days prior written notice                                                                     Unknown


           Continental Western Insurance Company
           HUB International Mountain States Limited
           3533 Gabel Road, Billings, MT 59102
           CPA 6021574 21

           Effective Date: 7/1/16
           Expiration Date: 7/1/17 @ 12:01 AM                                                                                        Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 11
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
              Case 17-30112                    Doc 188               Filed 03/27/17 Entered 03/27/17 19:15:28             Desc Main
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 Debtor         Vanity Shop of Grand Forks, Inc.                                             Case number (If known) 17-30112
                Name

           Blue Cross Blue Shield of North Dakota
           Benefits - Employee Health/Dental                                                                                         Unknown


           Unum Life Insurance Company of America
           Benefits - Employee Group Life/STD and Voluntary
           Employee Life                                                                                                             Unknown


           Avesis Third Party Administrators, Inc.
           Benefits - Voluntary Employee Vision                                                                                      Unknown


           AFLAC
           Benefits - Voluntary Employee Hospital
           Indemnity/Cancer/AD&D                                                                                                     Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                            $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 12
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
               Case 17-30112                       Doc 188             Filed 03/27/17 Entered 03/27/17 19:15:28                                          Desc Main
                                                                       Document     Page 26 of 279
 Debtor          Vanity Shop of Grand Forks, Inc.                                                                    Case number (If known) 17-30112
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $2,577,023.43

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $492,831.75

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $14,430.10

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $7,399,765.01

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $1,472,145.65

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $11,956,195.94             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,956,195.94




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
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                                                                        VANITY SHOP OF GRAND FORKS, INC.
                                                                                Case No. 17-30112
Schedule A/B, Part 1, #3
Checking Account Balances as of February 28, 2017
                                                                                                                  Bank
Store No. Bank Name                                 Bank Address                               Bank City          State   Bank Zip       Acct. No.   Type         Account Balance
128      1ST INTERSTATE BANK                        521 SE Wyoming Blvd                        Casper             WY      82609        XXXXX2188     Depository           $504.95
171      AMARILLO NAT'L BANK                        2401 Coulter St                            Amarillo           TX      79121         XXXXX404     Depository           $619.31
42       AMERICAN BANK                              8401 Unity Dr                              Virginia           MN      55792        XXXXX0697     Depository           $497.05
20       AMERICAN STATE BANK & TRUST                PO Box 1446                                Williston          ND      58802-1446   XXXXX127-5    Depository           $855.80
218      ASHEVILLE SAVINGS BANK                     10 South Tunnel Rd                         Asheville          NC      28805        XXXXX6667     Depository           $776.85
106      ASSOCIATED BANK                            2403 S. Oneida Street                      Green Bay          WI      54304        XXXXX4411     Depository         $1,119.92
203      ASSOCIATED BANK                            4600 Brandywine Drive                      Peoria             IL      61614        XXXXX4329     Depository           $536.47
210      BANCORPSOUTH                               7000 Rogers Ave                            Fort Smith         AR      72903-5540   XXXXX0401     Depository           $831.60
233      BANK MIDWEST                               801 N 36th St                              St Joseph          MO      64506        XXXXX4633     Depository           $719.06
47       BANK MUTUAL                                4323 W Wisconsin Ave                       Appleton           WI      54913        XXXXX0799     Depository           $637.99
75       BANK OF AMERICA                            30 E Wellesley Ave                         Spokane            WA      99207        XXXXX2000     Depository           $529.46
145      BANK OF AMERICA                            14000 Lakeside Circle                      Sterling Heights   MI      48313        XXXXX7385     Depository           $647.93
217      BANK OF AMERICA                            2105 Pinecroft Road                        Greensboro         NC      27407        XXXXX6626     Depository           $594.23
234      BANK OF AMERICA                            200 Mid Rivers Mall Dr                     St Peters          MO      63376        XXXXX1449     Depository           $514.99
7        BANK OF THE WEST                           2015 College Way                           Fergus Falls       MN      56537        XXXXX3214     Depository           $485.70
129      BANK OF THE WEST                           1515 Dell Range Blvd                       Cheyenne           WY      82009        XXXXX6047     Depository           $541.24
163      BANNER BANK                                8200 W Gage Blvd                           Kennewick          WA      99336        XXXXX1215     Depository           $896.37
8        BLACKRIDGE BANK                            14084 Baxter Dr. Ste 16                    Baxter             MN      56425        XXXXX5433     Depository           $661.60
31       BLACKRIDGE BANK                            3313 Highway 29 South                      Alexandria         MN      56308         XXXXX224     Depository           $722.73
48       BMO HARRIS BANK                            5454 S 76th St                             Greendale          WI      53129        XXXXX0440     Depository           $505.68
51       BMO HARRIS BANK                            First American Center, 500 3rd St          Wausau             WI      54403        XXXXX2602     Depository           $500.31
105      BMO HARRIS BANK                            3500 State Road 16                         La Crosse          WI      54601         XXXXX948     Depository           $960.06
3        BREMER BANK                                3100 South Columbia Road                   Grand Forks        ND      58201        XXXXX4602     Depository           $586.19
26       BREMER BANK                                925 31st Ave SW                            Minot              ND      58701         XXXXX529     Depository           $417.95
83       CAPITAL BANK                               1786 Wilma Rudolph Blvd                    Clarksville        TN      37040        XXXXX0716     Depository           $668.92
178      CAPITAL ONE BANK                           7601 South Broadway                        Tyler              TX      75701        XXXXX9889     Depository           $570.46
209      CENTENNIAL BANK                            2901 E Highland Dr                         Jonesboro          AR      72401         XXXXX902     Depository           $982.09
152      CHASE BANK                                 434 Main St                                Zanesville         OH      43701        XXXXX5020     Depository           $861.73
174      CHASE BANK                                 6025 Eastex Freeway                        Beaumont           TX      77706        XXXXX4570     Depository           $652.18
223      CHASE BANK                                 4512 24th Ave                              Fort Gratiot       MI      48059        XXXXX0355     Depository           $463.95
272      CHASE BANK                                 2207 Sagamore Pkwy S                       Lafayette          IN      47905        XXXXX7374     Depository           $727.99
80       CHEMICAL BANK                              RiverTown Crossings, 3700 Rivertown Pkwy   Grandville         MI      49418        XXXXX2759     Depository           $749.31
84       CHEMICAL BANK                              4955 Bay Rd                                Saginaw            MI      48604        XXXXX3818     Depository           $831.58
276      CHEMICAL BANK                              G-3501 S Linden Rd                         Flint              MI      48507        XXXXX6515     Depository         $1,420.80
277      CHEMICAL BANK                              6711 N Jefferson Ave                       Midland            MI      48642        XXXXX7820     Depository           $751.77
49       COMERICA BANK                              260 Brown Rd                               Auburn Hills       MI      48326        XXXXX8773     Depository           $963.54
96       COMERICA BANK                              109 E Grand River Ave                      East Lansing       MI      48823        XXXXX1770     Depository           $590.25
230      COMMERCE BANK                              1345 E Battlefield Rd                      Springfield        MO      65804        XXXXX4240     Depository           $573.30
232      COMMERCE BANK                              2000 Bernadette Dr                         Columbia           MO      65203        XXXXX8996     Depository           $719.95
254      COMMERCE BANK                              727 Poyntz Ave                             Manhattan          KS      66502        XXXXX8869     Depository           $556.64
255      COREFIRST BANK & TRUST                     2129 SW Wanamaker Rd                       Topeka             KS      66614         XXXXX432     Depository           $605.40
111      DACOTAH BANK                               3312 Sixth Ave SE                          Aberdeen           SD      57401-1500   XXXXX0674     Depository           $924.62
90       DOLLAR BANK                                7891 Mentor Ave                            Mentor             OH      44060        XXXXX3900     Depository           $517.36



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                                                                              VANITY SHOP OF GRAND FORKS, INC.
                                                                                      Case No. 17-30112
Schedule A/B, Part 1, #3
Checking Account Balances as of February 28, 2017
                                                                                                                                Bank
Store No. Bank Name                                      Bank Address                                         Bank City         State   Bank Zip      Acct. No.   Type                   Account Balance
139         FARMERS & MERCHANTS BANK                     Highway 534 and Gear Ave W                           Burlington        IA      52655         XXXXX932    Depository                     $782.66
137         FARMERS STATE BANK                           1380 Twixt Town Rd                                   Marion            IA      52302         XXXXX945    Depository                     $706.68
73          FIDELITY BANK                                177 S. Jordan Creek Parkway                          West Des Moines   IA      50266         XXXXX386    Depository                     $912.58
109         FIFTH THIRD BANK                             3200 East Third Street                               Bloomington       IN      47401        XXXXX9322    Depository                     $580.92
275         FIFTH THIRD BANK                             2133 North Telegraph Road                            Monroe            MI      48162        XXXXX0306    Depository                     $680.59
166         FIRST BANK OF NORTHERN CO                    2901 23rd Ave                                        Greeley           CO      80631        XXXXX7968    Depository                     $489.84
147         FIRST BANKERS TRUST CO                       PO Box 3566                                          Quincy            IL      62305          XXXXX22    Depository                     $928.27
35          FIRST CITIZENS BANK                          3220 Harrison Ave, PO Box 3149                       Butte             MT      59701-3149    XXXXX514    Depository                     $587.62
77          FIRST CITIZENS BANK                          33 E State St                                        Mason City        IA      50401        XXXXX6637    Depository                     $980.24
Corporate   FIRST DATA CORP / FIRST DATA MONEY NETWORK   12510 E Belford M21A1                                Englewood         CO      80112        XXXXX0012    Paycard Disbursement        $20,419.59
148         FIRST FINANCIAL BANK                         7690 Mall Road                                       Florence          KY      41042        XXXXX8491    Depository                     $716.92
271         FIRST FINANCIAL BANK                         Honey Creek Mall, 3401 US-41                         Terre Haute       IN      47802         XXXXX972    Depository                     $999.62
15          FIRST INTERSTATE BANK                        2501 Central Ave                                     Billings          MT      59102        XXXXX2237    Depository                   $1,020.53
9           FIRST NATIONAL BANK                          PO Box 670                                           Bemidji           MN      56619-0670   XXXXX4805    Depository                    -$522.51
11          FIRST NATIONAL BANK                          2505 W 41st, PO Box 5186                             Sioux Falls       SD      57117-5186   XXXXX0556    Depository                     $957.40
94          FIRST NATIONAL BANK                          1601 N Hill Field Rod                                Layton            UT      84041        XXXXX8801    Depository                     $794.97
117         FIRST NATIONAL BANK                          7025 Market St                                       Boardman          OH      44512        XXXXX7135    Depository                     $652.50
250         FIRST NATIONAL BANK                          2414 E Kansas Ave                                    Garden City       KS      67846         XXXXX091    Depository                     $738.25
69          FIRST NATIONAL BANK N PLATTE                 201 N Dewey St                                       North Platte      NE      69101        XXXXX1964    Depository                     $510.69
25          FIRST PREMIER BANK                           1414 9th Ave SE #7                                   Watertown         SD      57201        XXXXX5072    Depository                     $632.85
81          FIRST TENNESSEE                              Johnson City Plaza Shopping Center, 2112 N Roan St   Johnson City      TN      37601        XXXXX4432    Depository                   $2,700.11
61          FIRST WESTROADS BANK                         15750 W Dodge Rd                                     Omaha             NE      68118        XXXXX046     Depository                     $580.29
140         HOMETOWN NATIONAL BANK                       4141 Venture Dr                                      Peru              IL      61354         XXXXX73     Depository                     $625.84
100         HUNTINGTON BANK                              68011 Mall Ring Rd                                   St. Clairsville   OH      43950        XXXXX3239    Depository                     $871.05
112         HUNTINGTON BANK                              611 W. County Line Road                              Greenwood         IN      46142        XXXXX1429    Depository                     $586.15
199         IBC BANK                                     7021 S Memorial Dr #269a                             Tulsa             OK      74133        XXXXX3965    Depository                     $562.24
71          KEY BANK                                     2655 East 17th                                       Idaho Falls       ID      63406        XXXXX7743    Depository                     $715.87
72          KEY BANK                                     1665 Blue Lakes Blvd North                           Twin Falls        ID      83301        XXXXX7147    Depository                   $1,071.22
136         KEY BANK                                     688 N Lexington Springmill Rd                        Mansfield         OH      44906        XXXXX5166    Depository                     $635.53
181         KEY BANK                                     711 Mall Circle                                      Monroeville       PA      15146        XXXXX3574    Depository                     $520.00
10          LAKE REGION BANK                             1690 South 1st St                                    Willmar           MN      56201        XXXXX1729    Depository                     $910.38
185         M & T BANK                                   1400 Miracle Mile Drive                              Rochester         NY      14623        XXXXX7300    Depository                     $472.58
110         MUTUAL BANK                                  1912 W McGalliard Rd                                 Muncie            IN      47304        XXXXX2214    Depository                     $617.34
190         NATIONAL BANK OF COMMERCE                    3202 W Owen K Garriott Rd                            Enid              OK      73703         XXXXX293    Depository                     $610.10
170         PLAINSCAPITAL BANK                           South Plains Mall, 6002 Slide Road                   Lubbock           TX      79414         XXXXX079    Depository                     $471.70
92          PNC BANK                                     2629 Scottsville Rd                                  Bowling Green     KY      42104        XXXXX9501    Depository                   $1,139.69
114         PNC BANK                                     2761 Fairfield Commons                               Beavercreek       OH      45431        XXXXX0897    Depository                     $655.07
115         PNC BANK                                     8220 Springboro Pike                                 Miamisburg        OH      45342        XXXXX1391    Depository                     $659.49
16          ROCKY MOUNTAIN BANK                          2901 West Main                                       Bozeman           MT      59718        XXXXX4753    Depository                     $611.82
244         SOUTH OTTUMWA SAVING BANK                    PO Box 516                                           Ottumwa           IA      52501-0516    XXXXX751    Depository                     $655.62
82          SOUTHERN COMMUNITY BANK                      1950 Old Fort Pkwy                                   Murfreesboro      TN      37129         XXXXX604    Depository                     $707.68
27          STEARNS BANK                                 4191 2nd St S                                        St. Cloud         MN      56301        XXXXX0524    Depository                     $701.99
214         SUNFLOWER BANK                               1902 Vine St                                         Hays              KS      67601        XXXXX1332    Depository                     $500.00



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                                                                        VANITY SHOP OF GRAND FORKS, INC.
                                                                                Case No. 17-30112
Schedule A/B, Part 1, #3
Checking Account Balances as of February 28, 2017
                                                                                                                Bank
Store No. Bank Name                                 Bank Address                             Bank City          State   Bank Zip      Acct. No.   Type                    Account Balance
219         SUNTRUST BANK                           2006 S Hawthorne Rd                      Winston-Salem      NC      27103        XXXXX7216    Depository                       $583.99
226         TCF BANK                                2989 White Bear Ave N                    Saint Paul         MN      55109        XXXXX0548    Depository                       $885.48
179         TEXAS BANK & TRUST                      3622 McCann Rd                           Longview           TX      75605         XXXXX230    Depository                       $700.93
116         THE UNION BANK CO                       3211 Elida Rd                            Lima               OH      45805        XXXXX4189    Depository                       $768.86
202         TOWN & COUNTRY BANK                     3601 Wabash Ave                          Springfield        IL      62711         XXXXX294    Depository                       $764.00
164         UMB BANK                                710 Citadel Dr E                         Colorado Springs   CO      80909        XXXXX4086    Depository                       $717.00
251         UMB BANK                                2375 S 9th St                            Salina             KS      67401        XXXXX8920    Depository                       $856.64
5           UNION STATE BANK                        4530 17th Ave S, PO Box 9399             Fargo              ND      58106-9399   XXXXX0005    Depository                       $821.99
183         UNITED BANK                             234 Grand Central Mall                   Vienna             WV      26105        XXXXX2898    Depository                       $935.02
184         UNITED BANK                             176 Holland Ave                          Westover           WV      26501        XXXXX2437    Depository                       $511.76
4           US BANK                                 423 E Bismarck Expy                      Bismarck           ND      58504        XXXXX1447    Depository                       $641.95
12          US BANK                                 312 Raintree Rd                          Mankato            MN      56001        XXXXX0837    Depository                       $983.10
13          US BANK                                 6376 N Government Way                    Coeur D'Alene      ID      83815        XXXXX8482    Depository                       $700.31
18          US BANK                                 2200 N Maple Ave                         Rapid City         SD      57701        XXXXX0617    Depository                     $1,034.49
36          US BANK                                 1700 10th Ave S                          Great Falls        MT      59405        XXXXX0310    Depository                       $651.01
46          US BANK                                 2732 Milton Ave                          Janesville         WI      53545        XXXXX9962    Depository                       $708.19
54          US BANK                                 18781 E 39th St S                        Independence       MO      64057        XXXXX3473    Depository                       $739.34
67          US BANK                                 702 E 27th St                            Scottsbluff        NE      69361        XXXXX0291    Depository                       $496.92
104         US BANK                                 4640 Golf Rd                             Eau Claire         WI      54701        XXXXX7945    Depository                       $703.60
124         US BANK                                 11751 Princeton Pike                     Cincinnati         OH      45246        XXXXX2779    Depository                       $530.97
126         US BANK                                 2801 Brooks St                           Missoula           MT      59801        XXXXX5797    Depository                       $622.49
131         US BANK                                 222 Washington St                        Cedar Falls        IA      50613        XXXXX0440    Depository                       $609.75
133         US BANK                                 2615 Grand Ave                           Ames               IA      50010          XXXXX06    Depository                       $628.33
138         US BANK                                 435 John F Kennedy Rd                    Dubuque            IA      52002        XXXXX2986    Depository                       $805.80
141         US BANK                                 6701 N Illinois St                       Fairview Heights   IL      62208        XXXXX1348    Depository                       $527.51
143         US BANK                                 7200 Harrison Ave #C                     Rockford           IL      61112        XXXXX1223    Depository                       $597.27
207         US BANK                                 2005 N Moorland Rd                       Brookfield         WI      53005        XXXXX1611    Depository                       $499.16
221         US BANK                                 3410 S 143rd Plz                         Omaha              NE      68144        XXXXX8320    Depository                       $525.68
235         US BANK                                 110 S County Center Way                  St. Louis          MI      63129        XXXXX3192    Depository                       $798.54
236         US BANK                                 105 N Range Line Rd                      Joplin             MO      64801        XXXXX7486    Depository                       $684.71
130         VERIDIAN CREDIT UNION                   1422 Flammang Dr                         Waterloo           IA      50702        XXXXX2508    Depository                       $950.03
74          WASHINGTON FEDERAL BANK                 Boise Town Square, 421 N Cole Rd         Boise              ID      83704        XXXXX0445    Depository                     $1,933.82
Corporate   WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX0258    Operating                  $1,970,854.40
Corporate   WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX6968    Disbursement                       $0.00
Corporate   WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX4458    Depository/Restricted         $23,346.75
Corporate   WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX0823    Payroll/Checking                   $0.00
2           WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX1899    Depository/Restricted              $0.00
19          WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX1003    Depository/Restricted              $0.00
22          WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX1029    Depository/Restricted              $0.00
28          WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX1037    Depository/Restricted              $0.00
32          WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX1045    Depository/Restricted              $0.00
60          WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX6377    Depository/Restricted              $0.00
65          WELLS FARGO BANK                        406 Main Ave                             Fargo              ND      58123        XXXXX1060    Depository/Restricted              $0.00



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                                                                        VANITY SHOP OF GRAND FORKS, INC.
                                                                                Case No. 17-30112
Schedule A/B, Part 1, #3
Checking Account Balances as of February 28, 2017
                                                                                                           Bank
Store No. Bank Name                                 Bank Address                               Bank City   State   Bank Zip    Acct. No.   Type                    Account Balance
66       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1078    Depository/Restricted             $0.00
68       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1086    Depository/Restricted             $0.00
70       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1094    Depository/Restricted             $0.00
78       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1580    Depository/Restricted             $0.00
87       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1169    Depository/Restricted             $0.00
88       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1177    Depository/Restricted             $0.00
98       WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1429    Depository/Restricted             $0.00
108      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX5899    Depository/Restricted             $0.00
122      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX4722    Depository/Restricted             $0.00
132      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1185    Depository/Restricted             $0.00
165      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX4601    Depository/Restricted             $0.00
167      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX3207    Depository/Restricted             $0.00
173      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1201    Depository/Restricted             $0.00
177      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX5259    Depository/Restricted             $0.00
212      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1227    Depository/Restricted             $0.00
213      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX4529    Depository/Restricted             $0.00
220      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX0438    Depository/Restricted             $0.00
245      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX1243    Depository/Restricted             $0.00
297      WELLS FARGO BANK                           406 Main Ave                               Fargo       ND      58123      XXXXX6815    Depository/Restricted             $0.00
76       WHEATLAND BANK                             Spokane Valley Mall, 14732 E Indiana Ave   Spokane     WA      99216      XXXXX1450    Depository                      $686.44

TOTAL                                                                                                                                                                 $2,099,753.48




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  WCK File No.     Mark                                                                     Goods/Services                                   Serial No. Filing Date                                                   Status
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                                                                   International Class 025: juniors' apparel, namely dresses, coats,
                                                                   jackets, tops, knit tops, sweaters, pants, jeans, shorts, skirts,




                                          Page 31 of 279
                                                                   swimwear, hosiery, undergarments, scarves, hats, belts, boots,

                                                                   capris, flip flops, gloves, head wraps, leggings, miniskirts,

                                                                   mittens, sandals, shoes, slacks, t-shirts,      outerwear, namely,

                                                                   jackets and coats, vests              International Class 035: Retail

                                                                   store and online retail store services featuring women's and

                                                                   juniors' apparel and accessories, namely, coats, jackets, boots,

   V97.22-0017                                                     jeans, shorts, scarves, hats, gloves, mittens, leggings, boots,            86/270,099   5/2/2014                                                  Abandoned
                                                                   sandals, headbands, belts, pants, slacks, tops, shirts, t-shirts,
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                                                                   hooded sweatshirts, vests, sweaters, dresses, skirts, shorts, flip

                                                                   flops, tote bags, purses, wallets, jewelry, sunglasses, jeggings,

                                                                   tights,   hair   accessories,   cosmetics,   perfume   and candles;

                                                                   providing incentive      award programs for       customers through

                                                                   issuance and processing of loyalty points for on-line purchase of
                             Doc 188




                                                                   goods in the nature of clothing, footwear, jewelry, perfume,

                                                                   sunglasses, purses and bags


                                                                   International Class 025: juniors' apparel, namely dresses, coats,
                             Case 17-30112




                                                                   jackets, tops, knit tops, sweaters, pants, jeans, shorts, skirts,

                                                                   swimwear, hosiery, undergarments, scarves, hats, belts, boots,

                                                                   capris, flip flops, gloves, head wraps, leggings, miniskirts,

                                                                   mittens, sandals, shoes, slacks, t-shirts,      outerwear, namely,

                                                                   jackets and coats, vests              International Class 035: Retail

                                                                   store and online retail store services featuring women's and

                                                                   juniors' apparel and accessories, namely, coats, jackets, boots,

   V97.22-0016                                                     jeans, shorts, scarves, hats, gloves, mittens, leggings, boots,            86/270,093   5/2/2014     4,973,696       6/7/2016    Registered - Affidavit of Use due June 7, 2022

                                                                   sandals, headbands, belts, pants, slacks, tops, shirts, t-shirts,

                                                                   hooded sweatshirts, vests, sweaters, dresses, skirts, shorts, flip

                                                                   flops, tote bags, purses, wallets, jewelry, sunglasses, jeggings,

                                                                   tights,   hair   accessories,   cosmetics,   perfume   and candles;

                                                                   providing incentive      award programs for       customers through

                                                                   issuance and processing of loyalty points for on-line purchase of

                                                                   goods in the nature of clothing, footwear, jewelry, perfume,

                                                                   sunglasses, purses and bags




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   WCK File No.     Mark                                                                  Goods/Services                                   Serial No. Filing Date                                                   Status
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                                                                   International Class 025: juniors' apparel, namely dresses, coats,

                                                                   jackets, tops, knit tops, sweaters, pants, jeans, shorts, skirts,




                                          Page 32 of 279
                                                                   swimwear, hosiery, undergarments, scarves, hats, belts, boots,

                                                                   capris, flip flops, gloves, head wraps, leggings, miniskirts,

                                                                   mittens, sandals, shoes, slacks, t-shirts,      outerwear, namely,

                                                                   jackets and coats, vests              International Class 035: Retail

                                                                   store and online retail store services featuring women's and

                                                                   juniors' apparel and accessories, namely, coats, jackets, boots,

                                                                   jeans, shorts, scarves, hats, gloves, mittens, leggings, boots,
      V97.22-0015                                                                                                                             86/270,083   5/2/2014                                                  Abandoned
                             Document

                                                                   sandals, headbands, belts, pants, slacks, tops, shirts, t-shirts,

                                                                   hooded sweatshirts, vests, sweaters, dresses, skirts, shorts, flip

                                                                   flops, tote bags, purses, wallets, jewelry, sunglasses, jeggings,

                                                                   tights,   hair   accessories,   cosmetics,   perfume   and candles;

                                                                   providing incentive      award programs for       customers through
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                                                                   issuance and processing of loyalty points for on-line purchase of

                                                                   goods in the nature of clothing, footwear, jewelry, perfume,

                                                                   sunglasses, purses and bags
                             Case 17-30112




                                                                   International Class 025: juniors' apparel, namely dresses, coats,

                                                                   jackets, tops, knit tops, sweaters, pants, jeans, shorts, skirts,

                                                                   swimwear, hosiery, undergarments, scarves, hats, belts, boots,

                                                                   capris, flip flops, gloves, head wraps, leggings, miniskirts,

                                                                   mittens, sandals, shoes, slacks, t-shirts,      outerwear, namely,

                                                                   jackets and coats, vests              International Class 035: Retail

                                                                   store and online retail store services featuring women's and

                                                                   juniors' apparel and accessories, namely, coats, jackets, boots,

      V97.22-0013                                                  jeans, shorts, scarves, hats, gloves, mittens, leggings, boots,            86/270,077   5/2/2014      4,973,695       6/7/2016   Registered - Affidavit of Use due June 7, 2022
                                                                   sandals, headbands, belts, pants, slacks, tops, shirts, t-shirts,

                                                                   hooded sweatshirts, vests, sweaters, dresses, skirts, shorts, flip

                                                                   flops, tote bags, purses, wallets, jewelry, sunglasses, jeggings,

                                                                   tights,   hair   accessories,   cosmetics,   perfume   and candles;

                                                                   providing incentive      award programs for       customers through

                                                                   issuance and processing of loyalty points for on-line purchase of

                                                                   goods in the nature of clothing, footwear, jewelry, perfume,

                                                                   sunglasses, purses and bags
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                                                 Page 33 of 279
                                                                                 International Class 035: Online retail store services featuring
                                                                                 coats, jackets, boots, jeans, shorts, dress shorts, scarves, hats,
                                                                                 gloves, mittens, hats, leggings, robes, boots, slippers, sandals,
                                                                               headbands, belts, pants, dress pants, slacks, dress crops, tops, knit
       V097.6029US1   VANITY.COM                                                                                                                            86/291,247   5/24/2014       4,865,304      12/8/2015      Registered - Affidavit of Use due December 8, 2021
                                                                                   tops, woven tops, shirts, t-shirts, hooded sweatshirts, vests,
                                                                                 sweaters, blazers, dresses, skirts, shoes, flip flops, tote bags,
                                                                          purses, wallets, jewelry, perfume, sunglasses, jeggings, tights, and
                                    Document                                                                   socks




                                                                          International Class 041: On-line journals, namely, blogs featuring
       V097.6030US1   VANITY.COM                                                                                                                            77/558,364   8/28/2008       3,720,766      12/8/2009                          Abandoned
                                                                                        cosmetic procedures and surgery related content




        CLASS 035
                                    Doc 188




       V097.6041US1   FASHIONLINK                                                    International Class 035: Retail clothing store services                85/250,961   2/24/2011       4,226,537      10/16/2012     Registered - Affidavit of Use Due October 16, 2018
                                    Case 17-30112




                                                                                 International Class 035: Online retail store services featuring
                                                                               coats, jackets, boots, jeans, shorts, scarves, hats, gloves, mittens,
                                                                                 leggings, boots, sandals, headbands, belts, pants, slacks, tops,
                                                                               shirts, t-shirts, hooded sweatshirts, vests, sweaters, dresses, skirts,
       V097.6042US1   FASHIONLINK                                                shoes, flip flops, tote bags, purses, wallets, jewelry, perfume,           85/701,091   8/10/2012       4,360,259       7/2/2013         Registered - Affidavit of Use Due July 2, 2019
                                                                                   sunglasses, jeggings, and tights; providing incentive award
                                                                               programs for customers through issuance and processing of loyalty
                                                                                 points for on-line purchase of goods in the nature of clothing,
                                                                                    footwear, jewelry, perfume, sunglasses, purses and bags.




                                                                                                                                                                                                                     Supplemental Registration - Amend to Principal June 26,
       V097.6034US1                                                                               International Class 025: Jeans                            85/615,024   5/2/2012        4,340,168      5/21/2013
                                                                                                                                                                                                                                              2017




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                                                                                                                                                                                                                        Registered on Supplemental Register - Amend to Principal
       V097.6043US1                                                                                    International Class 025: Jeans                           85/615,002   5/2/2012       4,340,167      5/21/2013
                                                                                                                                                                                                                                            on June 26, 2017




        CLASS 025
                                         Document

                                                                                    International Class 025: Blazers; tops; sweaters; cardigans; pants;
       V097.6035US1   STYLE THAT WORKS                                                                                                                          85/975,239   5/25/2010      3,995,304      7/12/2011         Registered - Affidavit of Use Due July 12, 2017
                                                                                                                 skirts; shorts




       V097.6036US1   STYLE THAT WORKS                                                            International Class 025: shirts; dresses                      85/047,088   5/25/2010      4,106,242      2/28/2012       Registered - Affidavit of Use Due February 28, 2018
                                         Doc 188




        CLASS 035

                                                                                      International Class 035: Online retail store services featuring
       V097.6038US1   STYLE THAT WORKS                                                dress pants, skirts, dress crops, dress shorts, blazers, vests, knit      85/430,138   9/23/2011      4,146,248      5/22/2012         Registered - Affidavit of Use Due July 12, 2017
                                                                                               tops, woven tops, sweaters, dresses and shoes
                                         Case 17-30112




                                                                                      International Class 035: Retail store services featuring dress
       V097.6037US1   STYLE THAT WORKS                                                pants, skirts, dress crops, dress shorts, blazers, vests, knit tops,      85/430,133   9/23/2011      4,146,246      5/22/2012         Registered - Affidavit of Use Due May 22, 2018
                                                                                                  woven tops, sweaters, dresses and shoes




                                                                                      International Class 035: On-line retail store services featuring
                                                                                    coats, jackets, boots, jeans, shorts, scarves, hats, gloves, mittens,
                                                                                    leggings, robes, boots, slippers, sandals, headbands, belts, pants,
       V097.6033US1                                                                                                                                             85/202,732   12/21/2010     4,005,713       8/2/2011        Registered - Affidavit of Use Due August 2, 2017
                                                                                     slacks, tops, shirts, t-shirts, hooded sweatshirts, vests, sweaters,
                                                                               dresses, skirts, shoes, flip flops, tote bags, purses, wallets, jewelry,
                                                                                                 perfume, sunglasses, jeggings, and tights.




        CLASS 035


                                                                                     International Class 035: On-line retail store services featuring
       V097.6032US1     EVANITY.COM                                                 coats, jackets, boots, jeans, shorts, scarves, hats, gloves, mittens,       77/517,343    7/8/2008      3,755,533       3/2/2010                           Abandoned
                                                                                         swimwear, leggings, boots, sandals, headbands and belts


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                                         Desc M
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                                                                                     International Class 035: On-line retail store services featuring
                                                                                       pants, slacks, tops, shirts, t-shirts, hooded sweatshirts, vests,
        V097.6031US1    EVANITY.COM                                                                                                                              77/515,824   7/7/2008        3,704,175       11/3/2009                     Abandoned
                                                                                       sweaters, dresses, skirts, shoes, flip flops, tote bags, purses,
                                                                                                 wallets, jewelry, perfume and sunglasses



         CLASS 035


                                                                                      International Class 035: Online retail store services featuring
        V097.6045US1   FASHIONTHATFITS                                                                                                                           85/104,841   8/11/2010       4,136,223        5/1/2012    Registered - Affidavit of Use Due May 1, 2018
                                         Document

                                                                                                                   perfume




                                                                                     International Class 035: On-line retail store services featuring
                                                                                    coats, jackets, boots, jeans, shorts, scarves, hats, gloves, mittens,
        V097.6039US1   FASHIONTHATFITS                                                leggings, boots, sandals, headbands, belts, pants, slacks, tops,           85/975,357   8/11/2010       4,004,007       7/26/2011                     Abandoned
                                         Doc 188




                                                                                    shirts, T-shirts, hooded sweatshirts, vests, sweaters, dresses, skirts,
                                                                                         shoes, flip flops, tote bags, purses, wallets and jewelry
                                         Case 17-30112




        V097.6040US1   FASHIONTHATFITS                                                    International Class 035: Retail clothing store services                78/638,896   5/27/2005       3,153,310       10/10/2006                    Abandoned




         CLASS 035




                                                                                    International Class 035: Retail clothing store services featuring
        V097.6025US1                                                                                                                                             77/724,529   4/28/2009       3,770,254        4/6/2010                     Abandoned
                                                                                                                   candles




                                                                                    International Class 035: Retail clothing store services featuring
        V097.6024US1                                                                                                                                             77/724,525   4/28/2009       3,770,253        4/6/2010                     Abandoned
                                                                                              barrettes, hair clips, hair elastics, and hair ties




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                             Desc M
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                                                                        International Class 035: Retail clothing store services featuring
       V097.6023US1                                                                                                                            77/724,522   4/28/2009       3,770,252       4/6/2010    Abandoned
                                                                                                   sunglasses




                             Document


                                                                        International Class 035: Retail store services featuring purses,
       V097.6022US1                                                                                                                            77/724,517   4/28/2009       3,770,251       4/6/2010    Abandoned
                                                                                             tote bags, and wallets
                             Doc 188




                                                                         International Class 035: Retail store services featuring body
       V097.6021US1                                                butter, body glimmer, body sprays, fragrances for personal use, lip         77/724,502   4/28/2009       3,770,250       4/6/2010    Abandoned
                                                                                              gloss, and nail polish
                             Case 17-30112




       V097.6014US1                                                     International Class 035: Retail store services featuring jewelry       77/724,475   4/28/2009       3,770,249       4/6/2010    Abandoned




       V097.6013US1                                                                    International Class 004: Candles                        77/686,045   3/8/2009        3,717,917       12/1/2009   Abandoned




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                             Desc M
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       V097.6009US1                                                     International Class 026: Barrettes; hair clips; elastics; hair ties      77/681,625   3/2/2009       3,721,293       12/8/2009   Abandoned




       V097.6008US1                                                                 International Class 018: Purses; wallets                     77/681,574   3/2/2009       3,770,041       4/6/2010    Abandoned
                             Document
                             Doc 188




       V097.6011US1                                                                     International Class 014: Jewelry                         77/681,550   3/2/2009       3,721,292       12/8/2009   Abandoned
                             Case 17-30112




       V097.6010US1                                                                   International Class 009: Sunglasses                        77/681,528   3/2/2009       3,721,291       12/8/2009   Abandoned




                                                                        International Class 003: Body butter; body glitter; body sprays;
       V097.6016US1                                                                                                                              77/681,508   3/2/2009       3,776,890       4/20/2010   Abandoned
                                                                                      fragrances for personal use; lip gloss




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     CLASS 035



                                                                        International Class 035: Retail store services featuring barrettes,
    V097.6002US1   VANITY                                                                                                                         77/590,943   10/11/2008      3,691,530      10/6/2009     Registered - Renewal Due October 6, 2019
                                                                                       hair clips, hair ties and hair elastics




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                                                                         International Class 035: Retail store services featuring purses,
    V097.6046US1   VANITY                                                                                                                         77/590,942   10/11/2008      3,700,990      10/27/2009   Registered - Renewal Due October 27, 2019
                                                                                              tote bags and wallets

                             Document

                                                                        International Class 035: Retail clothing store services featuring
    V097.6028US1   VANITY                                                                                                                         77/590,940   10/11/2008      3,691,529      10/6/2009     Registered - Renewal Due October 6, 2019
                                                                                                     sunglasses




                                                                        International Class 035: Retail clothing store services featuring
    V097.6027US1   VANITY                                                                                                                         77/580,371   9/26/2008       3,691,496      10/6/2009     Registered - Renewal Due October 6, 2019
                             Doc 188




                                                                                                      jewelry




                                                                          International Class 035: Retail store services featuring belts,
                             Case 17-30112




                                                                        boots, capris, coats, dresses, flip flops, gloves, hats, headbands,
    V097.6017US1   VANITY                                          head wraps, hooded sweatshirts, jackets, jeans, knit tops, leggings,           77/590,941   10/11/2008      3,717,553      12/1/2009    Registered - Renewal Due December 1, 2019
                                                                        miniskirts, mittens, pants, sandals, scarves, shirts, shoes, shorts,
                                                                            skirts, slacks, sweaters, swimwear, tops, t-shirts, and vests




                                                                          International Class 035: Retail store services featuring body
    V097.6007US1   VANITY                                                   butter, body lotion, body sprays, body glimmer, lip gloss,            77/590,939   10/11/2008      3,720,827      12/8/2009                   Abandoned
                                                                                   fragrances for personal use, and nail polish




                                                                        International Class 035: Retail clothing store services featuring
    V097.6026US1   VANITY                                                                                                                         77/591,109   10/13/2009      3,691,531      10/6/2009     Registered - Renewal Due October 6, 2019
                                                                                                      candles




     CLASS 025
                                                                         International Class 025: womens and juniors clothing, namely
    V097.6004US1   VANITY                                                 dresses, coats, jackets, tops, knit tops, sweaters, pants janes,        74/073,656   6/28/1990       1,800,825      10/26/1993   Registered - Renewal Due October 26, 2023
                                                                                shorts, shirts, swimwear, hosiery, scarves and hats


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                                                                        International Class 025: Belts, boots, capris, flip flops, gloves,
     V097.6015US1   VANITY                                              head wraps, hooded sweatershits, leggings, miniskirts, mittens,         77/612,581   11/12/2008      3,717,668      12/1/2009    Registered - Renewal Due December 1, 2019
                                                                        sandals, shorts, shoes, slacks, T-shits, outerwear, namely, vests


     V097.6020US1   VANITY                                                              International Class 014: Jewelry                        77/585,467   10/3/2008       3,691,515      10/6/2009     Registered - Renewal Due October 6, 2019




     V097.6012US1   VANITY                                                          International Class 018: Purses; wallets                    77/612,562   11/12/2008      3,701,029      10/27/2009   Registered - Renewal Due October 27, 2019
                             Document



     V097.6001US1   VANITY                                                            International Class 009: Sunglasses                       77/612,544   11/12/2008      3,717,667      12/1/2009    Registered - Renewal Due December 1, 2019
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     V097.6000US1   VANITY                                                             International Class 004: Candles                         77/612,541   11/12/2008      3,691,603      10/6/2009                   Abandoned




                                                                        International Class 003: Body butter; body glitter; body sprays;
     V097.6018US1   VANITY                                                                                                                      77/612,536   11/12/2008      3,720,990      12/8/2009                   Abandoned
                             Case 17-30112




                                                                                      fragrances for personal use; lip gloss




     V097.6019US1   VANITY                                                      International Class 026: Hair ties; hair elastics               77/610,371   11/7/2008       3,691,596      10/6/2009     Registered - Renewal Due October 6, 2019




                                                                         International Class 042: retail store serrvices in the field of
     V097.6044US1   VANITY                                                                                                                      74/063,690   5/29/1990       1,780,669       7/6/1993      Registered - Renewal Due July 6, 2023
                                                                                                     clothing




                                                                        International Class 025: womens and junior clothing, namely,
     V097.6006US1                                                        dresses, coats, jackets, tops, knit tops, sweaters, pants, jeans,      74/447,796   10/18/1993      1,891,144      4/25/1995                   Abandoned
                                                                              shorts, skirts, swimwear, hosiery, scarves, and hats




                                                                                                                                             Page 9
                                  Desc M
                                                                                                            9$1,7<6+232)*5$1')25.6,1&
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                                  Filed 03/27/17 Entered 03/27/17 19:15:28
                                                                                                                                                                                   Registration   Registration
   WCK File No.       Mark                                                                          Goods/Services                                      Serial No. Filing Date                                                        Status
                                                                                                                                                                                       No.           Date




     V097.6003US1                                                                  International Class 042: Retail clothing store services               74/447,684   10/18/1993      1,851,806      8/30/1994                       Abandoned




                                               Page 40 of 279
                                                                                 International Class 035: Employment hiring, recruiting,
     V97.22-0011     SPOTLIKE                                                                                                                            86/237,139   3/31/2014                                                      Abandoned
                                                                                    palcement, staffing and career networking services


                                                                              International Class 025: Women's and juniors' apparel, namely
                                                                               dresses, coats, jackets, tops, knit tops, sweaters, pants, jeans,
                                  Document

                                                                              shorts, skirts, swimwear, hosiery, undergarments, scarves, hats,
                                                                               belts, boots, capris, flip flops, gloves, head wraps, leggings,
                                                                               miniskirts, mittens, sandals, shoes, slacks, t-shirts, outerwear,
                                                                             vests International Class 035: Retail store and online retail store
                                                                              services featuring women's and juniors' apparel and accessories,
     V97.22-0012    FLEUR DE V                                               namely, coats, jackets, boots, jeans, shorts, scarves, hats, gloves,        86/270,069    5/2/2014                                                      Abandoned
                                                                             mittens, leggings, boots, sandals, headbands, belts, pants, slacks,
                                  Doc 188




                                                                              tops, shirts, t-shirts, hooded sweatshirts, vests, sweaters, dresses,
                                                                                skirts, shores, flip flops, tote bags, purses, wallets, jewelry,
                                                                             sunglasses, jeggings, tights, hair accessories, cosmetics, perfume
                                                                              and candles; providing incentive award programs for customers
                                                                               through issuance and processing of loyalty points for on-line
                                                                              purchase of goods in the nature of clothing, footwear, jewelry,
                                  Case 17-30112




                                                                        International Class 035: Online and retail store services featuring
     V097.6048US1   SUPER BORED                                                                                                                          86/837,229   12/2/2015       5,047,037      9/30/2016   Registered - Affidavit of Use due September 20, 2022
                                                                        women's and junior's clothing and accessories.


                                                                               International Class 025: Clothing, namely, lounge wear and
     V097.6053US1   LIV & PIPER                                                                                                                          87/022,814    5/3/2016                                         Pending - Statement of Use Accepted
                                                                                                          sleepwear.




                                                                                International Class 035: Retail store and online retail store
                                                                              services featuring women's and juniors' apparel and accessories,
                                                                             namely, coats, jackets, boots, jeans, shorts, scarves, hats, gloves,
                                                                             mittens, leggings, boots, sandals, headbands, belts, pants, slacks,
     V097.6054US1    DELVE BLU                                                tops, shirts, t-shirts, hooded sweatshirts, vests, sweaters, dresses,
                                                                                skirts, shorts, flip flops, tote bags, purses, wallets, jewelry,
                                                                             sunglasses, jeggings, tights, hair accessories, cosmetics, perfume
                                                                              and candles; providing incentive award programs for customers
                                                                               through issuance and processing of loyalty points for on-line
                                                                              purchase of goods in the nature of clothing, footwear, jewelry,
                                                                                            perfume, sunglasses, purses and bags.                        87/250,657   11/29/2016                                                       Pending

                                                                                                                                                      Page 10
                                   Desc M
                                                                                                                   9$1,7<6+232)*5$1')25.6,1&
^ĐŚĞĚƵůĞͬ͕WĂƌƚϭϬ͕ηϲϬ                                                                                                 ĂƐĞEŽ͘ϭϳͲϯϬϭϭϮ

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   WCK File No.       Mark                                                                           Goods/Services                                      Serial No. Filing Date                                   Status
                                                                                                                                                                                        No.           Date




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                                                                                 International Class 035: Retail store and online retail store
                                                                               services featuring women's and juniors' apparel and accessories,
                                                                              namely, coats, jackets, boots, jeans, shorts, scarves, hats, gloves,
                                                                              mittens, leggings, boots, sandals, headbands, belts, pants, slacks,

    V097.6055US1   DARE TO DELVE                                               tops, shirts, t-shirts, hooded sweatshirts, vests, sweaters, dresses,
                                                                                 skirts, shorts, flip flops, tote bags, purses, wallets, jewelry,
                                                                              sunglasses, jeggings, tights, hair accessories, cosmetics, perfume
                                                                               and candles; providing incentive award programs for customers
                                                                                through issuance and processing of loyalty points for on-line
                                   Document

                                                                               purchase of goods in the nature of clothing, footwear, jewelry,
                                                                                             perfume, sunglasses, purses and bags.                        87/250,673   11/29/2016                                 Pending
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                                   Case 17-30112




                                                                                                                                                       Page 11
               Case 17-30112                       Doc 188           Filed 03/27/17 Entered 03/27/17 19:15:28                            Desc Main
                                                                     Document     Page 42 of 279
 Fill in this information to identify the case:

 Debtor name          Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:             DISTRICT OF NORTH DAKOTA

 Case number (if known)              17-30112
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    T G C, L.P.                                   Describe debtor's property that is subject to a lien              $5,248,777.43                 Unknown
        Creditor's Name                               Second position blanket lien on Debtor's
                                                      assets and accounts.
        PO Box 80284
        Billings, MT 59108
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Wells Fargo Bank National
 2.2                                                                                                                    $4,323,760.74                 Unknown
        Association                                   Describe debtor's property that is subject to a lien
        Creditor's Name                               First position blanket lien on Debtor's assets
                                                      and accounts.
        One Boston Place
        Boston, MA 02108
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Vanity Shop of Grand Forks, Inc.                                                   Case number (if know)         17-30112
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                         $9,572,538.1
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    7

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
        Brad A. Sinclair
        KALER DOELING, PLLP                                                                               Line   2.1
        3429 Interstate Boulevard South
        P. O. Box 9231
        Fargo, ND 58106-9231

        Brent E. Shay
        Wells Fargo Capital Finance                                                                       Line   2.2
        1 Boston Place
        Suite 1900
        Boston, MA 02108

        Donald E. Rothman
        Riemer Braunstein LLP                                                                             Line   2.2
        Three Center Plaza, Suite 600
        Boston, MA 02108




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                                                     Document     Page 44 of 279
 Fill in this information to identify the case:

 Debtor name         Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NORTH DAKOTA

 Case number (if known)          17-30112
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          $0.00
           *EMPLOYEES                                                Check all that apply.
           SEE ATTACHMENT:                                            Contingent
           SCHEDULE E - EMPLOYEES                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     These names are provided for notice only; it is
                                                                     undetermined at this time if there will be any
                                                                     prepetition claims filed by any Employees.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           Adams County                                              Check all that apply.
           313 W. Jefferson Street                                    Contingent
           Decatur, IN 46733                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 173
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 Debtor       Vanity Shop of Grand Forks, Inc.                                                                Case number (if known)   17-30112
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ALABAMA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          SALES AND USE TAX DIVISION                                  Unliquidated
          PO BOX 327710                                               Disputed
          MONTGOMERY, AL 36132-7710
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ALISON LUNDERGAN GRIMES                                    Check all that apply.
          SECRETARY OF STATE                                          Contingent
          PO BOX 1150                                                 Unliquidated
          FRANKFORT, KY 40602-1150                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Allen County                                               Check all that apply.
          1 E Main Street                                             Contingent
          Suite 102                                                   Unliquidated
          Fort Wayne, IN 46802                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ALLEN COUNTY AUDITOR                                       Check all that apply.
          PO BOX 1243                                                 Contingent
          LIMA, OH 45802                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 173
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 Debtor       Vanity Shop of Grand Forks, Inc.                                                                Case number (if known)   17-30112
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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ARIZONA CORPORATION                                        Check all that apply.
          COMMISSION                                                  Contingent
          CORPORATIONS DIVISION                                       Unliquidated
          1300 WEST WASHINGTON                                        Disputed
          PHOENIX, AZ 85007-2929
          Date or dates debt was incurred                            Basis for the claim:
                                                                     RBOT (RETAIL BUSINESS OCCUPATION TAX)
                                                                     TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ARIZONA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          ATTN: TRANSACTION PRIVILEGE                                 Unliquidated
          & USE TAX                                                   Disputed
          PO BOX 29010
          PHOENIX, AZ 85038-9010
          Date or dates debt was incurred                            Basis for the claim:
                                                                     OH COMMERCIAL ACTIVITY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Arkansas Department of Finance &                           Check all that apply.
          Adminis                                                     Contingent
          Ledbetter Building                                          Unliquidated
          1816 7th St, Rm 1380                                        Disputed
          Little Rock, AR 72201
          Date or dates debt was incurred                            Basis for the claim:
                                                                     MERCHANT LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Arkansas Department of                                     Check all that apply.
          Workforce Service                                           Contingent
          PO Box 8007                                                 Unliquidated
          Little Rock, AR 72203-8007                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 173
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 Debtor       Vanity Shop of Grand Forks, Inc.                                                                Case number (if known)   17-30112
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ARKANSAS SECRETARY OF                                      Check all that apply.
          STATE                                                       Contingent
          BUSINESS & COMMERICAL                                       Unliquidated
          SERVICES DIVISION                                           Disputed
          1401 WEST CAPITOL AVENUE
          LITTLE ROCK, AR 72201-2937
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ASHLAND, CITY OF                                           Check all that apply.
          DEPT OF FINAN/OCC LICENSE                                   Contingent
          PO BOX 1839                                                 Unliquidated
          ASHLAND, KY 41105                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ASHWAUBENON, VILLAGE OF                                    Check all that apply.
          2155 HOLMGREN WAY                                           Contingent
          ASHWAUBENON, WI 54304                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          AUBURN HILLS, CITY OF                                      Check all that apply.
          1827 N SQUIRREL ROAD                                        Contingent
          AUBURN HILLS, MI 48326                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 173
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 Debtor       Vanity Shop of Grand Forks, Inc.                                                                Case number (if known)   17-30112
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Benton County                                              Check all that apply.
          706 E. 5th Street                                           Contingent
          Fowler, IN 47944                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BENTON COUNTY TREASURER                                    Check all that apply.
          5600 W CANAL DR, STE A                                      Contingent
          KENNEWICK, WA 99336                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Berkheimer                                                 Check all that apply.
          PO Box 25156                                                Contingent
          Lehigh Valley, PA 18002                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BILLINGS, CITY OF                                          Check all that apply.
          DEPT OF FINANCE                                             Contingent
          PO BOX 1178                                                 Unliquidated
          BILLINGS, MT 59103                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Vanity Shop of Grand Forks, Inc.                                                                Case number (if known)   17-30112
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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BONNEVILLE COUNTY                                          Check all that apply.
          TAX COLLECTOR                                               Contingent
          605 N CAPITAL AVE                                           Unliquidated
          IDAHO FALLS, ID 83402                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BOONE COUNTY                                               Check all that apply.
          TOM SCHAUWECKER, ASSESSOR                                   Contingent
          801 E WALNUT ST RM 143                                      Unliquidated
          COLUMBIA, MO 65201                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BOONE COUNTY COLLECTOR                                     Check all that apply.
          BRIAN MCCOLLUM                                              Contingent
          801 EAST WALNUT RM 118                                      Unliquidated
          COLUMBIA, MO 65201                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Boone County Fiscal Court                                  Check all that apply.
          2950 Washington Street                                      Contingent
          PO Box 960                                                  Unliquidated
          Burlington, KY 41005                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Bowling Green, City of                                     Check all that apply.
          PO Box 1410                                                 Contingent
          Bowling Green, KY 42102                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BOZEMAN , CITY OF                                          Check all that apply.
          121 N ROUSE AVE                                             Contingent
          PO BOX 1230                                                 Unliquidated
          BOZEMAN, MT 59771                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BROOKFIELD ASSESSOR, CITY                                  Check all that apply.
          OF                                                          Contingent
          2000 N CALHOUN RD                                           Unliquidated
          BROOKFIELD, WI 53005                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BROWN COUNTY TREASURER                                     Check all that apply.
          305 E WALNUT ST                                             Contingent
          PO BOX 23600                                                Unliquidated
          GREEN BAY, WI 54305                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BUCHANAN COUNTY                                            Check all that apply.
          PEGGY CAMPBELL, COLLECTOR                                   Contingent
          411 JULES ST SUITE 123                                      Unliquidated
          ST JOSEPH, MO 64501                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BUFFALO COUNTY TREASURER                                   Check all that apply.
          JEAN A. SIDWELL, TREAS.                                     Contingent
          P.O. BOX 1270                                               Unliquidated
          KEARNEY, NE 68848                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BUNCOMBE COUNTY TAX DEPT                                   Check all that apply.
          94 COXE AVENUE                                              Contingent
          ASHEVILLE, NC 28801                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          BUTTE-SILVER BOW                                           Check all that apply.
          TREASURER                                                   Contingent
          PO BOX 611                                                  Unliquidated
          BUTTE, MT 59703                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CACHE COUNTY ASSESSOR                                      Check all that apply.
          179 NORTH MAIN                                              Contingent
          SUITE 205                                                   Unliquidated
          LOGAN, UT 84321                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Carroll County                                             Check all that apply.
          114 E. Main Street Suite C                                  Contingent
          PO Box 175                                                  Unliquidated
          Delphi, IN 46923                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CASCADE COUNTY TREASURER                                   Check all that apply.
          PO BOX 2549                                                 Contingent
          GREAT FALLS, MT 59403                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CHARTER TOWNSHIP                                           Check all that apply.
          OF PORTAGE TREASURER                                        Contingent
          47240 GREEN ACRES ROAD                                      Unliquidated
          HOUGHTON, MI 49931                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CHARTER TOWNSHIP OF FLINT                                  Check all that apply.
          LISA ANDERSON, TREASURER                                    Contingent
          1490 S DYE ROAD                                             Unliquidated
          FLINT, MI 48532                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF CHUBBUCK                                           Check all that apply.
          P.O. BOX 5604                                               Contingent
          5160 YELLOWSTONE AVENUE                                     Unliquidated
          CHUBBOCK, ID 83202                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF DAYTON                                             Check all that apply.
          PO BOX 643700                                               Contingent
          CINCINNATI, OH 45264                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Flint                                              Check all that apply.
          1101 S Saginaw St                                           Contingent
          Flint, MI 48502                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF FLINT INCOME TAX                                   Check all that apply.
          DIVISION                                                    Contingent
          PO BOX 529                                                  Unliquidated
          EATON RAPIDS, MI 48827-0529                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF GARLAND                                            Check all that apply.
          ALARM ENFORCEMENT CLERK                                     Contingent
          1891 FOREST LANE                                            Unliquidated
          GARLAND, TX 75042                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL WASTE FEE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Lawrence                                           Check all that apply.
          9001 East 59th Street                                       Contingent
          Lawrence, IN 46216                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF LOGAN                                              Check all that apply.
          BUSINESS LICENSING                                          Contingent
          290 NORTH 100 WEST                                          Unliquidated
          LOGAN, UT 84321                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Madison                                            Check all that apply.
          101 W. Main St.                                             Contingent
          PO BOX 20                                                   Unliquidated
          Madison, IN 47250                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of McKeesport                                         Check all that apply.
          500 Fifth Avenue                                            Contingent
          McKeesport, PA 15132                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Mentor                                             Check all that apply.
          8500 Civic Center Boulevard                                 Contingent
          Mentor, OH 44060                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Ontario                                            Check all that apply.
          555 Stumbo Road                                             Contingent
          Ontario, OH 44906                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF SAGINAW INCOME TAX                                 Check all that apply.
          DIVISION                                                    Contingent
          1315 S WASHINGTON AVE                                       Unliquidated
          SAGINAW, MI 48601                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Springdale                                         Check all that apply.
          11700 Springfield Pike                                      Contingent
          Springdale, OH 45246                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF ST PETERS                                          Check all that apply.
          PO BOX 9                                                    Contingent
          ONE ST PETERS CENTRE BLVD                                   Unliquidated
          ST PETERS, MO 63376                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of St. Clairsville                                    Check all that apply.
          100 North Market St.                                        Contingent
          PO Box 537                                                  Unliquidated
          St. Clairsville, OH 43950                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF ST. JOSEPH                                         Check all that apply.
          1100 FREDERICK AVENUE                                       Contingent
          ST JOSEPH, MO 64501                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CITY OF WESTOVER                                           Check all that apply.
          500 DUPONT ROAD                                             Contingent
          WESTOVER, WV 26501                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          City of Zanesville                                         Check all that apply.
          401 Market Street                                           Contingent
          City Hall - Rm 118                                          Unliquidated
          Zanesville, OH 43701                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CLARKSVILLE, CITY OF                                       Check all that apply.
          DEPT OF FINANCE & REVENUE                                   Contingent
          PO BOX 928                                                  Unliquidated
          CLARKSVILLE, TN 37041                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Clinton County                                             Check all that apply.
          220 Courthouse Square                                       Contingent
          Frankfort, IN 46041                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          COLLECTOR OF REVENUE                                       Check all that apply.
          LEAH BETTS                                                  Contingent
          940 N BOONVILLE AVE                                         Unliquidated
          SPRINGFIELD, MO 65802                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          COLORADO DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          TAXATION DIVISION                                           Unliquidated
          DENVER, CO 80261-0013                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     OCCUPATIONAL TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          COLORADO DEPARTMENT OF                                     Check all that apply.
          STATE                                                       Contingent
          BUSINESS & LICENSING                                        Unliquidated
          1700 BROADWAY, SUITE 200                                    Disputed
          DENVER, CO 80290
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          COLUMBIA, CITY OF                                          Check all that apply.
          BUSINESS LICENSE DIVISION                                   Contingent
          PO BOX 6015                                                 Unliquidated
          COLUMBIA, MO 65205                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Commonwealth of Kentucky                                   Check all that apply.
          Department of Revenue                                       Contingent
          Frankfort, KY 40620                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          COMPTROLLER OF MARYLAND                                    Check all that apply.
          REVENUE ADMINISTRATION                                      Contingent
          DIVISION                                                    Unliquidated
          PO BOX 17405                                                Disputed
          BALTIMORE, MD 21297-1405
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          COMPTROLLER OF PUBLIC                                      Check all that apply.
          ACCOUNTS                                                    Contingent
          PO BOX 149355                                               Unliquidated
          AUSTIN, TX 78714-9355                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     MERCHANT LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CORPORATE INCOME TAX                                       Check all that apply.
          KANSAS                                                      Contingent
          915 SW HARRISON ST                                          Unliquidated
          TOPEKA, KS 66612-1588                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CORPORATION INCOME TAX                                     Check all that apply.
          PO BOX 919                                                  Contingent
          LITTLE ROCK, AR 72203-0919                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     MERCHANT LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CORPORATION TAX RETURN                                     Check all that apply.
          PROCESSING                                                  Contingent
          IOWA DEPARTMENT OF                                          Unliquidated
          REVENUE                                                     Disputed
          PO BOX 10468
          DES MOINES, IA 50306-0468
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CORPORATIONS DIVISION                                      Check all that apply.
          PO BOX 30702                                                Contingent
          LANSING, MI 48909                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          County of Dubois                                           Check all that apply.
          One Courthouse Square                                       Contingent
          Jasper, IN 47546                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          CRAIGHEAD COUNTY                                           Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 9276                                                 Unliquidated
          JONESBORO, AR 72403                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          DALLAS COUNTY TAX OFFICE                                   Check all that apply.
          PO BOX 139066                                               Contingent
          DALLAS, TX 75313                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          DAVIS COUNTY ASSESSOR                                      Check all that apply.
          PO BOX 618                                                  Contingent
          FARMINGTON, UT 84025                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          DELAWARE COUNTY                                            Check all that apply.
          TREASURER                                                   Contingent
          100 W MAIN ST                                               Unliquidated
          ROOM 102                                                    Disputed
          MUNCIE, IN 47305
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Department of Economic Security                            Check all that apply.
          Tax Accounting Section                                      Contingent
          390 N Robert St                                             Unliquidated
          St. Paul, MN 55101                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Department of Labor                                        Check all that apply.
          Unemployment Insurance                                      Contingent
          PO Box 94600                                                Unliquidated
          Lincoln, NE 68509-4600                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Department of Labor &                                      Check all that apply.
          Employment                                                  Contingent
          Unemployment Insurance                                      Unliquidated
          Employer Services                                           Disputed
          PO Box 956
          Denver, CO 80201-0956
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Department of Labor and                                    Check all that apply.
          Industries                                                  Contingent
          Bankruptcy Collections Unit                                 Unliquidated
          PO Box 44171                                                Disputed
          Olympia, WA 98504-4171
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Worker's Compensation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Department of Licensing and                                Check all that apply.
          Regulatory A                                                Contingent
          Unemployment Insurance Agency                               Unliquidated
          3024 W Grand Blvd                                           Disputed
          Detroit, MI 48202
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Division of Taxation                                       Check all that apply.
          915 SW Harrison ST                                          Contingent
          Topeka, KS 66625                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          DOUGLAS COUNTY TREASURER                                   Check all that apply.
          PROPERTY TAX DIVISION                                       Contingent
          PO BOX 2855                                                 Unliquidated
          OMAHA, NE 68103                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          EAU CLAIRE COUNTY                                          Check all that apply.
          TREASURER                                                   Contingent
          721 OXFORD AVE                                              Unliquidated
          EAU CLAIRE, WI 54703                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Education and Workforce                                    Check all that apply.
          Development Cabi                                            Contingent
          275 East Main Street                                        Unliquidated
          Frankfort, KY 40601                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ELLIS COUNTY TREASURER                                     Check all that apply.
          PO BOX 520                                                  Contingent
          HAYS, KS 67601                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Employment Security Commission                             Check all that apply.
          of North                                                    Contingent
          PO Box 25903                                                Unliquidated
          Raleigh, NC 27611-5903                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Employment Security Department                             Check all that apply.
          PO Box 34729                                                Contingent
          Seattle, WA 98124-1729                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FAIRVIEW HEIGHTS, CITY OF                                  Check all that apply.
          CITY CLERK'S OFFICE                                         Contingent
          10025 BUNKUM ROAD                                           Unliquidated
          FAIRVIEW HEIGHTS, IL 62208                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Fayette Tax Collection District,                           Check all that apply.
          Southwe                                                     Contingent
          One Centennial Way                                          Unliquidated
          Scottdale, PA 18013                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FLORENCE, CITY OF                                          Check all that apply.
          PO BOX 1357                                                 Contingent
          FLORENCE, KY 41022                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FLORIDA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          5050 W TENNESSEE STREET                                     Unliquidated
          TALLAHASSEE, FL 32399-0120                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FOND DU LAC                                                Check all that apply.
          CITY TREASURER                                              Contingent
          PO BOX 150                                                  Unliquidated
          FOND DU LAC, WI 54936                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FOND DU LAC                                                Check all that apply.
          CITY TREASURER                                              Contingent
          PO BOX 150                                                  Unliquidated
          FOND DU LAC, WI 54936                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FORSYTH COUNTY TAX                                         Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 82                                                   Unliquidated
          WINSTON SALEM, NC 27102                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Vanity Shop of Grand Forks, Inc.                                                                Case number (if known)   17-30112
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 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Fountain County                                            Check all that apply.
          301 4th St                                                  Contingent
          Covington, IN 47932                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          FRENCHTOWN TREASURER                                       Check all that apply.
          2744 VIVIAN ROAD                                            Contingent
          MONROE, MI 48162                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GALLATIN COUNTY TREASURER                                  Check all that apply.
          311 W MAIN                                                  Contingent
          RM 103                                                      Unliquidated
          BOZEMAN, MT 59715                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GARFIELD COUNTY TREASURER                                  Check all that apply.
          KEVIN R. POSTIER                                            Contingent
          PO BOX 489                                                  Unliquidated
          ENID, OK 73702                                              Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GARLAND COUNTY GOVT                                        Check all that apply.
          REBECCA DODD-TALBERT                                        Contingent
          200 WOODBINE ST STE 108                                     Unliquidated
          HOT SPRINGS, AR 71901                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GRAND JUNCTION, CITY OF                                    Check all that apply.
          CUSTOMER SERVICE                                            Contingent
          DIVISION-SALES TAX                                          Unliquidated
          PO BOX 1809                                                 Disputed
          GRAND JUNCTION, CO
          81502-1809
          Date or dates debt was incurred                            Basis for the claim:
                                                                     WA BUSINESS & OCCUPATION TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GRANDVILLE, CITY OF                                        Check all that apply.
          DEPT #200                                                   Contingent
          P.O. BOX 2545                                               Unliquidated
          GRAND RAPIDS, MI 49501                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Grant County                                               Check all that apply.
          401 S Adams Street                                          Contingent
          Marion, IN 46953                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GREAT FALLS, CITY OF                                       Check all that apply.
          P.O. BOX 5021                                               Contingent
          GREAT FALLS, MT 59403                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GREELEY, CITY OF                                           Check all that apply.
          PO BOX 1648                                                 Contingent
          GREELEY, CO 80632                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Greene County                                              Check all that apply.
          1 E Main St.                                                Contingent
          Bloomfield, IN 47424                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GREGG APPRAISAL DISTRICT                                   Check all that apply.
          4367 W LOOP 281                                             Contingent
          LONGVIEW, TX 75604                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          GUILFORD COUNTY ASSESSOR                                   Check all that apply.
          PO BOX 3138                                                 Contingent
          GREENSBORO, NC 27402                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          HALL COUNTY TREASURER                                      Check all that apply.
          PEGGY L PESEK                                               Contingent
          121 S PINE, STE 2                                           Unliquidated
          GRAND ISLAND, NE 68801                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Hendricks County                                           Check all that apply.
          355 S Washington St                                         Contingent
          Mailbox 215                                                 Unliquidated
          Danville, IN 46122                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          HOWARD COUNTY TREASURER                                    Check all that apply.
          220 N MAIN ST                                               Contingent
          ROOM 226                                                    Unliquidated
          KOKOMO, IN 46901                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Idaho Department of Labor                                  Check all that apply.
          317 W. Main St                                              Contingent
          Boise, ID 83735                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          PO BOX 83784                                                Contingent
          BOISE, ID 83707                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Idaho State Tax Commission                                 Check all that apply.
          PO Box 76                                                   Contingent
          Boise, ID 83707                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          PO BOX 36                                                   Contingent
          BOISE, ID 83722-0410                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     WA BUSINESS & OCCUPATIONAL TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Illinois Department of Employment                          Check all that apply.
          Securi                                                      Contingent
          PO Box 19300                                                Unliquidated
          Springfield, IL 62794-9300                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Illinois Department of Revenue                             Check all that apply.
          PO Box 19044                                                Contingent
          Springfield, IL 62794                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ILLINOIS DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          RETAILER'S OCCUPATION TAX                                   Unliquidated
          SPRINGFIELD, IL 06279-6001                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ILLINOIS DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 19008                                                Unliquidated
          SPRINGFIELD, IL 62794-9008                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          INDEPENDENCE, CITY OF                                      Check all that apply.
          LICENSE DIVISION                                            Contingent
          P.O. BOX 1019                                               Unliquidated
          INDEPENDENCE, MO 64051                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Indiana Department of Revenue                              Check all that apply.
          PO Box 6108                                                 Contingent
          Indianapolis, IN 46206                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          INDIANA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          CONSOLIDATED SALES TAX                                      Unliquidated
          100 N SENATE AVENUE                                         Disputed
          INDIANAPOLIS, IN 46204-2253
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          INDIANA DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 7231                                                 Unliquidated
          INDIANAPOLIS, IN 46207-7231                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Indiana Department of Workforce                            Check all that apply.
          Developm                                                    Contingent
          10 N Senate Ave                                             Unliquidated
          RM SE003                                                    Disputed
          Indianapolis, IN 46204-2277
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          PO Box 37941                                                Contingent
          Hartford, CT 06176-7941                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Iowa Department of Revenue                                 Check all that apply.
          PO Box 10411                                                Contingent
          Des Moines, IA 50306                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          IOWA DEPARTMENT OF                                         Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 10457                                                Unliquidated
          DES MOINES, IA 50306                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          IOWA SECRETARY OF STATE                                    Check all that apply.
          321 EAST 12TH ST                                            Contingent
          DES MOINES, IA 50319                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Iowa Workforce Development                                 Check all that apply.
          Unemployment                                                Contingent
          1000 E Grand Avenue                                         Unliquidated
          Des Moines, IA 50319                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JACKSON COUNTY COLLECTOR                                   Check all that apply.
          PO BOX 219747                                               Contingent
          KANSAS CITY, MO 64121                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Jasper County                                              Check all that apply.
          115 W Washington St                                         Contingent
          Rensselaer, IN 47978                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JASPER COUNTY COLLECTOR                                    Check all that apply.
          STEPHEN H HOLT                                              Contingent
          PO BOX 421                                                  Unliquidated
          CARTHAGE, MO 64836                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Jay County                                                 Check all that apply.
          120 Court Street                                            Contingent
          Portland, IN 47371                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JEFFERSON COUNTY TAX                                       Check all that apply.
          ASSESSOR COLLECTOR                                          Contingent
          PO BOX 2112                                                 Unliquidated
          BEAUMONT, TX 77704                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JESSE WHITE SECRETARY OF                                   Check all that apply.
          STATE                                                       Contingent
          DEPARTMENT OF BUSINESS                                      Unliquidated
          SERVICES                                                    Disputed
          501 S 2ND STREET
          SPRINGFIELD, IL 62756-5510
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Job Service of North Dakota                                Check all that apply.
          PO Box 5507                                                 Contingent
          Bismarck, ND 58506-5507                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JOHNSON CITY, CITY OF                                      Check all that apply.
          PO BOX 2150                                                 Contingent
          JOHNSON CITY, TN 37605                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Johnson County                                             Check all that apply.
          86 W. Court St.                                             Contingent
          Franklin, IN 46131                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JOHNSON COUNTY TREASURER                                   Check all that apply.
          PO BOX 6095                                                 Contingent
          INDIANAPOLIS, IN 46207                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          JOPLIN, CITY OF                                            Check all that apply.
          602 SOUTH MAIN ST                                           Contingent
          JOPLIN, MO 64801                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Kansas Department of Labor                                 Check all that apply.
          PO Box 400                                                  Contingent
          Topeka, KS 66601-0400                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          KANSAS DEPARTMENT OF                                       Check all that apply.
          REVENUE                                                     Contingent
          DIVISION OF TAXATION                                        Unliquidated
          915 SW HARRISON ST                                          Disputed
          TOPEKA, KS 66612
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          KANSAS OFFICE OF THE                                       Check all that apply.
          SECRETARY OF STATE                                          Contingent
          120 SW 10TH AVE                                             Unliquidated
          TOPEKA, KS 66612-1594                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          KENTUCKY DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          501 HIGH STREET                                             Unliquidated
          FRANKFORT, KY 40601                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          KENTUCKY STATE TREASURER                                   Check all that apply.
          KENTUCKY DEPT OF REVENUE                                    Contingent
          FRANKFORT, KY 40620                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          KOOTENAI COUNTY TREASURER                                  Check all that apply.
          P.O. BOX 6700                                               Contingent
          COEUR D'ALENE, ID 83816                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          LA CROSSE CITY TREASURER                                   Check all that apply.
          CITY OF LA CROSSE                                           Contingent
          400 LA CROSSE ST                                            Unliquidated
          LA CROSSE, WI 54601                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Store # 251 PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Lake County                                                Check all that apply.
          2293 N. Main Street                                         Contingent
          Bldg A, 2nd Floor                                           Unliquidated
          Crown Point, IN 46307                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          LANCASTER COUNTY TREAS.                                    Check all that apply.
          ANDY STEBBING                                               Contingent
          555 SOUTH 10TH STREET                                       Unliquidated
          LINCOLN, NE 68508                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          LARAMIE COUNTY ASSESSOR                                    Check all that apply.
          PO BOX 307                                                  Contingent
          CHEYENNE, WY 82003                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Lawrence Tax Collection District,                          Check all that apply.
          Berkhe                                                      Contingent
          50 North Seventh Street                                     Unliquidated
          Bangor, PA 18013                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          LAYTON COUNTY BUSINESS                                     Check all that apply.
          LICENSING                                                   Contingent
          437 N WASATCH DR                                            Unliquidated
          LAYTON, UT 84041                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          LUBBOCK CENTRAL APPRAISAL                                  Check all that apply.
          DISTRICT                                                    Contingent
          PO BOX 10568 - 2109 AVE Q                                   Unliquidated
          LUBBOCK, TX 79408                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MADISON COUNTY TREASURER                                   Check all that apply.
          DONNA J. PRIMROSE                                           Contingent
          BOX 270                                                     Unliquidated
          MADISON, NE 68748                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MADISON, CITY OF                                           Check all that apply.
          CITY TREASURER                                              Contingent
          P.O. BOX 2999                                               Unliquidated
          MADISON, WI 53701                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MAHONING COUNTY                                            Check all that apply.
          120 MARKET ST                                               Contingent
          YOUNGSTOWN, OH 44503                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MANHATTAN, CITY OF                                         Check all that apply.
          COMMUNITY DEVELOPMENT                                       Contingent
          1101 POYNTZ                                                 Unliquidated
          MANHATTAN, KS 66502                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL WASTE FEE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MARCO, INC.                                                Check all that apply.
          PO BOX 660831                                               Contingent
          DALLAS, TX 75266                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Marion County                                              Check all that apply.
          200 E. Washington St.                                       Contingent
          Suite 2222                                                  Unliquidated
          Indianapolis, IN 46204                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MASSACHUSETTS DEPARTMENT                                   Check all that apply.
          OF REVENUE                                                  Contingent
          PO BOX 419257                                               Unliquidated
          BOSTON, MA 02241-9257                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MCLENNAN COUNTY TAX                                        Check all that apply.
          ASSESSOR-COLLECTOR                                          Contingent
          PO BOX 406                                                  Unliquidated
          WACO, TX 76703                                              Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MERIDIAN TOWNSHIP                                          Check all that apply.
          JULIE BRIXIE, TREASURER                                     Contingent
          5151 MARSH RD                                               Unliquidated
          OKEMOS, MI 48864                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MESA COUNTY TREASURER                                      Check all that apply.
          PO BOX 173678                                               Contingent
          DENVER, CO 80217                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Michigan Department of Treasury                            Check all that apply.
          PO Box 30806                                                Contingent
          Lansing, MI 48909                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MICHIGAN DEPARTMENT OF                                     Check all that apply.
          TREASURY                                                    Contingent
          PO BOX 30324                                                Unliquidated
          LANSING, MI 48909-7824                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MICHIGAN DEPT OF TREASURY                                  Check all that apply.
          PO BOX 30803                                                Contingent
          LANSING, MI 48909                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MIDLAND CENTRAL                                            Check all that apply.
          APPRAISAL DISTRICT                                          Contingent
          PO BOX 908002                                               Unliquidated
          MIDLAND, TX 79708                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Minnesota Department of Revenue                            Check all that apply.
          600 North Rober St                                          Contingent
          St Paul, MN 55146                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MINNESOTA DEPARTMENT OF                                    Check all that apply.
          REVENUE                                                     Contingent
          SALES & USE TAX DIVISION                                    Unliquidated
          MAIL STATION 6330                                           Disputed
          ST PAUL, MN 55146-6330
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MINNESOTA DEPARTMENT OF                                    Check all that apply.
          REVENUE                                                     Contingent
          TAX OPERATIONS DIVISION                                     Unliquidated
          MAIL STATION 4110                                           Disputed
          ST PAUL, MN 55146-4110
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MINNESOTA SECRETARY OF                                     Check all that apply.
          STATE - BUSINESS                                            Contingent
          RETIREMENT SYSTEMS OF                                       Unliquidated
          MINNESOTA BUILDING                                          Disputed
          60 EMPIRE DRIVE, SUITE 100
          ST PAUL, MN 55103
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MISSOULA CITY FINANCE                                      Check all that apply.
          BUSINESS LICENSING                                          Contingent
          435 RYMAN ST                                                Unliquidated
          MISSOULA, MT 59802                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MISSOULA COUNTY TREASURER                                  Check all that apply.
          200 W. BROADWAY STREET                                      Contingent
          MISSOULA, MT 59802                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Missouri Department of Labor                               Check all that apply.
          Division of Employment Security                             Contingent
          421 East Dunklin Street                                     Unliquidated
          Jefferson City, MO 65104                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Missouri Department of Revenue                             Check all that apply.
          Taxation Division                                           Contingent
          PO Box 3300                                                 Unliquidated
          Jefferson City, MO 65105                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MISSOURI DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          TAXATION DIVISION                                           Unliquidated
          PO BOX 840                                                  Disputed
          JEFFERSON CITY, MO 65105-0840
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MISSOURI DEPT OF REVENUE                                   Check all that apply.
          DIVISION OF TAXATION                                        Contingent
          PO BOX 3390                                                 Unliquidated
          JEFFERSON CITY, MO 65105                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MONONGALIA COUNTY                                          Check all that apply.
          SHERIFF OF                                                  Contingent
          243 HIGH ST, RM 26 TAX                                      Unliquidated
          MORGANTOWN, WV 26505                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MONROE COUNTY TREASURER                                    Check all that apply.
          100 W KIRKWOOD AVE                                          Contingent
          ROOM 204                                                    Unliquidated
          BLOOMINGTON, IN 47404                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Montana Department of Labor &                              Check all that apply.
          Industry                                                    Contingent
          PO Box 6339                                                 Unliquidated
          Helena, MT 59604                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Montana Department of Revenue                              Check all that apply.
          PO Box 5805                                                 Contingent
          Helena, MT 59604                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MONTANA DEPT OF REVENUE                                    Check all that apply.
          DEPT 6339                                                   Contingent
          HELENA, MT 59604                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MONTANA SECRETARY OF                                       Check all that apply.
          STATE                                                       Contingent
          PO BOX 202801                                               Unliquidated
          HELENA, MT 59620                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MONTGOMERY COUNTY                                          Check all that apply.
          TRUSTEE                                                     Contingent
          PO BOX 1005                                                 Unliquidated
          CLARKSVILLE, TN 37041                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Morgan County                                              Check all that apply.
          180 South Main St.                                          Contingent
          Martinsville, IN 46151                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Municipality of Monroeville                                Check all that apply.
          2700 Monroeville Blvd                                       Contingent
          Monroeville, PA 15146                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MURFREESBORO, CITY OF                                      Check all that apply.
          PO BOX 1139                                                 Contingent
          MURFREESBORO, TN 37133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MURRAY CITY                                                Check all that apply.
          BUSINESS LICENSING                                          Contingent
          4646 S 500 W                                                Unliquidated
          MURRAY, UT 84123                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NATRONA COUNTY TREASURER                                   Check all that apply.
          PO BOX 2290                                                 Contingent
          CASPER, WY 82602                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Store # 207 PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NC DEPARTMENT OF REVENUE                                   Check all that apply.
          SALES & USE TAX DIVISION                                    Contingent
          PO BOX 25000                                                Unliquidated
          RALEIGH, NC 27640-0001                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NC SECRETARY OF STATE                                      Check all that apply.
          PO BOX 29622                                                Contingent
          RALEIGH, NC 27626                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Nebraska Department of Revenue                             Check all that apply.
          PO Box 98915                                                Contingent
          Lincoln, NE 68509                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NEBRASKA DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 98923                                                Unliquidated
          LINCOLN, NE 68509-8923                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NEBRASKA DEPARTMENT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 94818                                                Unliquidated
          LINCOLN, NE 68509-4818                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NEVADA DEPT OF TAXATION                                    Check all that apply.
          1550 COLLEGE PARKWAY                                        Contingent
          SUITE 115                                                   Unliquidated
          CARSON CITY, NV 89706                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NEW MEXICO TAXATION & REV                                  Check all that apply.
          TAXATION & REVENUE DEPT                                     Contingent
          PO BOX 25127                                                Unliquidated
          SANTA FE, NM 87504                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NEW YORK STATE                                             Check all that apply.
          CORPORATION TAX                                             Contingent
          PO BOX 4136                                                 Unliquidated
          BINGHAMTON, NY 13902-4136                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          New York State Department of                               Check all that apply.
          Taxation                                                    Contingent
          PO Box 4119                                                 Unliquidated
          Binghamton, NY 13902                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NEW YORK STATE SALES TAX                                   Check all that apply.
          NY DEPARTMENT OF TAXATION                                   Contingent
          AND FINANCE                                                 Unliquidated
          W A HARRIMAN CAMPUS                                         Disputed
          ALBANY, NY 12227
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Noble County                                               Check all that apply.
          101 N Orange St.                                            Contingent
          Albion, IN 46701                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          North Carolina Department of                               Check all that apply.
          Revenue                                                     Contingent
          PO Box 25000                                                Unliquidated
          Raleigh, NC 27640                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NYS DEPT OF TAXATION &                                     Check all that apply.
          FINANCE CORP-V                                              Contingent
          PO BOX 15163                                                Unliquidated
          ALBANY, NY 12212                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NYS DIVISION OF                                            Check all that apply.
          CORPORATIONS                                                Contingent
          STATE RECORDS & UNIFORM                                     Unliquidated
          COMMERICAL CODE                                             Disputed
          ONE COMMERCE PLAZA, 99
          WASHINGTON AVE
          ALBANY, NY 01223-1001
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OCCUPATIONAL TAX ADMIN.                                    Check all that apply.
          PO BOX 10008                                                Contingent
          OWENSBORO, KY 42302                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OFFICE OF THE INDIANA                                      Check all that apply.
          SECRETARY OF STATE                                          Contingent
          302 W WASHINGTON ST                                         Unliquidated
          ROOM E-018                                                  Disputed
          INDIANAPOLIS, IN 46204
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OFFICE OF THE STATE TAX                                    Check all that apply.
          COMMISSIONER                                                Contingent
          600 E BOULEVARD AVENUE,                                     Unliquidated
          DEPT 127                                                    Disputed
          BISMARCK, ND 58505-0599
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OGDEN CITY CORPORATION                                     Check all that apply.
          COMMUNITY DEVELOP. DEPT                                     Contingent
          2549 WASHINGTON BLVD #240                                   Unliquidated
          OGDEN, UT 84401                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ohio Department of Jab and                                 Check all that apply.
          Family Servic                                               Contingent
          PO Box 182413                                               Unliquidated
          Columbus, OH 43218-2413                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ohio Department of Taxation                                Check all that apply.
          PO Box 182667                                               Contingent
          Columbus, OH 43218-2667                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ohio Department of Taxation                                Check all that apply.
          PO Box 182401                                               Contingent
          Columbus, OH 43218-2401                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS REGISTRATION
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OHIO DEPARTMENT OF                                         Check all that apply.
          TAXATION                                                    Contingent
          PO BOX 530                                                  Unliquidated
          COLUMBUS, OH 43216-0530                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OKLAHOMA COUNTY                                            Check all that apply.
          TREASURER                                                   Contingent
          FORREST "BUTCH" FREEMAN                                     Unliquidated
          PO BOX 268875                                               Disputed
          OKLAHOMA CITY, OK 73126
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Oklahoma Employment Security                               Check all that apply.
          Commission                                                  Contingent
          PO Box 52004                                                Unliquidated
          Oklahoma City, OK 73152-2004                                Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Oklahoma Tax Commission                                    Check all that apply.
          2501 North Lincoln Boulevard                                Contingent
          Oklahoma City, OK 73194                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          OKLAHOMA TAX COMMISSION                                    Check all that apply.
          BUSINESS TAX COMMISSION                                     Contingent
          PO BOX 26800                                                Unliquidated
          OKLAHOMA CITY, OK 73126                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL WASTE FEE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ONTARIO, CITY OF                                           Check all that apply.
          INCOME TAX DEPT                                             Contingent
          PO BOX 166                                                  Unliquidated
          ONTARIO, OH 44862                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Owen County                                                Check all that apply.
          60 S Main St                                                Contingent
          Rm 102B                                                     Unliquidated
          Spencer, IN 47460                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          PA DEPARTMENT OF REVENUE                                   Check all that apply.
          BUREAU OF CORPORATION                                       Contingent
          TAXES-327 WALNUT S                                          Unliquidated
          PO BOX 280422                                               Disputed
          HARRISBURG, PA 17128-2005
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Pennsylvania Department of Labor                           Check all that apply.
          & Indus                                                     Contingent
          Office of UC Tax Services                                   Unliquidated
          651 Boas Street                                             Disputed
          Harrisburg, PA 17121-0750
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          1 Revenue Place                                             Unliquidated
          Harrisburg, PA 01712-9001                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          PENNSYLVANIA DEPARTMENT                                    Check all that apply.
          OF REVENUE                                                  Contingent
          PO BOX 280905                                               Unliquidated
          HARRISBURG, PA 17128-0905                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          POTTER COUNTY TAX ASSESS.                                  Check all that apply.
          SHERRI AYLOR PCC                                            Contingent
          P.O. BOX 2289                                               Unliquidated
          AMARILLO, TX 79105                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          PUEBLO COUNTY TREASURER                                    Check all that apply.
          215 WEST 10TH ST                                            Contingent
          ROOM 110                                                    Unliquidated
          PUEBLO, CO 81003                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          PUEBLO, CITY OF                                            Check all that apply.
          SALES TAX DIVISION                                          Contingent
          P.O. BOX 1427                                               Unliquidated
          PUEBLO, CO 81002                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          RACINE, CITY OF                                            Check all that apply.
          TAX PAYMENTS                                                Contingent
          PO BOX 88661                                                Unliquidated
          MILWAUKEE, WI 53288                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Randolph County                                            Check all that apply.
          100 South Main Street                                       Contingent
          Room # 103                                                  Unliquidated
          Winchester, IN 47394                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ROCK COUNTY TREASURER                                      Check all that apply.
          ROCK COUNTY COURTHOUSE                                      Contingent
          PO BOX 1508                                                 Unliquidated
          JANESVILLE, WI 53547                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          RUTHERFORD COUNTY TRUSTEE                                  Check all that apply.
          PO BOX 1316                                                 Contingent
          MURFREESBORO, TN 37133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SAGINAW CHARTER TOWNSHIP                                   Check all that apply.
          WATER DEPARTMENT                                            Contingent
          PO BOX 6400                                                 Unliquidated
          SAGINAW, MI 48608                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL REPORT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SALINE COUNTY TREASURER                                    Check all that apply.
          PO BOX 5040                                                 Contingent
          ROOM 214                                                    Unliquidated
          SALINA, KS 67401                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SALT LAKE COUNTY ASSESSOR                                  Check all that apply.
          PO BOX 410470                                               Contingent
          SALT LAKE CITY, UT 84141                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SANDY CITY                                                 Check all that apply.
          BUSINESS LICENSE-STE #210                                   Contingent
          10000 CENTENNIAL PARKWAY                                    Unliquidated
          SANDY, UT 84070                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SCOTT SHIPMAN, ASSESSOR                                    Check all that apply.
          201 N SECOND ST                                             Contingent
          RM 141                                                      Unliquidated
          ST CHARLES, MO 63301                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SCOTTS BLUFF COUNTY                                        Check all that apply.
          TREASURER                                                   Contingent
          1825 10TH STREET                                            Unliquidated
          GERING, NE 69341                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SCOTTSBLUFF, CITY OF                                       Check all that apply.
          2525 CIRCLE DR                                              Contingent
          SCOTTSBLUFF, NE 69361                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL WASTE FEE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SEBASTIAN COUNTY TAX                                       Check all that apply.
          COLLECTOR                                                   Contingent
          PO BOX 1358                                                 Unliquidated
          FT. SMITH, AR 72902                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SECRETARY OF STATE                                         Check all that apply.
          PO BOX 1366                                                 Contingent
          JEFFERSON CITY, MO 65102                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SECRETARY OF STATE                                         Check all that apply.
          STATE OF NORTH DAKOTA                                       Contingent
          PO BOX 5513                                                 Unliquidated
          BISMARCK, ND 58506-5513                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SECRETARY OF STATE                                         Check all that apply.
          CORPORATIONS BUREAU                                         Contingent
          325 DON GASPAR, SUITE 300                                   Unliquidated
          SANTA FE, NM 87501                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SECRETARY OF STATE                                         Check all that apply.
          202 NORTH CARSON STREET                                     Contingent
          CARSON CITY, NV 89701-4201                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     OH COMMERCIAL ACTIVITY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SECRETARY OF STATE                                         Check all that apply.
          CAPITOL BUILDING                                            Contingent
          500 EAST CAPITOL AVENUE                                     Unliquidated
          PIERRE, SD 57501                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SECRETARY OF STATE                                         Check all that apply.
          BLDG 1, SUITE 157-K                                         Contingent
          1900 KANAWHA BLVD EAST                                      Unliquidated
          CHARLESTON, WV 25305-0770                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SMITH COUNTY TAX OFFICE                                    Check all that apply.
          GARY B. BARBER                                              Contingent
          PO BOX 2011                                                 Unliquidated
          TYLER, TX 75710                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          South Dakota Department of Labor                           Check all that apply.
          & Regul                                                     Contingent
          Unemployment Insurance Division                             Unliquidated
          PO Box 4730                                                 Disputed
          Aberdeen, SD 57402-4730
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SOUTH DAKOTA DEPARTMENT                                    Check all that apply.
          OF REVENUE                                                  Contingent
          445 E CAPITAL AVENUE                                        Unliquidated
          PIERRE, SD 57501-3185                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SPRINGDALE, CITY OF                                        Check all that apply.
          SPRINGDALE CITY INCOMETAX                                   Contingent
          11700 SPRINGFIELD PIKE                                      Unliquidated
          SPRINGDALE, OH 45246                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          SPRINGFIELD, CITY OF                                       Check all that apply.
          DEPT OF FINANCE/LICENSE                                     Contingent
          PO BOX 8368                                                 Unliquidated
          SPRINGFIELD, MO 65801                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     ANNUAL WASTE FEE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Springhill Township                                        Check all that apply.
          268 Windy Gap Road                                          Contingent
          Aleppo, PA 15310                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          ST. JOSEPH COUNTY                                          Check all that apply.
          TREASURER                                                   Contingent
          PO BOX 4758                                                 Unliquidated
          SOUTH BEND, IN 46634                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF ARKANSAS                                          Check all that apply.
          SALES AND USE TAX SECTION                                   Contingent
          PO BOX 3566                                                 Unliquidated
          LITTLE ROCK, AR 72203-3566                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     MERCHANT LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          State of Colorado                                          Check all that apply.
          Department of Revenue                                       Contingent
          Denver, CO 80261                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF CONNECTICUT                                       Check all that apply.
          DEPARTMENT OF REVENUE                                       Contingent
          450 COLUMBUS BOULEVARD,                                     Unliquidated
          SUITE 1                                                     Disputed
          HARTFORD, CT 06103-1837
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF NEBRASKA                                          Check all that apply.
          STATE CAPITOL, SUITE 301                                    Contingent
          PO BOX 94608                                                Unliquidated
          LINCOLN, NE 68509-4608                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF NEVADA                                            Check all that apply.
          SALES/USE                                                   Contingent
          PO BOX 7165                                                 Unliquidated
          SAN FRANCISCO, CA 94120-7165                                Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     OH COMMERCIAL ACTIVITY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF TENNESSEE                                         Check all that apply.
          DIVISION OF BUSINESS                                        Contingent
          SERVICES                                                    Unliquidated
          WILLIAM R SNODGRASS TOWER                                   Disputed
          312 ROSA L. PARKS, AVE 6TH FL
          NASHVILLE, TN 37243-1102
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF TENNESSEE                                         Check all that apply.
          DEPARTMENT OF REVENUE                                       Contingent
          ANDREW JACKSON STATE                                        Unliquidated
          OFFICE BUILDING                                             Disputed
          NASHVILLE, TN 37242
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF UTAH                                              Check all that apply.
          DEPARTMENT OF COMMERCE                                      Contingent
          PO BOX 146705                                               Unliquidated
          SALT LAKE CITY, UT 84114-6705                               Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     WA BUSINESS & OCCUPATIONAL TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF WASHINGTON                                        Check all that apply.
          DEPARTMENT OF REVENUE                                       Contingent
          PO BOX 47464                                                Unliquidated
          OLYMPIA, WA 98504-7464                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     OH COMMERCIAL ACTIVITY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF WASHINGTON                                        Check all that apply.
          BUSINESS LICENSING SERVICE                                  Contingent
          PO BOX 47475                                                Unliquidated
          OLYMPIA, WA 98504-7475                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     OHIO SALES TAX PERMIT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          State of West Virginia                                     Check all that apply.
          State Tax Dept                                              Contingent
          PO Box 1667                                                 Unliquidated
          Charleston, WV 25326                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STATE OF WISCONSIN                                         Check all that apply.
          DIVISION OF CORPORATE &                                     Contingent
          CONSUMER SERVICE                                            Unliquidated
          PO BOX 7846                                                 Disputed
          MADISON, WI 53707-7846
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          State of Wyoming                                           Check all that apply.
          Department of Workforce Services                            Contingent
          PO Box 2760                                                 Unliquidated
          Casper, WY 82602                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          STERLING HEIGHTS, CITY OF                                  Check all that apply.
          DEPARTMENT 181601                                           Contingent
          PO BOX 55000                                                Unliquidated
          DETROIT, MI 48255                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Sullivan County                                            Check all that apply.
          100 Courthouse Square                                       Contingent
          Room 201                                                    Unliquidated
          Sullivan, IN 47882                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TAX ASSESSOR-COLLECTOR                                     Check all that apply.
          PO BOX 6527                                                 Contingent
          TEXARKANA, TX 75505                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TAYLOR CITY OF                                             Check all that apply.
          PO BOX 335                                                  Contingent
          TAYLOR, MI 48180                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Tennessee Department of Labor                              Check all that apply.
          and Workfo                                                  Contingent
          220 French Landing Drive                                    Unliquidated
          Nashville, TN 37243                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TENNESSEE DEPARTMENT OF                                    Check all that apply.
          REVENUE                                                     Contingent
          ANDREW JACKSON STATE                                        Unliquidated
          OFFICE BUILDING                                             Disputed
          NASHVILLE, TN 37242
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TEXAS COMPTROLLER OF                                       Check all that apply.
          PUBLIC ACCOUNTS                                             Contingent
          PO BOX 49348                                                Unliquidated
          AUSTIN, TX 78714                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Store # 207 PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Texas Workforce Commission                                 Check all that apply.
                                                                      Contingent
          Austin, TX 78714-9037                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          The Municipality of Penn Hills                             Check all that apply.
          12245 Frankstown Road                                       Contingent
          Penn Hills, PA 15235                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TIPPECANOE COUNTY                                          Check all that apply.
          TREASURER                                                   Contingent
          20 N 3RD ST                                                 Unliquidated
          LAFAYETTE, IN 47901                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TOM GREEN APPRAISAL                                        Check all that apply.
          DISTRICT                                                    Contingent
          P.O. BOX 3307                                               Unliquidated
          SAN ANGELO, TX 76902                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TOWN OF GRAND CHUTE                                        Check all that apply.
          TOWN TREASURER                                              Contingent
          1900 W GRAND CHUTE BLVD                                     Unliquidated
          GRAND CHUTE, WI 54913                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TOWN OF HENRIETTA                                          Check all that apply.
          BUILDING/FIRE PREVENTION                                    Contingent
          475 CALKINS ROAD                                            Unliquidated
          HENRIETTA, NY 14467                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TREASURER EL PASO COUNTY                                   Check all that apply.
          P.O. BOX 2018                                               Contingent
          COLORADO SPRINGS, CO 80901                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TREASURER VIGO COUNTY                                      Check all that apply.
          TAX PROCESSING CENTER                                       Contingent
          PO BOX 1466                                                 Unliquidated
          INDIANAPOLIS, IN 46206                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TREASURER, ALLEN COUNTY                                    Check all that apply.
          PO BOX 2540                                                 Contingent
          FORT WAYNE, IN 46801                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TULSA COUNTY TREASURER                                     Check all that apply.
          DENNIS SEMLER                                               Contingent
          PO BOX 21017                                                Unliquidated
          TULSA, OK 74121                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          TWIN FALLS COUNTY TREAS.                                   Check all that apply.
          DEBBIE KAUFFMAN                                             Contingent
          BOX 88                                                      Unliquidated
          TWIN FALLS, ID 83303                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          UTAH DEPARTMENT OF                                         Check all that apply.
          AGRICULTURE & FOOD                                          Contingent
          PO BOX 146500                                               Unliquidated
          SALT LAKE CITY, UT 84114                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Utah Department of Workforce                               Check all that apply.
          Services                                                    Contingent
          Unemployment Insurance                                      Unliquidated
          PO Box 45233                                                Disputed
          Salt Lake City, UT 84145-0233
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Utah State Tax Commission                                  Check all that apply.
          210 North 1950 West                                         Contingent
          Salt Lake City, UT 84134                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          VIENNA, CITY OF                                            Check all that apply.
          OFFICE OF THE TREASURER                                     Contingent
          P.O. BOX 5097                                               Unliquidated
          VIENNA, WV 26105                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Vigo County                                                Check all that apply.
          191 Oak St                                                  Contingent
          Terre Haute, IN 47807                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          VILLAGE OF GREENDALE                                       Check all that apply.
          WATER/SEWER                                                 Contingent
          PO BOX 257                                                  Unliquidated
          GREENDALE, WI 53129                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          VIRGINIA DEPARTMENT OF                                     Check all that apply.
          TAXATION                                                    Contingent
          OUT-OF-STATE DEALER'S USE                                   Unliquidated
          TAX                                                         Disputed
          PO BOX 26627
          RICHMOND, VA 23261-6627
          Date or dates debt was incurred                            Basis for the claim:
                                                                     BUSINESS LICENSE
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Warren County Schools                                      Check all that apply.
          Occupational Tax Office                                     Contingent
          PO Box 51530                                                Unliquidated
          Bowling Green, KY 42102                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WARREN COUNTY SCHOOLS                                      Check all that apply.
          OCCUPATIONAL NET PROFIT                                     Contingent
          PO BOX 890944                                               Unliquidated
          CHARLOTTE, NC 28289                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WASHINGTON COUNTY                                          Check all that apply.
          DAVID RUFF, TAX COLLECTOR                                   Contingent
          280 N COLLEGE, SUITE 202                                    Unliquidated
          FAYETTEVILLE, AR 72701                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX-CAPITAL LEASE
                                                                     PROP
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WASHINGTON COUNTY TRUSTEE                                  Check all that apply.
          MONTY TREADWAY                                              Contingent
          PO BOX 215                                                  Unliquidated
          JONESBOROUGH, TN 37659                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WAUSAU, CITY OF                                            Check all that apply.
          TREASURER                                                   Contingent
          PO BOX 3051                                                 Unliquidated
          MILWAUKEE, WI 53201                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Wayne County                                               Check all that apply.
          401 East Main                                               Contingent
          Richmond, IN 47374                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WEBER COUNTY ASSESSOR                                      Check all that apply.
          2380 WASHINGTON BLVD                                        Contingent
          STE 380                                                     Unliquidated
          OGDEN, UT 84401                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WEST VIRGINIA DEPARTMENT OF                                Check all that apply.
          REVENUE                                                     Contingent
          THE REVENUE CENTER                                          Unliquidated
          1001 LEE ST E                                               Disputed
          CHARLESTON, WV 25301-1725
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-SUI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          West Virginia Unemployment                                 Check all that apply.
          Compensation                                                Contingent
          PO Box 106                                                  Unliquidated
          Charleston, WV 25321                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Tax (if any)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WHATCOM COUNTY TREASURER                                   Check all that apply.
          PO BOX 34873                                                Contingent
          SEATTLE, WA 98124                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          White County                                               Check all that apply.
          124 North Main Street                                       Contingent
          Suite A                                                     Unliquidated
          Monticello, IN 47960                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Whitley County                                             Check all that apply.
          220 W Van Buren St                                          Contingent
          Suite 208                                                   Unliquidated
          Columbia City, IN 46725                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-Local Income/School Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Wisconsin Department of Revenue                            Check all that apply.
          PO Box 8966                                                 Contingent
          Madison, WI 53708                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WISCONSIN DEPARTMENT OF                                    Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 98949                                                Unliquidated
          MADISON, WI 53708-8949                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WISCONSIN DEPARTMENT OF                                    Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 8908                                                 Unliquidated
          MADISON, WI 53708-8908                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     INCOME/FRANCHISE/BUSINESS TAX RETURN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Wisconsin Department of                                    Check all that apply.
          Workforce Develo                                            Contingent
          Division of Unemployment                                    Unliquidated
          Insurance                                                   Disputed
          PO Box 7945
          Madison, WI 53707
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll-State Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WOOD COUNTY SHERIFF                                        Check all that apply.
          ATTN: TREASURER OFFICE                                      Contingent
          PO BOX 1985                                                 Unliquidated
          PARKERSBURG, WV 26102                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WV STATE TAX DEPT.                                         Check all that apply.
          PO BOX 3852                                                 Contingent
          CHARLESTON, WV 25338                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     SALES & USE TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WYOMING DEPARTMENT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          122 W 25TH ST, 2W                                           Unliquidated
          CHEYENNE, WY 82002-0110                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     WA BUSINESS & OCCUPATIONAL TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          WYOMING SECRETARY OF STATE                                 Check all that apply.
          200 WEST 24TH STREET                                        Contingent
          CHEYENNE, WY 82002-0020                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     WA BUSINESS & OCCUPATION TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.303     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $0.00    $0.00
           YELLOWSTONE COUNTY TREAS.                                 Check all that apply.
           PO BOX 35010                                               Contingent
           BILLINGS, MT 59107                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     PERSONAL PROPERTY TAX
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.304     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $0.00    $0.00
           ZANESVILLE, CITY OF                                       Check all that apply.
           DIVISION OF INCOME TAX                                     Contingent
           401 MARKET STREET                                          Unliquidated
           ZANESVILLE, OH 43701                                       Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     SALES & USE TAX
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.             $975,000.00
           *GIFT CARD HOLDERS                                                       Contingent
           (Unknown)                                                                Unliquidated
           Date(s) debt was incurred                                                Disputed
           Last 4 digits of account number                                         Basis for the claim:     Outstanding obligations to gift cards.
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 Unknown
           *GOVERNMENTAL UNITS                                                      Contingent
           SEE ATTACHMENT:                                                          Unliquidated
           SCHEDULE F - GOVERNMENTAL UNITS                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim: Notice only provided in the event of any potential
           Last 4 digits of account number                                         claims made due to store closings in applicable states.
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $1,332,783.47
           *LANDLORDS                                                               Contingent
           SEE ATTACHMENT:                                                          Unliquidated
           SCHEDULES F & G- LANDLORDS                                               Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim: See attachment for Landlord/Store list for any
           Last 4 digits of account number                                         amounts owing prepetition.
                                                                                   Is the claim subject to offset?    No  Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          1ST CHOICE ELECTRIC INC                                             Contingent
          5303 W 25TH ST.                                                     Unliquidated
          GREELEY, CO 80634                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $325.20
          1ST CHOICE LOCK                                                     Contingent
          PO BOX 137                                                          Unliquidated
          JANESVILLE, WI 53547                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $159,978.63
          26 INT'L                                                            Contingent
          1500 S. GRIFFITH AVE.                                               Unliquidated
          LOS ANGELES, CA 90021                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $570.00
          A & A LANDSCAPE                                                     Contingent
          AND MAINTENANCE OF ND                                               Unliquidated
          PO BOX 907                                                          Disputed
          WILLISTON, ND 58802
                                                                             Basis for the claim:    SNOW REMOVAL
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $183.51
          A & G ELECTRIC COMPANY                                              Contingent
          490 EAST 14TH                                                       Unliquidated
          DUBUQUE, IA 52001                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $86.51
          A-1 LOCK & KEY                                                      Contingent
          P.O. BOX 1055                                                       Unliquidated
          FERGUS FALLS, MN 56538                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $208.61
          A-1 SIGN CO                                                         Contingent
          140 N INDUSTRIAL DRIVE                                              Unliquidated
          GARDEN CITY, KS 67846                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $410.00
          A.C. KLOPF, INC.                                                    Contingent
          524 S FRANKLIN ST                                                   Unliquidated
          SAGINAW, MI 48607                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          A.M.C. MERCHANDISING
          FLAT/RM 1401, CAMBRIDGE                                             Contingent
          26-28 CAMERON RD                                                    Unliquidated
          TSMI SHA TUL                                                        Disputed
          KOWLOON, HONG KONG
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $124.00
          A.T. KLEMENS                                                        Contingent
          814 12TH STREET N                                                   Unliquidated
          GREAT FALLS, MT 59401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $130.00
          AAA HEATING & SHEET METAL                                           Contingent
          3451 55TH ST SE                                                     Unliquidated
          MINOT, ND 58701                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $104.50
          ABM BUILDING SERVICES                                               Contingent
          PO BOX 601933                                                       Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          AC3 BUILDING MAINTENANCE                                            Contingent
          SUPPLY                                                              Unliquidated
          2345 BOYCE-FAIRVIEW ROAD                                            Disputed
          ALVATON, KY 42122
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $196.84
          ACCUCOOL INC                                                        Contingent
          3400 NEW CASTLE CT                                                  Unliquidated
          MANHATTAN, KS 66503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V254 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.00
          ACORN ELECTRICAL                                                    Contingent
          SPECIALISTS, INC                                                    Unliquidated
          PO BOX 550                                                          Disputed
          PINEY FLATS, TN 37686
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,825.04
          ACTIVE USA INC.                                                     Contingent
          1807 E. 48TH PLACE                                                  Unliquidated
          LOS ANGELES, CA 90058                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $260.00
          ADVANCE CONTRACTING                                                 Contingent
          ELECTRICAL SERVICE                                                  Unliquidated
          PO BOX 320123                                                       Disputed
          FLINT, MI 48530
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.00
          ADVANCED COMFORT                                                    Contingent
          SOLUTIONS INC                                                       Unliquidated
          3941 WEST 5TH STREET                                                Disputed
          CHEYENNE, WY 82007
                                                                             Basis for the claim:    V129 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $138.24
          ADVANCED HEATING & AIR                                              Contingent
          CONDITIONING, INC.                                                  Unliquidated
          PO BOX 775                                                          Disputed
          FORT DODGE, IA 50501
                                                                             Basis for the claim:    V132 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $756.00
          AFFORDABLE REPAIR SERVICE                                           Contingent
          2104 CAMELOT COURT                                                  Unliquidated
          APARTMENT 14                                                        Disputed
          APPLETON, WI 54915
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,074.00
          AFLAC                                                               Contingent
          1932 Wynnton Road                                                   Unliquidated
          Columbus, GA 31999                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Benefits - Voluntary Employee Hospital
          Last 4 digits of account number                                    Indemnity/Cancer/AD&D
                                                                             Is the claim subject to offset?    No  Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          AG CLEANING SERVICES                                                Contingent
          ANTHONY GIBBONS D.B.A.                                              Unliquidated
          81 RANDOLPH STREET                                                  Disputed
          ROCHESTER, NY 14621
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $700.19
          AIR CONTROLS BILLINGS                                               Contingent
          PO BOX 1277                                                         Unliquidated
          BILLINGS, MT 59103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          AIR MASTERS                                                         Contingent
          1330 NORTH GRAND AVE W                                              Unliquidated
          SPRINGFIELD, IL 62702                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $311.56
          AIRE SERV OF LONGVIEW                                               Contingent
          201 S WARD DR                                                       Unliquidated
          LONGVIEW, TX 75604                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V179 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $211.32
          AJ SHEET METAL, INC                                                 Contingent
          910 E 8TH ST                                                        Unliquidated
          NORTH PLATTE, NE 69103                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V69 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,844.00
          ALL SEASONS HEATING &                                               Contingent
          COOLING                                                             Unliquidated
          798 CEDAR CROSS ROAD                                                Disputed
          DUBUQUE, IA 52003
                                                                             Basis for the claim:    NEW HVAC SYSTEM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,791.13
          ALLIANT ENERGY                                                      Contingent
          PO BOX 3060                                                         Unliquidated
          CEDAR RAPIDS, IA 52406                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $739.08
          ALLIANT ENERGY                                                      Contingent
          PO BOX 3062                                                         Unliquidated
          CEDAR RAPIDS, IA 52406                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $133.75
          ALLIED RESTAURANT SERVICE                                           Contingent
          187 SOUTH ILLINOIS AVE                                              Unliquidated
          MANSFIELD, OH 44905                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V136 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $713.65
          ALP UTILITIES                                                       Contingent
          PO BOX 609                                                          Unliquidated
          ALEXANDRIA, MN 56308                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $519.40
          AMEREN ILLINOIS                                                     Contingent
          PO BOX 88034                                                        Unliquidated
          CHICAGO, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,603.34
          AMEREN MISSOURI                                                     Contingent
          PO BOX 88068                                                        Unliquidated
          CHICAGO, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V232 Gas 1/17
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $654.23
          AMERICAN ELECTRIC POWER                                             Contingent
          PO BOX 24407                                                        Unliquidated
          CANTON, OH 44701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $828.17
          AMERICAN ELECTRIC POWER                                             Contingent
          PO BOX 24002                                                        Unliquidated
          CANTON, OH 44701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,047.76
          AMERICAN SOLUTIONS                                                  Contingent
          FOR BUSINESS                                                        Unliquidated
          8479 SOLUTION CENTER                                                Disputed
          CHICAGO, IL 60677
                                                                             Basis for the claim:    SUPPLIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $123.05
          AMES LOCK & SECURITY                                                Contingent
          507 MAIN ST                                                         Unliquidated
          SUITE 2                                                             Disputed
          AMES, IA 50010
                                                                             Basis for the claim:    LOCKS
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $695.59
          AMES MUNICIPAL UTILITIES                                            Contingent
          PO BOX 811                                                          Unliquidated
          AMES, IA 50010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,285.53
          AMIEE LYNN INC.                                                     Contingent
          65 RAILROAD AVE.                                                    Unliquidated
          SUITE #4                                                            Disputed
          RIDGEFIELD, NJ 07657
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $203.11
          AMPLITEL TECHNOLOGIES                                               Contingent
          240 W WISCONSIN AVE                                                 Unliquidated
          SUITE 1                                                             Disputed
          KAUKAUNA, WI 54130
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $47.36
          ANCHOR SAFETY, INC.                                                 Contingent
          PO BOX 10030                                                        Unliquidated
          LONGVIEW, TX 75608                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $292.50
          ANDERSON BOTTRELL SANDEN                                            Contingent
          & THOMPSON                                                          Unliquidated
          PO BOX 10247                                                        Disputed
          FARGO, ND 58106
                                                                             Basis for the claim:    LEGAL SVC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $114.79
          ANDOR, INC.                                                         Contingent
          9 NORTH MAPLE                                                       Unliquidated
          WATERTOWN, SD 57201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $248,591.88
          Anfield Apparel Group                                               Contingent
          20851 Currier Road                                                  Unliquidated
          Walnut, CA 91789                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Merchandise
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,467.45
          APOLLO HEATING                                                      Contingent
          AND AIR CONDITIONING                                                Unliquidated
          PO BOX 7287                                                         Disputed
          KENNEWICK, WA 99336
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $11.82
          AQUA OHIO INC                                                       Contingent
          PO BOX 1229                                                         Unliquidated
          NEWARK, NJ 07101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $14.02
          ARCHIBALD, JENN                                                     Contingent
          4423 VALLISTA DR                                                    Unliquidated
          COLORADO SPRINGS, CO 80915                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.88
          ARREGUIN, ALFA                                                      Contingent
          727 PORTLAND ST                                                     Unliquidated
          PONTIAC, MI 48340                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,931.75
          ARTCO GLOBAL GROUP                                                  Contingent
          595 COUNTRY CLUB DRIVE                                              Unliquidated
          NEWARK, OH 43055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $135.05
          ASHWAUBENON                                                         Contingent
          WATER & SEWER UTILITY                                               Unliquidated
          PO BOX 187                                                          Disputed
          GREEN BAY, WI 54305
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.00
          ASK ABOUT WINDOWS                                                   Contingent
          PO BOX 3854                                                         Unliquidated
          SHAWNEE, OK 74802                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $504.08
          AT&T                                                                Contingent
          PO BOX 105414                                                       Unliquidated
          ATLANTA, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PHONE SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $525.55
          AT&T                                                                Contingent
          PO BOX 5080                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PHONE SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $772.94
          AT&T                                                                Contingent
          PO BOX 5001                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $738.55
          AT&T                                                                Contingent
          PO BOX 105262                                                       Unliquidated
          ATLANTA, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $222.63
          ATMOS ENERGY                                                        Contingent
          PO 790311                                                           Unliquidated
          ST. LOUIS, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.63
          AUMAN COMPANY, INC                                                  Contingent
          311 E 11TH ST                                                       Unliquidated
          HAYS, KS 67601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,514.39
          AVISTA                                                              Contingent
          1411 E MISSION AVE                                                  Unliquidated
          SPOKANE, WA 99252                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.00
          BAERTSCH, RBECC                                                     Contingent
          405 6TH AVE                                                         Unliquidated
          MARION, ND 58466                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,312.07
          BALLET GROUP INC.                                                   Contingent
          3 EMPIRE BLVD.                                                      Unliquidated
          SOUTH HACKENSACK, NJ 07606                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.00
          BATNER PEST CONTROL, INC                                            Contingent
          16948 W. VICTOR RD                                                  Unliquidated
          NEW BERLIN, WI 53151                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $62.70
          BAUMGARTNER, HEATHER                                                Contingent
          201 W WAID AVE                                                      Unliquidated
          MUNCIE, IN 47303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $61.01
          BAXTER, CITY OF                                                     Contingent
          BOX 2626                                                            Unliquidated
          BAXTER, MN 56425                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.97
          BECKLUND, MANNO                                                     Contingent
          26810 N. REGAL RD                                                   Unliquidated
          CHATTAROY, WA 99003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.13
          BEKINS FIRE & SAFETY                                                Contingent
          3400 N US HWY 75                                                    Unliquidated
          SIOUX CITY, IA 51105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $532.43
          BELIEVE ELECTRICIANS                                                Contingent
          & EQUIPMENT CO., INC                                                Unliquidated
          453 OLD LOCK 12 RD                                                  Disputed
          MORGANTOWN, WV 26501
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.00
          BELMONT COUNTY SANITARY                                             Contingent
          SEWER DISTRICT                                                      Unliquidated
          PO BOX 457                                                          Disputed
          ST CLAIRSVILLE, OH 43950
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $82.59
          BEMIDJI HOLDINGS, LLC                                               Contingent
          PAUL BUNYAN MALL                                                    Unliquidated
          1401 PAUL BUNYAN DRIVE NW                                           Disputed
          BEMIDJI, MN 56601
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,229.10
          BEMINE NYC INC                                                      Contingent
          10 W. 33RD STREET                                                   Unliquidated
          ROOM 515                                                            Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $306.13
          BENTON PUD                                                          Contingent
          2721 W 10TH AVE                                                     Unliquidated
          PO BOX 6270                                                         Disputed
          KENNEWICK, WA 99336
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.01
          BETTREUDN, KEND                                                     Contingent
          405 MARILYN DRIVE                                                   Unliquidated
          CLEARFIELD, UT 84015                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $27.00
          BIG CREEK CROSSING                                                  Contingent
          3918 VINE ST                                                        Unliquidated
          SUITE 1                                                             Disputed
          HAYS, KS 67601
                                                                             Basis for the claim:    SECURITY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $103.74
          BIGGS, KAYCEE                                                       Contingent
          4512 N SAGINAW RD                                                   Unliquidated
          APT 721                                                             Disputed
          MIDLAND, MI 48640
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.50
          BINGER, KRISTIE                                                     Contingent
          18410 382ND AVE                                                     Unliquidated
          TULARE, SD 57476                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $218.82
          BISS LOCK, INC.                                                     Contingent
          1218 2ND AVE S                                                      Unliquidated
          VIRGINIA, MN 55792                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $176.55
          BLACK HAWK WASTE DISP INC                                           Contingent
          PO BOX 2592                                                         Unliquidated
          WATERLOO, IA 50704                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $531.25
          BLACK HILLS ENERGY                                                  Contingent
          PO BOX 6001                                                         Unliquidated
          RAPID CITY, SD 57709                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          BLUE AMBROSIA                                                       Contingent
          2323 E 52ND ST.                                                     Unliquidated
          VERNON, CA 90058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Blue Cross Blue Shield of North Dakota                              Contingent
          PO Box 6005                                                         Unliquidated
          Fargo, ND 58108-6005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Potential claims to be submitted post-petition for
          Last 4 digits of account number                                    pre-petition services.
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $7.34
          BOB SMITH WINDOW CLEANING                                           Contingent
          PO BOX 2117                                                         Unliquidated
          EAU CLAIRE, WI 54702                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          BOKOWSKI, BROOK                                                     Contingent
          719 N WHITE                                                         Unliquidated
          GRAND ISLAND, NE 68801                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $190.10
          BOLTON CONSTRUCTION &                                               Contingent
          HVAC                                                                Unliquidated
          1718 SW 3RD AVE                                                     Disputed
          AMARILLO, TX 79106
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $116.64
          BOSSET, AMBER                                                       Contingent
          1119 14TH ST W                                                      Unliquidated
          APT 210                                                             Disputed
          DICKINSON, ND 58601
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $592.15
          BRAINERD PUBLIC UTILITIES                                           Contingent
          PO BOX 373                                                          Unliquidated
          BRAINERD, MN 56401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185,707.75
          BRAND HEADQUARTERS LLC                                              Contingent
          16516 VIA ESPRILLO                                                  Unliquidated
          SUITE 100                                                           Disputed
          SAN DIEGO, CA 92127
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $28.19
          BREKKE MECHANICAL                                                   Contingent
          4140 F AVE NW                                                       Unliquidated
          CEDAR RAPIDS, IA 52405                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.00
          BRITE WAY OF THE ILLINOIS                                           Contingent
          VALLEY                                                              Unliquidated
          PO BOX 236                                                          Disputed
          PERU, IL 61354
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.52
          BRITE WAY PROFESSIONAL                                              Contingent
          WINDOW CLEANING                                                     Unliquidated
          PO BOX 772                                                          Disputed
          WATERLOO, IA 50704
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $64.20
          BRITE-WAY PROFESSIONAL                                              Contingent
          WINDOW CLEANING                                                     Unliquidated
          PO BOX 971                                                          Disputed
          KEARNEY, NE 68848
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $208.00
          BRITE-WAY WINDOW CLEANING                                           Contingent
          P.O. BOX 892                                                        Unliquidated
          MINOT, ND 58702                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.00
          BRITE-WAY WINDOW CLEANING                                           Contingent
          3332 4TH AVE S                                                      Unliquidated
          SUITE 2E                                                            Disputed
          FARGO, ND 58103
                                                                             Basis for the claim:    V5 Window Washing
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.00
          BRITE-WAY WINDOW SERVICE                                            Contingent
          P.O. BOX 164                                                        Unliquidated
          ONALASKA, WI 54650                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.00
          BRITE-WAY WINDOW SERVICE                                            Contingent
          PO BOX 3101                                                         Unliquidated
          LONGVIEW, TX 75601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,603.44
          BROWN & SAENGER                                                     Contingent
          PO BOX 84040                                                        Unliquidated
          SIOUX FALLS, SD 57118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Toilet Paper/Gen'l supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.01
          BRYAN, JOANN                                                        Contingent
          11819 COUNTRY RD                                                    Unliquidated
          ST JOSEPH, MO 64485                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $3.80
          BUECHEL, SARA                                                       Contingent
          122 N BERGER PKWY APT E10                                           Unliquidated
          FON DU LAC, WI 54935                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.73
          BUMGARDNER, LES                                                     Contingent
          9832 E CNTY RD 725 S                                                Unliquidated
          CLOVERDALE, IN 46120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $23.83
          BYRD, JENNIFER                                                      Contingent
          118 GLENDALE CT                                                     Unliquidated
          MONROE, MI 48162                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $106.25
          CALLABRESI HEATING                                                  Contingent
          & COOLING                                                           Unliquidated
          1311 ARMORY RD                                                      Disputed
          SALINA, KS 67401
                                                                             Basis for the claim:    V251 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.22
          CAMPBELL, JUDY                                                      Contingent
          200 S. MAIN ST. APT. 406                                            Unliquidated
          HANNIBAL, IL 64301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $3.80
          CANIDA, CHELSIE                                                     Contingent
          2125 MAPLEWOOD AVE                                                  Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $359.00
          CANNIZZO ELECTRIC INC                                               Contingent
          140 ROSE DUST DRIVE                                                 Unliquidated
          ROCHESTER, NY 14626                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.60
          CANNON, BRIANNA                                                     Contingent
          9617 MIDDLE MT. VERNON RD                                           Unliquidated
          EVANSVILLE, IN 47712                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,890.40
          CAPELLI                                                             Contingent
          1 EAST 33RD ST                                                      Unliquidated
          NEW YORK, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $446.04
          CARLSONJPM STORE FIXTURES                                           Contingent
          NW 7334                                                             Unliquidated
          PO BOX 1450                                                         Disputed
          MINNEAPOLIS, MN 55485
                                                                             Basis for the claim:    SUPPLIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90,641.79
          CARMICHAEL INTERNATIONAL                                            Contingent
          P.O. BOX 51025                                                      Unliquidated
          LOS ANGELES, CA 90051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,830.18
          CAROLE INC                                                          Contingent
          1607 SO GRAND AVE                                                   Unliquidated
          LOS ANGELES, CA 90015                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $454.11
          CASS COUNTY ELECTRIC COOP                                           Contingent
          PO BOX 6088                                                         Unliquidated
          FARGO, ND 58108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $171,430.98
          CAVALINI INC.                                                       Contingent
          DBA CI SONO                                                         Unliquidated
          1536 SOUTH ALAMEDA ST.                                              Disputed
          LOS ANGELES, CA 90021
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          CE MITCHELL & SONS                                                  Contingent
          308 4TH AVE S                                                       Unliquidated
          PO BOX 2523                                                         Disputed
          GREAT FALLS, MT 59405
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,082.03
          CEDAR FALLS UTILITIES                                               Contingent
          UTILITY PARKWAY                                                     Unliquidated
          PO BOX 769                                                          Disputed
          CEDAR FALLS, IA 50613
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $269.26
          CENTERPOINT ENERGY                                                  Contingent
          PO BOX 4671                                                         Unliquidated
          HOUSTON, TX 77210                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $23.54
          CENTRAL FIRE & SAFETY                                               Contingent
          PO BOX 1492                                                         Unliquidated
          2620 EAST HWY 30                                                    Disputed
          KEARNEY, NE 68848
                                                                             Basis for the claim:    FIRE EXT. INSPECTION
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.00
          CENTRAL HEATING & AIR                                               Contingent
          CONDITIONING CO                                                     Unliquidated
          1619 1/2 W MARKET                                                   Disputed
          JOHNSON CITY, TN 37604
                                                                             Basis for the claim:    V81 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,520.21
          CENTRAL TEMPERATURE                                                 Contingent
          EQUIPMENT SERVICE INC                                               Unliquidated
          1054 AMERICAN DR                                                    Disputed
          NEENAH, WI 54956
                                                                             Basis for the claim:    V47 Repair HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,694.72
          CENTURY LINK                                                        Contingent
          PO BOX 91154                                                        Unliquidated
          SEATTLE, WA 98111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PHONE SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,540.40
          CENTURY LINK                                                        Contingent
          BUSINESS SERVICES                                                   Unliquidated
          PO BOX 52187                                                        Disputed
          PHOENIX, AZ 85072
                                                                             Basis for the claim:    PHONE SERVICE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,144.59
          CENTURY LINK                                                        Contingent
          PO BOX 91155                                                        Unliquidated
          SEATTLE, WA 98111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $36.90
          CENTURY LINK                                                        Contingent
          PO BOX 4300                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $76.51
          CENTURY LINK                                                        Contingent
          PO BOX 2961                                                         Unliquidated
          PHOENIX, AZ 85062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $114.48
          CENTURY LINK                                                        Contingent
          PO BOX 1319                                                         Unliquidated
          CHARLOTTE, NC 28201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.66
          CHAFFINS, PATRI                                                     Contingent
          1033 ROSE LN                                                        Unliquidated
          LOUISA, KY 41230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $17.31
          CHAPEN, LEANNA                                                      Contingent
          6336 OAKBROOK DRIVE                                                 Unliquidated
          YPSILANTI, MI 48197                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $205.70
          CHAPMAN'S MECHANICAL                                                Contingent
          SYSTEMS, INC.                                                       Unliquidated
          PO BOX 1008                                                         Disputed
          LASALLE, IL 61301
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $159.82
          CHAPPELL CENTRAL INC                                                Contingent
          2101 GORTON AVE NW                                                  Unliquidated
          P.O. BOX 916                                                        Disputed
          WILLMAR, MN 56201
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $275,351.35
          CHENGDA INT'L CO., LTD                                              Contingent
          NO. 71 RENMIN RD                                                    Unliquidated
          DALIAN, CHINA                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          CHIODA QUALITY WINDOW                                               Contingent
          CLEANING                                                            Unliquidated
          1000 EAST SMITHFIELD ST                                             Disputed
          MCKEESPORT, PA 15135
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $317.79
          CHITTY GARBAGE SERVICE                                              Contingent
          PO BOX 29                                                           Unliquidated
          NEVADA, IA 50201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.35
          CHRISTOPHER, JE                                                     Contingent
          3759 GRANT AVE C18 S                                                Unliquidated
          OGDEN, UT 84405                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $107.92
          CINTAS FIRE PROTECTION                                              Contingent
          CINTAS FAS LOCKBOX 636525                                           Unliquidated
          PO BOX 636525                                                       Disputed
          CINCINNATI, OH 45263
                                                                             Basis for the claim:    V46 Fire Ext. Inspection
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.25
          CISSELL,DUSTY                                                       Contingent
          4733 WHITE STREET                                                   Unliquidated
          MISSOULA, MT 59808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $77.00
          CITY OF FERGUS FALLS                                                Contingent
          PUBLIC UTILITIES DEPT                                               Unliquidated
          112 W WASHINGTON AVE                                                Disputed
          FERGUS FALLS, MN 00056-5537
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.02
          CITY OF LIMA - UTILITIES                                            Contingent
          PO BOX 183199                                                       Unliquidated
          COLUMBUS, OH 43218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,533.16
          CITY OF PERU                                                        Contingent
          1901 FOURTH STREET                                                  Unliquidated
          PO BOX 299                                                          Disputed
          PERU, IL 61354
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,231.44
          City Triangles                                                      Contingent
          6015 Bandini Blvd.                                                  Unliquidated
          Commerce, CA 90040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Merchandise
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $409.80
          CITY WATER & LIGHT                                                  Contingent
          PO BOX 1289                                                         Unliquidated
          JONESBORO, AR 72403                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.04
          CITYWIDE WINDOW SERVICES                                            Contingent
          PO BOX 790                                                          Unliquidated
          ANOKA, MN 55303                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $449.23
          CLARKSVILLE DEPARTMENT OF                                           Contingent
          ELECTRICITY                                                         Unliquidated
          PO BOX 31449                                                        Disputed
          CLARKSVILLE, TN 37040
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $27.14
          CLARKSVILLE GAS & WATER                                             Contingent
          PO BOX 31329                                                        Unliquidated
          CLARKSVILLE, TN 37040                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $30.00
          CLEAR VIEW WINDOW                                                   Contingent
          CLEANING                                                            Unliquidated
          4106 KATERI WAY                                                     Disputed
          SIOUX CITY, IA 51106
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.00
          CLEARVIEW WINDOW WASHING                                            Contingent
          6501 FOREST PARK DRIVE                                              Unliquidated
          DE FOREST, WI 53532                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $113.70
          COCHRAN, RANDY                                                      Contingent
          COCHRAN CONSTRUCTION                                                Unliquidated
          13200 OLD PRINCIPAL RD                                              Disputed
          HEYWORTH, IL 61745
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $131.37
          COLORADO SPRINGS                                                    Contingent
          UTILITIES                                                           Unliquidated
          PO BOX 340                                                          Disputed
          COLORADO SPRINGS, CO 80947
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $58.58
          COLUMBIA GAS                                                        Contingent
          PO BOX 742510                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $133.00
          COMFORT SYSTEMS USA                                                 Contingent
          5818 SANDPIPER DR                                                   Unliquidated
          MISSOULA, MT 59808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $140.00
          COMMERCIAL AIR & ELECTRIC                                           Contingent
          260 S SANTA FE AVE                                                  Unliquidated
          PUEBLO, CO 81003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $85.88
          CONSOLIDATED COMMUNICATIONS                                         Contingent
          PO BOX 3188                                                         Unliquidated
          PO BOX 3188                                                         Disputed
          MILWAUKEE, WI 53201
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $56.36
          CONSUMERS ENERGY                                                    Contingent
          PAYMENT CENTER                                                      Unliquidated
          PO BOX 740309                                                       Disputed
          CINCINNATI, OH 45274
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,032.05
          CONTEMPO LIMITED                                                    Contingent
          15/F, CONTEMPO PLACE                                                Unliquidated
          81 HUNG TO ROAD, KWUN TONG                                          Disputed
          KOWLOON, HONG KONG
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,162.20
          COOPER CONSULTING &                                                 Contingent
          PROPERTY MANAGEMENT, INC                                            Unliquidated
          2400 W CR 500 SOUTH                                                 Disputed
          MUNCIE, IN 47302
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $97.00
          CORPORATE MALL SERVICES                                             Contingent
          2502 BIDDLE AVE                                                     Unliquidated
          WYANDOTTE, MI 48192                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.00
          COSTA, HEATHER                                                      Contingent
          107 CHERRY ST -PO BOX 242                                           Unliquidated
          GREEN VALLEY, IL 61534                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $922.50
          COUNTWISE                                                           Contingent
          1149 SAWGRASS CORP PKWY                                             Unliquidated
          SUNRISE, FL 33323                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $94.80
          CR LIGHTING & ELECTRIC                                              Contingent
          380 KING ST                                                         Unliquidated
          LAYTON, UT 84041                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,955.46
          CRJ SOLUTIONS                                                       Contingent
          33 RIDGE DRIVE EAST                                                 Unliquidated
          GREAT NECK, NY 11021                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $222.48
          CROSSBY BROWNLIE INC                                                Contingent
          100 NASSAU STREET                                                   Unliquidated
          ROCHESTER, NY 14605                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          CRYSTAL CLEAR CLEANING                                              Contingent
          1127 N. BROOKS                                                      Unliquidated
          RUSSELL, KS 67665                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V214 Window Washing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $219.33
          CURT'S LOCK & KEY SERVICE                                           Contingent
          1102 MAIN AVE                                                       Unliquidated
          FARGO, ND 58103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.95
          DAHLINGER, CARO                                                     Contingent
          6022 LYNBROOK LANE                                                  Unliquidated
          MADISON, WI 53719                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.98
          DAKOTA FIRE EXTINGUISHERS                                           Contingent
          5100 SOUTH BROADWAY                                                 Unliquidated
          MINOT, ND 58701                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,525.00
          DAKOTA WEST CONTRACTING                                             Contingent
          P.O. BOX 2377                                                       Unliquidated
          BISMARCK, ND 58502                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          DAMIAN REITEN CONST INC.                                            Contingent
          10543 PIERCE ST. NE                                                 Unliquidated
          BLAINE, MN 55434                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,975.68
          DAVID & YOUNG                                                       Contingent
          903 CASTLE ROAD                                                     Unliquidated
          SECAUCUS, NJ 07094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.38
          DAYSPRING WINDOW CLEANING                                           Contingent
          701 UTAH AVE S                                                      Unliquidated
          GOLDEN VALLEY, MN 55426                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,271.67
          DAYTON POWER & LIGHT                                                Contingent
          PO BOX 740598                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $17.63
          DEANDREA, OLIVI                                                     Contingent
          414 N POPLAR                                                        Unliquidated
          NORTH PLATTE, NE 69101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $62.69
          DELUXE BUSINESS FORMS                                               Contingent
          PO BOX 742572                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.78
          DEPENDABLE SANITATION                                               Contingent
          PO BOX 378                                                          Unliquidated
          ABERDEEN, SD 57402                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $54.00
          DERMER REFRIGERATION, INC                                           Contingent
          6757 LYNX LANE                                                      Unliquidated
          BOZEMAN, MT 59718                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $469.57
          DETROIT LAKES, CITY OF                                              Contingent
          PO BOX 647                                                          Unliquidated
          DETROIT LAKES, MN 56502                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,875.00
          DIAMOND B COMPANIES. INC                                            Contingent
          PO BOX 80284                                                        Unliquidated
          BILLINGS, MT 59108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $237.50
          DIESEL DOGS TRUCKING, LLC                                           Contingent
          PO BOX 585                                                          Unliquidated
          FARGO, ND 58107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SNOW REMOVAL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $137,033.32
          DL MORSE & ASSOCIATES                                               Contingent
          1745 HOLTON RD STE B                                                Unliquidated
          MUSKEGON, MI 49445                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CONSTRUCTION
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,383.00
          DLA COMPANY, LLC                                                    Contingent
          2670 LEONIS BLVD.                                                   Unliquidated
          VERNON, CA 90058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          DOCTOR DOOR LLC                                                     Contingent
          1506 DRIFTWOOD DRIVE                                                Unliquidated
          BOZEMAN, MT 59715                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $276.05
          DOMINION EAST OHIO                                                  Contingent
          PO BOX 26785                                                        Unliquidated
          RICHMOND, VA 23261                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.65
          DORWART, JOCELY                                                     Contingent
          1343 JIM BRIDGER                                                    Unliquidated
          CASPER, WY 82604                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.18
          DOWNEY, ANNMARI                                                     Contingent
          640 DEER HAVEN DR                                                   Unliquidated
          DEER LODGE, MT 59722                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $14.22
          DRESEN, SAMANTH                                                     Contingent
          1116 SAINT ANNE ST.                                                 Unliquidated
          SPARTA, WI 54656                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $589.75
          DTE ENERGY                                                          Contingent
          PO BOX 740786                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.59
          DUBUQUE, CITY OF                                                    Contingent
          UTILITY BILLING OFFICE                                              Unliquidated
          PO BOX 1063                                                         Disputed
          DUBUQUE, IA 52004
                                                                             Basis for the claim:    V138 Water/Sewer 1/17
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,695.33
          DUKE ENERGY                                                         Contingent
          PO BOX 1326                                                         Unliquidated
          CHARLOTTE, NC 28201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $325.00
          DUKE ENERGY                                                         Contingent
          PO BOX 70516                                                        Unliquidated
          CHARLOTTE, NC 28272                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $828.22
          DUKE ENERGY PROGRESS                                                Contingent
          CENTRAL REMITTANCE                                                  Unliquidated
          PO BOX 1003                                                         Disputed
          CHARLOTTE, NC 28201
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $155.95
          DUNN ELECTRICAL SERVICE                                             Contingent
          PO BOX 3797                                                         Unliquidated
          CLARKSVILLE, TN 37041                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V83 Replace Exit Sign
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $17.14
          DYE, REBEKAH                                                        Contingent
          822 2ND ST                                                          Unliquidated
          MARIETTA, OH 45750                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $82.38
          E and H Enterprises of Alexandria, Inc.                             Contingent
          DBA Ellingson Plumbing Heating A/C                                  Unliquidated
          2510 Broadway St. S                                                 Disputed
          ALEXANDRIA, MN 56308
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,237.17
          E.L.I.S. LLC                                                        Contingent
          28 WEST 36TH STREET                                                 Unliquidated
          SUITE 305                                                           Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,175.90
          EAST LION CORP.                                                     Contingent
          318 BREA CANYON RD.                                                 Unliquidated
          CITY OF INDUSTRY, CA 91789                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,182.35
          EDGEMINE INC.                                                       Contingent
          1801 E. 50TH STREET                                                 Unliquidated
          LOS ANGELES, CA 90058                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          EDWARDS ELECTRICAL                                                  Contingent
          & MECHANICAL                                                        Unliquidated
          ML 505, PO BOX 145400                                               Disputed
          CINCINNATI, OH 45250
                                                                             Basis for the claim:    V108 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,775.00
          EIDE BAILLY                                                         Contingent
          PO BOX 2545                                                         Unliquidated
          Fargo, ND 58108                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $608.29
          EMPIRE DISTRICT                                                     Contingent
          PO BOX 219239                                                       Unliquidated
          KANSAS CITY, MO 64121                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $292.79
          ENERGY WEST - MONTANA                                               Contingent
          PO BOX 2229                                                         Unliquidated
          GREAT FALLS, MT 59403                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $313.48
          ENSLEY ELECTRICAL SERVICES                                          Contingent
          PO BOX 5822                                                         Unliquidated
          GRAND ISLAND, NE 68802                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $980.00
          EPOCH                                                               Contingent
          120 E. 8TH STREET                                                   Unliquidated
          SUITE 907                                                           Disputed
          LOS ANGELES, CA 90014
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.25
          ESCON GROUP                                                         Contingent
          6 JOHNSON COURT                                                     Unliquidated
          BAY CITY, MI 48708                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $425.00
          EXECUTIVE ELECTRIC                                                  Contingent
          15423 21 MILE RD                                                    Unliquidated
          MACOMB, MI 48044                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,722.94
          FAMMA GROUP INC.                                                    Contingent
          2300 EAST 11TH STREET                                               Unliquidated
          LOS ANGELES, CA 90021                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,452.63
          FANTAS-EYES                                                         Contingent
          385 FIFTH AVE. 9TH FL.                                              Unliquidated
          NEW YORK, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $273.03
          FARGO VACUUM SALES & SERVICES                                       Contingent
          2901 13TH AVE SOUTH #C                                              Unliquidated
          FARGO, ND 58103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $341.60
          FARGO, CITY OF                                                      Contingent
          P.O. BOX 1066                                                       Unliquidated
          FARGO, ND 58107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,565.15
          FASHION FORMS                                                       Contingent
          CE SOIR LINGERIE CO, INC.                                           Unliquidated
          DEPT LA 24404                                                       Disputed
          PASADENA, CA 91185
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $14.98
          FERSKI, MIRANDA                                                     Contingent
          6332 VINCENT AVE S                                                  Unliquidated
          RICHFIELD, MN 55126                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $236.93
          FICEK ELECTRIC & COMMUNICATION                                      Contingent
          SYSTEMS                                                             Unliquidated
          PO BOX 1456                                                         Disputed
          LA SALLE, IL 61301
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $117.70
          FIDDELKE HEATING & AIR                                              Contingent
          CONDITIONING, INC.                                                  Unliquidated
          PO BOX 1934                                                         Disputed
          KEARNEY, NE 68848
                                                                             Basis for the claim:    V66 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $232.11
          FINELINE TECHNOLOGIES INC                                           Contingent
          PO BOX 934219                                                       Unliquidated
          ATLANTA, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,928.21
          FINESSE NOVELTY CORP.                                               Contingent
          2 CHANNEL DRIVE                                                     Unliquidated
          PORT WASHINGTON, NY 11050                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.50
          FIRE & SAFETY EQUIP III                                             Contingent
          PO BOX 176                                                          Unliquidated
          PLATTEVILLE, WI 53818                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.09
          FIRE PROTECTION                                                     Contingent
          SPECIALISTS, LLC                                                    Unliquidated
          3624 E SPRINGFIELD                                                  Disputed
          SPOKANE, WA 99202
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.80
          FIRE SUPPRESSION SERVICES                                           Contingent
          3802 SOUTH 2300 EAST                                                Unliquidated
          SALT LAKE CITY, UT 84109                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXT. INSPECTION
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $103.00
          FIREGUARD INC                                                       Contingent
          4404 S 76TH CIRCLE                                                  Unliquidated
          OMAHA, NE 68127                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $63.00
          FISH WINDOW CLEANING                                                Contingent
          PO BOX 190882                                                       Unliquidated
          ST LOUIS, MO 63119                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $27.82
          FISH WINDOW CLEANING                                                Contingent
          PO BOX 784                                                          Unliquidated
          BOYSTOWN, NE 68010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.91
          FISH WINDOW CLEANING                                                Contingent
          PO BOX 307                                                          Unliquidated
          POWELL, OH 43065                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          FISH WINDOW CLEANING                                                Contingent
          PO BOX 22268                                                        Unliquidated
          BILLINGS, MT 59104                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $316.00
          FOLEY ELECTRIC INC                                                  Contingent
          2738 BARTELLS DR                                                    Unliquidated
          BELOIT, WI 53511                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.44
          FORNERO, MARGAR                                                     Contingent
          3149 E 1ST ST                                                       Unliquidated
          CHENOA, IL 61726                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.62
          FORT DODGE, CITY OF                                                 Contingent
          WATER BILLING                                                       Unliquidated
          819 1ST AVE S                                                       Disputed
          FORT DODGE, IA 50501
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $199.99
          FORTNEY REFRIGERATION                                               Contingent
          393 ROBERTS CT                                                      Unliquidated
          GRAND JUNCTION, CO 81504                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V167 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.82
          FOUTS, SARAH                                                        Contingent
          415 HOBART ST                                                       Unliquidated
          EAU CLAIRE, WI 54703                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $106.05
          FREEDOM ELECTRIC INC                                                Contingent
          PO BOX 67                                                           Unliquidated
          09 SOUTH 200 EAST                                                   Disputed
          JEROME, ID 83338
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $668.50
          FRONTIER                                                            Contingent
          PO BOX 740407                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PHONE SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $352.76
          GARDEN CITY PLAZA, LLC                                              Contingent
          PO BOX 843938                                                       Unliquidated
          KANSAS CITY, MO 64184                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          GARY'S SEWER & DRAIN                                                Contingent
          PO BOX 6055                                                         Unliquidated
          POCATELLO, ID 83205                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.08
          GARY, NEKA                                                          Contingent
          1125 LANG RD.                                                       Unliquidated
          WATERLOO, IA 50702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,559.00
          GENERAL INFORMATION SERVICES INC.                                   Contingent
          PO BOX 538450                                                       Unliquidated
          ATLANTA, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BACKGROUND CHECK SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.00
          GENERAL REPAIR SERVICE CO                                           Contingent
          PO BOX 111                                                          Unliquidated
          BUSHLAND, TX 79012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V171 Replace Ceiling Tile
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.26
          GENTRY, MANDA                                                       Contingent
          11256 JOLLY MILL LN                                                 Unliquidated
          PIERCE CITY, MO 65723                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          GERING VALLEY PLUMBING                                              Contingent
          1100 10TH STREET                                                    Unliquidated
          PO BOX 177                                                          Disputed
          GERING, NE 69341
                                                                             Basis for the claim:    V67 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.80
          GIBBS, ANNA                                                         Contingent
          518 VICTORIA AVE.                                                   Unliquidated
          WILLIAMSTOWN, WV 00026-1878                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.03
          GLOVER, ROSALIN                                                     Contingent
          3118 MUIR FIELD RD                                                  Unliquidated
          MADISON, WI 53719                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $529.20
          GMPC LLC                                                            Contingent
          11390 W. OLYMPIC BLVD.                                              Unliquidated
          STE 400                                                             Disputed
          LOS ANGELES, CA 90064
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,333.73
          GOLDEN TOUCH IMPORTS, INC                                           Contingent
          1410 BROADWAY                                                       Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.11
          GONY, NYAGOA                                                        Contingent
          1615 SOUTHWEST 10TH ST                                              Unliquidated
          LINCOLN, NE 68522                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          GONZALES CONTRACTORS, LLC                                           Contingent
          PO BOX 125                                                          Unliquidated
          MIDLAND, TX 79702                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $735.00
          GOYETTE MECHANICAL                                                  Contingent
          3842 GOREY AVE                                                      Unliquidated
          PO BOX 33                                                           Disputed
          FLINT, MI 48501
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $700.06
          GRAND ISLAND, CITY OF                                               Contingent
          UTILITIES DEPARMENT                                                 Unliquidated
          PO BOX 310446                                                       Disputed
          DES MOINES, IA 50331
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $156.24
          GRANITE TELECOMMUNICATION                                           Contingent
          CLIENT ID#311                                                       Unliquidated
          PO BOX 983119                                                       Disputed
          BOSTON, MA 02298
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $96.37
          GREAT PLAINS NATURAL GAS                                            Contingent
          PO BOX 5600                                                         Unliquidated
          BISMARCK, ND 58506                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $173.10
          GREELEY LOCK & KEY                                                  Contingent
          813 13TH STREET                                                     Unliquidated
          GREELEY, CO 80631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.44
          GRUNAU COMPANY                                                      Contingent
          8302 SOUTHERN BLVD                                                  Unliquidated
          UNIT 4                                                              Disputed
          BOARDMAN, OH 44512
                                                                             Basis for the claim:    V117 Quarterly Alarm Monitoring
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.78
          GULBRANSON, PEG                                                     Contingent
          6528 EVERGREEN ACRES DR                                             Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    CUSTOMER REFUND CHECKS
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.99
          GURNO, CORENE                                                       Contingent
          13391 SCHOOLHOUSE CIRCLE                                            Unliquidated
          HAYWARD, WI 54843                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,212.75
          GURU KNITS INC.                                                     Contingent
          225 WEST 38TH ST.                                                   Unliquidated
          LOS ANGELES, CA 90037                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $196.10
          H.E. NEUMANN CO.                                                    Contingent
          PO BOX 6208                                                         Unliquidated
          WHEELING, WV 26003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.40
          HALLICH, STEPHA                                                     Contingent
          6447 5TH ST                                                         Unliquidated
          FRIDLEY, MN 55432                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.40
          HAMDAN, SONIKA                                                      Contingent
          1201 TURTLE CREEK RD                                                Unliquidated
          LINCOLN, NE 68521                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.44
          HAMMOND, MEGHAN                                                     Contingent
          2903 N X ROAD                                                       Unliquidated
          HOLDALD, NE 48846                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          HARRELL-FISH INC                                                    Contingent
          2010 VERNAL PIKE                                                    Unliquidated
          PO BOX 1998                                                         Disputed
          BLOOMINGTON, IN 47402
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.93
          HARRIS, ALICIA                                                      Contingent
          PO BOX 34                                                           Unliquidated
          CORINNE, UT 84307                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.18
          HARRISON, KATIE                                                     Contingent
          3102 SIMPSON ROAD                                                   Unliquidated
          FORT GRATIOT, MI 48059                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $188.50
          HARVEST HEATING & AIR CONDITIONING                                  Contingent
          PO BOX 214                                                          Unliquidated
          AMES, IA 50010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.10
          HASBROUCK, HOLL                                                     Contingent
          PO BOX 1986                                                         Unliquidated
          SAPAULA, OK 74647                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $36.78
          HAYS, CITY OF                                                       Contingent
          PO BOX 490                                                          Unliquidated
          HAYS, KS 67601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,602.60
          HEART & HIPS                                                        Contingent
          2424 E. 26TH STREET                                                 Unliquidated
          VERNON, CA 90058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          HEARTLAND ACQUISITION LLC                                           Contingent
          ATTN: NETWORK SERVIES                                               Unliquidated
          ONE HEARTLAND WAY                                                   Disputed
          JEFFERSONVILLE, IN 47130
                                                                             Basis for the claim:    CREDIT CARD PROCESSING FEE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.00
          HEAVILIN, LISA                                                      Contingent
          608 E CEDAR                                                         Unliquidated
          LEROY, IL 61752                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.70
          HERMELBRACHT, S                                                     Contingent
          826 N STREET                                                        Unliquidated
          DAVID CITY, NE 68632                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.10
          HICKMAN, SHERRI                                                     Contingent
          2709N                                                               Unliquidated
          BOISE, ID 83706                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.02
          HICKORY TECH                                                        Contingent
          PO BOX 3188                                                         Unliquidated
          MILWAUKEE, WI 53201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.95
          HINDMAN/PERSON                                                      Contingent
          HEATING & AIR CONDITION                                             Unliquidated
          637 WEST 2ND STREET                                                 Disputed
          OTTUMWA, IA 52501
                                                                             Basis for the claim:    V244 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $54.10
          HOGAN, JESSICA                                                      Contingent
          2555 DUPORTAIL I172                                                 Unliquidated
          RICHLAND, WA 99352                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,904.50
          HOME HEATING-PLUMBING                                               Contingent
          AIR CONDITIONING INC.                                               Unliquidated
          PO BOX 9587                                                         Disputed
          FARGO, ND 58106
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $208.47
          HORTON ELECTRIC SERVICE                                             Contingent
          3002 E DIVISION, SUITE C                                            Unliquidated
          SPRINGFIELD, MO 65802                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.87
          HOVLAND'S INC                                                       Contingent
          P.O. BOX 226                                                        Unliquidated
          EAU CLAIRE, WI 54702                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $94.96
          HOWIE'S TRASH SERVICE                                               Contingent
          625 S 10TH ST                                                       Unliquidated
          MANHATTAN, KS 66502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.42
          HULLINGER GLASS & LOCKS                                             Contingent
          14 W. 18TH ST                                                       Unliquidated
          SCOTTSBLUFF, NE 69361                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,088.99
          HYFVE                                                               Contingent
          1015 S. CROCKER ST.                                                 Unliquidated
          #Q-28                                                               Disputed
          LOS ANGELES, CA 90021
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $85,334.66
          ICON EYEWEAR                                                        Contingent
          5 EMPIRE BLVD                                                       Unliquidated
          SOUTH HACKENSACK, NJ 07606                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $376.77
          IDAHO FALLS, CITY OF                                                Contingent
          UTILITY DIVISION                                                    Unliquidated
          PO BOX 50220                                                        Disputed
          IDAHO FALLS, ID 83405
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $849.82
          IDAHO POWER CORPORATION                                             Contingent
          PROCESSING CENTER                                                   Unliquidated
          PO BOX 34966                                                        Disputed
          SEATTLE, WA 98124
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,563.24
          IKEDDI                                                              Contingent
          1407 BROADWAY                                                       Unliquidated
          29TH FLOOR                                                          Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $43.22
          INDIANA AMERICAN WATER                                              Contingent
          PO BOX 3027                                                         Unliquidated
          MILWAUKEE, WI 53201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,058.04
          INDIANA MICHIGAN POWER                                              Contingent
          PO BOX 24407                                                        Unliquidated
          CANTON, OH 44701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $537.30
          INTEGRATED FACILITY SOLUTIONS                                       Contingent
          841 HOLT ROAD                                                       Unliquidated
          WEBSTER, NY 14580                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $162.18
          INTERMOUNTAIN GAS CO.                                               Contingent
          P.O. BOX 64                                                         Unliquidated
          BOISE, ID 83732                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,992.00
          IT'S OUR TIME                                                       Contingent
          FASHION AVE. KNITS INC.                                             Unliquidated
          525 7TH AVE. 4TH FLOOR                                              Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.50
          J-N-T SECURITY SERVICES                                             Contingent
          PO BOX 147                                                          Unliquidated
          MINOT, ND 58702                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SECURITY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $258.50
          J.F. AHERN CO.                                                      Contingent
          ACCOUNTS RECEIVABLE                                                 Unliquidated
          PO BOX 1316                                                         Disputed
          FOND DU LAC, WI 54936
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,426.20
          JADE MARKETING GROUP, LLC                                           Contingent
          65 MEMORIAL ROAD                                                    Unliquidated
          SUITE 320                                                           Disputed
          WEST HARTFORD, CT 06107
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $729.74
          JAMES KELLY'S HOME                                                  Contingent
          IMPROVEMENTS                                                        Unliquidated
          1545 LEMONETREE DR                                                  Disputed
          CINCINNATI, OH 45240
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $93.72
          JANESVILLE WATER & WASTE                                            Contingent
          18 N JACKSON ST                                                     Unliquidated
          PO BOX 5005                                                         Disputed
          JANESVILLE, WI 53547
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $27.89
          JAQUEZ, ESPERAN                                                     Contingent
          915 E. 24TH ST. LN                                                  Unliquidated
          GREELEY, CO 80631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.88
          JB'S HANDYMAN SERVICE                                               Contingent
          1684 S COACHLIGHT                                                   Unliquidated
          NEW BERLIN, WI 53151                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $165.90
          JC SECURITY LLC                                                     Contingent
          2904 N MORRISON STREET                                              Unliquidated
          APPLETON, WI 54911                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $142.50
          JDS MECHANICAL, INC                                                 Contingent
          870 OAK PLAINS ROAD                                                 Unliquidated
          CLARKSVILLE, TN 37043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          JENINGS, DOUG                                                       Contingent
          348 9TH AVE N                                                       Unliquidated
          FORT DODGE, IA 50501                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          Jenna Barton                                                        Contingent
          15629 Norway Avenue                                                 Unliquidated
          Cleveland, OH 44111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Ohio Bureau of Workers' Compensation Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $236.73
          JENSEN'S HANDYMAN &                                                 Contingent
          REMODELING                                                          Unliquidated
          618 HOWELL ST                                                       Disputed
          MISSOULA, MT 59802
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          JETTER CLEAN, INC.                                                  Contingent
          PO BOX 5775                                                         Unliquidated
          ROCHESTER, MN 55903                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,591.00
          JIANGSU GTIG ESEN CO., LTD                                          Contingent
          22 FLOOR GUOTAI TIMES PLZ                                           Unliquidated
          BLDG A NO 65 RENMIN RD                                              Disputed
          ZHANGJIAGANG CITY
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95,044.10
          JIANGSU GUOTAI HUASHENG INDUSTRIAL
          CO.,
          EAST OF 8TH FLOOR, SUOTAI NEW
          CENTURY PL                                                          Contingent
          NO 125 MIDDLE RNMIN ROAD                                            Unliquidated
          ZHANGJIAGANG CITY                                                   Disputed
          JIANGSU, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59,065.00
          JIANGSU GUOTAI INT'L                                                Contingent
          16F/A, GUOTAI TIMES PLAZA                                           Unliquidated
          NO 65 RENMIN ROAD                                                   Disputed
          ZHANGHIAGANG, JIANGSU
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $89,992.20
          JIANGSU SAINTY GLORIOUS                                             Contingent
          5TH FLOOR, BUILDING #A                                              Unliquidated
          #21 SOFTWEAR AVE, YUHUA DISTRICT                                    Disputed
          NANJING, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          JOC INTERNATIONAL LTD
          ROOM 209                                                            Contingent
          8 SOUTH LIYUAN ROAD                                                 Unliquidated
          JANGNING DISTRICT                                                   Disputed
          NANJING, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,441.97
          JODI KRISTOPHER, LLC                                                Contingent
          5910 CORVETTE STREET                                                Unliquidated
          COMMERCE, CA 90040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,204.97
          JOE BENBASSET                                                       Contingent
          213 W. 35TH ST.                                                     Unliquidated
          NEW YORK, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.00
          JOHN'S GREAT AMERICAN                                               Contingent
          WINDOW CLEANING CO.                                                 Unliquidated
          PO BOX 155                                                          Disputed
          WHITELAND, IN 46184
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $211.00
          JOHN'S HEATING & A/C                                                Contingent
          1423 COLLEGE WAY                                                    Unliquidated
          FERGUS FALLS, MN 56537                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $589.51
          JOHNSON CITY POWER BOARD                                            Contingent
          PO BOX 2058                                                         Unliquidated
          JOHNSON CITY, TN 37605                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.73
          JOHNSON CITY UTILITY                                                Contingent
          SYSTEM                                                              Unliquidated
          PO BOX 2386                                                         Disputed
          JOHNSON CITY, TN 37605
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.70
          JOHNSON, ELIZABETH                                                  Contingent
          308 NICHOLS ST                                                      Unliquidated
          APT 1                                                               Disputed
          UTICA, NY 13501
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $77.29
          JOHNSON, MICHELLE                                                   Contingent
          15043 S LOOKOUT RODGE DR                                            Unliquidated
          HERRIMAN, UT 84096                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,869.33
          JOUJOU/BBC APPAREL                                                  Contingent
          SUITE 507                                                           Unliquidated
          1407 BROADWAY                                                       Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,367.24
          JUST JULEZ INC.                                                     Contingent
          95 SOCKANOSSET CROSS ROAD                                           Unliquidated
          STE 205                                                             Disputed
          CRANSTON, RI 02920
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,556.60
          JUST ONE                                                            Contingent
          1450 BROADWAY, 21ST FLOOR                                           Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $260.91
          K.C. ELECTRIC SUPPLY                                                Contingent
          4300 S. VANBUREN                                                    Unliquidated
          ENID, OK 73703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $246.23
          KALINS INDOOR COMFORT INC                                           Contingent
          P.O. BOX 3407                                                       Unliquidated
          SIOUX CITY, IA 51101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $117.70
          KANNDO PROFESSIONAL SERVICES                                        Contingent
          950 MAIN STREET                                                     Unliquidated
          DUBUQUE, IA 52001                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,293.42
          KARNDEAN DESIGNFLOORING                                             Contingent
          BUSHY RUN CORPORATE PARK                                            Unliquidated
          1100 PONTIAC COURT                                                  Disputed
          EXPORT, PA 15632
                                                                             Basis for the claim:    FLOORING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109,814.88
          KASH APPAREL LLC                                                    Contingent
          1929 HOOPER AVE.                                                    Unliquidated
          LOS ANGELES, CA 90011                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.28
          KAUS, SHAYLINN                                                      Contingent
          904 KEARNEY - APT B                                                 Unliquidated
          MANHATTAN, KS 66502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $374.59
          KCP&L                                                               Contingent
          PO BOX 219703                                                       Unliquidated
          KANSAS CITY, MO 64121                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $341.80
          KEARNEY, CITY OF                                                    Contingent
          UTILITIES DEPARTMENT                                                Unliquidated
          P.O. BOX 1180                                                       Disputed
          KEARNEY, NE 68848
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $11.43
          KEFGLEY, LINDA                                                      Contingent
          21256 MOON LIGHT                                                    Unliquidated
          PELICAN RAPIDS, MN 56572                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $134.81
          KENNEWICK, CITY OF                                                  Contingent
          PO BOX 6108                                                         Unliquidated
          KENNEWICK, WA 99336                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.25
          KEVIN'S UNLIMITED SERVICE COMPANY                                   Contingent
          PO BOX 93                                                           Unliquidated
          DEWEYVILLE, TX 77614                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $162.50
          KIMBRO MECHANICAL                                                   Contingent
          1877 AIR LANE DR                                                    Unliquidated
          NASHVILLE, TN 37210                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.30
          KINNEY, BRANDY                                                      Contingent
          16010 N. TAMARACK CT                                                Unliquidated
          NINE MILE FALLS, WA 99026                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.66
          KLUCK, HEATHER                                                      Contingent
          R10066 COUNTY ROAD J                                                Unliquidated
          SCHOFIELD, WI 54476                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.09
          KRUCKENBERG, LI                                                     Contingent
          8547 N US HWY 14                                                    Unliquidated
          EVANSVILLE, WI 53536                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Vanity Shop of Grand Forks, Inc.                                                        Case number (if known)            17-30112
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 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.33
          KUCERA PLUMBING,HEATING                                             Contingent
          COOLING,& SHEET METAL LLC                                           Unliquidated
          4150 CENTRAL AVE                                                    Disputed
          SHADYSIDE, OH 43947
                                                                             Basis for the claim:    V100 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.49
          KUCHOLICK, KAIS                                                     Contingent
          8700 STATE ROAD 43                                                  Unliquidated
          BATTLEGROUND, IN 47920                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $979.19
          KW ELECTRIC INC                                                     Contingent
          PO BOX 967                                                          Unliquidated
          CEDAR FALLS, IA 50613                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          KYLE SANDY                                                          Contingent
          932 CARLOS DR.                                                      Unliquidated
          LINCOLN, NE 68505                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $34.98
          LARRY'S WINDOW SERVICE                                              Contingent
          PO BOX 1471                                                         Unliquidated
          DES MOINES, IA 50305                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $358.02
          LARSEN PROPERTY SERVICES                                            Contingent
          7248 BEAVER DAM RD                                                  Unliquidated
          CROMWELL, KY 42333                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $6.85
          LARSEN, TIFFANY                                                     Contingent
          53525 845 RD.                                                       Unliquidated
          TILDEN, NE 68781                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,882.33
          LASHES                                                              Contingent
          6500 AVALON BLVD.                                                   Unliquidated
          LOS ANGELES, CA 90003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          LEPIC, RON                                                          Contingent
          PO BOX 2460                                                         Unliquidated
          ST. CLAIRSVILLE, OH 43950                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,259.75
          LEVECK LIGHTING PRODUCTS                                            Contingent
          AND MAINTENANCE                                                     Unliquidated
          PO BOX 24063                                                        Disputed
          DAYTON, OH 45424
                                                                             Basis for the claim:    SUPPLIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,378.27
          LIMEBLUE                                                            Contingent
          1109 S BOYLE AVE                                                    Unliquidated
          LOS ANGELES, CA 90023                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $470.68
          LINCOLN ELECTRIC SYSTEM                                             Contingent
          PO BOX 2986                                                         Unliquidated
          OMAHA, NE 68103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $153.20
          LINDSAY CRYSTAL                                                     Contingent
          PURE WATER, INC                                                     Unliquidated
          107 14TH ST NORTH                                                   Disputed
          MOORHEAD, MN 56560
                                                                             Basis for the claim:    WATER COOLER
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $148.40
          LITERATI INFORMATION                                                Contingent
          TECHNOLOGY                                                          Unliquidated
          827 FAIRMONT RD, STE 107                                            Disputed
          MORGANTOWN, WV 26501
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $96.00
          LLOYD'S WINDOW WASHING                                              Contingent
          4705 N GENOA STREET                                                 Unliquidated
          OTIS ORCHARDS, WA 99027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $281.48
          LOGAN, CITY OF                                                      Contingent
          290 NORTH 100 WEST                                                  Unliquidated
          PO BOX 328                                                          Disputed
          LOGAN, UT 84323
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $176.40
          LOVE BY DESIGN                                                      Contingent
          BY DESIGN L.L.C.                                                    Unliquidated
          1441 BROADWAY, 4TH FLOOR                                            Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,708.34
          LOZIER CORPORATION                                                  Contingent
          PO BOX 3577                                                         Unliquidated
          OMAHA, NE 68103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    STORE FIXTURES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $210.00
          LUCKINBILL, INC.                                                    Contingent
          PO BOX 186                                                          Unliquidated
          ENID, OK 73702                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,997.95
          LUX ACCESSORIES LTD                                                 Contingent
          358 5TH AVENUE                                                      Unliquidated
          5TH FLOOR                                                           Disputed
          NEW YORK, NY 10001
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $421.46
          MADISON GAS AND ELECTRIC                                            Contingent
          P.O. BOX 1231                                                       Unliquidated
          MADISON, WI 53701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,608.44
          MAGNETIC MEDIA ONLINE                                               Contingent
          PO BOX 347944                                                       Unliquidated
          PITTSBURGH, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MARKETING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $42.49
          MAGPIE, DARALA                                                      Contingent
          122 S LOCUST ST                                                     Unliquidated
          GRAND ISLAND, NE 68803                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,844.78
          MAJCO APPAREL INC.                                                  Contingent
          1200 JULES POITRAS, #100                                            Unliquidated
          ST. LAURENT, QC                                                     Disputed
          H4N 1X7, CANADA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          MALBRIT MECHANICAL INC                                              Contingent
          PO BOX 427                                                          Unliquidated
          WAUSAU, WI 54402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138,262.49
          Mallory Alexander International Logistic                            Contingent
          777 Sunrise Highway, Suite 301                                      Unliquidated
          Lynbrook, NY 11563                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customs Broker/Freight Forwarder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          MANHATTAN TOWN CENTER                                               Contingent
          100 MANHATTAN TOWN CNTR                                             Unliquidated
          MANHATTAN, KS 66502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Maran                                                               Contingent
          1400 Broadway 28th Fl                                               Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Merchandise
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $257.80
          MARC BRICK INC                                                      Contingent
          PO BOX 791013                                                       Unliquidated
          BALTIMORE, MD 21279                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.53
          MARSON, LARRY                                                       Contingent
          558 WEST 800 SOUTH                                                  Unliquidated
          PRESTON, ID 83263                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $232.00
          MASTER ELECTRIC, INC                                                Contingent
          PO BOX 8976                                                         Unliquidated
          FORT WAYNE, IN 46898                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $334.71
          MATHISON'S                                                          Contingent
          PO BOX 333                                                          Unliquidated
          FARGO, ND 58107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $183.03
          MAXSENT                                                             Contingent
          137 MITCHELLS CHANCE ROAD                                           Unliquidated
          SUITE 280                                                           Disputed
          EDGEWATER, MD 21037
                                                                             Basis for the claim:    SECURITY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.15
          MAXWELL, KENDAL                                                     Contingent
          11470 ORCHARDVIEW DR                                                Unliquidated
          FENTON, MI 48430                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $391.65
          MC ELECTRIC, INC.                                                   Contingent
          7648 LL RD                                                          Unliquidated
          RED BUD, IL 62278                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.04
          MCCLURE, DANIELLE                                                   Contingent
          335 GLENN HILL DRIVE                                                Unliquidated
          ALEXANDER, AR 72002                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.13
          MCCLURE,WHITNEY                                                     Contingent
          7331 S.UTICA AVE APT 1112                                           Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    CUSTOMER REFUND CHECKS
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          MCKEGUE, CORRIN                                                     Contingent
          2578 SKYWOOD                                                        Unliquidated
          EAGLE, ID 83616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $82.00
          MEISTER ELECTRIC INC                                                Contingent
          711 S KICKAPOO CREEK ROAD                                           Unliquidated
          PEORIA, IL 61604                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.38
          MENA,ROSEMARY                                                       Contingent
          973 S SWEET WATER DR                                                Unliquidated
          PUEBLO, CO 81007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $68.57
          METRO WASTE SERVICES CO                                             Contingent
          29131 MICHIGAN AVE                                                  Unliquidated
          P.O. BOX 498                                                        Disputed
          INKSTER, MI 48141
                                                                             Basis for the claim:    WASTE SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $91.91
          METZ, SHARI                                                         Contingent
          217 SOURIS DRIVE                                                    Unliquidated
          MINOT, ND 58701                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $245.14
          MID-AMERICA ASSET MGMT                                              Contingent
          ONE PARKVIEW PLAZA                                                  Unliquidated
          9TH FLR-WAUSAU CNTR CMBS                                            Disputed
          OAKBROOK TERRACE, IL 60181
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $91.90
          MID-NEBRASKA DISPOSAL                                               Contingent
          PO BOX 1089                                                         Unliquidated
          GRAND ISLAND, NE 68802                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $809.74
          MIDAMERICAN ENERGY                                                  Contingent
          PO BOX 8020                                                         Unliquidated
          DAVENPORT, IA 52808                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,288.85
          MIDNITE EXPRESS, INC.                                               Contingent
          448 7TH ST NW                                                       Unliquidated
          PO BOX 695                                                          Disputed
          WEST FARGO, ND 58078
                                                                             Basis for the claim:    Inbound Freight
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $822.27
          MIDWEST ENERGY, INC.                                                Contingent
          PO BOX 898                                                          Unliquidated
          HAYS, KS 67601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $124.00
          MIKE'S LOCK & KEY SERVICE                                           Contingent
          PO BOX 5276                                                         Unliquidated
          COLORADO SPRINGS, CO 80931                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $65.27
          MILLER WINDOW SERVICE                                               Contingent
          1109 COLUMBINE DR                                                   Unliquidated
          CEDAR FALLS, IA 50613                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,400.00
          MILLER, JUSTIN                                                      Contingent
          1507 36 1/2 AVE. S.                                                 Unliquidated
          FARGO, ND 58104                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    ARCHITECTURAL SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $343.42
          MILLMAR MUNICIPAL UTIL.                                             Contingent
          P.O. BOX 937                                                        Unliquidated
          WILLMAR, MN 56201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $506.58
          MINNESOTA ENERGY                                                    Contingent
          RESOURCES                                                           Unliquidated
          PO BOX 3140                                                         Disputed
          MILWAUKEE, WI 53201
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $209.87
          MINNKOTA                                                            Contingent
          PO BOX 1864                                                         Unliquidated
          FARGO, ND 58107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.16
          MOENKEDICK, HERMAN H.                                               Contingent
          44075 E LITTLE                                                      Unliquidated
          MCDONALD DR                                                         Disputed
          PERHAM, MN 56573
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,219.50
          MON POWER                                                           Contingent
          PO BOX 3615                                                         Unliquidated
          AKRON, OH 44309                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,411.65
          MONTANA-DAKOTA UTILITIES                                            Contingent
          P.O. BOX 5600                                                       Unliquidated
          BISMARCK, ND 58506                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.19
          MONTGOMERY COUNTY                                                   Contingent
          ENVIROMENTAL SERVICES                                               Unliquidated
          PO BOX 742598                                                       Disputed
          CINCINNATI, OH 45274
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,690.92
          MOOD MEDIA NORTH AMERICA                                            Contingent
          PO BOX 602782                                                       Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MUSIC SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.79
          MOSGROVE, KATIE                                                     Contingent
          3762 BRET DR                                                        Unliquidated
          CLARKSVILLE, TN 37040                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,917.78
          MOTIVE ENTERPRISE INC.                                              Contingent
          1201 MATEO STREET                                                   Unliquidated
          LOS ANGELES, CA 90021                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          MOUNT'S LOCK & KEY INC                                              Contingent
          415 W 1ST AVE                                                       Unliquidated
          KENNEWICK, WA 99336                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $324.00
          MR. HANDYMAN                                                        Contingent
          2175 W GLADE CREEK ST                                               Unliquidated
          MERIDIAN, ID 83646                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72.00
          MR. SQUEEGEE                                                        Contingent
          PO BOX 49                                                           Unliquidated
          BISMARCK, ND 58502                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $64.15
          MULLINS, LACY                                                       Contingent
          PO BOX 54                                                           Unliquidated
          MORAVIA, IA 52571                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.38
          MUNCIE SANITARY DISTRICT                                            Contingent
          PO BOX 2605                                                         Unliquidated
          FORT WAYNE, IN 46801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $169.89
          MUNICIPAL LIGHT AND WATER                                           Contingent
          PO BOX 490                                                          Unliquidated
          NORTH PLATTE, NE 69103                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $492.43
          MURFREESBORO ELECTRIC Department                                    Contingent
          PO BOX 9                                                            Unliquidated
          MURFREESBORO, TN 37133                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.04
          MURPHY, AMANDA                                                      Contingent
          93 AUDUBON DR                                                       Unliquidated
          COLORADO SPRINGS, CO 80915                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,252.69
          MUTH ELECTRIC INC                                                   Contingent
          PO BOX 1400                                                         Unliquidated
          MITCHELL, SD 57301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          My Michelle                                                         Contingent
          PO Box 784312                                                       Unliquidated
          Philadelphia, PA 19178                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Merchandise
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.49
          MYERS, KARI                                                         Contingent
          7882 ROAD 48                                                        Unliquidated
          PAYNE, OH 45880                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $101.81
          NATIONAL SECURITY CONSULTANT                                        Contingent
          PO BOX 932412                                                       Unliquidated
          CLEVELAND, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SECURITY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $95.44
          NAYLOR HEATING & REFRIGERATION                                      Contingent
          172 SPIRIT AVE NW                                                   Unliquidated
          BEMIDJI, MN 56601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,166.87
          NEBRASKA PUBLIC POWER DISTRICT                                      Contingent
          PO BOX 2860                                                         Unliquidated
          OMAHA, NE 68103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.10
          NEBRASKA SAFETY AND                                                 Contingent
          FIRE EQUIPMENT, INC.                                                Unliquidated
          PO BOX 1229                                                         Disputed
          NORTH PLATTE, NE 69103
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.00
          NEIGHBORHOOD SERVICES                                               Contingent
          1402 BROADWAY                                                       Unliquidated
          FARGO, ND 58102                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,803.82
          NELSON ELECTRIC                                                     Contingent
          PO BOX 1528                                                         Unliquidated
          RACINE, WI 53401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.40
          NELSON, HOLLY                                                       Contingent
          26138 SIEVERS DR                                                    Unliquidated
          RUSHFORD, MN 55971                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $103.28
          NELSON, JUANITA                                                     Contingent
          4964 BRANT ROAD                                                     Unliquidated
          COLORADO SPRINGS, CO 80911                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.08
          NELSON, SHEENA                                                      Contingent
          W 1081 CITY ROAD J                                                  Unliquidated
          PRINCETON, WI 54968                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $98.29
          NEMONT                                                              Contingent
          PO BOX 600                                                          Unliquidated
          SCOBEY, MT 59263                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PHONE SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.08
          NEUHAUS, STEPHA                                                     Contingent
          907 WOLVERTON DR                                                    Unliquidated
          FORT WAYNE, IN 46825                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.78
          NGUYEN, CASSAND                                                     Contingent
          385 MAIN STREET                                                     Unliquidated
          SACRAMENTO, KY 42372                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $134,076.90
          NINGBO SEDUNO IMP&EXP CO LTD
          97# WUJIA ROAD SEDUNO BUILDING                                      Contingent
          HENGTON P                                                           Unliquidated
          HAISHU DISTRICT                                                     Disputed
          NINGBO, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.44
          NO STREAKING                                                        Contingent
          1105 TORREY PINE LANE                                               Unliquidated
          SIOUX FALLS, SD 57110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $69.00
          NOBLE LOCKSMITH SERVICE                                             Contingent
          2670 GRACE ROAD                                                     Unliquidated
          FORT GRATIOT, MI 48059                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          NORTH DAKOTA RECYCLING                                              Contingent
          SERVICES, LLC                                                       Unliquidated
          PO BOX 2328                                                         Disputed
          WILLISTON, ND 58802
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $436.13
          NORTHERN ELECTRIC COOP                                              Contingent
          BOX 457                                                             Unliquidated
          BATH, SD 57427                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $29.92
          NORTHERN LAKES WINDOW                                               Contingent
          CLEANING                                                            Unliquidated
          PO BOX 5044                                                         Disputed
          GRAND RAPIDS, MN 55744
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,680.50
          NORTHWESTERN ENERGY                                                 Contingent
          11 E. Park St.                                                      Unliquidated
          BUTTE, MT 59707                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.93
          NORTHWESTERN OHIO                                                   Contingent
          SECURITY SYSTEMS, INC.                                              Unliquidated
          121 E HIGH ST                                                       Disputed
          LIMA, OH 45801
                                                                             Basis for the claim:    FIRE EXT. INSPECTION
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $328.00
          NORTHWOODS CONSTRUCTION                                             Contingent
          OF THE IRON RANGE, INC                                              Unliquidated
          1031 17TH ST N                                                      Disputed
          VIRGINIA, MN 55792
                                                                             Basis for the claim:    V42 Gate Repair
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $435.00
          O'DONNELL CORPORATION                                               Contingent
          661 NORTH LAKEWOOD DR                                               Unliquidated
          ORLANDO, FL 32803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V213 & V82 Signs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.69
          O'FALLON WATER & SEWER                                              Contingent
          255 S. LINCOLN AVENUE                                               Unliquidated
          O'FALLON, IL 62269                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.80
          OBRIEN, SKYLAR                                                      Contingent
          5206 CANTERBURY LN                                                  Unliquidated
          JANESVILLE, WI 53546                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.18
          OFARRIO, SARAH                                                      Contingent
          180 CLINTON ST. APT 9                                               Unliquidated
          AVON, NY 14414                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $944.61
          OHIO EDISON                                                         Contingent
          PO BOX 3687                                                         Unliquidated
          AKRON, OH 44309                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $168.50
          OLIVER TRI COUNTY                                                   Contingent
          HEATING & AIR, INC                                                  Unliquidated
          11234 LAKECREST DR                                                  Disputed
          WEST BURLINGTON, IA 52655
                                                                             Basis for the claim:    V139 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $106.25
          OLYMPIC IV MALL SERVICES                                            Contingent
          PO BOX 96383                                                        Unliquidated
          LAS VEGAS, NV 89193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $111.38
          OLYMPIC MALL SERVICES                                               Contingent
          PO BOX 800336                                                       Unliquidated
          HOUSTON, TX 77280                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,822.32
          ONE STEP UP                                                         Contingent
          1412 BROADWAY                                                       Unliquidated
          3RD FLOOR                                                           Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.84
          ONEIDA REALTY COMPANY                                               Contingent
          1605 ALWORTH BUILDING                                               Unliquidated
          306 WEST SUPERIOR STREET                                            Disputed
          DULUTH, MN 05802
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,811.14
          ORDERMOTION                                                         Contingent
          ORACLE AMERICA INC                                                  Unliquidated
          500 ORACLE PARKWAY                                                  Disputed
          Redwood City, CA 94065
                                                                             Basis for the claim:    WEB SOFTWARE SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,375.99
          ORION FASHIONS INC.                                                 Contingent
          48 WEST 38TH STREET                                                 Unliquidated
          11TH FLOOR                                                          Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.00
          ORKIN                                                               Contingent
          675 BLUE ROCK CT                                                    Unliquidated
          WINSTON SALEM, NC 27103                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.00
          ORKIN PEST CONTROL                                                  Contingent
          PO BOX 2351                                                         Unliquidated
          DAVENPORT, IA 52809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $57.97
          ORKIN, INC                                                          Contingent
          5425 COLLEGE ST                                                     Unliquidated
          BEAUMONT, TX 77707                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $106.58
          ORKIN, INC.                                                         Contingent
          3417 BAER BLVD                                                      Unliquidated
          SPRINGFIELD, IL 62711                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $55.00
          ORKIN, INC.                                                         Contingent
          9100 S COUNTY ROAD 800 W                                            Unliquidated
          DALEVILLE, IN 47334                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $201.20
          OSTEEN & LEMMONS                                                    Contingent
          ELECTRICAL & MECHANICAL                                             Unliquidated
          PO BOX 1126                                                         Disputed
          FLETCHER, NC 28732
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,065.86
          OTTER TAIL POWER COMPANY                                            Contingent
          PO BOX 2002                                                         Unliquidated
          FERGUS FALLS, MN 56538                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,049.00
          OVERHEAD DOOR COMPANY                                               Contingent
          OF WEBSTER COUNTY                                                   Unliquidated
          6 NORTH 21ST ST                                                     Disputed
          FORT DODGE, IA 50501
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,218.00
          PALEN/KIMBALL LLC                                                   Contingent
          MI-98                                                               Unliquidated
          PO BOX 1414                                                         Disputed
          MINNEAPOLIS, MN 55480
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,629.59
          PAN OCEANIC EYEWEAR LTD                                             Contingent
          6TH FLOOR                                                           Unliquidated
          15 WEST 37TH ST                                                     Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $172.38
          PARKER, AARON                                                       Contingent
          1410 W 1ST                                                          Unliquidated
          GRAND ISLAND, NE 68801                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $3.18
          PATTERSON,KAYCI                                                     Contingent
          14560 N. PENN APT. 109                                              Unliquidated
          OKLAHOMA CITY, OK 73134                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $53.50
          PEDERSON SANITATION CORP                                            Contingent
          PO BOX 1001                                                         Unliquidated
          FORT DODGE, IA 50501                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $78.54
          PELLITTERI WASTE SYSTEMS                                            Contingent
          PO BOX 259426                                                       Unliquidated
          MADISON, WI 53725                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $552.61
          PEOPLEREADY INC                                                     Contingent
          1002 SOLUTIONS CENTER                                               Unliquidated
          CHICAGO, IL 60677                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TEMP HELP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,487.31
          PEPPERJAM                                                           Contingent
          7 SOUTH MAIN STREET, FLOOR 3                                        Unliquidated
          Wilkes Barre, PA 18701                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MARKETING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $14.51
          PEREZ, ALEXIS                                                       Contingent
          105 BELAIRE ST                                                      Unliquidated
          SAN ANGELO, TX 76905                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.43
          PEREZ, DESIREE                                                      Contingent
          1115 S. 12TH ST.                                                    Unliquidated
          ROCKYFORD, CO 81067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.15
          PESTBUSTERS, INC                                                    Contingent
          2701 SOUTH LEMON STREET                                             Unliquidated
          SIOUX CITY, IA 51106                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          PETERS HEATING AND                                                  Contingent
          AIR CONDITIONING INC                                                Unliquidated
          4520 BROADWAY                                                       Disputed
          QUINCY, IL 62305
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.54
          PFAFF, JESSI                                                        Contingent
          138 SOUTH WEBSTER ST                                                Unliquidated
          OTTUMWA, IA 52501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $140.00
          PIONEER SEWER & DRAIN                                               Contingent
          11485 KONA RANCH RD                                                 Unliquidated
          MISSOULA, MT 59804                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V126 Water Drain Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $261.23
          PITHER PLUMBING                                                     Contingent
          310 W METHVIN                                                       Unliquidated
          LONGVIEW, TX 75601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $166.26
          PLUMBING PERFECTION, INC.                                           Contingent
          PO BOX 171                                                          Unliquidated
          NEW PLYMOUTH, ID 83655                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,125.66
          POMEROY IT SOLUTIONS                                                Contingent
          SALES COMPANY, INC.                                                 Unliquidated
          PO BOX 631049                                                       Disputed
          CINCINNATI, OH 45263
                                                                             Basis for the claim:    BROADBAND TELECOMMUNICATIONS
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,028.44
          POOF                                                                Contingent
          1407 BROADWAY, SUITE 900                                            Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $56.94
          POP-A-LOCK OF TRI CITIES                                            Contingent
          3119 BRISTOL HWY                                                    Unliquidated
          STE 218                                                             Disputed
          JOHNSON CITY, TN 37601
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $574.23
          POPULAR BASICS                                                      Contingent
          747 E. 10TH STREET                                                  Unliquidated
          UNIT 111                                                            Disputed
          LOS ANGELES, CA 90021
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.50
          PORTER, MICHAEL                                                     Contingent
          9700 HWY 63                                                         Unliquidated
          EMMETT, KS 66422                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.98
          POWERS, TRACY                                                       Contingent
          2211 ACE VISTA DR                                                   Unliquidated
          MISSOULA, MT 59803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $195.68
          PRECISE FILTER SERVICE                                              Contingent
          PO BOX 193                                                          Unliquidated
          FOUNTAINTOWN, IN 46130                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $65.00
          PRECISION GLASS LLC                                                 Contingent
          5405 ILLINOIS ROAD                                                  Unliquidated
          FORT WAYNE, IN 46804                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V108 Window Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $109.72
          PRECISION LOCKSMITHING                                              Contingent
          117 N. MAIN ST                                                      Unliquidated
          FOND DU LAC, WI 54935                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,845.16
          PREFERENCE EMPLOYMENT                                               Contingent
          SOLUTIONS, INC.                                                     Unliquidated
          2600 9TH AVE S                                                      Disputed
          FARGO, ND 58103
                                                                             Basis for the claim:    TEMP HELP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $276.00
          PREMIER MECHANICAL                                                  Contingent
          SERVICE, INC.                                                       Unliquidated
          912 S METCALF ST                                                    Disputed
          LIMA, OH 45804
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $46.43
          PRESTO-X                                                            Contingent
          P.O. BOX 14087                                                      Unliquidated
          READING, PA 19612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $23.93
          PROFESSIONAL FIRE                                                   Contingent
          EQUIPMENT COMPANY                                                   Unliquidated
          PO BOX 96                                                           Disputed
          HAYS, KS 67601
                                                                             Basis for the claim:    FIRE EXT. INSPECTION
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,896.00
          PROJECT 28 CLOTHING                                                 Contingent
          525 7TH AVE, SUITE 1200                                             Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $203.73
          PROSHIELD FIRE & SECURITY                                           Contingent
          1118 LAPORTE ROAD                                                   Unliquidated
          WATERLOO, IA 50702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXT. INSPECTION
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $435.30
          PUBLIC UTILITY COMMISSION                                           Contingent
          G.R.P.U.C.                                                          Unliquidated
          P.O. BOX 658                                                        Disputed
          GRAND RAPIDS, MN 55744
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.16
          QUESTAR GAS COMPANY                                                 Contingent
          PO BOX 45841                                                        Unliquidated
          SALT LAKE CITY, UT 84139                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V88 Gas 1/17
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $107.82
          QUINN, JUDY                                                         Contingent
          219 MAHAN DR                                                        Unliquidated
          PARIS, IL 61944                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $53.50
          R & R WINDOW WASHING                                                Contingent
          SERVICE                                                             Unliquidated
          PO BOX 341                                                          Disputed
          DUBUQUE, IA 52004
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,099.67
          R/S ELECTRIC CONSTRUCTION                                           Contingent
          P.O. BOX 842708                                                     Unliquidated
          NORTH KANSAS CITY, MO 64184                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $114.32
          RALPH'S ELECTRIC, INC                                               Contingent
          2112 CANTERBURY ROAD                                                Unliquidated
          HAYS, KS 67601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $5.00
          RANDY'S WINDOW CLEANING                                             Contingent
          PO BOX 1001                                                         Unliquidated
          BELOIT, WI 53512                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $309.95
          RAPID GARAGE DOOR                                                   Contingent
          & AWNING                                                            Unliquidated
          423 NE 5TH AVE                                                      Disputed
          GRAND RAPIDS, MN 55744
                                                                             Basis for the claim:    V32 Gate Repair
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $43.91
          RELIABLE PEST SOLUTIONS                                             Contingent
          PO BOX 627                                                          Unliquidated
          HANNIBAL, MO 63401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,851.26
          RGIS                                                                Contingent
          PO BOX 77631                                                        Unliquidated
          DETROIT, MI 48277                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PHYSICAL INVENTORY SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.88
          RHODEN, KATIE                                                       Contingent
          1451 RIDGE ST.                                                      Unliquidated
          POCATELLO, ID 83201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $84.00
          RICHARD'S HEATING & COOLING INC                                     Contingent
          1211 FLIGHTWAY DRVIE                                                Unliquidated
          DE PERE, WI 54115                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.55
          RIPKE, JAMMIE                                                       Contingent
          156 PEPPERELL AVE                                                   Unliquidated
          HOUGHTON LAKE, MI 48629                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.42
          RIVERA, ELSA                                                        Contingent
          2524 LAUREN AVE                                                     Unliquidated
          RACINE, WI 53404                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          ROBARDS PEST CONTROL                                                Contingent
          130 RINGGOLD RD                                                     Unliquidated
          CLARKSVILLE, TN 37042                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $95.10
          ROBERTS PLUMBING AND HEATING INC                                    Contingent
          3196 MESA AVE                                                       Unliquidated
          GRAND JUNCTION, CO 81504                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.15
          ROBERTS, DOMINI                                                     Contingent
          3038 PATRICK DR.                                                    Unliquidated
          CO SPRINGS, CO 80916                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $115.00
          ROBINSON ELECTRIC                                                   Contingent
          DIV OF W.J.R., INC                                                  Unliquidated
          3025 RED BARN DRIVE                                                 Disputed
          GERING, NE 69341
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $160.75
          ROCKFORD HEATING & AIR                                              Contingent
          CONDITIONING                                                        Unliquidated
          1618 MAGNOLIA ST                                                    Disputed
          ROCKFORD, IL 61104
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,409.54
          ROCKY MOUNTAIN POWER                                                Contingent
          PO BOX 26000                                                        Unliquidated
          PORTLAND, OR 97256                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.62
          ROGALLA, KATIE                                                      Contingent
          6685 LEMON RD                                                       Unliquidated
          BANCROFT, MI 48414                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.56
          ROSS, NIKKI                                                         Contingent
          1312 E. 9TH ST. APT 2W                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    CUSTOMER REFUND CHECKS
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $95.00
          ROTH BROS., INC                                                     Contingent
          P.O. BOX 3600                                                       Unliquidated
          CAROL STREAM, IL 60132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,519.10
          RR DONNELLEY LOGISTICS                                              Contingent
          SERVICES WORLDWIDE INC                                              Unliquidated
          PO BOX 932721                                                       Disputed
          CLEVELAND, OH 44193
                                                                             Basis for the claim:    Inbound Freight
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $77.04
          RUNYON LOCK SERVICE                                                 Contingent
          1129 19TH ST                                                        Unliquidated
          PARKERSBURG, WV 26101                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $134.12
          RYDER TRANSPORTATION                                                Contingent
          SERVICES                                                            Unliquidated
          PO BOX 96723                                                        Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:    RENTAL TRUCK
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $970.00
          S & S SHAMBAUGH & SON LP                                            Contingent
          PO BOX 1287                                                         Unliquidated
          FORT WAYNE, IN 46801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.70
          S.V.J. ELECTRIC CO., INC.                                           Contingent
          1959 NEW GROVE RD                                                   Unliquidated
          SMITHS GROVE, KY 42171                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,760.00
          SALES FLOOR LIVE LLC                                                Contingent
          PO BOX 80284                                                        Unliquidated
          BILLINGS, MT 59108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SOFTWARE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $154.79
          SAMMY PHILLIPS ELECTRIC                                             Contingent
          P.O. BOX 24519                                                      Unliquidated
          WINSTON-SALEM, NC 27114                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.00
          SANCHEZ, KELLY                                                      Contingent
          106 9TH ST SOUTH                                                    Unliquidated
          SOUTH ST. PAUL, MN 55076                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $11.64
          SAPP, MELISSA                                                       Contingent
          155 PADDOCK GREEN DRIVE                                             Unliquidated
          NEW MARTINSVILLE, WV 26155                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.61
          SCHROADER, ADDE                                                     Contingent
          118 JANE DR                                                         Unliquidated
          SPARTA, WI 54656                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $302.06
          SCHWICKERT'S TECTA AMERICA                                          Contingent
          PO BOX 1179                                                         Unliquidated
          MANKATO, MN 56002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V12 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.29
          SCOTT, JASMINE                                                      Contingent
          836 E 2000 S                                                        Unliquidated
          CLEARFIELD, UT 84015                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $888.47
          SCOTTSBLUFF, CITY OF                                                Contingent
          ACCOUNT CLERK                                                       Unliquidated
          2525 CIRCLE DRIVE                                                   Disputed
          SCOTTSBLUFF, NE 69361
                                                                             Basis for the claim:    V67 WTR/SWR WST
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $211.99
          SCR INC                                                             Contingent
          604 LINCOLN AVENUE NE                                               Unliquidated
          ST. CLOUD, MN 56304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V27 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $64.65
          SEAN'S WINDOW CLEANING                                              Contingent
          PO BOX 8341                                                         Unliquidated
          ROCHESTER, MN 55903                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,184.52
          SECOND GENERATION                                                   Contingent
          BEBOP CLOTHING                                                      Unliquidated
          4433 PACIFIC BLVD                                                   Disputed
          VERNON, CA 90058
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.10
          SEEKINS, COURTN                                                     Contingent
          1139 LANTERN SQUARE APT 1                                           Unliquidated
          WATERLOO, IA 50701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $103.37
          SEMCO ENERGY GAS COMPANY                                            Contingent
          PO BOX 740812                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          SERVICE CLEAN MIDTOWN LLC                                           Contingent
          429 PARRISH HILL                                                    Unliquidated
          MOUNT JULIET, TN 37122                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $69.00
          SERVICE EXPERTS                                                     Contingent
          120 E 40TH ST                                                       Unliquidated
          BOISE, ID 83714                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $301.47
          SERVICE SPECIALISTS, INC                                            Contingent
          P.O. BOX 160                                                        Unliquidated
          SUN PRAIRIE, WI 53590                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $14.39
          SHATILA, HANNA                                                      Contingent
          2721 WILLIAM NEAL PKWY                                              Unliquidated
          FORT COLLINS, CO 80525                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Shavitz Law Group, P.A.                                             Contingent
          1515 S. Federal Highway, Suite 404                                  Unliquidated
          Boca Raton, FL 33432                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Representation of unknown former store managers
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Vanity Shop of Grand Forks, Inc.                                                        Case number (if known)            17-30112
              Name

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $1.35
          SHAYLA, WINTEY                                                      Contingent
          412 LINCOLN ST.                                                     Unliquidated
          QUINTER, KS 67752                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $140.00
          SHEET METAL SPEICALTIES                                             Contingent
          1220 EAST YELLOWSTONE                                               Unliquidated
          PO BOX 1243                                                         Disputed
          CASPER, WY 82602
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,749.64
          SHINE IMPORTS                                                       Contingent
          2455 E. 27TH ST.                                                    Unliquidated
          VERNON, CA 90058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $66.65
          SHORTPRINTER.COM                                                    Contingent
          3005 MAIN AVE                                                       Unliquidated
          FARGO, ND 58103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.44
          SHREEVE, MEGAN                                                      Contingent
          507 N ARTHUR ST, APT I102                                           Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    CUSTOMER REFUND CHECKS
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,947.43
          Signorelli, Inc.                                                    Contingent
          6363 Regent Street                                                  Unliquidated
          Huntington Park, CA 90255                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Merchandise
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.08
          SIMMON, CHEKILA                                                     Contingent
          2104 VANCE                                                          Unliquidated
          LITTLE ROCK, AR 72206                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Vanity Shop of Grand Forks, Inc.                                                        Case number (if known)            17-30112
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 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72.50
          SIMPLEXGRINNELL                                                     Contingent
          DEPT CH 10320                                                       Unliquidated
          PALATINE, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXT. INSPECTION
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.03
          SIMPSON,DEVANNA                                                     Contingent
          4415 KENNEDY ST.                                                    Unliquidated
          RACINE, WI 53404                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $265.00
          SLAGTER, DON                                                        Contingent
          1242 13TH ST SW                                                     Unliquidated
          WILLMAR, MN 56201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $177.66
          SMITH, ASHLEY                                                       Contingent
          2617 E INMAN ST                                                     Unliquidated
          SPRINGFIELD, MO 65804                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.00
          SMITH, KILEIGH                                                      Contingent
          618 GRANT ST                                                        Unliquidated
          PERU, IL 61354                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $36.00
          SMITHEREEN PEST                                                     Contingent
          7400 N MELVINA AVE                                                  Unliquidated
          NILES, IL 60714                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $630.58
          SNELL SERVICES INC                                                  Contingent
          PO BOX 629                                                          Unliquidated
          NORTH PLATTE, NE 69103                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.03
          SODERLUND,JULIE                                                     Contingent
          31332 QUINLAN AVE                                                   Unliquidated
          CENTER CITY, MN 55010                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.08
          SONKSEN, ALYSSA                                                     Contingent
          1264 NORTHEY ST.                                                    Unliquidated
          WATERLOO, IA 50703                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.61
          SORENSON, BRITT                                                     Contingent
          339 1ST ST. NE                                                      Unliquidated
          SARTELL, MN 56377                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $238.61
          SOURCE REFRIGERATION                                                Contingent
          & HVAC, INC.                                                        Unliquidated
          PO BOX 515229                                                       Disputed
          LOS ANGELES, CA 90051
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $92.36
          SOUTHWEST PESTICIDE, INC                                            Contingent
          605 1/2 N 8TH ST                                                    Unliquidated
          GARDEN CITY, KS 67846                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $117,095.32
          SQA & KC INTERNATIONAL, S.A.
          48 AVENIDA 7-23 ZONA3                                               Contingent
          APARTAMENTO A                                                       Unliquidated
          COLONIA EL ROSARIO MIXCO                                            Disputed
          GUATEMALA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.51
          SRT                                                                 Contingent
          PO BOX 2027                                                         Unliquidated
          MINOT, ND 58702                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.55
          ST. CLOUD, CITY OF                                                  Contingent
          PO BOX 1501                                                         Unliquidated
          ST. CLOUD, MN 56302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $737.98
          STAFF ELECTRIC CO INC                                               Contingent
          PO BOX 917                                                          Unliquidated
          BUTLER, WI 53007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V48 Sign Lights
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $7.38
          STANKEVITZ,KRIS                                                     Contingent
          420 W. FORUM APT. 210                                               Unliquidated
          MADISON, WI 53703                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.73
          STANLEY, LINDA                                                      Contingent
          1401 W. 13TH ST.                                                    Unliquidated
          MUNCIE, IN 47302                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,611.88
          STAR OF INDIA                                                       Contingent
          PO BOX 28330                                                        Unliquidated
          TEMPE, AZ 85285                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $74,135.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                               Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. 633-125331/OV - Aide Guadalupe Martinez-Miranda
          Last 4 digits of account number                                    (Employer: Fashion Party, Inc.); $74,135
                                                                             Case No. WC-CM-208859 - Gabriel Catalan Vargas (Employer: AMC
                                                                             Apparel, Inc.); $83,738.50
                                                                             Is the claim subject to offset?    No  Yes




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 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $83,738.50
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                               Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-208859 - Gabriel Catalan Vargas (Employer: AMC
          Last 4 digits of account number                                    Apparel, Inc.); $83,738.50
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $152,164.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-182134 - Alba Luz Hernandez Lopez (Employer:
          Last 4 digits of account number                                    TEHO, Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $152,164.00
                                                                             Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,201.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-159398 - Magdalena Antonio (Employer: TEHO, Inc.,
          Last 4 digits of account number                                    a California Corporation and Terry Choi, an Individual); $71,201.00
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,132.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                               Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-159228 - Maria de Monserrat Leyva-Gonzalez
          Last 4 digits of account number                                    (Employer: TEHO, Inc., a California Corporation and Terry Choi, an
                                                                             Individual); $69,132.00
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99,131.50
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-157222 - Magdalena Solis(Employer: TEHO, Inc., a
          Last 4 digits of account number                                    California Corporation and Terry Choi, an Individual); $99,131.50
                                                                             Is the claim subject to offset?    No  Yes




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 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $181,831.40
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-157416 - Diego Perez-Meza (Employer: TEHO, Inc.,
          Last 4 digits of account number                                    a California Corporation and Terry Choi, an Individual); $181,831.40
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $114,149.50
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-156087 - Josue Garcia-Cruz (Employer: TEHO, Inc.,
          Last 4 digits of account number                                    a California Corporation and Terry Choi, an Individual); $114,149.50
                                                                             Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,816.40
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-158973 - Patricia Gomez-Arellano (Employer:
          Last 4 digits of account number                                    TEHO, Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $38,816.40
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105,470.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-156084 - Lucitana Chavac (Employer: TEHO, Inc., a
          Last 4 digits of account number                                    California Corporation and Terry Choi, an Individual); $105,470.00
                                                                             Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $201,552.50
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-156086 - Miriam Perez (Employer: TEHO, Inc., a
          Last 4 digits of account number                                    California Corporation and Terry Choi, an Individual); $201,552.50
                                                                             Is the claim subject to offset?    No  Yes




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 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,917.50
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-183664 - Gloria Cendejas De Cachu (Employer:
          Last 4 digits of account number                                    TEHO, Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $70,917.50
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,389.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                                Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-159267 - Justina Cortes Reyna (Employer: TEHO,
          Last 4 digits of account number                                    Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $77,389.00
                                                                             Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105,470.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                                Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-156085 - Ismael Veliz-Herrera (Employer: TEHO,
          Last 4 digits of account number                                    Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $105,470.00
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61,017.00
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                                Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-184641 - Manuel Demetrio Sosa (Employer: TEHO,
          Last 4 digits of account number                                    Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $61,017.00
                                                                             Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,070.76
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                              Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-158918 - Isabel Velazquez-Guerra (Employer:
          Last 4 digits of account number                                    TEHO, Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $44,070.76
                                                                             Is the claim subject to offset?    No  Yes




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 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189,190.50
          State of California                                                 Contingent
          Department of Industrial Relations
          Labor Commissioner's Office
                                                                              Unliquidated
          320 West 4th St., Suite 450                                         Disputed
          Los Angeles, CA 90013                                                                Unpaid wages from manufactuer/employer:
                                                                             Basis for the claim:
          Date(s) debt was incurred                                          Case No. WC-CM-159253 - Jose Miguel Rodriguez (Employer: TEHO,
          Last 4 digits of account number                                    Inc., a California Corporation and Terry Choi, an Individual);
                                                                             $189,190.50
                                                                             Is the claim subject to offset?    No  Yes
 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.81
          STERLING HEIGHTS, CITY OF                                           Contingent
          DEPARTMENT 181601                                                   Unliquidated
          PO BOX 55000                                                        Disputed
          DETROIT, MI 48255
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          STONY APPAREL                                                       Contingent
          1500 S. EVERGREEN AVE.                                              Unliquidated
          LOS ANGELES, CA 90023                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,240.00
          STOOSH                                                              Contingent
          ROGER GARMENTS                                                      Unliquidated
          1524 GAGE RD                                                        Disputed
          MONTEBELLO, CA 90640
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,469.45
          STORED VALUE SOLUTIONS                                              Contingent
          3802 RELIABLE PARKWAY                                               Unliquidated
          CHICAGO, IL 60686                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    GIFT CARD PROCESSING FEE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.17
          STORMONT, STACE                                                     Contingent
          PO BOX 153                                                          Unliquidated
          CIMARRON, KS 67835                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.52
          STUBBS, MALLORY                                                     Contingent
          114 MARGARET CIRCLE                                                 Unliquidated
          ENID, OK 73703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $138.59
          STURM HEATING                                                       Contingent
          & AIR CONDITIONING                                                  Unliquidated
          1112 NORTH NELSON                                                   Disputed
          SPOKANE, WA 99202
                                                                             Basis for the claim:    V76 HVAC Preventative Mtce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $293.01
          SUBURBAN ELECTRICAL                                                 Contingent
          ENGINEERS-CONTRACTORS,INC                                           Unliquidated
          BOX 78031                                                           Disputed
          MILWAUKEE, WI 53278
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45.00
          SUMMIT COMPANIES                                                    Contingent
          PO BOX 6205                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,245.01
          SUN BAN FASHIONS INC                                                Contingent
          GLANCE                                                              Unliquidated
          600 4TH AVENUE                                                      Disputed
          BROOKLYN, NY 11215
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $532.00
          SUPERIOR MECHANICAL                                                 Contingent
          3100 PLAINFIELD ROAD                                                Unliquidated
          SUITE C                                                             Disputed
          DAYTON, OH 45432
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,491.80
          SUZHOU HENGRUN IMP&EXP CO                                           Contingent
          888 CHENGHU ROAD                                                    Unliquidated
          SUZHOU, CHINA                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $1.90
          SWANSON, SHELBY                                                     Contingent
          13013 212 AVE NE                                                    Unliquidated
          NEW LONDON, MN 56273                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $684.01
          SWIFTAIR                                                            Contingent
          2717 WEST 6TH                                                       Unliquidated
          SIOUX FALLS, SD 57104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.68
          SYMPSON, ASHLEIG                                                    Contingent
          825 PEACHERS MILL RD                                                Unliquidated
          CLARKSVILLE, TN 37042                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $309.09
          T&M ELECTRIC INC                                                    Contingent
          316 NORTHWESTERN AVE                                                Unliquidated
          NORFOLK, NE 68701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $306.25
          T.H. EIFERT                                                         Contingent
          3302 W ST. JOSEPH                                                   Unliquidated
          LANSING, MI 48917                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.88
          TAYLOR, NICOLE                                                      Contingent
          405 S WEBER ST                                                      Unliquidated
          ABERDEEN, SD 57401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $187.50
          TEC ELECTRIC COMPANY                                                Contingent
          755 WEST 200 SOUTH                                                  Unliquidated
          LOGAN, UT 84321                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $99.00
          TEMP RIGHT SERVICE INC                                              Contingent
          1569 I-94 BUSINESS LOOP E                                           Unliquidated
          DICKINSON, ND 58601                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.00
          TEMPERATURE PROS, LLC                                               Contingent
          778 S MAIN ST                                                       Unliquidated
          SUITE 196                                                           Disputed
          LAPEER, MI 48446
                                                                             Basis for the claim:    HVAC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $81,937.95
          TEMPTED                                                             Contingent
          5630 BANDINI BLVD                                                   Unliquidated
          BELL, CA 90201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $135.31
          TERMINIX PROCESSING CTR                                             Contingent
          PO BOX 742592                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.87
          TERRE HAUTE, CITY OF                                                Contingent
          PO BOX 21043                                                        Unliquidated
          TULSA, OK 74121                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.94
          TERRY'S HEATING &                                                   Contingent
          AIR CONDITIONING                                                    Unliquidated
          PO BOX 5177                                                         Disputed
          TWIN FALLS, ID 83301
                                                                             Basis for the claim:    HVAC PM
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.48
          THAODORF, LORI                                                      Contingent
          302 6TH AVE NE                                                      Unliquidated
          KASSON, MN 55944                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,205.43
          THE AD ART COMPANY                                                  Contingent
          3260 E 26TH STREET                                                  Unliquidated
          LOS ANGELES, CA 90058                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Spring Sign Kit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          THE ENERGY COOPERATIVE                                              Contingent
          PO BOX 740467                                                       Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $585.43
          THE ILLUMINATING COMPANY                                            Contingent
          PO BOX 3687                                                         Unliquidated
          AKRON, OH 44309                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $85.00
          THE STERITECH GROUP INC                                             Contingent
          PO BOX 472127                                                       Unliquidated
          CHARLOTTE, NC 28247                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PEST CONTROL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $64.00
          THE WINDOW WASHERS                                                  Contingent
          2120 SOUTH RESERVE ST                                               Unliquidated
          PMB 107                                                             Disputed
          MISSOULA, MT 59801
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.14
          THIBAULT, AMAND                                                     Contingent
          8113 PINFEATHER DR                                                  Unliquidated
          FOUNTAIN, CO 80817                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $128.72
          THORNE PLUMBIN.HEATING                                              Contingent
          AIR CONDITIONING INC.                                               Unliquidated
          PO BOX 820                                                          Disputed
          ZANESVILLE, OH 43702
                                                                             Basis for the claim:    REPAIRS & MTCE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.09
          TIMM, JACKIE                                                        Contingent
          1535 CAPITOL DR                                                     Unliquidated
          GREEN BAY, WI 54303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          TOTAL CLEAN WINDOW                                                  Contingent
          WASHING                                                             Unliquidated
          PO BOX 11994                                                        Disputed
          GREEN BAY, WI 54307
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $91.80
          TOWN AND COUNTRY ELECTRIC                                           Contingent
          1116 8TH STREET SOUTH                                               Unliquidated
          VIRGINIA, MN 55792                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $66.33
          TRI-STATE FIRE                                                      Contingent
          EXTINGUISHER COMPANY                                                Unliquidated
          122 S 7TH ST                                                        Disputed
          STEUBENVILLE, OH 43952
                                                                             Basis for the claim:    FIRE EXTINGUISHER
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          TY THE WINDOW GUY                                                   Contingent
          4859 N SHADY VIEW LANE                                              Unliquidated
          LEHI, UT 84043                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $457.95
          ULINE                                                               Contingent
          ATTN: ACCTS RECEIVABLE                                              Unliquidated
          PO BOX 88741                                                        Disputed
          CHICAGO, IL 60680
                                                                             Basis for the claim:    Store mop kits
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $198,803.62
          UNITED PARCEL SERVICE                                               Contingent
          LOCK BOX 577                                                        Unliquidated
          CAROL STREAM, IL 60132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: FREIGHT CHARGES FOR WHSE TO STORE
          Last 4 digits of account number                                    DELIVERIES/ECOM ORDERS
                                                                             Is the claim subject to offset?    No  Yes
 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $276.00
          UNITED TEAM MECHANICAL                                              Contingent
          PO BOX 257                                                          Unliquidated
          KAYSVILLE, UT 84037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V78/V88/V94 HVAC Preventative Mtce
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,727.03
          UPS SUPPLY CHAIN SOLUTIONS                                          Contingent
          CUSTOMS BROKERAGE SERVICE                                           Unliquidated
          28013 NETWORK PLACE                                                 Disputed
          CHICAGO, IL 60673
                                                                             Basis for the claim:    SHIPPING/FREIGHT
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $186.95
          VAN ERT ELECTRIC COMPANY                                            Contingent
          7019 W STEWART AVE                                                  Unliquidated
          WAUSAU, WI 54401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.00
          VANDELFT, BETHA                                                     Contingent
          7490 HUISMAN RD                                                     Unliquidated
          LYNDEN, WA 98264                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $673.55
          VANENK ELECTRIC, INC.                                               Contingent
          2901 MAPLE ST N                                                     Unliquidated
          FARGO, ND 58102                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $52.06
          VECTOR SECURITY, INC.                                               Contingent
          PO BOX 89462                                                        Unliquidated
          CLEVELAND, OH 44101                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    STORE ALARMS V177 & V250
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $160.87
          VECTREN ENERGY DELIVERY                                             Contingent
          PO BOX 6248                                                         Unliquidated
          INDIANAPOLIS, IN 46206                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.94
          VECTREN ENERGY DELIVERY                                             Contingent
          P.O. BOX 6262                                                       Unliquidated
          INDIANAPOLIS, IN 46206                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $261.44
          VERENDRYE ELECTRIC COOP                                             Contingent
          615 HIGHWAY 52 WEST                                                 Unliquidated
          VELVA, ND 58790                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,365.00
          VERITIV OPERATING COMPANY                                           Contingent
          7472 COLLECTION CENTER DR                                           Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $68.72
          VERIZON                                                             Contingent
          PO BOX 15124                                                        Unliquidated
          ALBANY, NY 12212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.57
          VIENNA, CITY OF                                                     Contingent
          OFFICE OF THE TREASURER                                             Unliquidated
          P.O. BOX 5097                                                       Disputed
          VIENNA, WV 26105
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.00
          VILLAGE OF GREENDALE                                                Contingent
          6500 NORTHWAY                                                       Unliquidated
          GREENDALE, WI 53129                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS LICENSE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,423.80
          VOLAR FASHION                                                       Contingent
          8940 SORENSEN AVE.                                                  Unliquidated
          SUITE 2                                                             Disputed
          SANTA FE SPRINGS, CA 90670
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $161.48
          W.J. LEASEA ELECTRIC, INC                                           Contingent
          616 SOUTH MILITARY ROAD                                             Unliquidated
          FOND DU LAC, WI 54935                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $622.98
          WALDINGER CORPORATION                                               Contingent
          PO BOX 1612                                                         Unliquidated
          DES MOINES, IA 50306                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC PM
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.12
          WALKER, DONNA                                                       Contingent
          4400 TROUP HWY, APT 400                                             Unliquidated
          TYLER, TX 75703                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.54
          WALLACE, STACEY                                                     Contingent
          227 BRISTOL RD                                                      Unliquidated
          CHATHAM, IL 62629                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $256.20
          WASH AWAY ALL                                                       Contingent
          129 N SUNSET DR. #1C                                                Unliquidated
          WINSTON-SALEM, NC 27101                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $47.08
          WASHED WHITE                                                        Contingent
          1805 SYCAMORE                                                       Unliquidated
          GRANGER, IA 50109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,585.85
          WASTE MANAGEMENT                                                    Contingent
          PO BOX 13648                                                        Unliquidated
          PHILADELPHIA, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,631.08
          WASTE MANAGEMENT OF WI-MN                                           Contingent
          PO BOX 4648                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $405.17
          WATERTOWN MUNICIPAL                                                 Contingent
          UTILITIES                                                           Unliquidated
          901 FOURTH AVENUE SW                                                Disputed
          WATERTOWN, SD 57201
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.38
          WAYKINS, KELLY                                                      Contingent
          3625 RIALTO                                                         Unliquidated
          PUEBLO, CO 81005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          WE DO WINDOWS                                                       Contingent
          PO BOX 408                                                          Unliquidated
          HOLCOMB, KS 67851                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WINDOW WASHING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,063.71
          WE ENERGIES                                                         Contingent
          PO BOX 90001                                                        Unliquidated
          MILWAUKEE, WI 53290                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $255.74
          WEST CENTRAL SANITATION                                             Contingent
          P.O. BOX 796                                                        Unliquidated
          WILLMAR, MN 56201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    WASTE SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,005.00
          WEST COAST TRUCKING, INC.                                           Contingent
          100 W MANVILEE STREET                                               Unliquidated
          RANCHO DOMINGUEZ, CA 90220                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,414.75
          WESTCOAST WAREHOUSING LLC                                           Contingent
          100 WEST MANVILLE ST                                                Unliquidated
          RANCHO DOMINGUEZ, CA 90220                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $145.25
          WESTERN WYOMING LOCK                                                Contingent
          1849 CY AVENUE                                                      Unliquidated
          CASPER, WY 82604                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    LOCKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,012.90
          WESTMAN CHAMPLIN KOEHLER                                            Contingent
          900 2ND AVE S                                                       Unliquidated
          STE 1400                                                            Disputed
          MINNEAPOLIS, MN 55402
                                                                             Basis for the claim:    ATTORNEY-INTELLECTUAL PROPERTY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $59.28
          WESTON, JAIDEN                                                      Contingent
          814 W 1470 N                                                        Unliquidated
          CLINTON, UT 84015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $36.76
          WIEDEL, ANNE                                                        Contingent
          4234 DOUGLAS AVE                                                    Unliquidated
          RACINE, WI 53402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $206.43
          WILLIAMS GENERAL CONST.                                             Contingent
          14999 BEAVERDALE RD                                                 Unliquidated
          DANVILLE, IA 52623                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    V139 Replace light bulbs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $541.19
          WILLIAMS MECHANICAL                                                 Contingent
          P.O. BOX 17038                                                      Unliquidated
          JONESBORO, AR 72403                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $34.40
          WILLISTON, CITY OF                                                  Contingent
          WATER DEPARTMENT                                                    Unliquidated
          PO BOX 1306                                                         Disputed
          WILLISTON, ND 58802
                                                                             Basis for the claim:    UTILITIES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          WILSON, NELDA                                                       Contingent
          11300 N PENN AVE                                                    Unliquidated
          OKLAHOMA CITY, OK 73120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          WINDOW CLEANING AND                                                 Contingent
          JANITORAL SERVICE                                                   Unliquidated
          39435 133RD ST                                                      Disputed
          BATH, SD 57427
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $244.60
          WINDSTREAM                                                          Contingent
          P.O. BOX 9001908                                                    Unliquidated
          LOUISVILLE, KY 40290                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TELECOMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $817.20
          WISCONSIN PUBLIC SERVICE                                            Contingent
          PO BOX 3140                                                         Unliquidated
          MILWAUKEE, WI 53201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $123.77
          WOODMAN REFRIGERATION, INC                                          Contingent
          1616 6TH AVE SE                                                     Unliquidated
          ABERDEEN, SD 57401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $292.50
          WOODS ELECTRICAL                                                    Contingent
          CONTRACTORS INC.                                                    Unliquidated
          4180 N STARNES RD                                                   Disputed
          BLOOMINGTON, IN 47404
                                                                             Basis for the claim:    V109 Replace Light Bulbs
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.33
          WOOLF, HOPE                                                         Contingent
          PO BOX 156                                                          Unliquidated
          DEMING, WA 98244                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.641     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $135.31
           WSC WHITE SERVICE COMPANY                                          Contingent
           PO BOX 1309                                                        Unliquidated
           WOLFFORTH, TX 79382                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $4,445.99
           XCEL ENERGY                                                        Contingent
           PO BOX 9477                                                        Unliquidated
           MINNEAPOLIS, MN 55484                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.643     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $26.48
           YOUNG, LESLIE                                                      Contingent
           320 DIVISION AVE                                                   Unliquidated
           VAN METER, IA 50261                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    CUSTOMER REFUND CHECKS
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $29.87
           YOUNGSTOWN WATER                                                   Contingent
           DEPARTMENT                                                         Unliquidated
           PO BOX 6219                                                        Disputed
           YOUNGSTOWN, OH 44501
                                                                             Basis for the claim:    UTILITIES
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.645     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $8.69
           ZUBER, SHONNA                                                      Contingent
           2211 E ROSE AVE                                                    Unliquidated
           APT 24                                                             Disputed
           DES MOINES, IA 52030
                                                                             Basis for the claim:    EMPLOYEE TRAVEL
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Ameren Illinois
           Credit and Collections                                                                     Line     3.35
           2105 E State Route 104
           Pawnee, IL 62558                                                                                 Not listed. Explain


 4.2       Cindy Shattcuk
           Verendrye Electric Cooperative                                                             Line     3.606                                  9900
           1225 Highway 2 Bypass E
           Minot, ND 58701-7927                                                                             Not listed. Explain




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          Name and mailing address                                                               On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.3      Coface North America Insurance Company
          50 Millstone Rd., Bldg. 100, Ste. 360                                                  Line   3.349
          East Windsor, NJ 08520
                                                                                                       Not listed. Explain

 4.4      D'Layne Carter
          PO Box 9132                                                                            Line   2.217
          Amarillo, TX 79105-9132
                                                                                                       Not listed. Explain

 4.5      Elizabeth Weller
          Linebarger Goggan Blair & Sampson, LLP                                                 Line   2.102
          2777 N. Stemmons Freeway
          Suite 1000                                                                                   Not listed. Explain

          Dallas, TX 75207

 4.6      Elizabeth Weller
          Linebarger Goggan Blair & Sampson, LLP                                                 Line   2.238
          2777 N. Stemmons Freeway
          Suite 1000                                                                                   Not listed. Explain

          Dallas, TX 75207

 4.7      Erik A. Ahlgren
          Ahlgren Law Office                                                                     Line   3.158
          220 W. Washington Ave.
          Fergus Falls, MN 56537                                                                       Not listed. Explain


 4.8      Erik A. Ahlgren
          Ahlgren Law Office                                                                     Line   3.297
          220 W. Washington Ave.
          Fergus Falls, MN 56537                                                                       Not listed. Explain


 4.9      Finesse Novelty Corp
          30 Commerical Court                                                                    Line   3.211
          Plainview, NY 11803
                                                                                                       Not listed. Explain

 4.10     Jamie Bennett
          SEMCO Energy                                                                           Line   3.509
          1411 3rd Street
          Port Huron, MI 48060                                                                         Not listed. Explain


 4.11     Jane R. Fountain
          TTCL Services LLC dba Fish Window Clean                                                Line   3.219
          PO Box 22268
          Billings, MT 59104                                                                           Not listed. Explain


 4.12     Joe Mezzina
          Mallory Group                                                                          Line   3.351
          777 Sunrise Highway, Suite 301
          Lynbrook, NY 11563                                                                           Not listed. Explain


 4.13     Josh Hawley, Attorney General
          Missouri Department of Revenue                                                         Line   2.170
          201 W. High St., Rm 670
          PO Box 475                                                                                   Not listed. Explain

          Jefferson City, MO 65105-0475

 4.14     Laura J. Monroe
          PO Box 817                                                                             Line   2.148
          Lubbock, TX 79408
                                                                                                       Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 171 of 173
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
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 Debtor       Vanity Shop of Grand Forks, Inc.                                                   Case number (if known)            17-30112
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                 related creditor (if any) listed?                account number, if
                                                                                                                                                  any
 4.15      Mark R. Hansen - Tax Collector
           605 N Capital Avenue                                                                  Line      2.19
           Idaho Falls, ID 83402
                                                                                                       Not listed. Explain

 4.16      MidAmerican Energy Company
           PO Box 4350 Credit                                                                    Line      3.370
           Davenport, IA 52808-4350
                                                                                                       Not listed. Explain

 4.17      Patti M. Vickery
           Ameren Missouri/Bankruptcy Desk Code 310                                              Line      3.36
           PO Box 66881
           Saint Louis, MO 63166                                                                       Not listed. Explain


 4.18      Questar Gas Co/Bankruptcy/DNR
           1140 W 200 S                                                                          Line      3.470
           PO Box 3194
           Salt Lake City, UT 84110                                                                    Not listed. Explain


 4.19      Roger James Minch
           Serkland Law Firm                                                                     Line      3.82
           10 Roberts Street
           P.O. Box 6017                                                                               Not listed. Explain

           Fargo, ND 58108

 4.20      SQU & KC INT’L/GAS CHAIN
           CALZADA ROOSEVELT 22-43                                                               Line      3.534
           TORRE SOL NIVEL 5 OFICINA
           GUATEMALA, C.A.                                                                             Not listed. Explain


 4.21      Steven A. Ginther
           Missouri Department of Revenue                                                        Line      2.169
           301 W. High Street, Room 670
           PO Box 475                                                                                  Not listed. Explain

           Jefferson City, MO 65105-0475

 4.22      Steven A. Ginther
           Missouri Department of Revenue                                                        Line      2.170
           301 W. High Street, Room 670
           PO Box 475                                                                                  Not listed. Explain

           Jefferson City, MO 65105-0475

 4.23      Steven R. Fox
           Fox Law Corporation                                                                   Line      3.47                                   srfox@foxlaw.co
           17835 Ventura Blvd., Suite 306                                                                                                         m
           Encino, CA 91316                                                                            Not listed. Explain


 4.24      Thomas J. Mayernik
           Attorney at Law                                                                       Line      3.292
           8754 Mentor Ave
           Mentor, OH 44060                                                                            Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +     $                  7,913,834.68

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                    7,913,834.68


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              Name




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                          Page 173 of 173
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                                                                 Document      Page 217 of 279
 Fill in this information to identify the case:

 Debtor name         Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NORTH DAKOTA

 Case number (if known)         17-30112
                                                                                                                                Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Lease for rental of
              lease is for and the nature of              various retail store
              the debtor's interest                       locations.

                  State the term remaining                                            *LANDLORDS
                                                                                      SEE ATTACHMENT:
              List the contract number of any                                         SCHEDULES F & G - LANDLORDS
                    government contract


 2.2.         State what the contract or                  Tax credit processing
              lease is for and the nature of              services
              the debtor's interest

                  State the term remaining
                                                                                      ADP Tax Credits
              List the contract number of any                                         2205 Enterprise Drive, Suite C
                    government contract                                               Florence, SC 29501


 2.3.         State what the contract or                  Payroll processing
              lease is for and the nature of              services
              the debtor's interest

                  State the term remaining
                                                                                      ADP, Inc
              List the contract number of any                                         100 Northwest Point Blvd
                    government contract                                               Elk Grove, IL 60007


 2.4.         State what the contract or                  Benefits - Voluntary
              lease is for and the nature of              Employee Hospital
              the debtor's interest                       Indemnity/Cancer/AD&
                                                          D
                  State the term remaining
                                                                                      AFLAC
              List the contract number of any                                         1932 Wynnton Road
                    government contract                                               Columbus, GA 31999




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                     Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Marketing/Sales
             lease is for and the nature of               platform for market
             the debtor's interest                        expansion of online
                                                          sales
                  State the term remaining
                                                                                       Amazon Sellers Program
             List the contract number of any                                           PO Box 81226
                   government contract                                                 Seattle, WA 98108-1226


 2.6.        State what the contract or                   Payment Card provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             American Express Travel Related Services
                                                                                       18850 North 56th Street
             List the contract number of any                                           MC: 75-01-07
                   government contract                                                 Phoenix, AZ 85054


 2.7.        State what the contract or                   Phone services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       AT&T Corp
             List the contract number of any                                           One AT&T Way
                   government contract                                                 Bedminster, NJ 07921-0752


 2.8.        State what the contract or                   Credit card
             lease is for and the nature of               authorization provider
             the debtor's interest                        for vanity.com orders

                  State the term remaining
                                                                                       Authorize.net LLC
             List the contract number of any                                           808 East Utah Valley Drive
                   government contract                                                 American Fork, UT 84003


 2.9.        State what the contract or                   Benefits - Voluntary
             lease is for and the nature of               Employee Vision
             the debtor's interest

                  State the term remaining
                                                                                       Avesis Third Party Administrators, Inc.
             List the contract number of any                                           PO Box 52718
                   government contract                                                 Phoenix, AZ 85072


 2.10.       State what the contract or                   Merchant credit card
             lease is for and the nature of               processing for Visa,
             the debtor's interest                        MC, Discover
                                                          transactions at stores
                  State the term remaining                                             Bank of America NA Merchant Services
                                                                                       PO Box 18568
             List the contract number of any                                           Austin, TX 78760-8568
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                    Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   Benefits -
             lease is for and the nature of               Administrative services
             the debtor's interest                        for 401k plan

                  State the term remaining
                                                                                      Bell State Bank & Trust
             List the contract number of any                                          PO Box 829
                   government contract                                                Fargo, ND 58107


 2.12.       State what the contract or                   Benefits - Employee
             lease is for and the nature of               Health/Dental
             the debtor's interest

                  State the term remaining
                                                                                      Blue Cross Blue Shield of North Dakota
             List the contract number of any                                          PO Box 6005
                   government contract                                                Fargo, ND 58108-6005


 2.13.       State what the contract or                   Federal, state, and local
             lease is for and the nature of               tax return preparation
             the debtor's interest

                  State the term remaining                                            Brady, Martz & Associates. P.C.
                                                                                      41 Demers Avenue, Suite 300
             List the contract number of any                                          PO Box 14296
                   government contract                                                Fargo, ND 58208-4296


 2.14.       State what the contract or                   Worker's
             lease is for and the nature of               Compensation-OH
             the debtor's interest                        Effective date: 7/1/16
                                                          Expiration date: 6/30/17
                  State the term remaining
                                                                                      Bureau of Workers Compensation
             List the contract number of any                                          30 W Spring St
                   government contract       Policy #: 1466926-0                      Columbus, OH 43215-2256


 2.15.       State what the contract or                   Worker's
             lease is for and the nature of               Compensation-OH
             the debtor's interest                        Effective date: 7/1/16
                                                          Expiration date: 6/30/17
                  State the term remaining
                                                                                      Bureau of Workers’ Compensation
             List the contract number of any                                          30 W Spring St
                   government contract       Policy #: 1466926-0                      Columbus, OH 43215-2256


 2.16.       State what the contract or                   Customs
             lease is for and the nature of               Broker/Freight              Carmichael International
             the debtor's interest                        Forwarder                   PO Box 51025
                                                                                      Los Angeles, CA 90051
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                      Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Merchant credit card
             lease is for and the nature of               processing and
             the debtor's interest                        settlement for
                                                          vanity.com orders
                  State the term remaining
                                                                                        Chase Paymentech Solutions LLC
             List the contract number of any                                            PO Box 809001
                   government contract                                                  Dallas, TX 75380


 2.18.       State what the contract or                   DSL/Phone services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Consolidated Communications
             List the contract number of any                                            PO Box 3188
                   government contract                                                  Milwaukee, WI 53201


 2.19.       State what the contract or                   Ocean Marine Cargo
             lease is for and the nature of               Effective date: 7/1/16
             the debtor's interest                        Expiration date:
                                                          Remains in effect until
                                                          cancelled by either
                                                          party on thirty (30) days
                                                          prior written notice
                  State the term remaining                                              Continental Insurance Company
                                                                                        HUB International Mountain States
             List the contract number of any                                            3533 Gabel Road
                   government contract       OC750533                                   Billings, MT 59102


 2.20.       State what the contract or                   Commercial Package
             lease is for and the nature of               Insurance
             the debtor's interest                        Effective date: 7/1/16
                                                          Expiration date: 7/1/17
                                                          @ 12:01 AM
                  State the term remaining                                              Continental Western Insurance Company
                                                                                        HUB International Mountain States
             List the contract number of any                                            3533 Gabel Road
                   government contract       CPA 6021574 21                             Fargo, ND 58102


 2.21.       State what the contract or                   Traffic counter
             lease is for and the nature of               maintenance and
             the debtor's interest                        repairs

                  State the term remaining                                              Countwise
                                                                                        1149 Sawgrass Corp Pkwy
             List the contract number of any                                            Sunrise, FL 33323
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                       Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.22.       State what the contract or                   Registered agent
             lease is for and the nature of               service
             the debtor's interest

                  State the term remaining
                                                                                         CTProComply
             List the contract number of any                                             111 Eighth Avenue, 13th Floor
                   government contract                                                   New York, NY 10011


 2.23.       State what the contract or                   Worker's
             lease is for and the nature of               Compensation-WA
             the debtor's interest                        Quarterly state
                                                          reporting/billing.
                                                          Qtr 4 for 2016
                                                          reported/paid in
                                                          February 2017.
                                                          Qtr 1 for 2017 to be
                                                          reported/paid in April
                                                          2017.
                  State the term remaining
                                                                                         Department of Labor and Industries
             List the contract number of any Industrial Insurance                        PO Box 44171
                   government contract       Acct ID: 51918400                           Olympia, WA 98504-4171


 2.24.       State what the contract or                   Worker's
             lease is for and the nature of               Compensation-WY
             the debtor's interest                        Quarterly state
                                                          reporting/billing. Qtr 4
                                                          for 2016 reported/paid
                                                          in January 2017. Qtr 1
                                                          for 2017 to be
                                                          reported/paid in April
                                                          2017.
                  State the term remaining                                               Department of Workforce Services
                                                                                         Worker s Compensation Division
             List the contract number of any Employer Acct #:                            1510 East Pershing Blvd
                   government contract       000295280                                   Cheyenne, WY 82002


 2.25.       State what the contract or                   Benefits - Health
             lease is for and the nature of               Savings Account &
             the debtor's interest                        Flexible Spending
                                                          Accounts employee
                                                          benefit plan
                                                          administration
                  State the term remaining
                                                                                         Discovery Benefits
             List the contract number of any                                             PO Box 2926
                   government contract                                                   Fargo, ND 58108



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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                     Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.26.       State what the contract or                   Construction
             lease is for and the nature of               contractor for store
             the debtor's interest                        renovations/buildouts

                  State the term remaining
                                                                                       DL Morse & Associates
             List the contract number of any                                           1745 Holton Road
                   government contract                                                 Muskegon, MI 49445


 2.27.       State what the contract or                   Salvage merchandise
             lease is for and the nature of               purchase program of
             the debtor's interest                        unsalable goods

                  State the term remaining
                                                                                       Event Sales
             List the contract number of any                                           3359 Central Ave NE
                   government contract                                                 Minneapolis, MN 55418


 2.28.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Frontier
             List the contract number of any                                           PO Box 740407
                   government contract                                                 Cincinnati, OH 45274


 2.29.       State what the contract or                   Background screening
             lease is for and the nature of               service provider
             the debtor's interest

                  State the term remaining
                                                                                       General Information Systems
             List the contract number of any                                           917 Chapin Road
                   government contract                                                 Chapin, SC 29036


 2.30.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Granite Telecommunication
                                                                                       Client ID #311
             List the contract number of any                                           PO Box 983119
                   government contract                                                 Boston, MA 02298


 2.31.       State what the contract or                   ERISA Fidelity Bond
             lease is for and the nature of               Effective date: 7/1/07
             the debtor's interest                        Expiration date:
                                                          Continuous bond until
                                                          cancelled. Paid for
                                                          7/1/16-6/30/19.              Hartford Fire Insurance Company
                  State the term remaining
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                      Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease


             List the contract number of any Bond Number:
                   government contract       41BDDEQ5265


 2.32.       State what the contract or                   Credit card/gift card
             lease is for and the nature of               authorization
             the debtor's interest                        processor for store
                                                          tranactions
                  State the term remaining                                              Heartland Acquisition LLC
                                                                                        Attn: Network Services
             List the contract number of any                                            One Heartland Way
                   government contract                                                  Jeffersonville, IN 47130


 2.33.       State what the contract or                   Registered agent
             lease is for and the nature of               service
             the debtor's interest

                  State the term remaining
                                                                                        InCorp
             List the contract number of any                                            PO Box 94438
                   government contract                                                  Las Vegas, NV 89193


 2.34.       State what the contract or                   Consulting services for
             lease is for and the nature of               noticing, claims
             the debtor's interest                        management, etc.

                  State the term remaining
                                                                                        Kurtzman Carson Consultants, LLC
             List the contract number of any                                            2335 Alaska Ave
                   government contract                                                  El Segundo, CA 90245


 2.35.       State what the contract or                   Worker's
             lease is for and the nature of               Compensation
             the debtor's interest                        (non-state run
                                                          programs)
                                                          Effective date: 7/1/16
                                                          Expiration date: 7/1/17
                                                          @ 12:01AM
                  State the term remaining                                              Liberty Mutual Fire Insurance Company
                                                                                        HUB International Mountain States
             List the contract number of any                                            3533 Gabel Road
                   government contract       WC2-Z91-446230-016                         Billings, MT 59102


 2.36.       State what the contract or                   Online marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Magnetic Media Online
             List the contract number of any                                            PO Box 347944
                   government contract                                                  Pittsburgh, PA 15251

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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                     Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


 2.37.       State what the contract or                   Customs
             lease is for and the nature of               Broker/Freight
             the debtor's interest                        Forwarder

                  State the term remaining
                                                                                       Mallory Alexander International
             List the contract number of any                                           777 Sunrise Hwy
                   government contract                                                 Lynbrook, NY 11563


 2.38.       State what the contract or                   Lease for HP LaserJet
             lease is for and the nature of               copier/scanners thru
             the debtor's interest                        7/10/2020

                  State the term remaining
                                                                                       Marco Technologies, LLC
             List the contract number of any                                           4510 Heatherwood Road
                   government contract                                                 St. Cloud, MN 56301


 2.39.       State what the contract or                   Freight shipping
             lease is for and the nature of               services provider
             the debtor's interest

                  State the term remaining                                             Midnite Express, Inc
                                                                                       448 7th St NW
             List the contract number of any                                           PO Box 695
                   government contract                                                 West Fargo, ND 58078


 2.40.       State what the contract or                   Lease for Media Player
             lease is for and the nature of               equipment with
             the debtor's interest                        subscription music
                                                          service
                  State the term remaining
                                                                                       Mood Media North America, LTD
             List the contract number of any                                           4435 Eastgate Mall, Suite 125
                   government contract                                                 San Diego, CA 92121


 2.41.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Nemont
             List the contract number of any                                           PO Box 6005
                   government contract                                                 Scobey, MT 59263


 2.42.       State what the contract or                   Security system
             lease is for and the nature of               monitoring
             the debtor's interest
                                                                                       Night Owl Security
                  State the term remaining                                             2008 29th Ave S
                                                                                       Fargo, ND 58103
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                      Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

             List the contract number of any
                   government contract


 2.43.       State what the contract or                   Worker's
             lease is for and the nature of               Compensation-ND
             the debtor's interest                        Effective date: 1/1/16
                                                          Expiration date:
                                                          12/31/16
                                                          State re-billing for 2017
                                                          with an:
                                                          Effective date: 1/1/17
                                                          Expiration date: 6/30/17
                  State the term remaining                                              North Dakota Workforce Safety & Insuranc
                                                                                        1600 East Century Avenue, Suite 1
             List the contract number of any Employer Acct                              PO Box 5585
                   government contract       #:637157                                   Bismarck, ND 58506-5585


 2.44.       State what the contract or                   Online warehouse /
             lease is for and the nature of               order management
             the debtor's interest                        system

                  State the term remaining                                              Ordermotion Inc./NetSuite
                                                                                        Oracle America Inc
             List the contract number of any                                            500 Oracle Parkway
                   government contract                                                  Redwood City, CA 94065


 2.45.       State what the contract or                   Payal tender for online
             lease is for and the nature of               payment option
             the debtor's interest

                  State the term remaining
                                                                                        PayPal
             List the contract number of any                                            2211 North First Street
                   government contract                                                  San Jose, CA 95131


 2.46.       State what the contract or                   Affiliate marketing
             lease is for and the nature of               program for online
             the debtor's interest                        business

                  State the term remaining
                                                                                        PepperJam
             List the contract number of any                                            7 South Main Street, Floor 3
                   government contract                                                  Wilkes-Barre, PA 18701


 2.47.       State what the contract or                   Broadband/internet
             lease is for and the nature of               provider
             the debtor's interest

                  State the term remaining
                                                                                        Pomeroy
             List the contract number of any                                            1020 Petersburg Road
                   government contract                                                  Hebron, KY 41048
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 9 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                     Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease



 2.48.       State what the contract or                   Long Distance service
             lease is for and the nature of               provider plan
             the debtor's interest

                  State the term remaining
                                                                                       Qwest Corporation d/b/a CenturyLink QC
             List the contract number of any                                           1801 California Street, Suite 900
                   government contract                                                 Denver, CO 80202


 2.49.       State what the contract or                   Inventory Services
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining
                                                                                       RGIS
             List the contract number of any                                           PO Box 1540
                   government contract                                                 Rochester, MI 48308


 2.50.       State what the contract or                   Freight shipping
             lease is for and the nature of               services provider
             the debtor's interest

                  State the term remaining
                                                                                       RR Donnelley Logistics Services Worldwid
             List the contract number of any                                           PO Box 932721
                   government contract                                                 Cleveland, OH 44193


 2.51.       State what the contract or                   Web based sales/metric
             lease is for and the nature of               performance reporting
             the debtor's interest                        system

                  State the term remaining
                                                                                       Sales Floor Live LLC
             List the contract number of any                                           PO Box 80284
                   government contract                                                 Billings, MT 59108


 2.52.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       SRT
             List the contract number of any                                           PO Box 2027
                   government contract                                                 Minot, ND 58702


 2.53.       State what the contract or                   Servicing of gift card
             lease is for and the nature of               program
             the debtor's interest                                                     Stored Value Systems
                                                                                       101 Bullit Lane
                  State the term remaining                                             Louisville, KY 40222
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 10 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                    Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.54.       State what the contract or                   Liquidation Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Tiger Capital Group, LLC
             List the contract number of any                                          340 North Westlake Blvd, Suite 260
                   government contract                                                Westlake Village, CA 91362


 2.55.       State what the contract or                   Online shipment
             lease is for and the nature of               tracking services for
             the debtor's interest                        online orders
                                                                                      Trueship/ReadyCloud
                  State the term remaining                                            Ready Cloud
                                                                                      6501 E Greenway Pkwy
             List the contract number of any                                          Ste #103-102
                   government contract                                                Scottsdale, AZ 85254


 2.56.       State what the contract or                   Freight services
             lease is for and the nature of               amongst stores and
             the debtor's interest                        warehouse

                  State the term remaining
                                                                                      United Parcel Service
             List the contract number of any                                          3901 12th Ave NW
                   government contract                                                Fargo, ND 58102


 2.57.       State what the contract or                   Benefits - Employee
             lease is for and the nature of               Gropu Life/STD and
             the debtor's interest                        Voluntary Employee
                                                          Life
                  State the term remaining
                                                                                      Unum Life Insurance Company of America
             List the contract number of any                                          PO Box 406946
                   government contract                                                Atlanta, GA 30384-6946


 2.58.       State what the contract or                   Freight shipping
             lease is for and the nature of               services provider
             the debtor's interest

                  State the term remaining
                                                                                      UPS Supply Chain Solution
             List the contract number of any                                          28013 Network Place
                   government contract                                                Chicago, IL 60673




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 11 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                    Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.59.       State what the contract or                   Management
             lease is for and the nature of               Agreement effective
             the debtor's interest                        October 30, 2005, by
                                                          and between Vanity
                                                          Shop of Grand Forks,
                                                          Inc. and Vanity, Inc.
                  State the term remaining
                                                                                      Vanity, Inc.
             List the contract number of any                                          1001 N 25th St
                   government contract                                                Fargo, ND 58102


 2.60.       State what the contract or                   Security system
             lease is for and the nature of               monitoring
             the debtor's interest

                  State the term remaining
                                                                                      Vector Security, Inc
             List the contract number of any                                          PO Box 89462
                   government contract                                                Cleveland, OH 44101


 2.61.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Verizon
             List the contract number of any                                          PO Box 15124
                   government contract                                                Albany, NY 12212


 2.62.       State what the contract or                   Cell phone service
             lease is for and the nature of               provider
             the debtor's interest

                  State the term remaining
                                                                                      Verizon Wireless
             List the contract number of any                                          3902 13th Ave S, Ste 526
                   government contract                                                Fargo, ND 58103


 2.63.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      West Side Telecomm
             List the contract number of any                                          1451 Fairmont Rd
                   government contract                                                Morgantown, WV 26501


 2.64.       State what the contract or                   Freight services
             lease is for and the nature of               provider
             the debtor's interest                                                    WestCoast Warehousing, LLC
                                                                                      100 West Manville St
                  State the term remaining                                            Rancho Dominguez, CA 90220
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 12 of 13
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 Debtor 1 Vanity Shop of Grand Forks, Inc.                                                   Case number (if known)   17-30112
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.65.       State what the contract or                   Phone service provider
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Windstream
             List the contract number of any                                         PO Box 9001908
                   government contract                                               Louisville, KY 40290




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 13 of 13
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 Fill in this information to identify the case:

 Debtor name         Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NORTH DAKOTA

 Case number (if known)         17-30112
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Vanity Shop of                    PO Box 547                                       T G C, L.P.                     D       2.1
             Grand Forks, Inc.                 Fargo, ND 58107-0547                                                              E/F
                                                                                                                                G



    2.2      Vanity, Inc.                                                                       Wells Fargo Bank                D       2.2
                                               Per Amended and Restated Credit                  National Association             E/F
                                               Agreement of Feburary 10, 2012.
                                                                                                                                G



    2.3      Vanity, Inc.                      1001 25th Street North                           T G C, L.P.                     D       2.1
                                               Fargo, ND 58102                                                                   E/F
                                                                                                                                G




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Vanity Shop of Grand Forks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NORTH DAKOTA

 Case number (if known)         17-30112
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 27, 2017                          X /s/ James Bennett
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Bennett
                                                                       Printed name

                                                                       Chairman of the Board of Directors
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                           VANITY SHOP OF GRAND FORKS, INC.
                                                                                   Case No. 17-30112
Schedule E - EMPLOYEE (NOTICE ONLY)
Employee Information: includes both Debtor and Vanity Inc Employees
                                                                                                                                            Job                     Company Reporting
Legal Name                                        Home Address                                      City              State   Zip          Code   PR Dept   FT/PT    Code   Location
AALBERS                   JESSICA D               308 4TH AVE NW                                    WATERTOWN         SD      57201        LP     S02523     P        VNY       25
ABARR                     ANDROMEDA S             608 4TH AVE N                                     GREAT FALLS       MT      59401        HP     S03622     P        VNY       36
ABRAHAM                   DENISE                  7 SMALLWODD PL                                    WHITE PLAINS      NY      10603         S     H25807     F        VNI      258
ACKER                     KATELYN A               8506 N MAYFAIR #28                                SPOKANE           WA      99208        HM     S07533     F        VNY       75
ADAHL                     JENNIFER B              4949 16TH AVE S                                   FARGO             ND      58103         S     H25907     F        VNI      259
ADAMS                     JAYNE B                 11365 EVANS ST Apt 7                              OMAHA             NE      68164        HP     S06122     P        VNY       61
ADAMS                     ARIZONA C               1539 M66 SE                                       KALKASKA          MI      49646        HP     S08422     P        VNY       84
ADAMS                     SAMANTHA R              1137 S BRUCE AVE                                  SPRINGFIELD       MO      65804        LP     S23023     P        VNY      230
ADAMS                     KENNEDY S               4131 SOUTH OTTER CREAK RD                         LASALLE           MI      48145        HP     S27522     P        VNY      275
ADCOCK                    ATHENA C                221 RIVERVIEW AVE                                 DE PERE           WI      54115        HP     S10622     P        VNY      106
AEBEL                     ERIN M                  13563 WOODLAND DRIVE                              ATHENS            IL      62613        AF     S20225     F        VNY      202
AGUALLO                   CASSANDRA P             704 W FAIRFIELD ST #2                             LINCOLN           NE      68521        HP     S06022     P        VNY      60
AGUILAR                   LIZA J                  4282 S 4800 W                                     WEST HAVEN        UT      84401        AF     S07825     F        VNY       78
AGUILERA                  KRISTINE M              3615 E UINTAH ST APT 22                           COLORADO SPRING   CO      80909        HP     S16422     P        VNY      164
AICHELE                   KRISTEN L               2003 WEST KEMP AVENUE                             WATERTOWN         SD      57201        HP     S02522     P        VNY       25
ALBERDING                 VICTORIA K              2020 LINVILLE PASS                                FORT WAYNE        IN      46845        HP     S10822     P        VNY      108
ALBERTS                   NOELLE E                7016 N NORMANDIE                                  SPOKANE           WA      99207        LP     S07523     P        VNY       75
ALBERTSON                 DAVID                   8009 N WESTVIEW DR                                COEUR D'ALENE     ID      83815        HP     H00105     P        VNI        1
ALBRIGHT                  LACEY E                 428 W SPRUCE ST                                   FERGUS FALLS      MN      56537        AF     S00725     F        VNY        7
ALESIA                    EMILY E                 1733 ROOSES LANE                                  INDIANAPOLIS      IN      46217        HP     S11222     P        VNY      112
ALEXANDER                 EMILY R                 5700 150TH LANE NW                                RAMSEY            MN      55303        HF     H26605     F        VNI      266
ALLEN                     HANNAH A                1420 9TH ST S                                     VIRGINIA          MN      55792        LP     S00223     P        VNY        2
ALLEN                     DANIELLE L              2350 ST RD 44                                     MARTINSVILLE      IN      46151        AF     S10925     F        VNY      109
ALLEN                     EMMA E                  2754 LINDA LANE                                   SALINA            KS      67401        HP     S25122     P        VNY      251
ALLISON                   NICOLE E                6219 S 3RD ST                                     MILWAUKEE         WI      53207        HP     S04822     P        VNY       48
ALM                       DEVON P                 227 SOUTH 18TH AVE APT 3                          BOZEMAN           MT      59715        AF     S01625     F        VNY       16
ALMANZA                   CLAUDIA L               1618 MARION RD SE #212                            ROCHESTER         MN      55904        HP     S22022     P        VNY      220
AL-MUHANA                 ADRA S                  4029 WEDGEWOOD DR                                 FORT WAYNE        IN      46815        HP     S10822     P        VNY      108
ALTENBURG                 JOELLE R                3814 TODD ST                                      MIDLAND           MI      48642        HP     S27722     P        VNY      277
ALVARENGA                 JULIA P                 16102 E Broadway Ave          APT A106                              WA      99037-9810   LP     S07623     P        VNY       76
AMAYA                     DELFINA                 2607 DENA DR                                      SAN ANGELO        TX      76904        HP     S17322     P        VNY      173
ANDERSEN                  CYPRISS J               3321 MCCLAIN DR.                                  CEDAR FALLS       IA      50613        HP     S13122     P        VNY      131
ANDERSON                  EMILY                   6 PACIFIC AVE                                     THOMPSON          ND      58278        HP     S00322     P        VNY        3
ANDERSON                  HANNAH S                3561 N 3400 E                                     KIMBERLY          ID      83341        HP     S07222     P        VNY       72
ANDERSON                  JENNIFER L              7 SOUTH JEFFERSON AVE                             MASON CITY        IA      50401        LP     S07723     P        VNY       77
ANDERSON                  CARLY W                 3740 SW WORWICK TOWN RD                           TOPEKA            KS      66610        HP     S25522     P        VNY      255
ANDREWS                   STEPHANY M              309 HARTLEY ST                PO BOX 751          COLERAINE         MN      55722        HM     S03230     F        VNY       32
ANDREWS                   BRITTANY J              38153 ERIE RD B5                                  WILLOUGHBY        OH      44094        AF     S09025     F        VNY       90
ANDRUSS                   RINDI R                 3327 APPLE STREET                                 LINCOLN           NE      68503        AF     S06025     F        VNY       60
ANGUILM                   JACQUELYN M             2499 SYCAMORE STREET                              TWIN LAKE         MI      49457        HM     S08030     F        VNY       80
ANTHONY                   CELESTE R               13194 CR 286 D                                    KILGORE           TX      75662        LP     S17923     P        VNY      179
ASCHE                     HANNAH L                1760 S WELDON RD                                  WINNEBAGO         IL      61088        LP     S14323     P        VNY      143
ASMAN                     ERICA L                 4219 S PENNSYLVANIA AVE                           SAINT FRANCIS     WI      53235        HP     S20722     P        VNY      207




                                                                                                                                                                                        1
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                                                                           VANITY SHOP OF GRAND FORKS, INC.
                                                                                   Case No. 17-30112
Schedule E - EMPLOYEE (NOTICE ONLY)
Employee Information: includes both Debtor and Vanity Inc Employees
                                                                                                                                            Job                     Company Reporting
Legal Name                                        Home Address                                      City              State   Zip          Code   PR Dept   FT/PT    Code   Location
AULD                      DANIELLE A              953 74TH ST NE UNIT 6                             CEDAR RAPIDS      IA      52402        LP     S13723     P        VNY      137
AVILA                     GISELLE                 433 SOUTH 200 WEST                                OGDEN             UT      84404        HP     S07822     P        VNY       78
AYALA                     ALYIAH J                737 W CORONA AVE                                  PUEBLO            CO      81004        HP     S16522     P        VNY      165
AYRES                     KATLYN N                4906 BURNS AVENUE                                 BARTONVILLE       IL      61607        HP     S20322     P        VNY      203
BABINO                    LYDIA J                 921 E WASHINGTON ST                               APPLETON          WI      54911        HP     S04722     P        VNY       47
BACA                      MARIA N                 544 3RD ST                                        OGDEN             UT      84404        HP     S07822     P        VNY       78
BACHMAN                   RACHELLE                20277 HOLIDAY ST                                  GREENVIEW         IL      62642        HM     S20330     F        VNY      203
BAILEY                    TARAH L                 903 WASHINGTON BLVD                               BELPRE            OH      45714        HP     S18322     P        VNY      183
BAILEY                    JENNIFER M              1121 ABBOTTS CREEK CIR                            KERNERSVILLE      NC      27284        AF     S21925     F        VNY      219
BAILS                     ARIANA L                289 SWOPE CIRCLE                                  TWIN FALLS        ID      83301        HP     S07222     P        VNY       72
BAKER                     CHEYENNE S              1930 S WASHINGTOM                                 CASPER            WY      82601        LP     S12823     P        VNY      128
BAKER                     ABIGAIL M               511 RICKER ST.                                    WATERLOO          IA      50703        HP     S13022     P        VNY      130
BALDWIN                   LEANDRA S               1687 SCHLEGEL RD                                  WEBSTER           NY      14580        HP     S18522     P        VNY      185
BALES                     DESIRAE M               627 HEARTHSIDE DR                                 CEDAR FALLS       IA      50613        HP     S13122     P        VNY      131
BANDA                     VANESA S                4000 RIVERSHELL LN                                LANSING           MI      48911        LP     S09623     P        VNY       96
BANKS                     JENSEN E                3540 N 19TH ST                                    COEUR D ALENE     ID      83815        LP     S01323     P        VNY       13
BANNERMAN                 ROBYN L                 14878 ALMA DR                                     STERLING HEIGHT   MI      48313        HM     S14530     F        VNY      145
BANTER                    PATRICIA M              3608 DRIFTWOOD DR N           APT 202             LAFAYETTE         IN      47905        HM     S27230     F        VNY      272
BARBER                    NICOLE L                705 CAVALRY RD                                    POST FALLS        ID      83854        HP     S01322     F        VNY       13
BARBOZA JUAREZ            MARISELA                307 2ND STREET                                    WEST DES MOINES   IA      50265        LP     S24523     P        VNY      245
BARKER                    BONNIE L                13980 INGLEWOOD DR                                BAXTER            MN      56425        LP     S00823     P        VNY        8
BARKER                    KAYLA R                 4440 TUTTLE CREEK BLVD        LOT 20              MANHATTAN         KS      66502        LP     S25423     P        VNY      254
BARNER                    CASEY E                 502 N COLUMBUS ST                                 GALION            OH      44833        HP     S13622     P        VNY      136
BARNES                    TAYLOR B                221 HARVEST RIDGE LANE                            MORGANTOWN        WV      26508        HP     S18422     P        VNY      184
BARON                     BAILEY M                245 Front St                                      Pulaski           WI      54162-7968   AF     S10625     F        VNY      106
BARTOSZEK                 MARY E                  807 N CONNECTICUT AVE                             MASON CITY        IA      50401        LP     S07723     P        VNY       77
BASS                      KRYSTA L                17401 EAST US 40HWY           APT B9              INDEPENDENCE      MO      64055        LP     S05423     P        VNY       54
BATCHELOR                 JALIAH L                67 N PADDOCK ST                                   PONTIAC           MI      48342        HP     S04922     P        VNY       49
BAUER                     ELLEN M                 185 CARLTON DR                                    FLORENCE          MT      59833        AF     S12625     F        VNY      126
BAUMGARTNER               HEATHER N               8021 E. PICCADILLY RD.                            MUNCIE            IN      47302        HM     S11030     F        VNY      110
BAUMGARTNER               MIKAYLA V               700 36TH ST SW                NA                  ROCHESTER         MN      55904        LP     S22023     P        VNY      220
BEARD                     BRIDGET J               1404 MARIAN ST                                    TYLER             TX      75701        LP     S17823     P        VNY      178
BECK                      SPRING M                3354 LEONARD RD               LOT 27              LEXINGTON         NC      27295        HP     S21922     P        VNY      219
BECK                      BRILEY S                2040 EAST SADIE LANE                              JOPLIN            MO      64801        LP     S23623     P        VNY      236
BEETER                    MCKENNA K               2201 23RD ST SW                                   MINOT             ND      58701        HP     S02622     P        VNY       26
BELICE                    LEXIE A                 1195 DRIVEWAY LANE                                DILLON            MT      59725        HP     S03522     P        VNY       35
BELL                      TAYLOR N                1239 N MARTIN RD                                  JANESVILLE        WI      53545        HP     S04622     P        VNY       46
BELL                      JOCELYN I               3909 COVE RD                                      ROWLETT           TX      75088        LP     S17723     P        VNY      177
BELTRAN                   CHRISTI M               705 IDA                                           GARDEN CITY       KS      67846        AF     S25025     F        VNY      250
BENDORF                   MADYSON M               2566 HUNTINGTON PARK DR                           GRAND FORKS       ND      58201        HP     S00322     P        VNY        3
BENFIELD                  SAINT J                 1852 16TH STREET SW           LOT 36              MINOT             ND      58701        FR     S02622     P        VNY       26
BENGFORD                  MARY J                  4019 SUMMERSET DR                                 BURNS             WY      82053        LP     S12923     P        VNY      129
BENGTSON                  TRESSA M                5360 28TH AVE S APT 211                           FARGO             ND      58104        HF     H26807     F        VNI      268




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                                                                           VANITY SHOP OF GRAND FORKS, INC.
                                                                                   Case No. 17-30112
Schedule E - EMPLOYEE (NOTICE ONLY)
Employee Information: includes both Debtor and Vanity Inc Employees
                                                                                                                                           Job                     Company Reporting
Legal Name                                        Home Address                                      City             State   Zip          Code   PR Dept   FT/PT    Code   Location
BENNETT                   SARAH C                 2318 N FERGUSON AVE                               BOZEMAN          MT      59718        HP     S01622     P        VNY       16
BENNETT                   VERONICA L              5121 E CHERYL PARKWAY#113                         FITCHBURG        WI      53711        LP     S09823     P        VNY       98
BENNETT                   CHRISTINA L             7209 SHELBY STREET                                INDIANAPOLIS     IN      46227        AF     S11225     F        VNY      112
BENSON                    KENZIE J                3489 W 2200 S                                     YOUNGWARD        UT      84339        AF     S08825     F        VNY       88
BERG                      ALEXA L                 620 W Quartz St                                   Butte            MT      59701-9161   LP     S03523     P        VNY       35
BERGLUND                  BRIANNA J               5001 WEST 43RD STREET #12                         SIOUX FALLS      SD      57106        HM     S01126     F        VNY       11
BEST                      SAVANNA R               1770 BOIS'D'ARC                                   DIANA            TX      75640        HP     S17922     P        VNY      179
BETTIN                    JULIA L                 56181 834 RD                                      STANTON          NE      68779        LP     S06823     P        VNY       68
BIALEK                    STACEY D                5504 BASTIAN BLVD                                 SOUTH BELOIT     IL      61080        LP     S14323     P        VNY      143
BICE                      TESSA M                 3904 S SKIPWORTH                                  SPOKANE          WA      99206        HP     S07622     P        VNY       76
BIDDY-HOFFMAN             DELANEY D               3045 NO 27TH AVE #15                              BOZEMAN          MT      59718        HP     S01622     P        VNY       16
BIEL                      HAYLEE R                31777 121ST ST                                    JAVA             SD      57452        LP     S11123     P        VNY      111
BIGGS                     KAYCEE N                4512 N SAGINAW RD             APT 721             MIDLAND          MI      48640        HM     S27730     F        VNY      277
BILLUPS                   BETH M                  1846 KNOLLMONT DRIVE                              FLORENCE         KY      41042        LP     S14823     P        VNY      148
BINDER                    TAMMY M                 322 E OAK STREET                                  LAWTON           IA      51030        DM     H26406     F        VNI      264
BINDER                    KIRSTEN L               1406 LAWE ST                                      GREEN BAY        WI      54301        LP     S10623     P        VNY      106
BISTA                     NATALIE M               8644 RIVER TERRACE DR                             FRANKLIN         WI      53132        HP     S04822     P        VNY       48
BJORKLUND                 LILLIAN J               305 B ST                                          BRAINERD         MN      56401        HP     S00822     P        VNY        8
BJUR                      ASHTON E                2402 S HWY 281                                    ABERDEEN         SD      57401        LP     S11123     P        VNY      111
BLACK                     SHELLEY R               6718 FERNWOOD AVE                                 FORT WAYNE       IN      46809        HM     S10830     F        VNY      108
BLACK                     MADELINE R              6638 OLIVE BRANCH CT                              INDIANAPOLIS     IN      46237        LP     S11223     P        VNY      112
BLACK                     CHEYENNE D              5128 BUENA                                        GRANITE CITY     IL      62040        LP     S14122     P        VNY      141
BLACKDEER                 CARLIE L                950 LINDEN DR                 #205                HOLMEN           WI      54636        HP     S10522     P        VNY      105
BLACKDEER                 CASSIE J                950 LINDEN DR                 #205                HOLMEN           WI      54636        HP     S10522     P        VNY      105
BLAIR                     MICAH N                 5408 CORNEWR STONE AVENUE                         BILLINGS         MT      59106        LP     S01523     P        VNY       15
BLAUVELT                  JENNA R                 303 2ND ST                                        CANTRALL         IL      62625        HP     S20222     P        VNY      202
BLESSING                  KATIE H                 8417 France St                                    Newport          MI      48166        DM     H26406     F        VNI      264
BLOCK                     KIM L                   400 18TH AVE SE # 68                              MINOT            ND      58701        HP     S02622     P        VNY       26
BLOSSER                   ALYSSA L                2 COUNTRY SQUIRE VLG                              MORGANTOWN       WV      26508        HP     S18422     P        VNY      184
BLOUGH                    KAELEIGH M              550 SEXTON ST                                     STRUTHERS        OH      44471        HP     S11722     P        VNY      177
BLUM                      JENNIFER                4750 TIMBER PKWY S            APT 304             FARGO            ND      58104        HM     S00530     F        VNY        5
BLUMENTHAL                TAYLOR L                632 SHANNON LANE                                  GRAND JUNCTION   CO      81504        AF     S16725     F        VNY      167
BOHNE                     SARAH M                 2655 S. 69TH ST.                                  MILWAUKEE        WI      53219        HP     S20722     P        VNY      207
BOIVIN                    MADISON L               2264 SOUTH PINE TREE ROAD                         DEPERE           WI      54115        HP     S10622     P        VNY      106
BOLEN                     ALLISON P               275 FM 421 TRL 41                                 LUMBERTON        TX      77657        LP     S17423     P        VNY      174
BOND                      OLIVIA A                10417 E. LIPPENCOTT BLVD                          DAVISON          MI      48423        HP     S27622     P        VNY      276
BOONE                     JENICE A                4260 BROWNSBORO RD            APT C43             WINSTON SALEM    NC      27106        HP     S21922     P        VNY      219
BORCHARDT                 ASHLEY L                9303 PASTURE LANE                                 WAUSAU           WI      54403        HP     S05122     P        VNY       51
BORCHARDT                 CHANICE A               759 N TALL PINE PL                                MERIDIAN         ID      83642        LP     S07423     P        VNY       74
BORTLE                    LEXA J                  514 N 72ND STREET                                 OMAHA            NE      68114        HP     S22122     P        VNY      221
BOSSET                    AMBER M                 1119 14TH ST WEST             APT 210             DICKINSON        ND      58601        HM     S01930     F        VNY       19
BOUNYASANH                SOVIA M                 1813 N I ST                                       FORT SMITH       AR      72901        HP     S21022     P        VNY      210
BOYD                      EMILY R                 4101 CENTRAL AVE              H507                GREAT FALLS      MT      59405        AF     S03625     F        VNY       36




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                                                                           VANITY SHOP OF GRAND FORKS, INC.
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BOZARTH             EMILY A                       5357 TAFT RD                                      RIVERTON          IL      62561   LP     S20223     P        VNY      202
BRADBURY            KAILI N                       1933 PAGE AVE                                     SALINA            KS      67401   HP     S25122     P        VNY      251
BRADLEY             ELAINE M                      4406 SAYLOR ST                                    DAYTON            OH      45416   AF     S11525     F        VNY      115
BRADSHAW            STACIE L                      426 5TH ST NW                                     MINOT             ND      58703   HP     S02622     P        VNY       26
BRASHER             KIMBERLY K                    10121 DEBBIE LANE                                 MACHESNEY PARK    IL      61115   LP     S14323     P        VNY      143
BRAZIL              TAYLOR A                      1512 128TH AVE NE                                 BLAINE            MN      55449   HP     S21222     P        VNY      212
BRECOUNT            LEANA T                       6090 46TH ST. N                                   OAKDALE           MN      55128   LP     S22622     P        VNY      226
BREITBACH           MARISSA D                     16171 CHATHAM DR.                                 CLINTON TOWNSHI   MI      48035   HP     S14522     P        VNY      145
BREITSPRECHER TORRE MARIA T                       9614 UNIVERSITY AVE           APT 202N            CEDAR FALLS       IA      50613   HP     S13122     P        VNY      131
BREKKE              AIMEE M                       5041 43RD St S                                    FARGO             ND      58104    S     H25807     F        VNI      258
BREKOSKI            AMY M                         730 PASADENA                                      YOUNGSTOWN        OH      44502   LP     S11723     P        VNY      117
BRENDMOEN           BRITTANY J                    109 E MEADOW LARK LN                              FERGUS FALLS      MN      56537   HP     S00722     P        VNY        7
BREWER              CAITLIN B                     718 RIDGE CREST CT                                BLOOMINGTON       IN      47401   LP     S10923     P        VNY      109
BREYNE              KELLY A                       310 N WALNUT ST                                   WENONA            IL      61377   HP     S14022     P        VNY      140
BRIDGETT            BAILEY N                      3755 CHRISTENSEN CT                               GRAND JUNCTION    CO      81506   HM     S12930     F        VNY      129
BRIEN               JENNIFER L                    406 31ST AVE SE               LOT 112             MINOT             ND      58701   HP     S02622     P        VNY       26
BRIGGS              SABRINA R                     3102 NEILSON DR                                   ENID              OK      73703   LP     S19023     P        VNY      190
BRIGHT              ERICA J                       9012 MESSA VIEW                                   BROWNWOOD         TX      76801   LP     S17323     P        VNY      173
BRINER              KATIE N                       4420 FOUNTAIN SPRINGS GV      APT. 260            COLORADO          CO      80916   LP     S16423     P        VNY      164
BROCK               JASMIE                        36489 FARMBROOK DR                                CLINTON TOWNSHI   MI      48036   LP     S14522     P        VNY      145
BRODEUR             LATICIYA M                    5081 ELDON DRIVE S                                COLORADO SPRING   CO      80916   HP     S16422     P        VNY      164
BRODHAGEN           CRYSTAL A                     6619 SHENANDOAH CT                                LINCOLN           NE      68510   HP     S06022     P        VNY       60
BROMAGEN            OLIVIA K                      2917 W ENON RD                                    XENIA             OH      45385   HP     S11422     P        VNY      114
BROOKS              KEY'LOCHA K                   3910 TREADWAY RD #710                             BEAUMONT          TX      77706   HP     S17422     P        VNY      174
BROTT               MADISON S                     305 WASHINGTON AVE                                ARVILLA           ND      58214   HP     S00322     P        VNY        3
BROUGH              ALEXI R                       3762 S TEAL RUN WAY                               SOUT SALT LAKE    UT      84119   HP     S12222     P        VNY      122
BROUGHTON           ADRIANNA B                    1308 SPRINGLAKE HILL APT6                         QUINCY            IL      62305   LP     S14723     P        VNY      147
BROWN               ASHLEY                        5018 AMBER VALLEY PARKWAY     #303                FARGO             ND      58104   HF     H26605     F        VNI      266
BROWN               AMY E                         3624 LANDECO LANE             #14B                GRAND FORKS       ND      58201   LP     S00323     P        VNY        3
BROWN               SIERRA L                      10415 N STRAHORN RD                               HAYDEN            ID      83835   LP     S01323     P        VNY       13
BROWN               GAYLE B                       3315 CENTRAL AVE APT1                             BILLINGS          MT      59102   AF     S01525     F        VNY       15
BROWN               TYRA N                        7543 PEBBLE SPRING CT                             COTTON WOOD HT    UT      84093   HP     S12222     P        VNY      122
BROWN               AUGUST M                      223 CRYSTAL STREET                                AMES              IA      50010   AF     S13325     F        VNY      133
BRUMLEY             TENIKA L                      5015 PINE ST APT1802                              BEAUMONT          TX      77703   HP     S17422     P        VNY      174
BRUNDRETT           LAUREN F                      7905 EVENING STAR DR                              ROWLETT           TX      75089   HP     S17722     P        VNY      177
BUCK                KENDAHL A                     209 ERICKSON ST                                   ANACONDA          MT      59711   HP     S01622     P        VNY       16
BUCKLEY             NATRESE A                     4822 TAYLOR STREET                                OMAHA             NE      68114   HP     S06122     P        VNY       61
BUILTA              BEULAH A                      967 N. PURCELL BLVD                               PUEBLO WEST       CO      81007   HP     S16522     P        VNY      165
BUJWID              MARY E                        5138 N NEENAH AVE                                 CHICAGO           IL      60656   RM     H26406     F        VNI      264
BULLARD             NASTASHIA D                   5020 A PERNOD AVE                                 ST. LOUIS         MO      63139   HM     S23530     F        VNY      235
BURDI               ANGELA J                      2714 TRELAWNY DRIVE                               CLARKSVILLE       TN      37043   HM     S08330     F        VNY       83
BURGESS             DANA M                        508 W. VANDALIA ST                                BROKEN ARROW      OK      74012   AF     S19925     F        VNY      199
BURKE               AMBROSIA L                    PO BOX 374                    319 5TH STREET      THOMPSON          ND      58278   HP     S00322     P        VNY       3




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BURKHARDT                 CAROLINE E              64 TERI LANE                                       LITTLE HOCKING    OH      45742   HP     S18322     P        VNY      183
BURNETT                   MALEECE                 30 ROSE CIRCLE                                     MURRAY            UT      84107   LP     S12223     P        VNY      122
BURNS                     JADAI L                 6806 N 41ST STREET                                 OMAHA             NE      68112   HP     S06122     P        VNY       61
BURTON                    KIERSTEN M              309 N EWING                                        TALLULA           IL      62688   HP     S20222     P        VNY      202
BURTON                    TAYLOR S                1308 MOWREY AVE                                    OTTUMWA           IA      52501   HP     S24422     P        VNY      244
BURWELL                   EMILY G                 32 HADDALE AVENUE                                  WHEELING          WV      26003   HP     S10022     P        VNY      100
BUSIEK                    REBECCA A               115 STONEGATE DRIVE                                WASHINGTON        WV      26181   HP     S18322     P        VNY      183
CADY                      SAMANTHA                4699 KINGSWOOD LN                                  DIAMOND           MO      64840   HP     S23622     P        VNY      236
CAIMANO                   BROOKLYN N              6626 N OAKWOOD RD                                  ENID              OK      73703   LP     S19023     P        VNY      190
CAIN                      NICOLE L                3746 S HUMBOLDT STREET                             TOPEKA            KS      66609   HM     S25530     F        VNY      255
CALDWELL                  JEFFERY A               160 E. ELMWOOD DR.                                 CENTERVILLE       OH      45459   HP     S11522     P        VNY      115
CALDWELL                  LATISHA S               5008 RIDGEDALE DR                                  ENID              OK      73703   HP     S19022     P        VNY      190
CALHOUN                   KATLYN N                2108 3RD AVE EAST                                  WILLISTON         ND      58801   HP     S02022     P        VNY      20
CAMRUD                    ALYSSA M                16427 15TH ST NE                                   BUXTON            ND      58218   HP     S00322     P        VNY        3
CANTRELL                  ALLEE M                 721 BROADWAY ST                                    HAMILTON          IL      62341   LP     S13923     P        VNY      139
CANTRELL                  SHELBY L                5347 E. CARPENTER RD                               FLINT             MI      48506   HP     S27622     P        VNY      276
CARDENAS                  JENNIFER A              715 UPTON                                          SAN ANGELO        TX      76903   HP     S17322     P        VNY      173
CARLEN                    ANNA R                  480 WILLIAM AVE E                                  DASSEL            MN      55325   HP     S02722     P        VNY       27
CARLISLE                  MELISSA C               966 EAST 2200 NORTH                                NORTH LOGAN       UT      84341   HP     S08822     P        VNY       88
CARLSON                   HANNAH R                4430 PEABODY LN                                    DULUTH            MN      55804   LP     S00223     P        VNY        2
CARLSON                   BRIANNA J               4019 CORBY ST.                                     OMAHA             NE      68111   HP     S06122     P        VNY       61
CARPENTER-LOBSTEIN        SKYE L                  303 15TH AVE                                       GREEN BAY         WI      54303   LP     S10623     P        VNY      106
CARR                      JADA V                  105 SOUTH KENT STREET                              LAKE BENTON       MN      56149   LP     S01123     P        VNY       11
CARR                      RILEY L                 47032 244TH ST                                     DELL RAPIDS       SD      57022   HP     S01122     P        VNY       11
CARR                      JESSICA A               1709 W 1375 N                                      LAYTON            UT      84041   HP     S09422     P        VNY       94
CARR                      SAMANTHA D              368 RAYNOR RD EXT                                  EDINBURG          PA      16116   LP     S11723     P        VNY      117
CARRICO                   CASSANDRA P             3971 KIRTLAND RD APT #2                            WILLOUGHBY        OH      44095   LP     S09023     P        VNY       90
CARRILLO                  CHRISTIAN N             803 MAIN ST                                        PANHANDLE         TX      79068   HP     S17122     P        VNY      171
CARROLL                   MARIAH L                38504 127TH ST                                     ABERDEEN          SD      57401   HP     S11122     P        VNY      111
CARTER                    KATIE R                 2745 N SAND TRAP WAY                               POST FALLS        ID      83854   HP     S01322     P        VNY       13
CARTER                    ERIN P                  6925 DALLAS RD                                     BROOKLYN CENTER   MN      55430   HM     S22630     F        VNY      226
CASTILE                   KHALYN L                109 RED CLOUD TRAIL                                LAFAYETTE         IN      47905   HP     S27222     P        VNY      272
CASTLE                    GRACE E                 2936 EAST COUNTRY LANE                             MONROE            MI      48162   HP     S27522     P        VNY      275
CASTORENA SANCHEZ         BRENDA M                5702 37TH ST                                       LUBBOCK           TX      79407   HP     S17022     P        VNY      170
CAULFIELD                 CHEYENNE R              6505 S 50TH AVE CIR                                OMAHA             NE      68117   AF     S22125     F        VNY      221
CEDERBERG                 HALEY C                 10301 KARSTON AVE NE                               ALBERTVILLE       MN      55301   LP     S02723     P        VNY       27
CESAREO                   CHRISTINA T             13 GILEAD HILL ROAD                                NORTH CHILI       NY      14514   HP     S18522     P        VNY      185
CHAMBERS                  KAROLINE S              2828 N GLENNFIELD WAY                              MERIDIAN          ID      83646   HM     S07430     F        VNY       74
CHAMBERS                  LANITA D                1440 W KEMPER RD               #1711               CINCINNATI        OH      45240   HP     S12422     P        VNY      124
CHAMBERS                  DANIELLE C              607 ST. JOSEPH BLVD                                BOLCKOW           MO      64427   LP     S23323     P        VNY      233
CHAMPAGNE                 LESLIE G                1926 MULLOWNEY LN #48                              BILLINGS          MT      59101   LP     S01523     P        VNY       15
CHASE                     MICHELLE L              359 9TH AVE W                  APT 1               DICKINSON         ND      58601   AF     S01925     F        VNY       19
CHEN                      MANDY                   303 W GILFORD RD                                   CARO              MI      48723   HP     S09622     P        VNY       96




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CHEW                      BRIANNA L               528 LAMERS RD                                     KIMBERLY         WI      54136   LP     S04723     P        VNY       47
CHILDERS                  ASHLEE N                3009 HICKORY RIDGE DR                             HERRIN IL        IL      62948   HP     S23222     P        VNY      232
CHIOLA                    JESSICA M               505 N WOOD THRUSH DR                              PEORIA           IL      61604   HP     S20322     P        VNY      203
CHRISTOPHERSEN            BRITTNEY L              108 S HARRISON ST                                 BRADY            NE      69123   AF     S06925     F        VNY       69
CHUNG                     PHUOC H                 728 28TH ST NW                                    FARGO            ND      58102   WF     H26510     F        VNI      265
CIRCLE                    TRINITY C               4315 DANE AVENUE                                  CINCINNATI       OH      45223   LP     S12423     P        VNY      124
CISSELL                   DUSTY L                 4733 WHITE ST                                     MISSOULA         MT      59808   HM     S12633     F        VNY      126
CLAPP                     KYELE D                 8100 JUBILEE RD                                   LA PORTE CITY    IA      50651   AF     S13025     F        VNY      130
CLARIDGE                  REBECCA E               17320 PAVELKA DR                                  EDEN PRAIRIE     MN      55346   HP     H26605     P        VNI      266
CLARK                     KYLEA I                 240 SAGE STREET                                   KIMBERLY         ID      83341   AF     S07225     F        VNY       72
CLARK                     AMANDA L                3305 LAFAYETTE RD                                 EVANSDALE        IA      50707   HM     S13130     F        VNY      131
CLARK                     JASMINE D               4359 DAKOTA LN                                    JOPLIN           MO      64801   HP     S23622     P        VNY      236
CLARKE                    MILDRED M               2590 WOODWAY AVE                                  DAYTON           OH      45406   HP     S11522     P        VNY      115
CLASSEN                   AMANDA S                1719 UNIVERSITY DRIVE CIR                         KEARNEY          NE      68845   LP     S06623     P        VNY       66
CLAUSING-TOLAR            KELLY A                 5937 W BEACON HILL DR                             FRANKLIN         WI      53132   LP     S04823     P        VNY       48
CLEARY                    ERICA N                 62100 BEECH CIR DR             PO BOX 191         CAMBRIDGE        OH      43725   HM     S15230     F        VNY      152
CLEMMER                   MCKENZIE P              316 STONEY HILL ROAD                              GREENSBORO       PA      15338   HM     S18430     F        VNY      184
CLUBB                     JADE C                  2634 W FARM ROAD 164                              SPRINGFIELD      MO      65807   HP     S23022     P        VNY      230
CLUSIAU                   CARRIE B                2618 1ST AVE                                      HIBBING          MN      55746   HM     S04230     F        VNY       42
CLUTTER                   BREANNA L               1601 CANNAL AVE                                   GRAND JUNCTION   CO      81501   HP     S16722     P        VNY      167
COBB                      TANYA L                 1310 DALE ST                                      LONGVIEW         TX      75601   AF     S17925     F        VNY      179
COFFMAN                   LARAH A                 202 W MCCONNELL STREET                            OXFORD           IN      47971   HP     S27222     P        VNY      272
COLE                      LAURIE A                4237 MATLOCK RD                                   BOWLING GREEN    KY      42104   HM     S09230     F        VNY       92
COLEMAN                   DENESHA D               4095 EDMAR CT                                     BELLEVILLE       IL      62226   HP     S14122     P        VNY      141
COLLINS                   LAUREN M                2924 7TH AVE N                                    MOORHEAD         MN      56560   HM     S00526     F        VNY       5
COLLINS                   RYAN L                  15 ARDEN RD                   APT A               ASHEVILLE        NC      28803   AF     S21825     F        VNY      218
COMBE                     CARLEE D                1277 E 6600 S                                     UINTAH           UT      84405   LP     S09423     P        VNY       94
CONNOLLY                  SHELBY L                875 EDISON ST                                     DUBUQUE          IA      52001   LP     S13823     P        VNY      138
CONRAD                    KYLIE M                 4781 E. BLUELICK RD                               LIMA             OH      45801   HP     S11622     P        VNY      116
COOK                      PAIGE M                 30576 N WALKINGHORSE LN                           ATHOL            ID      83801   LP     S01323     P        VNY       13
COOK                      CHANCE D                3345 RACQUET DR.                                  BILLINGS         MT      59102   FR     S01522     P        VNY       15
COOK                      KARA B                  2049 LEGACY RIDGE VIEW        108                 CO SPRINGS       CO      80910   AF     S16425     F        VNY      164
COOK                      CARLY J                 527 OPAZ PLACE                                    CLIFTON          CO      81520   HP     S16722     P        VNY      167
COOLEY                    SIERRA A                6318 ELLISON AVE                                  OMAHA            NE      68104   HP     S06122     P        VNY       61
COPE                      HANNAH C                3477 LINDENWOOD DR                                ERLANGER         KY      41018   LP     S14823     P        VNY      148
CORON                     SONYA L                 145 GRAND AVE                                     GRAND JUNCTION   CO      81501   HM     S16730     F        VNY      167
CORRALES                  ALEJANDRA R             6030 N THIRD                                      GARDEN CITY      KS      67846   HP     S25022     P        VNY      250
CORTS                     HALEY C                 8700 SAN ANITA DR                                 BOISE            ID      83704   HP     S07422     P        VNY       74
CORY                      DOMENICA N              305 FERN AVE                  #2201               GARLAND          TX      75040   LP     S17723     P        VNY      177
COSSETTE                  DARLA J                 46356 POSS BEACH RD                               PELICAN RAPIDS   MN      56572    S     H26205     F        VNI      262
COWART                    TAYLOR M                2321 KUNNEKE AVE                                  LIMA             OH      45805   FR     S11622     P        VNY      116
COWLEY                    ASHLEY M                506 FALCON DR                                     BOX ELDER        SD      57719   HP     S01822     P        VNY       18
COX                       SOPHIA D                219 ELMA DRIVE                                    WILLIAMSTOWN     WV      26187   HP     S18322     P        VNY      183




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Legal Name                                        Home Address                                      City              State   Zip          Code   PR Dept   FT/PT    Code   Location
CRADDOCK                  SARA A                  119200 BATTLERIDGE RD                             BUTTE             MT      59750        LP     S03523     P        VNY       35
CRAGER                    FAITH A                 2014 DOUGLAS ST               APT 1               ROCKFORD          IL      61103        HP     S14322     P        VNY      143
CRAIG                     KALINA M                2220 STRAND                                       MISSOULA          MT      59801        LP     S12623     P        VNY      126
CRAWFORD                  JESSICA A               1931 S CROSBY AVE                                 JANESVILLE        WI      53546        LP     S04623     P        VNY       46
CREMERS                   KAYLA E                 1114 17TH ST NW                                   EAST GRAND FORK   MN      56721        HP     S01222     P        VNY       12
CROCKER                   MARISSA C               44691 BARTON ST #2                                FT RILEY          KS      66442        LP     S25423     P        VNY      254
CRONEY                    MIKAYLA R               2425 NORTH RD                                     FENTON            MI      48430        HP     S27622     P        VNY      276
CRYSTAL                   ASPEN D                 211 N 4400 E                                      RIGBY             ID      83442        LP     S07123     P        VNY       71
CUBBAGE                   COURTNEY N              716 MAPLEWOOD CT SW                               ALTOONA           IA      50009        LP     S24523     P        VNY      245
CULLIVER                  QUIANA L                4005 MIAMI ST                                     OMAHA             NE      68104        HP     S06122     P        VNY       61
CULLUM                    BREYANNE K              1765 HOELSCHER LN                                 POCAHONTAS        AR      72455        HP     S20922     P        VNY      209
CUMMINGS                  ANDREA C                590 S COPUS RD                                    LIMA              OH      45805        HM     S11630     F        VNY      116
CUNNINGHAM                SHAYLEE M               491 PARADISE VALLEY RD                            RIVERTON          WY      82501        LP     S18423     P        VNY      184
CURRY                     LACEY M                 3330 MILITARY RD                                  SIOUX CITY        IA      51103        HP     S02822     P        VNY       28
DACEUS                    MARANDA L               24907 S RUPP RD                                   CHENEY            WA      99004        HP     S07522     P        VNY       75
DAHILL                    MIKAELA N               437 S. KENILWORTH AVE                             LIMA              OH      45805        HP     S11622     P        VNY      116
DALHOE                    HALLI J                 926 ZEPHYR HILL LANE                              EAU CLAIRE        WI      54703        HP     S10422     P        VNY      104
DALING                    BRIANNA R               10695 78TH AVE.                                   ALLENDALE         MI      49401        HP     S08022     P        VNY       80
D'ANGELO                  AMELIA R                1859 OLES AVE                                     POLAND            OH      44514        HP     S11722     P        VNY      117
DANIEL                    JENNIFER M              109 FRED W. MOORE HWY                             SAINT CLAIR       MI      48079        LP     S22323     P        VNY      223
DANIELS                   KATHERINE L             614 DAVIS DRIVE                                   BRENTWOOD         TN      37027        HP     S08222     P        VNY       82
DANIELS                   TRICIA D                1263 BAYSHORE DR                                  HASLETT           MI      48840        HP     S09622     P        VNY       96
DANIELS                   TERESA A                2606 E.FAIR APT 19                                GARDEN CITY       KS      67846        HM     S25030     F        VNY      250
DANIELSON                 MATRACA R               800 31ST AVE SE LOT 812                           MINOT             ND      58701        HP     S02622     P        VNY       26
DARDIO                    LAUREN M                706 W. MURPHY ST                                  LIMA              OH      45801        HP     S11622     P        VNY      116
DAVID                     ALADRIAN C              8285 WILLOW BEND DR APT B                         BEAUMONT          TX      77707        HP     S17422     P        VNY      174
DAVIDSON-SMITH            CARRYE L                PO Box 246                                        HAWLEY            MN      56549         S     H26807     F        VNI      257
DAVIS                     JENNIFER L              1101 NE 7TH AVE                                   GRAND RAPIDS      MN      55744        HP     S03222     P        VNY       32
DAVIS                     SUMMER R                203 S BILLINGS STREET                             RILEY             KS      66531        HP     S25422     P        VNY      254
DAVIS                     KIRSTEN L               7515 E 1ST DR                                     RILEY             IN      47871        HP     S27122     P        VNY      271
DAY                       DANIELLE M              821 UNITY DR                                      MANSFIELD         OH      44905        HP     S13622     P        VNY      136
DAY                       TIFFANY M               112086 S 4770 RD                                  MULDROW           OK      74948        HM     S21030     F        VNY      210
DE LA ROSA                SUMMER                  618 N BISHOP                                      SAN ANGELO        TX      76901        HP     S17322     P        VNY      173
DEAN                      CEARRA L                3003 RIDGECLIFFE DR                               FLINT             MI      48532        LP     S04923     P        VNY       49
DEARDORF                  CENDRA L                1719 Ransom Dr                                    Fort Wayne        IN      46845-1428   LP     S10823     P        VNY      108
DECLERCQ                  GRETCHEN N              6088 GREENWYCKE LN                                MONROE            MI      48161        LP     S27523     P        VNY      275
DEGROAT                   FAITH M                 204 ROOSEVELT AVE                                 DETROIT LAKES     MN      56501        HP     S02222     P        VNY      22
DEGROAT                   MACY R                  9108 BOOMERSHINE RD.                              GERMANTOWN        OH      45327        HP     S11522     P        VNY      115
DeMars                    Brittany A              702 4th St SE                                     Barnesville       MN      56514        HP     H26605     P        VNI      266
DENNEY                    ALICIA E                504 BARNETT DRIVE                                 CEDAR FALLS       IA      50613        DM     H26406     F        VNI      264
DENTINO                   BRYANNA R               77 ARBORWAY LN                                    ROCHESTER         NY      14612        HP     S18522     P        VNY      185
DENTZ                     KATHERINE A             6659 COUNTY ROAD 1                                RAYLAND           OH      43943        HP     S10022     P        VNY      100
DESJARLAIS                TAYLA D                 618 PIONEER CT                                    MISSOULA          MT      59801        HP     S12622     P        VNY      126




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                                                                           VANITY SHOP OF GRAND FORKS, INC.
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DETHERAGE                 JAMES C                 2624 BROWN DEER TRAIL                             PLANO           TX      75023        DM     H26406     F        VNI      264
DEVIGILI                  TAYLOR R                1324 PINE STREET                                  PORT HURON      MI      48060        HP     S22322     P        VNY      223
DEVOOGHT                  CHELSEA L               830 BONHOMME COURT                                PORT HURON      MI      48060        HM     S22330     F        VNY      223
DEWALD-STOCKERT           ALEXIS J                3751 FOXHAVEN LOOP                                BISMARCK        ND      58503        HP     S00422     P        VNY        4
DEWALL                    BRITTANY A              1329 5th St NW                                    WEST FARGO      ND      58078         S     H26807     F        VNI      268
DEWALT                    ALEXIS E                340 CAYUSE CREEK DRIVE                            KIMBERLY        ID      83341        HP     S07222     P        VNY       72
DIAZ RIVERA               LEZLY C                 4218 HILLSIDE DR                                  LAFAYETTE       IN      47909        LP     S27223     P        VNY      272
DIEGO                     ERIKA M                 2955 W 400 N                   APT 1108           LAYTON          UT      84041        AF     S09425     F        VNY       94
DIENERT                   TAYLOR P                4615 CHAMBERLAIN PL                               BISMARCK        ND      58503        HP     S00422     P        VNY        4
DIETZEL-GOLDTHORPE        BROOKLYN J              3706 MORGAN RD                                    CUBA CITY       WI      53807        HP     S13822     P        VNY      138
DINOVO                    BRITTNEY L              1422 S 74TH PLAZA                                 OMAHA           NE      68124        LP     S06123     P        VNY       61
DITTMAN                   ASHLY A                 3400 EAST BAHNSON CIRCLE                          SIOUX FALLS     SD      57103        HM     S01130     F        VNY       11
DIXON                     TAMMY L                 5245 PHEASANT RUN DR APT4                         SAGINAW         MI      48638        AF     S08425     F        VNY       84
DIXON                     BAILEY A                1650 MOWRY SQ                 APT 228             RICHLAND        WA      99354        HP     S16322     P        VNY      163
DOBBS                     MARY R                  1611 CLAYDELL                                     ST. PETERS      MO      63376        AF     S23425     F        VNY      234
DOBMEIER                  SUSAN M                 100 3 St N #102                                   MOORHEAD        MN      56560        HP     H26511     P        VNI      265
DOBOSZ                    BRYNNEN R               2201 GREEN VALLEY RD                              SAINT JOSEPH    MO      64505        HP     S23322     P        VNY      233
DOCKERY                   DANIELLE K              736 10 MILE RD                                    CASCADE         MT      59421        LP     S03623     P        VNY       36
DODD                      JAZMENE L               1540 NEW LASCASSAS HWY        APT 414 D           MURFREESBORO    TN      37130        LP     S08223     P        VNY       82
DODD                      SUMMER S                1005 N 28TH ST                                    VAN BUREN       AR      72956        LP     S21023     P        VNY      210
DOKKEBAKKEN               JORDAN P                310 N 9TH ST                                      KERKHOVEN       MN      56252        LP     S01023     P        VNY       10
DOLEZAL                   BETHANY F               501 EAST 16 STREET                                LEZINGTON       NE      68850        HP     S06622     P        VNY       66
DOMINGUEZ                 KYLA M                  5218 90TH                                         LUBBOCK         TX      79424        HP     S17022     P        VNY      170
DOMINGUEZ                 COURTNEY S              1609 N GRANT                                      RUSSELL         KS      67665        HP     S21422     P        VNY      214
DOMINQUEZ                 KIERRA A                5218 90TH                                         LUBBOCK         TX      79424        HP     S17022     P        VNY      170
DONAHUE                   NICOLLE B               411CHESTNUT ST.                                   TERRE HAUTE     IN      47809        HP     S27122     P        VNY      271
DONNELLY                  KAMBRIA K               3081 GREEN MEADOW DR.         APT. 5              APPLETON        WI      54914        LP     S04723     P        VNY       47
DONOHOE                   JENNA M                 5625 COTTONWOOD COURT                             SHOREVIEW       MN      55126        LP     S02723     P        VNY       27
DORAN                     NATALIE M               1413 Marlane Dr                                   Girard          OH      44420-1445   HM     S11730     F        VNY      117
DOUGHERTY                 ALLISON L               201 KIRBY STREET                                  RIDGEWAY        WI      53582        HP     S09822     P        VNY       98
DOUGLASS                  ALEXA R                 216 N 5TH ST                                      PIERCE          NE      68767        HP     S06822     P        VNY       68
DOVE                      AKIRRA S                11441 FOLKSTONE DR                                FOREST PARK     OH      45240        HP     S12422     P        VNY      124
DOWNER                    SIMONE R                15445 25TH ST SE                                  AMENIA          ND      58004         S     H26305     F        VNI      263
DOWNS                     JAYLA A                 94 MICHIGAN STREET                                MOUNT CLEMENS   MI      48043        HP     S14522     P        VNY      145
DREES                     KIRSTEN L               5674 83RD ST S                                    GRAND FORKS     ND      58201        AF     S00325     F        VNY        3
DROBNY                    ALEISHA L               14784 373 AVE                                     MANSFIELD       SD      57460        AF     S11125     F        VNY      111
DUBS                      BRENT R                 835 17TH AVE W                                    WEST FARGO      ND      58078         S     H26305     F        VNI      263
DUELAND                   SAMANTHA J              22114 W CORRECTION LINE D                         HERSHEY         NE      69143        HP     S06922     P        VNY       69
DUEY                      NICOLE M                932 W 24TH ST                 APT 2               KEARNEY         NE      68845        LP     S06623     P        VNY       66
DUGAN                     EMILY A                 6811-4 MEADE LOOP                                 FT RILEY        KS      66442        HM     S25430     F        VNY      254
DULEY                     AMIJO M                 920 RACE STREET                                   PARKERSBURG     WV      26101        LP     S18323     P        VNY      183
DUNCAN                    BECCA R                 553 JUNIPER ROAD                                  PILOT MOUND     IA      50223        HP     S13322     P        VNY      133
DUONG                     KRISCINA T              8006 BACH DR.                                     INDIANAPOLIS    IN      46239        HP     S11222     P        VNY      112




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DUOSS                     ABIGAIL S               907 SUNSET DR                                       MILTON           WI      53563        HP     S04622     P        VNY       46
EBEL                      SHARON                  348 MAPLEPOINTE BLVD                                MAPLETON         ND      58059        HP     H26511     P        VNI      265
ECKDAHL                   REBECCA A               30585 OLSON ST. APT.234                             PEQUOT LAKES     MN      56472        AF     S00825     F        VNY        8
ECKHARDT                  AMANDA L                6208 COG HILL LN                                    RAPID CITY       SD      57702        HM     S01830     F        VNY       18
ECKWALL                   RACHEL E                328 NORTH ST.                                       OTTUMWA          IA      52501        LP     S24422     P        VNY      244
EDGEWORTH                 ANDREA A                PO BOX 74                                           FREEPORT         OH      43973        HM     S10030     F        VNY      100
EDMAN                     LINDSEY A               930 16TH STREET NE                                  WILLMAR          MN      56201        AF     S01025     F        VNY       10
EDMONDS                   ASHLEY M                9456 CASHEL DRIVE EAST                              PEOSTA           IA      52068        HP     S13822     P        VNY      138
EGBERT                    BRITTANI A              989 W 4000 S                                        PRESTON          ID      83263        HM     S07030     F        VNY       70
EHLEN                     HILLARY L               654 4TH AVE N APT 300                               FARGO            ND      58102        HP     H26605     P        VNI      266
EHRET                     CARLY R                 402 N LINCOLN ST                                    NEW SHARON       IA      50207        HP     S13722     P        VNY      137
EHRICH                    BRITTANY A              4314 A BROWN STATION RD                             COLUMBIA         MO      65202        HM     S23230     F        VNY      232
EILER                     ELIZABETH A             6152 16TH ST S                                      FARGO            ND      58104        HF     H26905     F        VNI      269
ELLIN                     RAVEN A                 436 N BARSTOW ST                                    EAU CLAIRE       WI      54703        FR     S10422     P        VNY      104
ELLIOTT                   TONI R                  5141 PINEDALE HIGHTS                                RAPID CITY       SD      57702        HP     S01822     P        VNY       18
ELLIS                     ELIZABETH D             623 WEST FIR AVE APT 208                            FERGUS FALLS     MN      56537        HM     S00730     F        VNY        7
ELLISON                   ASHLYNN M               667 LANDOLAKES CIRCLE                               BELLEVILLE       IL      62220        HP     S14122     P        VNY      141
ELSNER                    NICHOLE J               3301 HARVEST HILLS AVE          APT 313             WILLISTON        ND      58801        LP     S02023     P        VNY       20
EMMERT                    TRINITY L               5707 CLARK BLVD                                     DES MOINES       IA      50311        HP     S24522     P        VNY      245
ENDERS                    KATIE V                 3631 MERAMEC STREET                                 ST LOUIS         MO      63116        LP     S23523     P        VNY      235
ENDRES                    KATIE K                 1055 13TH ST NE                                     WATERTOWN        SD      57201        HP     S02522     P        VNY       25
ENGEL                     HANNAH E                604 BERNARD DR                                      BELLEVILLE       IL      62223        HM     S14130     F        VNY      141
ENGLAND                   KATHERINE R             1311 WEST MILIEU DRIVE                              BLOOMINGTON      IN      47403        LP     S10923     P        VNY      109
ENNEN                     CALSI R                 621 42ND ST E APT 838                               WILLISTON        ND      58801        LP     S02023     P        VNY       20
ENRIQUEZ                  AMBER A                 2906 S BROWNING                                     AMARILLO         TX      79103        LP     S17123     P        VNY      171
ENRIQUEZ CATANO           PAMELA K                50 GAGE ST                                          PONTIAC          MI      48342        HP     S04922     P        VNY       49
EPP                       KELSEY E                1601 CEDARBERRY RD                                  NORTH PLATTE     NE      69101        HP     S06922     P        VNY       69
ESCOBEDO                  JUANITA G               1621 5TH ST N                                       FARGO            ND      58102        HP     S29722     P        VNY      297
EUBANK                    KIMBERLY A              P.O BOX 158                                         AIRWAY HEIGHTS   WA      99001        LP     S07623     P        VNY       76
EVANS                     HEATHER K               58 Ashton Dr                                        Ashville         OH      43103-1302   DM     H26406     F        VNI      264
EVANS                     ASHLEY N                1260 KENILWOOD WAY              APT 1               BOWLING GREEN    KY      42104        LP     S09223     P        VNY       92
EVENSON                   ALEXANDRA L             431 EASTERN AVE                                     BROOTEN          MN      56316        LP     S03123     P        VNY       31
EXETER                    BRITTNEY D              1730 W QUINN TRLR 416                               POCATELLO        ID      83201        LP     S07023     P        VNY       70
FARABEE                   GABRIEL M               715 IOWA                        PO BOX 57           ENID             OK      73738        AF     S19025     F        VNY      190
FARLOW                    JOHNNA R                725 11TH ST                                         BUTTE            MT      59701        HM     S03530     F        VNY       35
FEEBACK                   KRISTEN A               161 INDIAN PAINTBRUSH                               CASPER           WY      82604        HP     S12822     P        VNY      128
FERGUSON                  HOLLY S                 12 WEST 35TH ST.                                    SCOTTSBLUFF      NE      69361        LP     S06723     P        VNY      67
FERGUSON                  KAYTLYN D               39 CR 134                                           JONESBORO        AR      72416        HP     S20922     P        VNY      209
FERREIRA                  JENNA L                 15821 E 4TH AVE APT B206                            SPOKANE VALLEY   WA      99037        HP     S07622     P        VNY       76
FESER                     KALEY M                 1917 N 17TH ST                                      FORT DODGE       IA      50501        HP     S13222     P        VNY      132
FIANCE                    JESSICA L               2316 TALLGRASS DR                                   MARION           IA      52302        HP     S13722     P        VNY      137
FIELD                     LISA R                  720E.COURT ST.UNIT 32                               PARIS            IL      61944        AF     S27125     F        VNY      271
FIGUEROA                  JESSICA L               168 LONG ISLAND DRIVE                               TWIN FALLS       ID      83301        HP     S07222     P        VNY       72




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FIGY                      SAVANNAH L              4513 MANDRAKE RD                                  MADISON          WI      53704   HP     S09822     P        VNY       98
FINCH                     AMANDA S                2195 BITTERROOT DRIVE                             TWIN FALLS       ID      83301   HM     S07230     F        VNY       72
FINDLEY                   MICHELLE D              497 EAGLE RD                                      SAINT LIBORY     NE      68872   HP     S06522     P        VNY       65
FINK                      ZAVANNAH L              2902 N 15TH ST                                    COEUR D' ALENE   ID      83815   HP     S01322     P        VNY       13
FINLEY                    RENAE D                 2820 N CHERRY ST J301                             SPOKANE VALLEY   WA      99216   LP     S07623     P        VNY       76
FINLEY                    KAYLA J                 1231 N SCHOOL STREET                              AUBURN           KS      66402   HP     S25522     P        VNY      255
FINNEY                    TAYLOR N                217 NOTTINGHAM TRL                                SAN ANGELO       TX      76901   HP     S17322     P        VNY      173
FITZ                      SYDNEY R                457 BONIFIELD CT.                                 ZANESVILLE       OH      43701   HP     S15222     P        VNY      152
FLAX                      KATLYN R                125 SHAWNEE RD. APT 2                             MINOT AFB        ND      58704   AF     S02625     F        VNY       26
FLOCK                     SAVANNA S               434 E FAIRMONT BLVD                               RAPID CITY       SD      57701   LP     S01823     P        VNY       18
FLORES                    TIANA M                 1163 AMOS ST                                      PONTIAC          MI      48342   HP     S04922     P        VNY       49
FOLKER                    ASHLEY A                9500 W. CONCORDIA AVE.                            MILWAUKEE        WI      53222   HP     S20722     P        VNY      207
FOLKER                    TAMI E                  9500 W CONCORDIA AVE                              MILWAUKEE        WI      53222   LP     S20723     P        VNY      207
FONTENOT                  KATELYN N               2565 25TH AVE                                     MARION           IA      52302   HP     S13722     P        VNY      137
FORD                      MARY R                  431 GARDEN DR                                     JOHNSON CITY     TN      37604   HP     S08122     P        VNY       81
FORD                      EMMA G                  3909 W ROANOKE ST                                 BROKEN ARROW     OK      74011   LP     S19923     P        VNY      199
FORD                      KARA A                  314 W STRAWN AVE                                  JONESBORO        AR      72401   HM     S20930     F        VNY      209
FORT                      JACOB M                 13088 MEREDITH DRIVE                              BAXTER           MN      56425   HP     S00822     P        VNY        8
FORT                      CLAIRE E                472 S HOOK CT                                     PUEBLO WEST      CO      81007   LP     S16523     P        VNY      165
FOSS                      VICTORIA L              815 6TH AVE NE                                    BRAINERD         MN      56401   HM     S00830     F        VNY        8
FOSTER                    MAKAYLA M               24391 CT RD 53                                    KERSEY           CO      80644   LP     S16623     P        VNY      166
FOUCE                     MIKALLA J               1150 S CLARIZZ BLVD                               BLOOMINGTON      IN      47401   HP     S10922     P        VNY      109
FOUST                     DANIELLE M              415 WOODLAKE DR                                   GREENSBORO       NC      27406   HP     S21722     P        VNY      217
FOX                       JESSIE L                609 E COLUMBUS ST                                 MARTINSVILLE     IN      46151   LP     S10923     P        VNY      109
FRANCIS                   JULIE L                 1667 SORGHUM RIDGE ROAD                           WHEELING         WV      26003   HP     S10022     P        VNY      100
FRANKE                    AMBER D                 1211 SOUTH MCHENRY ST                             INDEPENDENCE     MO      64057   HM     S05430     F        VNY       54
FRANKLIN                  JENNY L                 906 RUMLEY RUN                                    DE FOREST        WI      53532   DM     H26406     F        VNI      264
FREDERICK                 BROOKE K                3112 AVE. H                                       KEARNEY          NE      68847   HP     S06622     P        VNY       66
FREDRICKSON               JACLYN R                927 E 8TH ST                                      DULUTH           MN      55805   AF     S00225     F        VNY        2
FREEMAN                   KATHERINE E             251 S GERSAM AVE                                  HAMILTON         OH      45013   HP     S12422     P        VNY      124
FREIBERG                  ANNA M                  9031 KIMBALL AVE NW                               ANNANDALE        MN      55302   LP     S02723     P        VNY       27
FRENCH                    JAMES A                 3172 N HONEYSUCKLE DR                             COEUR D' ALENE   ID      83815   HP     S01322     P        VNY       13
FREY                      KRISTIN L               217 MINER                                         WINSIDE          NE      68790   HP     S06822     P        VNY       68
FRIEZ                     COLLETTE R              2220 WEST MAIN #105                               BOZEMAN          MT      59718   HM     S01630     F        VNY       16
FRY                       MARGARET T              2780 BEACH ROAD APT 10                            PORT HURON       MI      48060   HP     S22322     P        VNY      223
FRYMAN                    ANGEL S                 706 SW FRONT                                      WALNUT RIDGE     AR      72476   HP     S20922     P        VNY      209
FULLER                    SHELBY M                670 WEST MARKET STREET                            SPRINGBORO       OH      45066   LP     S11523     P        VNY      115
FULLER                    MADISON M               111 CHAPMAN DR                                    ASHEVILLE        NC      28805   HP     S21822     P        VNY      218
FUNKE                     BAILEY A                4679 CALISTOGA LANE                               MISSOULA         MT      59808   HP     S12622     P        VNY      126
FUQUA                     LINDSEY N               11826 COLEMAN POBOX 461                           CARLSBAD         TX      76934   LP     S17323     P        VNY      173
FURNISS                   MATTIE M                2166 TASMAN AVE                                   IDAHO FALLS      ID      83404   LP     S07123     P        VNY       71
FURR                      ALYSSA D                116 ASHLEY LN                                     KING             NC      27021   HP     S21922     P        VNY      219
GADBERRY                  AUTUMN M                759 S FORT AVE                                    SPRINGFIELD      MO      65806   HP     S23022     P        VNY      230




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GAGE                 NICHOLE L                    3008 S. 121ST E. AVE                              TULSA             OK      74129   LP     S19923     P        VNY      199
GALLEGOS             KAREN J                      304 N 12TH ST #2                                  NORFOLK           NE      68701   HM     S06830     F        VNY       68
GARCIA               DESERAE V                    2004 N. WHEELER APT 3F                            GRAND ISLAND      NE      68801   HP     S06522     P        VNY       65
GARCIA               TAMIKA L                     3400 CODY AVE                                     EVANS             CO      80620   HP     S16622     P        VNY      166
GARCIA               DANIELLE C                   1305 BERTHA                                       SAN ANGELO        TX      76904   HP     S17322     P        VNY      173
GARCIA               KELLY L                      2802 SOUTHRIDGE DR                                SACHSE            TX      75048   HP     S17722     P        VNY      177
GARDNER              FAITH D                      4917 THISTLE DR.              APT 407             TYLER             TX      75703   LP     S17823     P        VNY      178
GARDUNO              KRISTEN N                    4751 EAGLERIDGE CIR           208                 PUEBLO            CO      81008   LP     S16423     P        VNY      164
GASKELL KIRSCHENHEIT TATUM R                      1960 MULLAN TRAIL                                 MISSOULA          MT      59808   HP     S12622     P        VNY      126
GATHERIDGE           NATASHA M                    4234 9TH AVE CIRCLE S         #34                 FARGO             ND      58103   LP     S00523     P        VNY        5
GAULRAPP             KELSEY A                     1518 S DAKOTA ST                                  ABERDEEN          SD      57401   HP     S11122     P        VNY      111
GAUTHIER             CHANTELLE M                  38952 ARLINGDALE                                  STERLING HEIGHT   MI      48310   AF     S14525     F        VNY      145
GAVORCIK             HEIDI M                      49300 HARRISVILLE CEM RD                          CADIZ             OH      43907   AF     S10025     F        VNY      100
GERGEN               GILLIAN E                    2679 DAKOTA AVE                                   JANESVILLE        IA      50647   HP     S13022     P        VNY      130
GERTKEN              KALEY E                      216 PLEASANT RIDGE DR                             SAUK RAPIDS       MN      56379   HP     S02722     P        VNY       27
GERVING              REANNA D                     401 WEST ASH AVENUE                               FRAZEE            MN      56544   HP     S02222     P        VNY       22
GESSLER              LAUREN E                     2777 47TH ST S #115                               FARGO             ND      58104    S     H26807     F        VNI      268
GIACAZ               CHEZIRAE B                   110C WESTVIEW COMMONS BLD                         ROCHESTER         NY      14626   LP     S18523     P        VNY      185
GIBSON               ADDISYN H                    5615 TOPEKA DR                                    PASCO             WA      99301   LP     S16323     P        VNY      163
GIDEON               ALLY J                       4248 R57 HWY                                      NORWALK           IA      50211   HP     S07322     P        VNY       73
GIESEY               MICHAELA M                   1613 NASH ST                                      GARLAND           TX      75042   HP     S17722     P        VNY      177
GILBERT-DIXON        DESIRAE S                    546 JAMES ST                                      TURTLE CREEK      PA      15145   AF     S18125     F        VNY      181
GILES                SYDNEY R                     4899 WEST OLD US 40                               WEST TERRE HAUT   IN      47885   HP     S27122     P        VNY      271
GILL                 MARY C                       1709 LAFAYETTE AVE                                TERRE HAUTE       IN      47804   HP     S27122     P        VNY      271
GILLUND              BRIANA L                     112 9TH AVE                                       ENDERLIN          ND      58027   HF     H26807     F        VNI      268
GIROUX               BRITANA R                    1325 27TH ST SE LOT 606                           MINOT             ND      58701   LP     S02623     P        VNY       26
GLAZE                ANGELENA M                   3414 APPALOOSA DRIVE                              NORTH PLATTE      NE      69101   HP     S06922     P        VNY       69
GODE                 JENNIFER S                   715 6TH STREET                 PO BOX 23          HAWLEY            MN      56549    S     H26708     F        VNI      267
GOGGINS              CHRISTINA A                  2419 S 93RD ST                                    WEST ALLIS        WI      53227   HM     S04830     F        VNY       48
GOINS                COURTNEY M                   972HOLDERNESS LANE                                CINCINNATI        OH      45240   HP     S12422     P        VNY      124
GOLDEN               VICTORIA D                   4321 MCCULLOCH ST                                 DULUTH            MN      55804   HP     S00222     P        VNY       2
GONZALES             MIRANDA G                    8217 AVE U                    APT 7108            LUBBOCK           TX      79423   HP     S17022     P        VNY      170
GONZALES             TALENA I                     4600 PALUXY DR.               APT 2032            TYLER             TX      75703   HP     S17822     P        VNY      178
GONZALES MUNOZ       NORMA                        790 SCOTTWOOD ST                                  PONTIAC           MI      48340   HP     S08422     P        VNY       84
GONZALEZ-ARAUJO      ROCIO                        40 NORTHWOOD DR.                                  FORT SMITH        AR      72904   LP     S21023     P        VNY      210
GOODRICH             DENEEN M                     8 CHAUTARD CT                                     PUEBLO            CO      81005   HP     S16522     P        VNY      165
GORDE                MARK A                       663 WYNDEMERE DRIVE                               WEST FARGO        ND      58078    S     H26305     F        VNI      263
GORDON               MALEIGHA R                   383 TAYLOR RD                                     MANSFIELD         OH      44903   AF     S13625     F        VNY      136
GOUKER               NICOLE O                     126 BROADWAY ST                                   SOUTH HEART       ND      58655   LP     S01923     P        VNY       19
GRACEY               HALLE J                      2019 SWAN DR                                      NORWALK           IA      50211   HP     S07322     P        VNY       73
GRAF                 NICOLE R                     1621 E ROELAND AVE            Unit 8              APPLETON          WI      54915   LP     S04723     P        VNY       47
GRAHAM               SHANIA R                     5018 N SMITH ST                                   SPOKANE           WA      99217   HP     S07522     P        VNY       75
GRAHAM               MCKENZIE R                   1900 BARRET ST                                    BURLINGTON        IA      52601   HP     S13922     P        VNY      139




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Legal Name                                        Home Address                                      City             State   Zip     Code   PR Dept   FT/PT    Code   Location
GRANT                     ASHLI M                 814 42ND ST E                 #207                WILLISTON        ND      58801   LP     S02023     P        VNY       20
GRANT                     LINDSEY M               2525 32ND ST S                                    FARGO            ND      58103   HF     S29722     F        VNY      297
GRAVEEN                   RACHEL R                813 LEWIS PL                                      ST CLOUD         MN      56301   HP     S02722     P        VNY       27
GRAY                      LAUREN E                4675 N BAYMID COUNTY LINE                         MIDLAND          MI      48642   HP     S27722     P        VNY      277
GREEN                     CHRISTINA L             990 W COUNTRY CLUB RD                             CANYON           TX      79015   HP     S17122     P        VNY      171
GREEN                     STACY M                 1082 UTZ LN                                       HAZELWOOD        MO      63042   HM     S23430     F        VNY      234
GREGERSON                 ERICKA C                3009 E 20TH STREET                                SIOUX FALLS      SD      57103   HP     S01122     P        VNY       11
GRIFFIN                   KLAIRE B                9895 CHERRY ST                                    LUMBERTON        TX      77657   HP     S17422     P        VNY      174
GRIMES                    MAKAYLA B               906 W WATAUGA AVE             APT 314             JOHNSON CITY     TN      37604   LP     S08123     P        VNY       81
GRINSTEAD                 CARLY J                 1001 65TH ST NW                                   MINOT            ND      58703   HP     S02622     P        VNY       26
GROSKOPF                  ELIZABETH E             2810 AVENUE F                                     SCOTTSBLUFF      NE      69361   HP     S06722     P        VNY       67
GROTH                     ABIGAIL M               5208 S SWEETBRIAR CIRCLE                          SIOUX FALLS      SD      57108   HP     S01122     P        VNY       11
GUMM                      JACQUELINE L            3901 EAST HAVERILL                                ST JOSEPH        MO      64506   AF     S23325     F        VNY      233
GUNN                      ALLYSON N               156 GIBSON AVE                                    MANSFIELD        OH      44907   LP     S13623     P        VNY      136
GUSTAFSON                 PHOEBE E                724 JAQUE LANE                                    BILLINGS         MT      59105   HP     S01522     P        VNY       15
GUSTAFSON                 DARIEN M                16118 COTTONWOOD ST                               OMAHA            NE      68136   LP     S22123     P        VNY      221
GUTHRIE                   LISA N                  343 HILLGATE                                      LAYTON           UT      84041   HM     S09430     F        VNY       94
GUTIERREZ MARTINEZ        JESSIE M                7988 GLADYS #5                                    BEAUMONT         TX      77706   AF     S17425     F        VNY      174
GUZMAN                    SABRINA A               309 N CLINTON B                                   LUBBOCK          TX      79416   HP     S17022     P        VNY      170
HAANEN                    REBECCA L               712 BLUFF ST                                      GRACEVILLE       MN      56240   HP     H26205     P        VNI      262
HACKER                    ANDREA L                2102 1/2 W 39TH ST #2                             KEARNEY          NE      68845   HM     S06630     F        VNY       66
HACKETT                   LINDSAY N               3703 E. GOLDSTONE DR                              IDAHO FALLS      ID      83401   HM     S07130     F        VNY       71
HAGEN                     SYDNEY J                2406 COOLDIGE AVE                                 BISMARCK         ND      58501   HP     S00422     P        VNY        4
HAGFORS                   KAYLA A                 16853 170TH ST S                                  BARNESVILLE      MN      56514    S     H26205     F        VNI      262
HAHN                      JANET                   745 14TH AVE W                                    WEST FARGO       ND      58078   HF     H26205     F        VNI      262
HALE                      JONATHAN A              2156 SHENANDOAH DR                                GRAND JUNCTION   CO      81507   LP     S16723     P        VNY      167
HALL                      STEPHANIE J             1039 GRAND AVE UNIT A                             GRAND JUNCTION   CO      81501   HP     S16722     P        VNY      167
HALOWELL                  TAYLOR D                185 ROCHE WAY                                     BOARDMAN         OH      44512   HP     S11722     P        VNY      117
HALVORSEN                 ASHLYN M                1502 S. ELLIS APT. 59                             WEBB CITY        MO      64870   HP     S23622     P        VNY      236
HAMMERSCHMIDT             AMY S                   1710 SUNSET TRAIL APT A                           HAYS             KS      67601   HM     S21430     F        VNY      214
HAMPTON                   VALERIE M               1124 N 5TH ST                                     MANKATO          MN      56001   HP     S01222     P        VNY       12
HAMPTON                   DOMINIQUE N             17149 DALWORTH ST                                 MACOMB           MI      48044   HP     S14522     P        VNY      145
HANCHETT                  DARCY A                 201 AVE E                                         BILLINGS         MT      59101   LP     S01523     P        VNY       15
HANEK                     MEGAN J                 18779 EVEREST PATH                                FARMINGTON       MN      55024   HP     S21322     P        VNY      213
HANNINEN                  MERCEDES A              904 N 5TH ST                                      MANKATO          MN      56001   HP     S01222     P        VNY       12
HANSEN                    LACIE F                 3501 10TH ST S                                    FARGO            ND      58104    S     H26807     F        VNI      268
HANSEN                    EMILY R                 14171 KRYPTON ST NW                               RAMSEY           MN      55303   AF     S21225     F        VNY      212
HANSHAW                   MEGAN D                 2602 SHUMWAY ST                                   CASPER           WY      82601   LP     S12823     P        VNY      128
HARDEN                    CHEYANNE M              4319 WILLIAM AVE                                  CELINA           OH      45822   LP     S11023     P        VNY      110
HARDING                   EMILY E                 2444 WILLOW BROOK DR                              ASBURY           IA      52002   LP     S13823     P        VNY      138
HARGRAVE                  CHARLEY J               1725 KENT DRIVE                                   WEBB CITY        MO      64870   HP     S23622     P        VNY      236
HAROUFF                   OLIVIA J                84 MASON STREET               APT 16              MORGANTOWN       WV      26505   HP     S18422     P        VNY      184
HARPER                    JENNIFER L              167 SUMMIT AVE                                    LORETTO          MN      55357   HM     S02730     F        VNY       27




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HARPER             TAELOR S                       1630 TOWNE DRIVE              APT 1H              COLUMBIA        MO      65202        LP     S23223     P        VNY      232
HARRELL            TAYLOR M                       2001 ROCKCREEK DRIVE                              BOWLING GREEN   KY      42101        AF     S09225     F        VNY       92
HARRIGER           KYLEIGH J                      1727 UNIVERSITY DRIVE CR      APT. 5              KEARNEY         NE      68845        AF     S06625     F        VNY       66
HARRINGTON         REESE E                        501 S PROSPERITY                                  JOPLIN          MO      64801        HP     S23622     P        VNY      236
HARRIS             CHATEAU R                      1823 SPENCER ST.                                  OMAHA           NE      68110        LP     S06123     P        VNY       61
HARRIS             MEGAN A                        7950 MENTOR AVE               G12                 MENTOR          OH      44060        LP     S09023     P        VNY       90
HARRIS             FELICIA L                      705 E. BEACON STREET                              PEORIA          IL      61603        LP     S20323     P        VNY      203
HARRIS             MCKENYA C                      4006 MASSEY WOOD TRL                              RALEIGH         NC      27616        HP     S21922     P        VNY      219
HART               DANIELLE                       53754 859 RD                                      PLAINVIEW       NE      68769        LP     S06823     P        VNY       68
HARTILL            SHAYLA J                       1227 MAPLE STREET                                 NAMPA           ID      83686        HP     S07422     P        VNY       74
HASENYAGER         HAILEY N                       4370 S FRUITHILL PL                               BOISE           ID      83709        HP     S07422     P        VNY       74
HATTON             EMILY S                        305 LAUREL AVE                                    HAMILTON        OH      45015        LP     S12423     P        VNY      124
HAVENER            CASSANDRA D                    2429 JOHNNYCAKE HILL RD                           HAMILTON        NY      13346        HP     S18522     P        VNY      185
HAVIG              MAURA R                        3267 5th Ave N                                    Moorhead        MN      56560        HF     H26605     F        VNI      266
HAWKINS            LA'MARRIA W                    689 W VINE ST                                     MONDOVI         WI      54755        HP     S10422     P        VNY      104
HAYES              MAKAYLLA C                     1805 TIFFANY DR                                   IDAHO FALLS     ID      83404        HP     S07122     P        VNY       71
HEATH              JACQUELINE N                   2808 JACOBS PLACE             APT 1E              COLUMBIA        MO      65201        LP     S23223     P        VNY      232
HEATON             COURTNEY M                     1604 ARMY POST RD                                 DES MOINES      IA      50315        AF     S07325     F        VNY       73
HEATON             COURTNEY M                     1604 ARMY POST RD                                 DES MOINES      IA      50315        AF     S24525     F        VNY      245
HECKENLAIBLE       KACEY S                        435 E CENTENNIAL ST                               RAPID CITY      SD      57701        HP     S01822     P        VNY       18
HEDGES             ANDREW P                       1240 S Birch St Apt 311                           Denver          CO      80246-7825   DM     H26406     F        VNI      264
HEHR               CHELSEA R                      629 EL TORA CV S                                  FARGO           ND      58103        HF     S29722     F        VNY      297
HEIKENS            RHIANNAN J                     1220 FIRST AVE GMU #550                           CEDAR RAPIDS    IA      50325        AF     S13725     F        VNY      137
HEIKKINEN          CASSANDRA M                    161 LITTLE BASIN CREEK RD     PO BOX 3293         BUTTE           MT      59701        HP     S03522     P        VNY      35
HEIMBACH           BAILEE A                       1144 CASE CT                                      BOX ELDER       SD      57719        LP     S01823     P        VNY      18
HEINECKE           OLIVIA L                       8231 COLUMBUS ROAD                                FOWLER          IL      62338        HP     S14722     P        VNY      147
HELMICK            DANIELLE B                     1294 BLUEFIELD AVE                                ELIZABETHTON    TN      37643        HP     S08122     P        VNY       81
HELSEL             ALICIA E                       2354 CANTER LN                #E                  GREEN BAY       WI      54304        LP     S10623     P        VNY      106
HENDERSHOT         LINDSEY M                      4727 ARBOR CROSSING           APT 302             ALEXANDRIA      MN      56308        HP     S03122     P        VNY       31
HENKEL             LARKIN A                       924 NORTH 5TH STREET                              COEUR D'ALENE   ID      83814        AF     S07625     F        VNY       76
HENTRICH           BROOKE L                       4253 CHIPPEWA TR.                                 JAMESTOWN       OH      45335        HP     S11422     P        VNY      114
HERNANDEZ          KORI B                         918 N MADISON                                     SAN ANGELO      TX      76901        HM     S17330     F        VNY      173
HERNANDEZ          SAMANTHA F                     525 E THORNTON AVE            APT #2              HEMET           CA      92543        FR     S29722     P        VNY      297
HERNANDEZ BOURGEOISRAQUEL                         2001 WEST 13TH STREET                             NORTH PLATTE    NE      69101        HP     S06922     P        VNY       69
HERNANDEZ PEDRAZA CLAUDIA P                       1017 1ST STREET                                   GIBBON          NE      68840        HP     S06622     P        VNY       66
HERRERA            ALEXANDRIA H                   3431 GRINNELL                 APT B               LUBBOCK         TX      79415        HP     S17022     P        VNY      170
HEYBOER            CAITLYNN R                     2226 OLDE FARM DR                                 JENISON         MI      49486        HP     S08022     P        VNY       80
HIBLER             AGAPE T                        9162 E LATIMER PL                                 TULSA           OK      74115        HP     S19922     P        VNY      199
HICKMAN            MADISON R                      1503 WINDSWEPT DR                                 GREENWOOD       IN      46143        HP     S11222     P        VNY      112
HILES              KERA M                         1184 LUCAS RD                                     MANSFIELD       OH      44905        HP     S13622     P        VNY      136
HILL               FAITH M                        1710 S 12TH AVE                                   OZARK           MO      65721        HP     S23022     P        VNY      230
HILSENKOPF         ERIN N                         1714 N SUMMER HILLS CT                            POSTFALLS       ID      83854        AF     S01325     F        VNY       13
HILSINGER          KIARRA M                       2349 CO ROAD 9                                    LYONS           NE      68038        HP     S02822     P        VNY       28




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HILTON                    KATIE                   1420 EASTGATEWAY CIRCLE       #104                FARGO             ND      58103         S     H25907     F        VNI      259
HINRICKSON                MISTI E                 11488 STATE HWY 141                               MAPLETON          IA      51034        HM     S02830     F        VNY       28
HINSON                    TAYLOR M                1118 S. 11TH ST               `                   TERRE HAUTE       IN      47803        LP     S27123     P        VNY      271
HIRAI                     NATASHA M               7608 ESTEVAN DR                                   PASCO             WA      99301        LP     S16323     P        VNY      163
HO                        DIEM T                  723 COUNTRYSIDE CT                                FARGO             ND      58103        WF     H26511     F        VNI      265
HOABY NELSON              BRIANA M                1052 3RD ST N                                     CASSELTON         ND      58012        HF     H26605     F        VNI      266
HOCKETT                   ASHLEY D                3030 W 4TH E 202                                  KENNWICK          WA      99336        AF     S16325     F        VNY      163
HOERNER                   KATELYN R               1142 15TH AVE W                                   DICKINSON         ND      58601        HP     S01922     P        VNY       19
HOFFMAN                   CHRISTINE N             516 VIVIAN ST.                P.O. BOX 133        SEVERANCE         CO      80546        AF     S16625     F        VNY      166
HOFFMAN                   KAGEN M                 2425 E 11TH ST                                    JOPLIN            MO      64801        HP     S23622     P        VNY      236
HOFFMANN                  ALISSA S                55140 851 RD                                      PIERCE            NE      68767        LP     S06823     P        VNY       68
HOIUM                     HANNA E                 16348 455TH AVE                                   WATERTOWN         SD      57201        LP     S02523     P        VNY       25
HOLDEN                    CHRISTINE M             4242 9th Ave Cir S Apt #15                        FARGO             ND      58103        WF     H26511     F        VNI      265
HOLLIDAY                  ANNIKKI                 1905 MILLER ST                APT 26              LA CROSSE         WI      54601        LP     S10523     P        VNY      105
HOLMQUIST                 JERI E                  111 MAIN ST WEST              PO BOX 144          EAGLE BEND        MN      56446        AF     S03125     F        VNY       31
HOLT                      CASSIDY L               3100 McCann Rd Apt 3104                           Longview          TX      75605-7836   HM     S17930     F        VNY      179
HOLTHAUS                  KATYA M                 20390 SANDUSKY ROAD                               TONGANOXIE        KS      66086        HP     S25522     P        VNY      255
HOLTHE                    KIMBERLEY L             2706 17TH ST S                                    MOORHEAD          MN      56560        WF     H26511     F        VNI      265
HOLZRICHTER               REBECCA A               203 SAFFORD STREET                                OSAGE CITY        KS      66523        HP     S25522     P        VNY      255
HOPKINS                   KAREN M                 112 WEST NINTH STREET                             NEWPORT           KY      41071        HP     S14822     P        VNY      148
HOPPES                    EMILY C                 1805 E 32nd                                       SCOTTSBLUFF       NE      69361        AF     S06725     F        VNY       67
HORNER                    DAWN A                  2804 A HWY 69 S                                   LUMBERTON         TX      77657        LP     S17423     P        VNY      174
HORNER                    ALYSSA C                916 CANE CREEK RD                                 FLETCHER          NC      28732        HP     S21822     P        VNY      218
HORST                     SABRINA A               6598 HWY 49                                       GLEN ULLIN        ND      58631        HF     H26905     F        VNI      269
HRON                      PAMELA R                4948 47T ST S APT 204                             FARGO             ND      58104        AF     S00525     F        VNY       5
HUBANKS                   MARI L                  258 GEORGE ST                                     SHARON            WI      53585        LP     S04723     P        VNY       47
HUBBS                     AMANDA N                610 19TH AVE NE                                   ABERDEEN          SD      57401        HM     S11130     F        VNY      111
HUERTA                    PAMELA E                914 PINEWOOD LANE                                 SEABROOK          TX      77586         S     H00105     F        VNI        1
HUETHER                   JODI A                  1622 BROADWAY                                     FARGO             ND      58102        HP     S00522     P        VNY        5
HUMMEL                    AMANDA N                930 SIMS AVE                                      SAINT PAUL        MN      55106        HP     S22622     P        VNY      226
HUMPHREY                  TAYLER K                4020 N ELGIN                                      SPOKANE           WA      99205        LP     S07523     P        VNY       75
HUMPHREY                  MADISON M               1279 W PRAIRIE RD                                 MIDLAND           MI      48640        HP     S27722     P        VNY      277
HUNGATE                   ALYSSA A                978 E DUPLER RD.                                  SANDY             UT      84094        LP     S12223     P        VNY      122
HUNSAKER                  AMBER R                 514 PACIFIC AVE                                   THOMPSON          ND      58278        HP     S02622     P        VNY       26
HUSTON                    TESSA R                 250 HELLGATE DRIVE                                MISSOULA          MT      59802        LP     S12623     P        VNY      126
HUTCHINS                  ALLYSON E               114 GETTYSBURG DRIVE                              HODGENVILLE       KY      42748        HP     S09222     P        VNY       92
HUTCHINSON                JESSE B                 6750 WALTERS RD                                   CLARKSTON         MI      48346        HP     S04922     P        VNY       49
HUTTLE                    KATHERINE C             2274 EAST COUNTY ROAD E                           WHITE BEAR LAKE   MN      55110        LP     S22623     P        VNY      226
IKOLA                     SAMANTHA M              709 NE 1ST STREET             APT A104            DEER RIVER        MN      56636        HP     S03222     P        VNY       32
INMAN                     LAURA E                 2012 PINE VALLEY LN                               JONESBORO         AR      72404        HP     S20922     P        VNY      209
ISABELL                   AMANDA G                2442 5TH AVENUE                                   SCOTTSBLUFF       NE      69361        HP     S06722     P        VNY       67
ISBELL                    BRITTANY C              4265 NORTHWEST POINT DR                           HOUSE SPRINGS     MO      63051        HP     S23522     P        VNY      235
IVEY                      TAMEIKA S               4300 HEWITT STREET            APT H               GREENSBORO        NC      27407        HM     S21730     F        VNY      217




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JACKSON                   SAMANTHA C              3008 WRIGHT AVE                                   NORTH PLATTE     NE      69101   LP     S06923     P        VNY       69
JACKSON                   FAITH E                 695 EAST IRBY                                     BEAUMONT         TX      77705   HP     S17422     P        VNY      174
JACOBS                    SHAWNTERIA D            1056 E 15TH ST                                    WINSTON SALEM    NC      27105   LP     S21923     P        VNY      219
JACOBSEN                  HANNAH M                6225 E AIRLINE HWY                                DUNKERTON        IA      50626   HP     S13022     P        VNY      130
JACOBSEN                  BLADE A                 2303 WHITEGATE DR 1D                              COLUMBIA         MO      65202   AF     S23225     F        VNY      232
JAEGER                    LAURYN E                2152 WEST CALLE COLOMBO                           COLUMBUS         NE      68601   HP     S06022     P        VNY       60
JAMES                     ELIZABETH A             2102 SHERMAN CREEK ROAD                           EAU CLAIRE       WI      54703   HM     S10430     F        VNY      104
JAMES                     CASSANDRA J             519 N JOPLIN AVE                                  JOPLIN           MO      64801   HP     S23622     P        VNY      236
JANDA                     MCKENZIE R              930 S 6TH ST                                      DE PERE          WI      54115   HP     S10622     P        VNY      106
JAY                       ALEXIS L                821 WABASH AVE.                                   OTTUMWA          IA      52501   HP     S24422     P        VNY      244
JEFFERY-RUGGLESS          ANDRIA J                2126 S. SELKIRK DR                                GREEN ACRES      WA      99016   HP     S07622     P        VNY       76
JENNINGS                  KAYLYNN                 314 N. 16TH ST.                                   FORT DODGE       IA      50501   HM     S13230     F        VNY      132
JENSEN                    EMILY N                 1107 WILD PLUM DRIVE                              ST CHARLES       MO      63303   HP     S23422     P        VNY      234
JENSEN                    SAMANTHA E              12601 STONERIDGE LN.          APT 104             SOUTH ROCKWOOD   MI      48179   LP     S27523     P        VNY      275
JEPSEN                    BRITTANY L              1601 W 1ST                                        NORTH PLATTE     NE      69101   HM     S06930     F        VNY       69
JETT                      ALLYSE M                806 INDIANA AVE                                   MENDOTA          IL      61342   LP     S14023     P        VNY      140
JEWISON                   STEFANIE M              1517 REED DR                                      FARGO            ND      58102   HF     S29730     F        VNY      297
JIMENEZ                   LILY C                  3225 11TH AVE S #5                                GREAT FALLS      MT      59405   HP     S03622     P        VNY       36
JIMENEZ                   ALYSSA D                10135 W SCEPTER CIR                               FRANKLIN         WI      53132   HP     S04822     P        VNY       48
JIMENEZ                   BRITTANY N              6208 6TH STREET                                   LUBBOCK          TX      79416   LP     S17023     P        VNY      170
JOHANSSON                 CARLEY                  12 LAI CHRISTINE CT                               ST. CHARLES      MO      63301   HP     S23422     P        VNY      234
JOHNSON                   ASHLEY K                203 Apple Lane                                    FARGO            ND      58104   DM     H26406     F        VNI      264
JOHNSON                   JESSICA R               1708 55TH AVE N                                   MOORHEAD         MN      56560   HF     H26905     F        VNI      269
JOHNSON                   REBECCA P               45661 265TH ST                                    HUMBOLDT         SD      57035   HP     S01122     P        VNY      11
JOHNSON                   MEGAN E                 8215 N. TWIN LAKES ROAD                           NORTH PLATTE     NE      69101   HP     S06922     P        VNY      69
JOHNSON                   ALEXANDRA E             5074 BONNIE VALE CT                               EAU CLAIRE       WI      54701   LP     S10423     P        VNY      104
JOHNSON                   REBEKAH L               1111 N LOCUST                                     MUNCIE           IN      47303   AF     S11025     F        VNY      110
JOHNSON                   MIA C                   1108 CHRISTI CR                                   BEAVERCREEK      OH      45434   HM     S11430     F        VNY      114
JOHNSON                   ELLIE M                 27409 BUCKLAND HOLDEN RD                          WAYNESFIELD      OH      45896   LP     S11623     P        VNY      116
JOHNSON                   JENNIFER R              226 REED STREET                                   WATERLOO         IA      50703   LP     S13023     P        VNY      130
JOHNSON                   D'MYA F                 690 PALM ST                                       BEAUMONT         TX      77705   HP     S17422     P        VNY      174
JOHNSON                   SAMANTHA P              6900 STONE HILL RD                                LIVONIA          NY      14487   HM     S18530     F        VNY      185
JOHNSON                   MICKELA R               7236 SW WOODCROFT                                 TOPEKA           KS      66619   LP     S25523     P        VNY      255
JOHNSON                   JENNA L                 1631 BELSLY BLVD APT 306                          MOORHEAD         MN      56560   HP     S29722     P        VNY      297
JONES                     NICHOLE L               2908 1ST ST SE                                    MINOT            ND      58701   HP     S02622     P        VNY       26
JONES                     CAROLYN M               833 N 24TH ST                                     MILWAUKEE        WI      53233   HP     S04822     P        VNY       48
JONES                     MADISON D               15204 E 14TH AVE                                  VERADALE         WA      99037   HP     S07622     P        VNY       76
JONES                     BRIANNE L               1418 LEO ST                                       SAGINAW          MI      48638   HP     S08422     P        VNY       84
JONES                     SAVANNAH J              2935 STONEMILL COURT                              BEAVERCREEK      OH      45430   LP     S11423     P        VNY      114
JONES                     RAYLA K                 19757 COUNTY ROAD 4118                            LINDALE          TX      75771   HP     S17822     P        VNY      178
JONES                     DENISE M                216 S CHEYENNE                                    HENNESSEY        OK      73742   HP     S19022     P        VNY      190
JONES                     SARA C                  2702 MONTERY ST                                   SAINT JOSEPH     MO      64507   LP     S23323     P        VNY      233
JONES                     BRITTANY A              3538 5TH ST W APT 204                             WEST FARGO       ND      58078   HP     S29722     P        VNY      297




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JORDAN                    ALEESHA K               212 RIDGE STREET                                  NEWTOWN          IN      47969   AF     S27225     F        VNY      272
JULIAN                    CELESTE G               21 DARTMOUTH DR                                   CANFIELD         OH      44406   HP     S11722     P        VNY      117
JURGENS                   ABBY L                  101 ALLEN ST                                      BAYARD           IA      50029   LP     S07323     P        VNY       73
KACHERIAN                 AMBER M                 1156 N 400 W                                      LOGAN            UT      84341   HP     S08822     P        VNY       88
KALLHOFF                  KASIE M                 3250 40TH AVE S               UNIT E              FARGO            ND      58104   HF     S29722     F        VNY      297
KANARICK-GODINEZ          IVEY G                  1251 HAMMOND LN               APT 11              ALLIANCE         NE      69301   LP     S06723     P        VNY       67
KANE                      ALEXANDRIA J            556 FAITH DR                                      LAKE St LOUIS    MO      63367   HM     S23530     F        VNY      235
KANNENBERG                KATHERINE A             W7776 CHELEN RIDGE                                VAN DYNE         WI      54979   LP     S04423     P        VNY       44
KANYUH                    KRISTEN E               221 VERA ELIZABETH LN                             JACKSONVILLE     NC      28540   HM     S04730     F        VNY       47
KAPPEL                    AMANDA L                8065 HACKBERRY DRIVE                              MENTOR           OH      44060   HP     S09022     P        VNY       90
KARN                      LAURIE M                1405 E BROADWAY J206                              MISSOULA         MT      59802   HP     S12622     P        VNY      126
KAROLCZAK                 ANNA M                  3180A S 30TH ST                                   MILWAUKEE        WI      53215   AF     S04825     F        VNY       48
KEETER                    EMILY S                 9631 FLINT DR                                     SANDY            UT      84094   LP     S12223     F        VNY      122
KEHRER                    KATELYNN J              15120 E. 24TH AVE                                 SPOKANE VALLEY   WA      99037   HP     S07622     P        VNY       76
KELLER                    MICHELLE A              1301 SW 18TH ST                                   WILLMAR          MN      56201   LP     S01023     P        VNY       10
KELLER                    MARISSA E               5021 215TH STREET                                 DEEP RIVER       IA      52222   LP     S13323     P        VNY      133
KELLY                     CECILIA A               817 E MINNESOTA ST            #301                RAPID CITY       SD      57701   LP     S01823     P        VNY       18
KELLY                     ELIZABETH A             18917 446TH AVE                                   HAYTI            SD      57241   HP     S02522     P        VNY       25
KELLY                     MAIA T                  1865 LINCREST DR                                  CINCINNATI       OH      45240   HM     S12430     F        VNY      124
KENNEDY                   JAIVIN P                725 WALNUT STREET                                 CROOKSVILLE      OH      43731   HP     S15222     P        VNY      152
KERBS                     KATRINA N               10107 E 8TH                   APT 30              SPOKANE VALLEY   WA      99206   HP     S07622     P        VNY       76
KEUNING                   KATIE M                 7006 48TH AVE                                     HUDSONVILLE      MI      49426   LP     S08023     P        VNY       80
KIDD                      MEGAN                   78 E 100 S                                        RICHMOND         UT      84333   LP     S08823     P        VNY       88
KIEFER                    ALEXIS P                335 2ND AVE SE                335 2ND AVE SE      PLAINVIEW        MN      55964   LP     S22023     P        VNY      220
KIES                      CLARICE M               37782 253AVE                                      LA MOTTE         IA      52054   LP     S13823     P        VNY      138
KIM                       HARIM                   1310 KIRKLAND DR                                  MIDLAND          MI      48640   HP     S27722     P        VNY      277
KING                      CAITLYN M               412 E MULBERRY ST                                 HENNEPIN         IL      61327   HP     S14022     P        VNY      140
KINNARNEY                 BRITTNEY M              11383 GLASGOW ROAD                                SMITHS GROVE     KY      42171   LP     S09223     P        VNY       92
KIRCHNER                  SHAELYN F               901 S ELM                                         LENNOX           SD      57039   HP     S01122     P        VNY       11
KIST                      PATRISHA J              8343 LYNESS DR                                    CINCINNATI       OH      45239   HP     S12422     P        VNY      124
KISTHART                  SARAH E                 100 HAPNER HALL                                   BOZEMAN          MT      59715   HP     S01622     P        VNY       16
KITTEN                    DANYELLE L              1328 4TH ST NW                                    WEST FARGO       ND      58078   HF     H26406     F        VNI      264
KLONGLAN                  CHANDY N                445 HIGHWAY 175                                   ELLSWORTH        IA      50075   HM     S13330     F        VNY      133
KNUTSON                   BAILEY L                1060 2ND ST E APT91                               WEST FARGO       ND      58078   HP     S00522     P        VNY        5
KNUTSON                   KRISTIN R               5212 EAST 18TH STREET                             SIOUX FALLS      SD      57110   HP     S01122     P        VNY       11
KOKESCH                   DAKOTA L                1721 NOKOMIS ST               APT #2              ALEXANDRIA       MN      56308   LP     S03123     P        VNY       31
KORENUK                   JENESSA A               2244 HAYDEN AVE                                   ALTOONA          WI      54720   HP     S10422     P        VNY      104
KOVAC                     KALEIGH N               219 E END ST                                      ALMA             MI      48801   HP     S08422     P        VNY       84
KOVALENKO                 GABRIELLE G             955 SHADY GROVE CHURCH RD                         WINSTON SALEM    NC      27107   HP     S21922     P        VNY      219
KOVATCH                   MEGAN A                 1436 PINE GROVE AVE. #2                           PORT HURON       MI      48060   AF     S22325     F        VNY      223
KRAFT                     JULIE A                 2103 FOLWELL DR SW                                ROCHESTER        MN      55902   HP     S22022     P        VNY      220
KRAKOW                    LAUREN E                823 S MCCOY DR                                    PUEBLO           CO      81007   AF     S16525     F        VNY      165
KRANTZ                    KASEY M                 1409 5TH ST SW APT 103A                           WILLMAR          MN      56201   HM     S01030     F        VNY       10




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KRAUS                     SAVANNAH J              5508 SOUTHFIELD DR            APT L               ST LOUIS        MO      63129        HP     S23522     P        VNY      235
KRIEG                     AMBER E                 3826 ST.CATHERINE ROAD                            BELLEVUE        IA      52031        FR     S13822     P        VNY      138
KRIKAVA                   RUSALYN M               24TH AVE S APT213                                 GRANDFORKS      ND      58201        LP     S00323     P        VNY        3
KRINKE                    HEATHER N               403 LAKE ST                                       ALEXANDRIA      MN      56308        HM     S03130     F        VNY       31
KROGSENG                  KIRSTIN R               126 5TH ST NE                                     DILWORTH        MN      56529        HP     H26205     P        VNI      262
KRUGER                    BAYLEE A                12065 20TH ST SE                                  CLARA CITY      MN      56222        HP     S01022     P        VNY       10
KRUSE                     KAYLA L                 1700 SOUTH KATIE AVE #302                         SIOUX FALLS     SD      57106        AF     S01125     F        VNY       11
KUBIAN                    KIRSTEN M               250 EXCELSIOR AVE N                               ANNANDALE       MN      55302        AF     S02725     F        VNY       27
KUFAHL                    LEIA N                  E10041 331ST AVE                                  EAU CLAIRE      WI      54703        LP     S10423     P        VNY      104
KULKARNI                  JUHI K                  3834 W 7TH STREET                                 JOPLIN          MO      64801        HP     S23622     P        VNY      236
KUNKLE                    CANDICE M               2130 N MAIN STREET            APT 2206            ELKHORN         NE      68022        HP     S22122     P        VNY      221
KUSINA                    BEKEZELA T              100 MINGES CREEK PL           APT C208            BATTLE CREEK    MI      49015        HP     S09622     P        VNY       96
KVALHEIM                  KAYLA R                 47943 OAKRIDGE PLACE                              HARRISBURG      SD      57032        LP     S01123     P        VNY       11
KYTE                      MAKAYLA N               6191 Kraft Ave SE                                 Grand Rapids    MI      49512-9396   LP     S08023     P        VNY       80
LABAR                     JULIANN M               143 E ONTARIO ST                                  ROGERS CITY     MI      49779        HP     S27722     P        VNY      277
LAFONTAIN                 KRISTIN L               939 38 1/2 AVE W                                  WEST FARGO      ND      58078        HF     H26205     F        VNI      262
LALEMAND                  LYDIA C                 1202 VERDE VISTA CIR                              ASHEVILLE       NC      28805        HP     S21822     P        VNY      218
LAMB                      TIFFANIE                3740 S. ARIZONA TRAIL                             JANESVILLE      WI      53546        HM     S04630     F        VNY       46
LAMPHIER                  ADRIANNA M              7319 ATMORE DRIVE                                 INDIANAPOLIS    IN      46217        HP     S10922     P        VNY      109
LARRABEE                  MATTHEW J               5692 E. 121ST PLACE                               BRIGHTON        CO      80602        HM     S16630     F        VNY      166
LARSEN                    BRANDEE D               428 N 2400 E                                      SAINT ANTHONY   ID      83445        HP     S07122     P        VNY       71
LARSON                    AMANDA B                5660 33RD AVE S #314                              FARGO           ND      58104         S     H26708     F        VNI      267
LARSON                    JAICEE D                15080 S. ROSE CANYON ROAD                         HERRIMAN        UT      84096        HP     S08822     P        VNY       88
LAVENZ                    MADISON A               419 2ND ST                                        STOUT           IA      50673        HP     S13122     P        VNY      131
LAVEY                     CHRISTA M               601 5TH ST E                                      HORACE          ND      58047         S     H26807     F        VNI      268
LAWRENCE                  ASHLIN R                4217 CLEVELAND                                    DAYTON          OH      45410        LP     S11523     P        VNY      115
LAWSON                    KIMBERLY A              2560 PLYMOUTH RD.                                 JOHNSON CITY    TN      37601        HP     S08122     P        VNY       81
LAWSON                    KAMREN E                306 WEST H STREET                                 ELIZABETHTON    TN      37643        HM     S08130     F        VNY       81
LAWSON                    RILEY R                 40305 PALLAZO                                     CLINTON TWP     MI      48038        HP     S14522     P        VNY      145
LE                        ANH DAO T               1510 BAY WOOD DR                                  WEST FARGO      ND      58078        WF     H26511     F        VNI      265
LE                        SUONG T                 919 COUNTRYSIDE TRL CT S                          FARGO           ND      58103        WF     H26511     F        VNI      265
LE                        KAMRI E                 2330 AIRPORT ROAD                                 BARTONVILLE     IL      61607        HP     S20322     P        VNY      203
LECLAIRE                  TANAE Z                 501 S WHEATLAND AVE #106                          SIOUX FALLS     SD      57106        HP     S01122     P        VNY       11
LEDBETTER                 HANNAH D                6802 N CEDAR                                      SPOKANE         WA      99208        HP     S07522     P        VNY       75
LEDELL                    DAKISHA A               201 HOLT AVE                  APT K               GREENSBORO      NC      27405        LP     S21723     P        VNY      217
LEE                       TEDDIE A                12613 80TH ST SE                                  STIRUM          ND      58069        HP     S00522     P        VNY        5
LEE                       BROOKE E                7367 DORAN LANE                                   LIMA            NY      14485        LP     S18523     P        VNY      185
LEMKE                     JORDAN M                4807 HIGHCREST RD                                 ROCKFORD        IL      61107        LP     S14323     P        VNY      143
LEMON                     TIFFANY A               5827 SKYLINE DR                                   CAMBRIDGE       OH      43725        LP     S15223     P        VNY      152
LENZ                      TINA M                  324 HIGHWAY 57                                    QUINCY          IL      62305        HM     S14730     F        VNY      147
LESTER                    ISABEL K                449 HAYES ST                                      LAVON           TX      75166        LP     S17723     P        VNY      177
LEUTHE                    RAE M                   134 CHALFONT ST                                   PITTSBURGH      PA      15120        HM     S18130     F        VNY      181
LEVERETTE                 BETHANY J               907 E DALKE                                       SPOKANE         WA      99208        HP     S07522     P        VNY       75




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LEWELLYN                  KENDRA L                304 15TH ST S                                     MOORHEAD          MN      56560   HF     H26605     F        VNI      266
LEWIS                     CODY B                  2804 GRAY ST                                      JOHNSON CITY      TN      37604   AF     S08125     F        VNY       81
LEWIS                     AMANDA J                948 NORTHERN WAY UNIT 8                           GRAND JUNCTION    CO      81506   LP     S16723     P        VNY      167
LEWIS                     OLIVIA J                6613 E 11TH STREET NORTH                          WICHITA           KS      67206   HP     S25522     P        VNY      255
LEWIS                     SARAH J                 3474 ELMS RD                                      SWARTZ CREEK      MI      48473   HM     S27630     F        VNY      276
LEY                       MADELINE L              1320 STATE ST                                     LA CROSSE         WI      54601   HP     S10522     P        VNY      105
LIBBEY                    MARISSA A               2404 OLIVE ST-APT 1                               CEDAR FALLS       IA      50613   AF     S22625     F        VNY      226
LIEN                      MAKAYSA L               3215 PIONEER DRIVE                                RAPIDCITY         SD      57703   HP     S01822     P        VNY       18
LIGGONS                   KENYA M                 1141 STILLWOOD DR                                 CLARKSVILLE       TN      37042   HP     S08322     P        VNY       83
LIKES                     TARYN L                 1400 23RD STREET              HARRISON HALL       GREELEY           CO      80631   LP     S16623     P        VNY      166
LILLIE                    VANESSA A               2285 MESA ST                                      IDAHO FALLS       ID      83401   HP     S07122     P        VNY       71
LILLY                     DESTINY K               74087 325TH ST                                    RACINE            MN      55967   AF     S22025     F        VNY      220
LINDER                    BRINA I                 601 LAURA LN                                      HOLCOMB           KS      67851   HP     S25022     P        VNY      250
LINDSEY                   LATOSHIA L              9481 GRAND BLANC RD                               GAINES            MI      48436   LP     S27623     P        VNY      276
LINDSY                    JEANNA R                304 W DENTON                                      SALLISAW          OK      74955   HP     S21022     P        VNY      210
LLOYD                     HEATHER L               4805 N CEDAR ST                                   SPOKANE           WA      99205   AF     S07525     F        VNY       75
LLOYD                     HANNAH B                289 COAL CHUTE RD                                 ELIZABETHTON      TN      37643   LP     S08123     P        VNY       81
LOBERG                    KATHERINE W             2867 19TH AVE S                                   GRAND FORKS       ND      58201   HM     S00330     F        VNY        3
LOEWEN                    RACHEL A                40662 SKUNK HILL RD.                              PELICAN RAPIDS    MN      56572   LP     S00723     P        VNY        7
LOGAN                     JADEN L                 2825 S. MAPLE ST                                  SIOUX CITY        IA      51106   FR     S02822     P        VNY       28
LOGAN                     BRIANNA J               204 WEST TERRELL ST                               GREENSBORO        NC      27406   LP     S21723     P        VNY      217
LONG                      HOPE G                  1010 RESERVATION RD           LOT H 10            HAYS              KS      67601   LP     S21423     P        VNY      214
LOPEZ                     JAZMINE M               1514 NORTH 4500 WEST                              WEST POINT        UT      84015   LP     S09423     P        VNY       94
LOPEZ                     MARITZA                 17525 CANARY RD                                   PHILLIPSBURG      MO      65722   HP     S23022     P        VNY      230
LOPEZ                     MARISA T                2606 ABBOTT ST                APT D3              MIDLAND           MI      48642   LP     S27723     P        VNY      277
LOPEZ-ORTIZ               LUZ C                   17730 EXIRA AVE                                   FARMINGTON        MN      55024   HP     S21322     P        VNY      213
LOPRESTI                  PAISLEY J               5100 SOUTH RANGE LINE RD                          JOPLIN            MO      64804   HM     S23630     F        VNY      236
LOUIS                     TNISHA R                640 CAMPION CT                                    EVANSVILLE        WI      53536   HP     S04622     P        VNY       46
LOVELAND                  CAITLYN A               195 GERKE AVE                                     MANSFIELD         OH      44903   LP     S13623     P        VNY      136
LOVELL                    TIFFANIE D              23698 SLICK RD                                    BRISTOW           OK      74010   HP     S19922     P        VNY      199
LOWERY                    TASHA A                 602 53RD ST E                 ATP 208             WILLISTON         ND      58801   HP     S02022     P        VNY       20
LOZOYA                    SILVIA V                1618 MARION RD SE#132                             ROCHESTER         MN      55904   HP     S22022     P        VNY      220
LUGO                      SABRINA A               401 S 43RD W AVE                                  TULSA             OK      74127   LP     S19923     P        VNY      199
LUNDER                    AJA D                   PO BOX 254                                        ULEN              MN      56585    S     H26708     F        VNI      267
LUNSKI                    JEFF V                  3014 7 1/2 AVE NW                                 FARGO             ND      58102   WF     H26510     F        VNI      265
LUSTER                    TYESHA L                4279 HARBOUR TOWNE APT 5                          SAGINAW           MI      48603   LP     S08423     P        VNY       84
LYNCH                     KATHLEEN M              2021 3RD ST                                       PERU              IL      61354   LP     S14023     P        VNY      140
LYNCH                     REBECCA M               104 E MADISON AVE                                 CASEY             IL      62420   LP     S27123     P        VNY      271
MAAG                      JHADACI D               1723 EDMOND ST                                    ST JOSEPH         MO      64501   HP     S23322     P        VNY      233
MACKBEE                   BLAKE C                 109 NE 7TH ST                                     GRAND RAPIDS      MN      55744   HP     S03222     P        VNY       32
MADSEN                    JUSTINE L               21575 673RD AVE                                   DARWIN            MN      55324   HP     S01022     P        VNY       10
MAHAS                     LACEY M                 1450 N WASHINGTON BLVD         TRLR 6             OGDEN             UT      84404   LP     S07823     P        VNY       78
MAHER                     SARAH M                 1695 PADDOCK RD                                   COLORADO SPRING   CO      80930   HP     S16422     P        VNY      164




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MAHNKE                    CHRISTINA R             415 SCOTT AVE                                     GILBY            ND      58235   HP     S00722     P        VNY        7
MAHONEY                   SHANNON E               25297 LAKE RD                                     ST CLOUD         MN      56301   FR     S02722     P        VNY       27
MAINS                     LIZABETH E              518 HARRISON AVE.                                 HARRISON         OH      45030   HP     S12422     P        VNY      124
MALONE                    KATLYN M                204 HOMEWOOD DR.                                  MURFREESBORO     TN      37127   HP     S08222     P        VNY       82
MALONE                    LORI A                  3300 E LAKE PARK CROSSIN      #108                APPLETON         WI      54915   HM     S10630     F        VNY      106
MALONEY                   LAUREN B                113 BRENTWOOD DRIVE                               PARKERSBURG      WV      26104   HP     S18322     P        VNY      183
MANN                      MADELAINE D             6644 E WEBSTER RD                                 LEXINGTON        IN      47138   HP     S11022     P        VNY      110
MANTERNACH                RYLEA D                 1200 ALPINE ROAD                                  MARION           IA      52302   LP     S13723     P        VNY      137
MARCHETTI                 LISA M                  1202 19TH ST S                                    VIRGINIA         MN      55792   HP     S04222     P        VNY       42
MARGHEIM                  BILLIE C                PO BOX 1026                                       FAIRPLAY         CO      80440   HP     S16622     P        VNY      166
MARIN                     LATRISHA R              810 2ND AVE NW                                    AUSTIN           MN      55912   HM     S22030     F        VNY      220
MARKEL                    LISA                    2812 E ROSSER AVE #6                              BISMARCK         ND      58501   LP     S00423     P        VNY       4
MARLING                   LEANDRA R               70090 MAIN STREET                                 ST.CLAIRSVILLE   OH      43950   LP     S10023     P        VNY      100
MARRS                     ASHLEY A                2229 GRANITE CT                                   JOHNSON CITY     TN      37604   LP     S08123     P        VNY       81
MARSH                     JESSICA S               2638 WILDWOOD CT                                  LAKE ORION       MI      48360   FR     S04922     P        VNY       49
MARSHALL                  SEABREANNA L            PO BOX 2257                                       NORTH PLATTE     NE      69103   LP     S06923     P        VNY       69
MARTENS                   NICOLE A                812 36ND ST N                                     FARGO            ND      58102   HP     S00522     P        VNY        5
MARTIN                    CHELCIE M               15879 N MEYER RD #8                               RATHDRUM         ID      83858   HP     S01322     P        VNY       13
MARTIN                    SHANA A                 826 E 14TH ST                                     CASPER           WY      82601   LP     S12823     P        VNY      128
MARTIN                    FELICIA E               1110 S STARR AVE                                  BURLINGTON       IA      52601   HM     S13930     F        VNY      139
MARTIN                    TINIA N                 1619 RESTHAVEN RD                                 PEORIA           IL      61615   AF     S20325     F        VNY      203
MARTIN                    SHERADIN M              1607 HEATHER RIDGE                                JONESBORO        AR      72401   HP     S20922     P        VNY      209
MARTINEZ                  BRIANNA S               621 TINY TOWN RD                                  CLARKSVILLE      TN      37042   LP     S08023     P        VNY       83
MARTINEZ                  ELIZA N                 940 W COLLEGE DRIVE           APT 405             CHEYENNE         WY      82007   HP     S12922     P        VNY      129
MARTINEZ                  ALEXIS N                1510 GARZA LN                                     LITTLE ELM       TX      75068   HP     S17922     P        VNY      179
MARTINEZ SANCHEZ          TERESA                  213S 17TH ST                                      ENID             OK      73701   HP     S19022     P        VNY      190
MARTWIG                   SYDNIE P                4021 W 4TH ST                                     DULUTH           MN      55807   HP     S00222     P        VNY        2
MATA                      SIERRA L                3146 MCCLURE AVE                                  FLINT            MI      48506   LP     S27623     P        VNY      276
MATHER                    MADISON N               5600 HIGHVIEW DRIVE                               ZANESVILLE       OH      43701   HP     S15222     P        VNY      152
MATHEW                    OLIVIA M                709 CHISHOLM TRAIL                                LAFAYETTE        IN      47909   HP     S27222     P        VNY      272
MATHEWS                   ASHLEY R                188 WEST 2ND SOUTH                                RIGBY            ID      83442   AF     S07125     F        VNY       71
MATHISEN                  SHARLENE L              2702 10TH S N                                     FARGO            ND      58102   AF     S00525     F        VNY        5
MATHISON                  TAMMY J                 2868 WICKLOW ST                                   DULUTH           MN      55806   HM     S00230     F        VNY        2
MATNEY                    ISABELLA J              4514 TEEPEE RD                                    CARPENTER        WY      82054   HP     S12922     P        VNY      129
MATTI                     CARLA M                 1301 20TH ST S                                    GREAT FALLS      MT      59405   HP     S03622     P        VNY       36
MAURER                    LEANNE N                3234 PARKHILL DR                                  BILLINGS         MT      59102   HM     S01530     F        VNY       15
MAY                       MARIAH E                7525 W CANAL DR                                   KENNEWICK        WA      99336   HM     S16330     F        VNY      163
MC ANDREW                 HOLLY M                 15 ST LAWRENCE DR                                 ST PETERS        MO      63376   HP     S23422     P        VNY      234
MC LEOD                   KARISSA L               6665 S OSAGE AVE                                  HASTINGS         NE      68901   LP     S06523     P        VNY       65
MCABEE                    KARA J                  1104 NW CANTERBURY RD                             BLUE SPRINGS     MO      64015   HP     S05422     P        VNY       54
MCCANN                    BRIANNA A               8650 N STONE FARM RD                              EDGERTON         WI      53534   HP     S04622     P        VNY       46
MCCANN                    KRISTA A                762 VASSAR DRIVE                                  SALINA           KS      67401   AF     S25125     F        VNY      251
MCCARTHY                  HAILEY M                5017 ELIZABETH AVE                                CHUBBUCK         ID      83202   LP     S07023     P        VNY       70




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Schedule E - EMPLOYEE (NOTICE ONLY)
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Legal Name                                        Home Address                                      City               State   Zip     Code   PR Dept   FT/PT    Code   Location
MCCLURE                   KELSEY D                15700 E 46TH ST S                                  INDEPENDENCE      MO      64055   LP     S05423     P        VNY       54
MCCORMICK                 MACKENZIE B             6158 MARTENS WAY S                                 FARGO             ND      58104   FR     S00522     P        VNY        5
MCCOY SPELL               JESSICA I               1693 WEST LUCAS DRIVE                              BEAUMONT          TX      77706   HM     S17430     F        VNY      174
MCCOY-BRIDGES             TAYLOR D                752 FULTON PLACE              APT 1A               GREENSBORO        NC      27401   HP     S21722     P        VNY      217
MCCREERY                  MACKENZIE R             220 JOHN ST                   APT 3101             ROCHESTER         NY      14623   LP     S18523     P        VNY      185
MCCULLOUGH                CAREY M                 2907 PRAIRIE RD.                                   ROCKFORD          IL      61102   AF     S14325     F        VNY      143
MCDONALD                  JENNY A                 715 SOUTH 12TH                PO BOX 6512          BOZEMAN           MT      59715   LP     S01623     P        VNY       16
MCGARY                    SHAYNA R                40241 DUNN RD                                      FLUSHING          OH      43977   LP     S10023     P        VNY      100
MCGAUGHY                  IMANEY L                611 3RD ST NW                 APT 201              MINOT             ND      58703   HP     S02622     P        VNY       26
MCGEE                     KIERANDA L              1357 CHESTNUT STREET                               DRESDEN           OH      43821   HP     S15222     P        VNY      152
MCGRATH                   SHANE L                 4875 43RD ST S                                     FARGO             ND      58104   HF     H26305     F        VNI      263
MCGRATH                   SYDNEY N                6200 MONROVIA DR                                   WATERFORD         MI      48329   HP     S04922     P        VNY       49
MCGRATH                   GWYNNDALEN A            518 CHERRY HILL DR APT B                           MIAMISBURG        OH      45342   HP     S11522     P        VNY      115
MCGRIFF                   SHAWNA                  139 NORTH JAMESON AVE         APT 1                LIMA              OH      45804   HP     S11622     P        VNY      116
MCKEE                     ALYSSA A                1972 OLD HOMESTEAD DR                              ROCHESTER HILLS   MI      48306   HP     S04922     P        VNY       49
MCLOUGHLIN                AMY                     611 3RD ST SE                                      BEMIDJI           MN      56601   HM     S00930     F        VNY        9
MCMAHAN                   MELISSA D               1309 14TH AVE NW              APT C                MINOT             ND      58703   HP     S02622     P        VNY       26
MCMURRY                   BRANDI L                320 E. LEE ST                                      SEYMOUR           IA      52590   LP     S07323     P        VNY       73
MCPHEE                    BAILEY F                217 5TH AVE. NW                                    BYRON             MN      55920   HP     S22022     P        VNY      220
MCPHERSON                 MEGAN E                 6244 SHARP RD                                      SWARTZ CREEK      MI      48473   HP     S27622     P        VNY      276
MEADOWS                   KAITLYN M               55 NORTH RHONDA                                    FALMOUTH          KY      41040   HP     S14822     P        VNY      148
MECHAM                    JILL M                  2075 S 2000 W                                      SYRACUSE          UT      84075   HP     S09422     P        VNY       94
MEDDLING                  LAMARION D              1017 TOM HAILEY BLVD                               LA VERGNE         TN      37086   HM     S08230     F        VNY       82
MEDEL                     ALEJANDRA               425W WOODBURY                                      OGDEN             UT      84404   LP     S07823     P        VNY       78
MEDINA                    TAIRY                   504 NORTH ELM ST APT 306                           GRAND ISLAND      NE      68801   HP     S06522     P        VNY       65
MEDINA                    ELENA A                 1006 VAN BUREN                                     SAGINAW           MI      48602   HP     S08422     P        VNY       84
MEDINA                    ARACELLY D              10630 3RD AV NW                                    ORONOCO           MN      55960   LP     S22023     P        VNY      220
MEEK                      JESSICA M               1281 WHITETAIL DR                                  FAIRBORN          OH      45324   HM     S11530     F        VNY      115
MEISTER                   TRISTINA K              5036 NICOLLET AVE                                  MINNEAPOLIS       MN      55419   AF     S21325     F        VNY      213
MELSON                    REBECCA L               1638 LARK RD                                       JOPLIN            MO      64804   HP     S23622     P        VNY      236
MENDOZA                   EMILIA                  610 GRANDRIDGE RD             APT E7               GRANDVIEW         WA      98930   LP     S16323     P        VNY      163
MENYWEATHER               DANEJA T                6300 HOLDREGE ST                                   LINCOLN           NE      68505   HP     S06022     P        VNY       60
MERRILL                   HALEY M                 400 13TH ST                                        ONAWA             IA      51040   HP     S02822     P        VNY       28
MESA                      SABRINA M               620 REED ST                   APT 5                MANKATO           MN      56001   AF     S01225     F        VNY       12
METCALFE                  MAKENZIE T              510 HIGHLAND DRIVE                                 WAUKOMIS          OK      73773   HP     S19022     P        VNY      190
METTLING                  ROCKIE M                2012 GEORGE WASHINGTON WY                          RICHLAND          WA      99354   HP     S16322     P        VNY      163
MEYER                     SAVANAH J               8120 OLD HWY 2                                     STANLEY           ND      58784   HP     S02022     P        VNY       20
MEYER                     DEANNA N                225 W WESTPLAINS ROAD                              GRETNA            NE      68028   HM     S06130     F        VNY       61
MEYER                     HALEY L                 32701 MILLVILLE RD                                 COLESBURG         IA      52035   LP     S13823     P        VNY      138
MEYERS                    MACKENZIE N             1406 WEST NORMAL ST.          APT. B               SPRINGFIELD       MO      65807   LP     S23023     P        VNY      230
MICCO                     HAYLEE N                127 CARBON MICCO RD                                EDINBURG          PA      16116   HP     S11722     P        VNY      117
MICHELS                   MONTANNA L              47440 COUNTY RD 13                                 ST PETER          MN      56082   HP     S01222     P        VNY       12
MICHELS                   AVERY E                 1845 AVOCA STREET             1686 MARJORIE CIRCLE DUBUQUE           IA      52001   HP     S13822     P        VNY      138




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MICKAN                    KALYNNE J               29609 OLIVE                                       MAYWOOD         MO      63454   AF     S14725     F        VNY      147
MICKELSON                 ALYSSA M                3726 80TH AVE N                                   BROOKLYN PARK   MN      55443   HP     S00922     P        VNY        9
MICKELSON                 BROOKE M                3480 LEES CIRCLE                                  GARFIELD        MN      56322   LP     S03123     P        VNY       31
MIGLIORE                  MAKENZIE T              1584 E BOBWHITE LN                                POST FALLS      ID      83854   HP     S07622     P        VNY       76
MILLER                    BLAIR S                 2508 AMBER VALLEY CT S                            FARGO           ND      58104    S     H26305     F        VNI      263
MILLER                    NICOLE S                4506 10TH AVE                                     KEARNEY         NE      68845   DM     H26406     F        VNI      264
MILLER                    KAYLA L                 2619 GOLDENROD LANE                               BOZEMAN         MT      59718   HP     S01622     P        VNY       16
MILLER                    JASMINE R               310 8TH AVE. S.                                   ST CLOUD        MN      56301   HP     S02722     P        VNY       27
MILLER                    KIMBERLEY A             20477 WENDIGO PARK ROAD                           GRAND RAPIDS    MN      55744   HP     S03222     P        VNY       32
MILLER                    JENNETTE N              3400 HILL AVE APT 703                             BUTTE           MT      59701   HP     S03522     P        VNY       35
MILLER                    CATHERINE B             1420 A BROWNING                                   BUTTE           MT      59701   AF     S03525     F        VNY      35
MILLER                    TANYA J                 902 1/2 S 6TH AVE                                 VIRGINIA        MN      55792   LP     S04223     P        VNY      42
MILLER                    ANASTASIA M             11 SOUTH ELM                                      NORTH PLATTE    NE      69101   HP     S06922     P        VNY      69
MILLER                    CHEYENNE M              998 14TH AVE SW                                   BYRON CENTER    MI      49315   HP     S08022     P        VNY       80
MILLER                    KATIE L                 PO BOX 204                                        CLERMONT        IA      52135   HM     S13033     F        VNY      130
MILLER                    AMANDA E                1550 SINGTH ST                                    FLORENCE        KY      41042   HP     S14822     P        VNY      148
MILLETT                   ASHLEY R                121 MISSOURI AVE                                  DULUTH          MN      55811   HP     S00222     P        VNY        2
MILLIGAN                  CIARRA D                8796 DEARDOFF RD                                  FRANKLIN        OH      45005   LP     S11523     P        VNY      115
MINARD                    CHARISH A               940 US ROUTE 34                                   GLADSTONE       IL      61437   LP     S13923     P        VNY      139
MINEO                     LEEANN N                3161 S JENNINGS RD APT #9                         INDEPENDENCE    MO      64055   AF     S05425     F        VNY       54
MINER                     LEXI T                  1215 NW 4TH AVE                                   GRAND RAPIDS    MN      55744   HP     S03222     P        VNY       32
MISCH                     EMILY S                 376 HIGH TEE ST                                   WILLOWICK       OH      44095   LP     S09023     P        VNY       90
MISIC                     KRISTINA K              706 W BOWEN AVE                                   BISMARCK        ND      58504   HP     S00422     P        VNY        4
MITCHELL                  ASHLEY M                419 PUTNAM STREET                                 EAU CLAIRE      WI      54703   AF     S10425     F        VNY      104
MITCHELL                  LAUREN R                7702 LEGACY PARKWAY                               AMARILLO        TX      79119   HP     S17122     P        VNY      171
MIXDORF                   MORGAN K                523 18TH STREET NW                                BEMIDJI         MN      56601   LP     S00923     P        VNY        9
MOCK                      KAMERON A               615 NORTH 28TH ST                                 QUINCY          IL      60231   LP     S14723     P        VNY      147
MOE                       BAYLIE A                PO BOX 1746                                       MEAD            WA      99021   HP     S07522     P        VNY       75
MOFFITT                   TINISHA T               12874 CR 499                                      LINDALE         TX      75771   AF     S17825     F        VNY      178
MOISAN                    COURTNEY A              7804 N LONGVIEW CT                                EDGERTON        WI      53534   LP     S04623     P        VNY       46
MOLLOY                    KATHERINE J             807 11TH AVE N                APT 7               HUMBOLDT        IA      50548   HP     S13222     P        VNY      132
MOONEN                    KASSIDY A               9935 DIXIE HWY                                    CLARKSTON       MI      48348   HP     S04922     P        VNY       49
MOORE                     RACHEL M                5788 PIERCE LANE                                  SOUTH BELOIT    IL      61080   HM     S14330     F        VNY      143
MOORE                     LISA M                  600 ADAMS DR                                      MIDLAND         MI      48642   AF     S27725     F        VNY      277
MOORHEAD                  ALYSHA C                579 LEBARON AVE                                   PONTIAC         MI      48340   AF     S04925     F        VNY       49
MOOS                      KATHLEEN M              3738 10TH ST N                                    FARGO           ND      58102   HF     H26512     F        VNI      265
MORAN                     BRENDA M                1020 CASCADE WAY #314                             MANDAN          ND      58554   HP     S00422     P        VNY       4
MORAN                     JESSICA M               1209 SCOTT AVENUE                                 PORT HURON      MI      48060   HP     S22322     P        VNY      223
MORGAN                    LESLIE E                45 PINE TOP DR                                    WALTON          KY      41094   AF     S14825     F        VNY      148
MORGAN                    CHALSEA I               829 NORTH AVENUE                                  BRADDOCK        PA      15104   LP     S18123     P        VNY      181
MORIN                     VICKI L                 2626 ATLANTIC DRIVE SOUTH                         FARGO           ND      58103   HF     H26905     F        VNI      269
MORRIS                    KAREN L                 604 RAILROAD AVE N                                LEONARD         ND      58052    S     H25907     F        VNI      259
MORRIS                    ANNEMARIE               1001 COLLEGE DRIVE                                MASON CITY      IA      50401   HP     S07722     P        VNY       77




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MORRIS                    DAYNA I                 132 GRAHAM ST                                     SAGINAW        MI      48602   HM     S08430     F        VNY       84
MORRIS                    MELISSA N               1608 30TH AVE S                                   FARGO          ND      58103   LP     S21223     P        VNY      212
MORRIS                    JANA L                  719 JOANIE LANE                                   SALINA         KS      67401   HP     S25122     P        VNY      251
MOTSCHENBACHER            JILL M                  3211 43RD AVE SW                                  FARGO          ND      58104    S     H00105     F        VNI        1
MOTT                      SAMANTHA R              420 2ND STREET                                    PITCAIRN       PA      15140   HP     S18122     P        VNY      181
MOURITSEN                 ABIGAIL K               9697 S 2950 W                                     SOUTH JORDAN   UT      84095   HP     S12222     P        VNY      122
MUELLER                   ASHLEY L                2777 TORBLEAU RD                                  SUN PRAIRIE    WI      53590   AF     S09825     F        VNY       98
MUELLER                   SHELBY L                2308 TERMINAL AVE                                 GRANITE CITY   IL      62040   AF     S14125     F        VNY      141
MUELLER                   MELANIE S               202 THIGPEN DR APT. 922                           TYLER          TX      75703   HM     S17830     F        VNY      178
MUELLER                   HALEY N                 2631 E CRESTVIEW                                  SPRINGFIELD    MO      65804   HP     S23022     P        VNY      230
MUIR                      STEFANIE R              3414 SW 42ND ST                                   DES MOINES     IA      50321   LP     S07323     P        VNY       73
MULKEY                    SHELBY K                235 NE 60TH ST                                    TOPEKA         KS      66617   HP     S25522     P        VNY      255
MULLER                    ELIZABETH A             300 N 2ND ST                                      MOVILLE        IA      51039   LP     S02823     P        VNY      28
MUMMAW                    KYLE M                  1405 SHANNON LAKES LN                             INDIANAPOLIS   IN      46217   HP     S11222     P        VNY      112
MUNNELL                   TYLER N                 2439 RANCHO RD.                                   BILLINGS       MT      59102   HP     S01522     P        VNY       15
MURCHISON                 JOCELYN L               3814 WALTON DR                                    LANSING        MI      48910   HP     S09622     P        VNY       96
MURI                      JENSEN C                2213 BURLINGTON                                   BILLINGS       MT      59102   HP     S01522     P        VNY       15
MURPHEY                   KAYLIN M                313 HOLMES RD                 APT 2               JONESBORO      AR      72401   HP     S20922     P        VNY      209
MURRAY                    TATSIANA N              3380 CANYON DR.                                   BILLINGS       MT      59102   HP     S01522     P        VNY       15
MURRAY                    SAMANTHA L              337 HYLANDE DRIVE                                 GREAT FALLS    MT      59405   HP     S03622     P        VNY       36
MURTAGH                   CIARA' A                224 N ARCH ST                                     ABERDEEN       SD      57401   HP     S11122     P        VNY      111
MUSSER                    KAYLA J                 5503 W 9000 S M104                                WEST JORDAN    UT      84081   HP     S12222     P        VNY      122
MUZAFIROVIC               AMRA                    1142 OAK ST N                                     FARGO          ND      58102   HP     H26511     P        VNI      265
MYERS                     ROSE M                  3221 SOUTH OAKHILL AVE                            JANESVILLE     WI      53546   HP     S04622     P        VNY       46
MYERS                     SYDNEY N                37 TOWNSHIP ROAD 1118                             DILLONVALE     OH      43917   HP     S10022     P        VNY      100
NABIULLA                  NAZIA                   10324 CREPE JASMINE LN                            FORT MEYERS    FL      33913   HM     S21330     F        VNY      213
NAGRONE                   JAELYN R                516 E 20TH AVE                                    POST FALLS     ID      83854   HP     S07622     P        VNY       76
NASH                      DESEREE T               8815 W HAMPTON AVE                                MILWAUKEE      WI      53225   HP     S20722     P        VNY      207
NAUMANN                   HEATHER L               228 TONTI ST                                      LASALLE        IL      61301   HM     S14030     F        VNY      140
NEAL                      CARRIN E                4383 QUEEN AVENUE                                 FRANKLIN       OH      45005   HP     S11522     P        VNY      115
NEATH                     ALYSSA A                77 EAST BALLARD WAY                               LOGAN          UT      84321   LP     S08823     P        VNY       88
NEELY                     ADRIANNA L              1402 WOODLAND HILLS DR.                           TYLER          TX      75701   LP     S17823     P        VNY      178
NEFF                      AISLYNN D               513 23RD STREET                                   VIENNA         WV      26105   HP     S18322     P        VNY      183
NEITZKE                   HALEY R                 967 PLEASANT LN                                   DICKINSON      ND      58601   HP     S01922     P        VNY       19
NELSON                    ADESSA R                310 HARTLEY ST                PO BOX 834          COLERAINE      MN      55744   AF     S03225     F        VNY       32
NELSON                    MARY E                  5825 CROSSINGS BLVD 418                           CANE RIDGE     TN      37013   HP     S08222     P        VNY       82
NELSON                    JULIAN G                1724 10TH AVENUE                                  GREEN BAY      WI      54304   HP     S10622     P        VNY      106
NELSON                    LETHA A                 4615 BONNIE BRAE LOOP                             CHEYENNE       WY      82009   HP     S12922     P        VNY      129
NEUMANN                   DIANE M                 316 1/2 WASHINGTON ST                             WAUSAU         WI      54403   LP     S05123     P        VNY       51
NEWMAN                    BRAILY A                4615 EAST 250 NORTH                               RIGBY          ID      83442   HP     S07122     P        VNY       71
NEWMAN                    PAIGE N                 6370 COPPER PHEASANT DR.                          DAYTON         OH      45424   LP     S11423     P        VNY      114
NGUYEN                    HAI THI M               1621 3RD ST N                                     FARGO          ND      58102   WF     H26511     F        VNI      265
NGUYEN                    NGA                     3087 22ND ST S                                    FARGO          ND      58103   HP     H26511     P        VNI      265




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NGUYEN                    BAU T                   535 COUNTRY SIDE PARK                             FARGO           ND      58103   WF     H26511     F        VNI      265
NGUYEN                    CAM T                   112 E ESSEX LN                                    FORT WAYNE      IN      46825   LP     S10823     P        VNY      108
NGUYEN                    TIFFANY L               100 DAHLIA STREET                                 CASPER          WY      82604   AF     S12825     F        VNY      128
NICHOLS                   JORDYN M                2801 DINEEN AVE               APT C               SCOTTSBLUFF     NE      69361   LP     S06723     P        VNY       67
NICHOLS                   WHITNEY K               1233 S BURLINGTON DR                              MUNCIE          IN      47302   HP     S11022     P        VNY      110
NICHOLSON                 KAYLEE B                1036 7TH ST                                       ERWIN           TN      37650   HP     S08122     P        VNY       81
NICKLES                   CORTNEY B               214 ROCKHOUSE RD                                  JOHNSON CITY    TN      37601   HP     S08122     P        VNY       81
NICOLAY                   SLOAN L                 144 NE 58TH                                       TOPEKA          KS      66617   LP     S25523     P        VNY      255
NICOLUSSI                 LANI M                  19 N OAKLAND DR                                   COLLINSVILLE    IL      62234   LP     S14123     P        VNY      141
NIETO                     DALERY                  138 W ANN DR                                      LONGVIEW        TX      75601   HP     S17922     P        VNY      179
NINO                      SHANNON M               5339 OAKHILL DR                                   SWARTZ CREEK    MI      48473   HM     S09630     F        VNY       96
NINO                      JESSICA A               6289 W STANLEY RD                                 MT MORRIS       MI      48458   HP     S27622     P        VNY      276
NOBLE                     BAILEE S                305 SOUTH 500 EAST                                HYRUM           UT      84319   HP     S08822     P        VNY       88
NOE                       NASTASSIA M             309 N FERRY ST                                    OTTUMWA         IA      52501   HM     S24430     F        VNY      244
NOLAN                     YOLANDA J               605 HOLMES ST W                                   DETROIT LAKES   MN      56501   HM     S02230     F        VNY       22
NOLAN                     BRITTANY L              5455 33RD AVE S. APT 102                          FARGO           ND      58104   HF     S29722     F        VNY      297
NORDSTROM                 JAMIE C                 150 SUMNER ST                 #1                  LA CROSSE       WI      54601   HM     S10530     F        VNY      105
NORTHCUTT                 OSHAVONNA T             1955 OLD CASTLE DRIVE 307                         MURFREESBORO    TN      37130   HP     S08222     P        VNY       82
NORTHRUP                  TANNER R                1726 DELAWARE ST                                  SAGINAW         MI      48602   HP     S08422     P        VNY       84
NORWOOD                   IVERY M                 739 30TH ST                                       OGDEN           UT      84403   HP     S07822     P        VNY       78
NOVAK                     MEGAN E                 2587 N RUNNING DEER LN                            MIDLAND         MI      48642   HP     S27722     P        VNY      277
NUFFER                    LASHAWN M               9309 BRISTOL RD                                   SWARTZ CREEK    MI      48473   AF     S27625     F        VNY      276
NUNEZ JIMENEZ             MARIA M                 1917 N LAFAYETTE AVE                              GRAND ISLAND    NE      68803   HP     S06522     P        VNY       65
NYLAND                    FLORENCE E              8740 DAVENPORT ST NE                              BLAINE          MN      55449   HP     S21222     P        VNY      212
OBERLE                    ASHLEY K                823 W BARTLETT CT                                 PEORIA          IL      61604   HP     S20322     P        VNY      203
O'BRIEN                   HEATHER R               359 NE SANDALWOOD                                 WAUKEE          IA      50263   HP     S07322     P        VNY       73
OCANDER                   ASHLYN H                607 SOUTH 68TH STREET                             OMAHA           NE      68106   HP     S06122     P        VNY       61
OGLE                      KAYLA R                 1307 DEER RUN                                     CARLSBAD        TX      76934   LP     S17323     P        VNY      173
OLDIGES                   JENNIFER L              9143 BAYCREEK RD                                  ERIE            MI      48133   AF     S27525     F        VNY      275
OLIPHANT                  CHELSEA P               219 GREENBRIAR ROAD                               ALVATON         KY      42122   HP     S09222     P        VNY       92
OLIVEIRA                  ADRIANO F               3510 28TH ST SW APT 107                           FARGO           ND      58104    S     H26605     F        VNI      266
OLIVER                    KAITLYN M               3301 E WASHINGTON ST                              EAST PEORIA     IL      61611   HP     S20322     P        VNY      203
OLSON                     KALLIE A                4801 W FRENCH AVE                                 EVELETH         MN      55734   HP     S04222     P        VNY       42
OLSON                     KYLEE D                 11311 DOBIE ST                                    AMARILLO        TX      79118   HP     S17122     P        VNY      171
O'NEAL                    MAKENNA K               3164 NORTH COTNER BLVD                            LINCOLN         NE      68507   HP     S06022     P        VNY       60
O'NEILL                   ELIZABETH M             8189 CALLOW RD                                    LEROY           OH      44077   HP     S09022     P        VNY       90
OPEL                      ASHLEY D                346 HOMEWOODROAD                                  PARKERSBURG     WV      26101   HP     S18322     P        VNY      183
OPPERMAN                  MICHELLE L              24273 QUARRY RD                                   HAWKEYE         IA      52147   HP     S13022     P        VNY      130
ORTIZ                     NAVIL                   1659 GRANT AVE.                                   OGDEN           UT      84404   HM     S07830     F        VNY       78
ORTIZ                     MARIBEL                 18 W 17TH ST                                      SAN ANGELO      TX      76903   HP     S17322     P        VNY      173
ORTIZ RENGIFO             VALERY                  305 E HICKORY AVE                                 ENID            OK      73701   HM     S19030     F        VNY      190
OST                       MARIE C                 2761 N TRAPPER LN                                 POST FALLS      ID      83854   HP     S01322     P        VNY       13
OSTMAN                    EMBERLIE E              702 CHERRYWOOD CT             APT 2               MADISON         WI      53714   HM     S09830     F        VNY       98




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Legal Name                                        Home Address                                      City              State   Zip     Code   PR Dept   FT/PT    Code   Location
OTTEN                     CHYENNE A               141 VALLEY AVE APT 101                            BURLINGTON        ND      58722   HP     S02622     P        VNY       26
OTTO-SPAULDING            ALIZABETH               7101 19 MILE RD                                   HOMER             MI      49245   AF     S09625     F        VNY       96
OVIEDO                    ESMERALDA A             7686 E 20TH ST.                                   JOPLIN            MO      64801   AF     S23625     F        VNY      236
OWENS                     BETHANY A               2700 ELIZABETH LAKE RD       APT 133              WATERFORD         MI      48328   HP     S04922     P        VNY       49
OWENS                     D' S                    3115 SARAH ST                                     BEAUMONT          TX      77705   HP     S17422     P        VNY      174
PACKELL                   MELISSA R               208 EAST BEAVER ST                                JENKS             OK      74037   LP     S19923     P        VNY      199
PADILLA                   PAOLA                   505 5TH AVE W                                     JEROME            ID      83338   LP     S07223     P        VNY       72
PAGE                      SAMANTHA N              2848 SHERWOOD DRIVE                               LIMA              OH      45805   LP     S11623     P        VNY      116
PALACIOS                  JULIA P                 6207 36TH                                         LUBBOCK           TX      79407   HP     S17022     P        VNY      170
PALMER-SANTIZO            JORDIN S                6555 SE WYANDOTTE RD                              CRESTLINE         KS      66728   HP     S23622     P        VNY      236
PARKER                    ANGELA M                1410 W 1ST ST                                     GRAND ISLAND      NE      68801   AF     S06525     F        VNY       65
PARKER                    REBEKAH L               3158 WEST LATOKA                                  SPRINGFIELD       MO      65807   LP     S23023     P        VNY      230
PARRISH                   SUMMER N                3161 CRISCO LANE                                  MISSOULA          MT      59803   HP     S12622     P        VNY      126
PARRISH                   DEONTE M                3433 WEST FALLEN OAK LN      APT 1B               PEORIA            IL      61604   LP     S20323     P        VNY      203
PARSHLEY                  SHANNA R                1431 ALBRECHT BLVD REED HALL                      FARGO             ND      58102   HP     H26605     P        VNI      266
PASCOE                    SHILIA K                1128 S. GREENWICH ST                              GRAND ISLAND      NE      68801   LP     S06523     P        VNY       65
PASDECK                   CARA D                  615 E BERTOLINO AVE                               NOKOMIS           IL      62075   HM     S20230     F        VNY      202
PASSINI                   ORIANA M                606 BORAH AVE APT 5          PO BOX 252           TOVEY             IL      62570   LP     S20223     P        VNY      202
PATAKY                    MEREDITH A              7777 S MINGO RD APT 320                           TULSA             OK      74133   DM     H26406     F        VNI      264
PATTERMANN                GENNA M                 1008 PENNSYLVANIA AVE                             MENDOTA           IL      61342   HP     S14022     P        VNY      140
PAUL                      JACKLYN                 500 BOARDMAN CANFIELD RD     APT 99               BOARDMEN          OH      44512   HP     S11722     P        VNY      117
PAULSEN                   MADISON M               201 S 5TH AVE                                     BRANDON           SD      57005   HP     S01122     P        VNY       11
PAULUS                    MADELYN K               2082 HICKORY AVE                                  ROCKFORD          IA      50468   HP     S07722     P        VNY       77
PAVICH                    MEGHAAN L               12 SOUTHVIEW DR              APT F                HIBBING           MN      55746   AF     S04225     F        VNY       42
PAYNE                     LAUREN A                1013 RAMBLEWOOD DR                                OFALLON           IL      62269   HP     S14122     P        VNY      141
PEARSON                   DANNILLE N              2537 S. 25TH ST. APT. F                           TERRE HAUTE       IN      47802   LP     S27123     P        VNY      271
PEAVLER                   SHELAYNA                468 N 200 E                                       TREMONTON         UT      84337   HM     S08830     F        VNY       88
PEDERSON                  HANNAH M                1786 RATHERMEL DR                                 FORT DODGE        IA      50501   HP     S13222     P        VNY      132
PEELER                    KAITLYNN B              609 6TH ST. S.                                    GREAT FALLS       MT      59405   HP     S03622     P        VNY       36
PEREZ                     PAOLA L                 916 21 1/2 ROAD                                   GRAND JUNCTION    CO      81505   HP     S16722     P        VNY      167
PERKINS                   ERIKA N                 6206 OAKCREST LN                                  AMARILLO          TX      79106   LP     S17123     P        VNY      171
PERRY                     JULIA H                 1027 N PETERSBURG                                 MERIDIAN          ID      83642   LP     S07423     P        VNY       74
PERRY                     JENNIFER M              9628 RAVENNA RD                                   CHARDON           OH      44024   HM     S09030     F        VNY       90
PERRY                     MISTY M                 5908 VERDI DR                                     WEST CARROLLTON   OH      45449   AF     S11425     F        VNY      114
PERRY                     DAIJA R                 8870 SOUTH STATE ST. G102                         SANDY             UT      84070   HP     S12222     P        VNY      122
PETERS                    CIERA A                 12925 EAST MANSFIELD                              SPOKANE VALLEY    WA      99216   HP     S07622     P        VNY       76
PETERS                    ALICIA E                723 CLOVERDALE AVE                                WATERLOO          IA      50703   HM     S13830     F        VNY      138
PETERS                    BRIDGETTE M             1325 11TH AVE                                     BELVIDERE         IL      61008   HP     S14322     P        VNY      143
PETERSEN                  BRITTANY A              615 2ND AVE NW                                    BELFEILD          ND      58622   LP     S01923     P        VNY       19
PETERSEN                  TAYLYN G                7905 S. 2325 E.                                   SOUTH WEBER       UT      84405   HP     S09422     P        VNY       94
PETERSON                  SAMANTHA M              7460 124TH ST NE                                  DEER RIVER        MN      56636   HP     S03222     P        VNY       32
PHAN                      TRAC N                  5552 20TH ST S                                    FARGO             ND      58104    S     H26510     F        VNI      265
PHIPPS                    LYNELLE M               201 2ND AVE SW                                    WATERTOWN         SD      57201   HM     S02530     F        VNY       25




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PIATZ                     CHARISSE L              6860 750TH STREET                                 WHEATON            MN      56296        LP     S00523     P        VNY        5
PIFER                     KERI M                  5137 WOODSTOCK DR                                 SWARTZ CREEK       MI      48473        HP     S27622     P        VNY      276
PINALES                   PRICILLA                6102 N ROAD 68                APT G106            PASOC              WA      99301        HP     S16322     P        VNY      163
PINKERTON                 TIANA H                 633 WEST 8TH ST                                   TYLER              TX      75701        HP     S17822     P        VNY      178
PIZZO                     MEGAN E                 206 E MALCOLM X ST            APT 35              LANSING            MI      48933        LP     S09623     P        VNY       96
PLOCK                     SHELBY D                627 TRAIL RIDGE RD                                LINCOLN            NE      68505        LP     S06023     P        VNY       60
POLANSKI                  LAURA J                 3127 5TH ST E                                     WEST FARGO         ND      58078         S     H25807     F        VNI      258
POLASKY                   VICTORIA M              20515 ASPEN DRIVE                                 GRAND RAPIDS       MN      55744        LP     S03223     P        VNY       32
PORTER                    SOPHIA V                1057 35TH ST N APT 217                            FARGO              ND      58102        HF     H26807     F        VNI      268
PORTER                    MADISON L               3412 S MILAM                                      AMARILLO           TX      79109        HP     S17122     P        VNY      171
POSCH                     COURTNEY J              4489 Woodhaven Drive                              Fargo              ND      58104         S     H26807     F        VNI      268
POSTLETHWAIT              REBECCA S               6 NORWAY ROAD                                     PITTSBURGH         PA      15221        LP     S18123     P        VNY      181
POTTER                    AMBER M                 9312 W SMITH ST                                   YORKTOWN           IN      47396        LP     S11023     P        VNY      110
POWELL                    SALLY P                 21 BLASHACK ST                APT 7 PO BOX 64     WALDORF            MN      56091        HP     S01222     P        VNY       12
POWELL                    CERRIA R                513 6TH STREET                P.O. BOX 233        MENLO              IA      50164        HP     S24522     P        VNY      245
PRALLE                    ANNIE B                 4424 Short Line Rd                                Quincy             IL      62305-0568   LP     S14723     F        VNY      147
PRATER                    HANNAH E                285 N RUTHERFORD BLVD         GG03                MURFREESBORO       TN      37130        HP     S08222     P        VNY       82
PRATT                     REBECCA C               5541 N NINA CT                                    COEUR D ALENE      ID      83815        HP     S01322     P        VNY       13
PREBISH                   CHEYENNE T              253 GALAXY DR                                     CIRCLE PINES       MN      55014        LP     S21223     P        VNY      212
PRICE                     AMBER R                 714 20TH ST NW APT 10                             EAST GRAND FORKS   MN      56721        LP     S00323     P        VNY        3
PRICE                     ERIN H                  805 BRADYVILLE PIKE APTP7                         MURFREESBORO       TN      37130        AF     S08225     F        VNY       82
PRICE                     MEGAN S                 2406 91ST                                         LUBBOCK            TX      79423        HM     S17030     F        VNY      170
PRICE                     KODIE S                 1824 S COLLEGE                                    SPRINGFIELD        IL      62704        LP     S20223     P        VNY      202
PRINSEN                   KRYSTAL L               N 9564 HICKORY DRIVE                              APPLETON           WI      54915        HM     S04430     F        VNY       44
PROVOST                   PATRICIA A              3501 N RIVER RD APT202H                           FORT GRATIOT       MI      48059        LP     S22323     P        VNY      223
PRUITT                    KEYONA K                516 FEDERAL COURT                                 MURFREESBORO       TN      37129        HP     S08222     P        VNY       82
PRUNTY                    LISA A                  3527 PHEASENT LN APT4                             WATERLOO           IA      50701        LP     S13123     P        VNY      131
PURLING                   MARGARET R              913 SE 44TH STREET                                TOPEKA             KS      66609        HP     S25522     P        VNY      255
PURSCELL                  ASHLEY N                2242 IRONWOOD DR SW                               ALTOONA            IA      50009        HP     S24522     P        VNY      245
PUTTERGILL                TAYLER                  614 HALL CHURCH RD.                               TRYON              NE      69167        LP     S06923     P        VNY       69
QUINN                     MARGARET K              1632 51st St. S. Ste 310                          FARGO              ND      58103         S     H00105     F        VNI        1
QUINN                     ALISHA L                2680 OLD GLORY DR                                 ZANESVILLE         OH      43701        HP     S15222     P        VNY      152
QUINN                     JUDY E                  219 MAHAN DR                                      PARIS              IL      61944        HM     S27130     F        VNY      271
RADTKE                    MEGAN E                 5489 GOLFVIEW AVE N                               OADKALE            MN      55128        HP     S22622     P        VNY      226
RAGSDALE                  STACIE J                608 SARATOGA ST.                                  NEW HARTFORD       IA      50660        LP     S13023     P        VNY      130
RAMER                     ARIEL N                 2506 N ANTHONY BLVD                               FORT WAYNE         IN      46802        LP     S10823     P        VNY      108
RAMIREZ                   LINDSEY M               4121 EAST ROLLING MEADOWS                         DEFIANCE           OH      43512        AF     S10825     F        VNY      108
RAMIREZ                   BRIANNE M               2707 6TH AVE                  APT 24              CANYON             TX      79015        LP     S17123     P        VNY      171
RAMON                     RAQUEL L                909 6TH ST SE                                     MASON CITY         IA      50401        LP     S07723     P        VNY       77
RAMOS                     MARISSA R               6538 94TH                                         LUBBOCK            TX      79424        HP     S17022     P        VNY      170
RAMOS TORRES              STEPHANIE M             579 CORTE AMINO                                   FOUNTAIN           CO      80817        HP     S16422     P        VNY      164
RAMOZ                     MICAELA E               5002 ORCHARD DR                                   SACHSE             TX      75048        HP     S17722     P        VNY      177
RANDALL                   AMBER R                 2005 BISON                                        GARDEN CITY        KS      67846        LP     S25023     P        VNY      250




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RANDELL                   BRIANNA M               2604 PLYMOUTH AVE                                 JANESVILLE       WI      53545   HP     S04622     P        VNY       46
RAPKIN                    STEPHANIE D             70 COPPER WOODS                                   PITTSFORD        NY      14534   AF     S18525     F        VNY      185
RASMUSSEN                 CHAYLA C                2342 FOOTHILL RD                                  AMMON            ID      83406   LP     S07123     P        VNY       71
RASMUSSEN                 SHELBI A                3473 VAN BUREN AVE.                               OGDEN            UT      84403   LP     S09423     P        VNY       94
RAYNOR                    ALEXANDRA M             191 CHRIST SCHOOLE RD                             ARDEN            NC      28704   LP     S21823     P        VNY      218
REDETZKE                  SHELBY L                25445 477TH AVE                                   GARRETSON        SD      57030   HP     S01122     P        VNY       11
REED                      KATE L                  3207 12TH ST S                                    MOORHEAD         MN      56560   HF     H26406     F        VNI      264
REED                      DONNA E                 100 N 3RD ST #415                                 MOORHEAD         MN      56560   WF     H26511     F        VNI      265
REED                      BRITTANY M              23139 BAGLEY LK RD                                LEONARD          MN      56652   LP     S00923     P        VNY        9
REED                      LUCILLE L               1905 W APPLEWAY AVE           APT C36             COEUR D'ALENE    ID      83814   HM     S01330     F        VNY       13
REED                      AMBERLYN R              1511 W 1ST                                        NORTH PLATTE     NE      69101   HP     S06922     P        VNY       69
REED                      GAEBRIELLE A            4186 W HIGH MEADOW DR                             GARDEN CITY      ID      83714   HP     S07422     P        VNY       74
REED                      KILEY A                 6608 SONESTA DR                                   INDIANAPOLIS     IN      46217   HP     S11222     P        VNY      112
REESE                     GABRIELLE A             2159 W SHAWNA AVE                                 COEUR D' ALENE   ID      83815   HP     S01322     P        VNY       13
REGER                     ALYSSA J                14150 HILL N DALE DR                              WASECA           MN      56093   AF     S00925     F        VNY        9
REHM                      ELISSA A                401 WEST MAPLE AVE            APT 204             FRAZEE           MN      56544   HP     S02222     P        VNY       22
REICHERT                  JESSICA A               8514 STATE ST                                     QUINCY           IL      62304   HP     S14722     P        VNY      147
REID                      LAUREN E                347 CHESTNUT CIR W                                DAVISION         MI      48423   LP     S04923     P        VNY       49
RENFRO                    CHRISTAN M              2420 GREENBRIAR DR            APT C               MANHATTAN        KS      66502   AF     S25425     F        VNY      254
RENICK                    TIFFANY S               386 KIRBY POE ROAD                                ALVATON          KY      42122   HP     S09222     P        VNY       92
RENSI                     KODI M                  86280 MILLER STATION ROAD                         HOPEDALE         OH      43976   HP     S10022     P        VNY      100
RESSEO                    PATIENCE L              4605 KAPPUS DRIVE             APT #11             EAU CLAIRE       WI      54701   HP     S10422     P        VNY      104
REYES                     VANESSA D               1106 CULBERSON                                    SAN ANGELO       TX      76903   LP     S17323     P        VNY      173
REYES                     KRISTEN M               511 GRANT AVE APT 3                               MORGANTOWN       WV      26505   HM     S18430     F        VNY      184
REYES                     JASLINE F               1710 W NEIL STR                                   GARDEN CITY      KS      67846   HP     S25022     P        VNY      250
REYNEN                    SABRINA N               335 E FIELDSTONE CIRCLE       APT 4               OAK CREEK        WI      53154   HP     S04822     P        VNY       48
REYNOLDS                  JESSICA M               16428 HAVENWOOD DRIVE                             WOODBURN         IN      46797   DM     H26406     F        VNI      264
REYNOZA                   JENNIFER M              836 PRAIRIE MEADOW CT.                            WATERLOO         IA      50701   LP     S13123     P        VNY      131
RHODES                    WILESHA L               55 LOGANWOOD DR                                   CENTERVILLE      OH      45458   HP     S11522     P        VNY      115
RICE                      TATIANA A               6030 SOUTH OAK STREET                             CASPER           WY      82601   HP     S12822     P        VNY      128
RICHARD                   OLIVIA D                6570 FRIDLEY ST NE                                FRIDLEY          MN      55432   HP     S21222     P        VNY      212
RICHARDSON                DA'JEON B               1412 NW HILLTOP LN                                GRAIN VALLEY     MO      64029   HP     S05422     P        VNY       54
RICHARDSON                MADISON J               2785 83RD AVE                                     GREELEY          CO      80634   HP     S16622     P        VNY      166
RICHARDSON                MEGAN M                 610 N COOPER ST                                   PEORIA           IL      61606   HP     S20322     P        VNY      203
RIECKE                    BRITTANY K              6632 RUBY SPRINGS PARKWAY                         AUBURN           IN      46706   HP     S10822     P        VNY      108
RIENDEAU                  JOANNA L                3400 B NIKKI COURT                                LONGVIEW         TX      75604   HP     S17922     P        VNY      179
RIGGIN                    CAMERON S               15318 N NEPTUNE ST                                MEAD             WA      99021   HP     S07522     P        VNY      75
RILEY                     RACHEL O                123 SE MOORE RD                                   SAINT JOSEPH     MO      64504   LP     S23323     P        VNY      233
RINGSTROM                 BRITTANY R              PO BOX 462                                        AUDUBON          MN      56511   LP     S02223     P        VNY       22
RIVERA                    MADISON M               765 ALTURAS DR N                                  TWIN FALLS       ID      83301   HP     S07222     P        VNY       72
RIVERA HERNANDEZ          GRACIELA                726 CENTER AVE.                                   OTTUMWA          IA      52501   LP     S24423     P        VNY      244
ROBBINS                   KALEIGH R               2202 PINE ST                                      BUTTE            MT      59701   HP     S03522     P        VNY       35
ROBERTS                   MCKENNA F               252 STONE LAKE RD NW                              BEMIDJI          MN      56601   HP     S00922     P        VNY        9




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ROBERTS                   KYRA N                  6149 VICTORIA LANE                                BILLINGS         MT      59106   HP     S01522     P        VNY       15
ROBERTS                   ALIVIA C                4110 E PINE BLUFF DR                              MERIDIAN         ID      83642   HP     S01922     P        VNY       19
ROBERTS                   NEALEE R                506 GOLF COURSE ROAD                              GRAND RAPIDS     MN      55744   HP     S03222     P        VNY       32
ROBERTS                   ALEXUS D                912 E SITKA AVE B-309                             SPOKANE          WA      99208   LP     S07623     P        VNY       76
ROBINETTE                 BROOKE L                339 LOCUST                                        TWIN FALLS       ID      83301   HP     S07222     P        VNY       72
ROBSON                    JAMIE L                 4621 WOODHURST                                    AUSTINTOWN       OH      44515   LP     S11723     P        VNY      117
ROCHOLL                   MADDISON R              26973 CO HWY 21                                   FERGUS FALLS     MN      56537   HP     S00722     P        VNY        7
ROCKWELL                  HALEY K                 1224 MINNS DRIVE                                  MACHESNEY PARK   IL      61115   AF     S04625     F        VNY       46
RODDEN                    MADISON M               1605 20TH AVE CT                                  GREELEY          CO      80631   LP     S16623     P        VNY      166
RODE                      BENJAMIN C              1721 39TH SW                  APT 202             FARGO            ND      58103   HP     H26305     P        VNI      263
RODRIGUEZ                 MAYRANI                 5609 W CLAY ST                                    SIOUX FALLS      SD      57106   LP     S01123     P        VNY       11
RODRIGUEZ                 RAQUEL M                1282 30TH LANE                                    PUEBLO           CO      81006   HP     S16522     P        VNY      165
RODRIGUEZ                 SHANNON L               6115 GOLDFINCH DR                                 PLEASANT HILL    IA      50327   LP     S24523     P        VNY      245
ROEHRICH                  PAYTON R                1505 CANYON RD SW                                 MANDAN           ND      58554   HP     S00422     P        VNY        4
ROGERS                    ABBY J                  308 10TH ST S                                     MOORHEAD         MN      56560    S     H26708     F        VNI      267
ROHWEDDER                 AMY D                   1536 JAMES DR                                     N MANKATO        MN      56003   HM     S01230     F        VNY       12
ROSALES                   LUCIA M                 6901 SOUTH 8TH ST                                 FORT SMITH       AR      72908   AF     S21025     F        VNY      210
ROSE                      JAMIRA M                385 COLORADO DR                                   XENIA            OH      45385   HP     S11422     P        VNY      114
ROSEWELL                  CHLOE N                 213 NE PASEO PL                                   BLUE SPRINGS     MO      64014   HP     S05422     P        VNY       54
ROSSER                    ALISHA M                2414 EL RIO DR                                    MINOT            ND      58701   FR     S02622     P        VNY       26
ROUNDY                    BRITTANY J              1445 WEST GATEWAY CIRCLE      APT 25              WEST FARGO       ND      58078   HP     S00522     P        VNY        5
ROUSSLANG                 MEGAN A                 3102 23RD ST S                                    FARGO            ND      58103   HP     S00522     P        VNY        5
ROWAN                     BREANNA D               1139 BIG SHANNON RUN ROAD                         MOUNT MORRIS     PA      15349   LP     S18423     P        VNY      184
RUCH                      SHERIDAN D              2410 GRAND AVE.                                   JOPLIN           MO      64804   LP     S23623     P        VNY      236
RUEL                      CARSON T                523 SPRINGEN AVE                                  FERGUS FALLS     MN      56537   HP     S00722     P        VNY       7
RUFF                      PAIGE M                 2307 W 42ND ST #64                                SCOTTSBLUFF      NE      69361   HM     S06730     F        VNY       67
RUNGE                     KAYLA L                 1601 6TH PLACE SE                                 MASON CITY       IA      50401   HM     S07730     F        VNY       77
RUPPERT                   SHELBY R                206 E MCALLISTER                                  BATTLE CREEK     NE      68715   AF     S06825     F        VNY       68
RUSS                      MISHA O                 2221 N. BESSIE RD.                                SPOKANE          WA      99212   HP     S07622     P        VNY       76
RUSSELL                   CASSANDRA L             6219 24th ST S                                    FARGO            ND      58104    S     H25707     F        VNI      257
RUSSELL                   ZOEY M                  1332 STARLITE CIRCLE                              JOPLIN           MO      64801   HP     S23622     P        VNY      236
RUSSELL                   MORGAN E                332 S WOODWARD                                    SALINA           KS      67401   HP     S25122     P        VNY      251
RUST                      SARRA K                 6415 FRAZEYSBURG RD                               NASHPORT         OH      43830   HP     S15222     P        VNY      152
RUTHERFORD                DENESHA M               5726 N EASTVUE CT                                 PEORIA           IL      61615   LP     S20323     P        VNY      203
SAAKE                     MADELINE M              4804 RINGER WOODS PL CT                           ST LOUIS         MO      63129   HP     S23522     P        VNY      235
SAARI                     ASHLEY K                600 NORTH MAIN ST                                 PINE ISLAND      MN      55963   LP     S22023     P        VNY      220
SADORF                    HANNAH E                252 EXECUTIVE AVE             APPT 1A             CLARKSVILLE      TN      37042   AF     S08325     F        VNY      83
SAFRIS                    VASILY R                2949 PRAIRIE ROSE DR                              NORWALK          IA      50211   HP     S07322     P        VNY       73
SALDANA                   RAVIN J                 533 12TH ST NW                                    PERHAM           MN      56573   LP     S02023     P        VNY       22
SALE                      ERYN L                  4813 RUSTY LN                                     BARTONVILLE      IL      61607   HP     S20322     P        VNY      203
SALOKA                    NFIAOBARI H             815 GOLFVIEW LANE                                 ST.CLOUD         MN      56301   HP     S02722     P        VNY       27
SALTER                    ASHLEY R                1750 RATHERMEL DR.                                FORT DODGE       IA      50501   LP     S13223     P        VNY      132
SALYER                    CHLOE I                 484 BEARFIELD ROAD                                CHUCKY           TN      37641   HP     S08122     P        VNY       81




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SANCHEZ                   KAREN A                 628 BRUNNER DRIVE                                 CINCINNATI        OH      45240        HP     S12422     P        VNY      124
SANCHEZ                   DEVAN M                 33 APOLLO LANE                                    PUEBLO            CO      81001        LP     S16523     P        VNY      165
SANCHEZ                   ASHLEY Y                708 N CALHOUN STREET                              MIDLAND           TX      79701        LP     S17623     P        VNY      176
SANDER                    HOPE M                  8468 BRIAN COURT NE                               BEMIDJI           MN      56601        HP     S00922     P        VNY        9
SANDOVAL                  VIVIANA                 7628 S SONCY RD 230                               AMARILLO          TX      79119        HM     S17130     F        VNY      171
SANDY                     TRICIA L                932 CARLOS DR                                     LINCOLN           NE      68505        HM     S06030     F        VNY       60
SAPPINGFIELD              CYNTHIA A               96 PINE ST                                        LAWTON            IA      51030        LP     S02823     P        VNY       28
SARLES                    SHANNA R                112726 S 4730 RD                                  MULDROW           OK      74948        HP     S21022     P        VNY      210
SAUTER                    GRACIE D                1715 PARKVIEW AVE                                 ST JOSEPH         MO      64504        HP     S23322     P        VNY      233
SAWICKI                   EMILY P                 3002 EDGEWOOD DR                                  ENID              OK      73703        LP     S19023     P        VNY      190
SAYERS                    SARAH L                 5412 2ND AVE WEST                                 WILLISTON         ND      58801        HP     S02022     P        VNY       20
SCAPIN                    KARA A                  23 B BROOKDALE RD                                 WOODFIN           NC      28804        HP     S21822     P        VNY      218
SCARBOROUGH               TIFFANY G               1736 WINNE DRIVE                                  MANHATTAN         KS      66502        HP     S25422     P        VNY      254
SCHAEFER                  PHOENIX K               1125 N 17TH ST                                    BISMARCK          ND      58501        LP     S00423     P        VNY        4
SCHAEFFER                 BRITTANY V              1409 N 1ST ST                                     ABERDEEN          SD      57401        HP     S11122     P        VNY      111
SCHEMMEL                  DESTINY M               3308 7TH AVE                                      SIOUX CITY        IA      51106        HP     S02822     P        VNY       28
SCHIFFELBEIN              TAYLOR M                2712 ASH                                          HAYS              KS      67601        HP     S21422     P        VNY      214
SCHMIDT                   HAYLI E                 7843 PINEHILL RD                                  LEWIS CENTER      OH      43035        HP     S15222     P        VNY      152
SCHNEBERGER               MADISON D               911 E PINE AVE                                    COEUR D'ALENE     ID      83814        HP     S01322     P        VNY       13
SCHNEIDER                 SAMANTHA R              3403 N MOUNTIAN ST                                WAUSAU            WI      55401        AF     S05125     F        VNY       51
SCHNIEDERS                HALEY J                 37 JULIE LN                                       ST PETERS         MO      63376        HP     S23422     P        VNY      234
SCHNIPKOWEIT              SHELBY L                513 5th Ave                                       Clarence          IA      52216-9404   HM     S13730     F        VNY      137
SCHOEMAKER                JAMIE L                 405 THORNTON STREET                               NEWPORT           KY      41071        HM     S14830     F        VNY      148
SCHOEN                    KAITLIN S               4226 CASA BRAZILIA DR         APT B               ST LOUIS          MO      63129        LP     S23523     P        VNY      235
SCHOENDALLER              KAYLIE M                2027 METRO LN                                     HAYS              KS      67601        LP     S21423     P        VNY      214
SCHOENEWE                 HEATHER N               115 SHADY LN                                      WEST BURLINGTON   IA      52655        AF     S13925     F        VNY      139
SCHOENHERR                SARAH J                 1613 EASTLAND AVE                                 LAWTON            IA      51030        HP     S02822     P        VNY       28
SCHOLLARS                 NICHOLE M               2626 E MARGATE COURT                              EAGLE             ID      83616        LP     S08823     P        VNY       88
SCHRADER                  ALEXA R                 13802 ELVINA DR                                   LEO               IN      46765        HP     S10822     P        VNY      108
SCHROEDER                 CERA L                  2526 2ND AVE NO                                   GREAT FALLS       MT      59401        HM     S03630     F        VNY       36
SCHUMACHER                ASHLEY R                2624 S GLASS ST                                   SIOUX CITY        IA      51106        LP     S02823     P        VNY       28
SCHUMACHER                KENNEDY J               2816 WATERVIEW DR                                 ABERDEEN          SD      57401        HP     S11122     P        VNY      111
SCHUTZ                    STACI E                 1014 7TH ST S                 APT 2               FARGO             ND      58103        AF     S29725     F        VNY      297
SCOTT                     ZACHARY P               4305 TWAIN CIR                APT 302             AMES              IA      50014        FR     S07322     P        VNY       73
SCOTT                     JOCELYN A               1426 MAYNARD DR.                                  INDIANAPOLIS      IN      46227        HP     S11222     P        VNY      112
SCOTT                     JASMINE A               715 AMARILLO ST.                                  BEAUMONT          TX      77701        HP     S17422     P        VNY      174
SELI                      HANNAH L                936 ST CLAIR ST                                   OFALLON           IL      62269        HP     S14122     P        VNY      141
SEWARD                    MEGAN T                 2049 AUTUMN LN                                    IDAHO FALLS       ID      83404        HP     S07122     P        VNY       71
SEYBOLD                   BRIANNA L               506 STATE ST                                      MIDLAND           MI      48640        LP     S27723     P        VNY      277
SHABLACK                  ALEXUS L                68655 CHERMONT ROAD                               BRIDGEPORT        OH      43912        LP     S10023     P        VNY      100
SHADDY                    MADISEN L               1118 HILLCREST DR                                 ENID              OK      73701        HP     S19022     P        VNY      190
SHAFFER                   SABRINA M               923 MUIRFIELD CIRCLE                              BOWLING GREEN     KY      42104        HP     S09222     P        VNY       92
SHALLCROSS                SARA E                  41 SOUTH 4TH ST.              APT. 3B             ZANESVILLE        OH      43701        HP     S15222     P        VNY      152




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SHANKS                    SAMANTHA K              3815 WELCOME AVE N                                   CRYSTAL         MN      55422        LP     S21223     P        VNY      212
SHANNON                   ORIANNA J               730 CEDARLAWN RD                                     WATERFORD       MI      48328        HP     S04922     P        VNY       49
SHARP                     JORDAN L                1001 N Patrick St Apt A11                            Jonesboro       AR      72401-8777   LP     S20923     P        VNY      209
SHAUGER                   HALLIE E                1528 N HICKS RD                                      MIDLAND         MI      48640        LP     S27723     P        VNY      277
SHAW                      SAMANTHA E              3211 VERNON ST                   APT 2               DULUTH          MN      55806        HP     S00222     P        VNY        2
SHEA                      JILL M                  348 EDGEWATER DR                                     WEST FARGO      ND      58078         S     H00105     F        VNI        1
SHEFFER                   NICOLE R                3287 SIMPSON RD                                      FORT GRATIOT    MI      48059        HP     S22322     P        VNY      223
SHELLS                    QUANDRA S               724 JEFFERSON STREET                                 KERNERSVILLE    NC      27284        HM     S21930     F        VNY      219
SHETLEY                   MEGIN W                 202 E 5TH                                            HAYS            KS      67601        AF     S21425     F        VNY      214
SHIELDS                   SIDNEY M                1411 NOLAN DR                                        GRAIN VALLEY    MO      64029        HP     S05422     P        VNY       54
SHOEMAKER                 MICHAELA K              812 BASSETT ST                                       OFALLON         IL      62269        HP     S14122     P        VNY      141
SHOUP                     SAMANTHA M              8090 MAPLE STREET                                    SWARTZ CREEK    MI      48473        HP     S27622     P        VNY      276
SIEG                      CORTNEY M               4912 IONA BEACH ROAD                                 EAU CLAIRE      WI      54703        HP     S10422     P        VNY      104
SILVA                     JESSICA A               4933 E OAKWOOD DR                                    PLEASANT HILL   IA      50327        HM     S24530     F        VNY      245
SIMMONS                   MIEYA D                 8 SAINT CROIX APT A                                  GREENSBORO      NC      27410        HP     S21722     P        VNY      217
SIMON                     BRIANA R                708 WRIGHT CT                                        RAPID CITY      SD      57701        HM     S01830     F        VNY       18
SISTOS                    VANESSA M               4914 58TH                                            LUBBOCK         TX      79414        HP     S17022     P        VNY      170
SITZ                      SHANNA C                5917 67TH                        APT 1302            LUBBOCK         TX      79424        LP     S17023     P        VNY      170
SIVONEN                   CASEY A                 PO BOX 1073                                          BELGRADE        MT      59714        LP     S01623     P        VNY       16
SKALSKY                   KEVIN W                 303 3RD AVE NW                                       DILWORTH        MN      56529         S     H25807     F        VNI      258
SKIBBY                    ELIZABETH A             267 GRANDVIEW DRIVE S                                TWIN FALLS      ID      83301        LP     S07223     P        VNY       72
SKIEF                     LECARION L              3100 ST HWY 31 E                 APT 522             TYLER           TX      75702        HP     S17822     P        VNY      178
SLAGLE                    KRISTEN R               956 ARBOR GREEN DR                                   ST CHARLES      MO      63304        HP     S23422     P        VNY      234
SLAUGHTER                 ASTASIA                 1331 LARPENTEUR AVE E                                MAPLEWOOD       MN      55109        HP     S22622     P        VNY      226
SMITH                     KATHERINE M             213 7TH ST S                                         VIRGINIA        MN      55792        LP     S04223     P        VNY      42
SMITH                     CJ L                    3737 E MARTIN AVE                                    CUDAHY          WI      53110        LP     S04823     P        VNY       48
SMITH                     SHAWNEE                 2210 GAIL DRIVE                                      POCATELLO       ID      83201        HP     S07022     P        VNY       70
SMITH                     TABITHA L               1127 W NEELY AVE                                     MUNCIE          IN      47303        HP     S11022     P        VNY      110
SMITH                     BRENNA C                2016 UNIVERSITY BLVD                                 LIMA            OH      45805        HP     S11622     P        VNY      116
SMITH                     CASSANDRA A             PO BOX 244                                           WINONA          IL      61377        AF     S14025     F        VNY      140
SMITH                     MAKAYLA L               1620 SHEREORNE DR                                    BELLEVILLE      IL      62226        LP     S14123     P        VNY      141
SMITH                     VANESSA L               215 N BUCHANAN AVE                                   PALMYRA         MO      63461        HP     S14722     P        VNY      147
SMITH                     TAYLOR B                455 GILES ST                                         BEAUMONT        TX      77705        HP     S17422     P        VNY      174
SMITH                     HUNTER A                107 DIAMOND DRIVE                                    DAVISVILLE      WV      26142        HP     S18322     P        VNY      183
SMITH                     JADE S                  8201 STANLEY ROAD                                    BLOOMINGTON     MN      55347        LP     S21323     P        VNY      213
SMITH                     ASHLEY B                1901 S HARLEM                                        JOPIN           MO      64804        HM     S23030     F        VNY      230
SMITH                     BROOKE R                209 BRIARWOOD DR                                     WATERLOO        IL      62298        LP     S23523     P        VNY      235
SMITH                     HANNAH A                1334CLAY AVE                                         TERRE HAUTE     IN      47805        HP     S27122     P        VNY      271
SNYDER                    MADELINE E              776 SOUTH HILLS DR                                   MORGANTOWN      WV      26501        HP     S18422     P        VNY      184
SOLOMON-RUSSELL           GABRIELLE               18902 E POWAHATAN PL                                 INDEPENDENCE    MO      64056        HP     S05422     P        VNY       54
SORENSON                  OLIVIA K                1109 4TH ST SW                                       MASON CITY      IA      50401        HP     S07722     P        VNY       77
SPENCER                   AMBER N                 1225 S 6TH AVE                                       WAUSAU          WI      54401        HM     S05130     F        VNY       51
STACEY                    ERIN E                  PO BOX 834                                           FLORENCE        MT      59833        HP     S12622     P        VNY      126




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STALLING                  ALYSSA M                1322 1/2 MAPLE AVE                                ZANESVILLE     OH      43701        LP     S15223     P        VNY      152
STAMNESS                  SAMANTHA J              11537 36X ST SW                                   DICKINSON      ND      58601        LP     S01923     P        VNY       19
STANLEY                   STEPHANIE M             300 MEADOWBROOK AVE                               BOARDMAN       OH      44512        AF     S11725     F        VNY      117
STANTON                   ALESIA M                109 W. WAPELLO ST.                                AGENCY         IA      52530        HP     S24422     P        VNY      244
STEBNER                   JANET A                 1518 SUNTREE DR                                   WEST FARGO     ND      58078        HF     H26205     F        VNI      262
STEELY                    DESTINY S               2705 SHAMROCK DRIVE                               SAN ANGELO     TX      76904        HP     S17322     P        VNY      173
STEFFEY                   JADA A                  127 PINE KNOT LN                                  JOHNSON CITY   TN      37601        HP     S08122     P        VNY       81
STEINBAUGH                DANAE L                 95 S 900 W                                        BLACKFOOT      ID      83221        LP     S07023     P        VNY       70
STEINBRINK                CHELSEY M               611 2ND STREET NORTH                              ST.JAMES       MN      56081        LP     S01223     P        VNY       12
STENVOLD                  BRITTNEY R              402 28TH AVE N                                    FARGO          ND      58102        HF     S29722     F        VNY      297
STERLING                  EVONNA M                2103 SE 11TH TERRACE                              TOPEKA         KS      66607        HP     S25522     P        VNY      255
STERNER                   ELIZABETH L             38377 SHEERWATER LN                               WILLOUGHBY     OH      44094        HP     S09022     P        VNY       90
STESHETZ                  ASHLEY M                2490 VALIANT LANE                                 GREEN BAY      WI      54304        HP     S10622     P        VNY      106
STEVENS                   JENNA K                 1241 HUBER DR.                                    MONROE         MI      48162        HP     S27522     P        VNY      275
STEVES                    SARAH A                 322 SW SALINE ST.                                 TOPEKA         KS      66606        LP     S25523     P        VNY      255
STOEN                     CHRISTOPHER J           3219 2ND ST N                                     FARGO          ND      58102        HP     S29722     P        VNY      297
STONE                     ALEXUS E                935 BURLEY AVE                                    BUHL           ID      83316        HP     S07222     P        VNY       72
STONE                     JANELLE A               5524 N AUDUBON ST                                 SPOKANE        WA      99205        LP     S07523     P        VNY       75
STONE                     BRIANNA M               334 S RAYMOND RD                                  WATERLOO       IA      50703        HP     S13022     P        VNY      130
STONESTREET               MEGAN M                 745 RINGHOFF ROAD                                 BURBANK        WA      99323        LP     S16323     P        VNY      163
STOOS                     AHNIE N                 W7886 WINDMILL ST                                 HOLMEN         WI      54636        AF     S10525     F        VNY      105
STOUT                     DESTINY K               11 RIEL VALLEY RD                                 LEICESTER      NC      28748        HP     S21822     P        VNY      218
STRACHOTA                 KAILEY M                1118 27TH AVE S APT 6                             GRAND FORKS    ND      58201        HP     S00322     P        VNY        3
STRAIT                    ALEXANDRIA E            245 RIDGEWOOD DR                                  HIAWATHA       IA      52233        LP     S13723     P        VNY      137
STRATE                    ADDISON P               3345 WEST ADAMS ST                                ST. CHARLES    MO      63301        LP     S23423     P        VNY      234
STREGE                    DIANNE M                804 MYRTLE ST                                     BUFFALO        MN      55313        HM     S21230     F        VNY      212
STROM                     ASHLEY M                879 E DEWEY AVE                                   YOUNGSTOWN     OH      44502        HP     S11722     P        VNY      117
STRUCKMAN                 TARYN D                 509 W CAMPBELL APT C                              GARDEN CITY    KS      67846        HP     S25022     P        VNY      250
STRUGGS                   TIFFANY R               2400 BRECKENRIDGE                                 TYLER          TX      75702        HP     S17822     P        VNY      178
STULTZ                    DANNIELLE R             117 7TH AVE NE                                    MINOT          ND      58703        HM     S02630     F        VNY       26
SUITTER                   JESSICA L               2333 N ROY DR                                     IDAHO FALLS    ID      83401        HM     S07030     F        VNY       70
SUNDE                     ANGELA M                2507 AMBER VALLEY CT S                            FARGO          ND      58103         S     H26605     F        VNI      266
SVENDSEN                  KELSI F                 913 W COURT ST                                    PIERCE         NE      68767        HP     S06822     P        VNY       68
SWEET                     DOMINIQUE K             1622 S 32ND ST                                    MILWAUKEE      WI      53215        HP     S04822     P        VNY       48
SWEET                     AMARIAH D               2771 WINDWALKER COURT                             MURFREESBORO   TN      37128        HP     S08222     P        VNY       82
SWIFT                     KALI B                  6044 FILLY LANE                                   JOPLIN         MO      64804        LP     S23623     P        VNY      236
SYMENS                    TONI R                  41354 116TH ST                                    CLAREMONT      SD      57432        HP     S02522     P        VNY       25
SZILASI                   ANA                     220 LAKE ST                                       MANDAN         ND      58554        HM     S00430     F        VNY        4
TAHRAN                    COLE J                  808 9TH AVE NE                                    DILWORTH       MN      56529        HP     H26510     P        VNI      265
TALLENT                   CHEYENNE E              1253 E Rosebrier St                               Springfield    MO      65804-3638   HP     S23022     P        VNY      230
TARVER                    DESIRAE N               3755 NORTHERN PIKE                                MONROEVILLE    PA      15146        HP     S18122     P        VNY      181
TAYLOR                    TORI LYNN D             1343 ROMESTREET                                   BILLINGS       MT      59105        HP     S01522     P        VNY       15
TAYLOR                    REGAN N                 2828 W 1625 N                                     PLAIN CITY     UT      84404        HP     S07822     P        VNY       78




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TAYLOR                    BRANDI L                456 SANDIA DR                                     GRAND JUNCTION    CO      81507   LP     S16723     P        VNY      167
TAYLOR                    ERIEL M                 9415 GROSS ST                                     BEAUMONT          TX      77707   HP     S17422     P        VNY      174
TAYLOR                    AMANDA L                922 SUMMER LEAF DR                                ST PETERS         MO      63376   LP     S23423     P        VNY      234
TAYLOR                    JORDAN E                8132 INGALLS STREET                               SWARTZ CREEK      MI      48473   HP     S27622     P        VNY      276
TAYLOR SMITH              SHYANNE C               3882 GRANADA WAY N                                OAKDALE           MN      55128   HP     S22622     P        VNY      226
TEET                      MIKAYLA F               5801 BOX CANYON CIR                               LINCOLN           NE      68516   LP     S06023     P        VNY       60
TEJEDA-SALAS              MARY C                  605 DARLING ST                                    OGDEN             UT      84403   HP     S07822     P        VNY       78
TEMPEL                    HALEY N                 2530 MOULTON ST                                   BUTTE             MT      59701   HP     S03522     P        VNY       35
THACKER                   SAVANNAH M              4825 SHELBY ST                                    INDIANAPOLIS      IN      46227   AF     S11225     F        VNY      112
THEISEN                   JENELLE A               3828 BLONDIE ST APT 203                           BOZEMAN           MT      59718   HP     S01622     P        VNY       16
THELANDER                 LEAH J                  3900 E 12TH ST #136                               CASPER            WY      82609   HM     S12830     F        VNY      128
THELEN                    ELISABETH C             289 MAPLE AVE                                     FOND DU LAC       WI      54935   LP     S04423     P        VNY       44
THEROUX                   BRANDY L                12340 CHICKAMAN LANE                              LOLO              MT      59847   LP     S12623     P        VNY      126
THOMAS                    BRIANNA M               172 CREEK VIEW DRIVE                              CHILLICOTHE       OH      45601   LP     S11423     P        VNY      114
THOMAS                    BETSY A                 420 HOLLAND DR                                    TRENTON           OH      45067   HP     S12422     P        VNY      124
THOMAS                    VANESSA A               49 MAC GREGOR RD                                  PUEBLO            CO      81001   LP     S16523     P        VNY      165
THOMPSON                  PATIENCE L              1206 27TH AVE S               APT 203             MOORHEAD          MN      56560   HP     S00522     P        VNY        5
THOMPSON                  BRIONI E                8561 W FAIRVIEW AVE           #102                BOISE             ID      83704   AF     S07425     F        VNY       74
THOMPSON                  JESSICA M               4309 FENWICK DR                                   NEW HAVEN         IN      46774   HP     S10822     P        VNY      108
THOMPSON                  CHRISTINA E             51363 TOWNSHIP ROAD 146 B                         COSHOCTON         OH      43812   LP     S15223     P        VNY      152
THORN                     SHEENA D                1010 39T STREET                                   VIENNA            WV      26105   AF     S18325     F        VNY      183
THORNE                    KEMBERLI D              231 E ADAMS                   APT 14              VIRGINIA          IL      62691   HP     S20222     P        VNY      202
THORNELL                  MADISON L               938 E MAPLE AVE                                   MIAMISBURG        OH      45342   HP     S11522     P        VNY      115
THORNLEY                  JAZLYNN D               5604 KENNEDY DR                                   CHEYENNE          WY      82001   LP     S12923     P        VNY      129
THUMA                     MADISON A               6729 SW MONTARA                                   TOPEKA            KS      66619   HP     S25522     P        VNY      255
TISDALE                   AMBER D                 620 BRYSON #204                                   YOUNGSTOWN        OH      44502   HP     S11722     P        VNY      117
TOLLEFSON                 DANE                    405 35TH AVE E                                    WEST FARGO        ND      58078    S     H00105     F        VNI        1
TORRES                    REHNEA L                2338 CR 7650                                      LUBBOCK           TX      79423   LP     S17023     P        VNY      170
TORRES VEGA               NOMAITZEL               3224 FOXRIDGE DR.                                 COLORADO SPRING   CO      80916   HP     S16422     P        VNY      164
TOSCANO CAMACHO           CATHERINE               4330 E PAULDING RD                                FORT WAYNE        IN      46816   HP     S10822     P        VNY      108
TOSTADO ESPINO            MARIA E                 515 STATE STREET                                  SALINA            KS      67401   LP     S25123     P        VNY      251
TOY                       ALEXANDRA B             5058 N PECONGA DR                                 MARION            IN      46952   LP     S11023     P        VNY      110
TRAN                      HIEN M                  1902 31 AVE S                                     FARGO             ND      58103   WF     H26510     F        VNI      265
TREVINO                   CHRISCELDA I            1349 OLYMPIA DRIVE                                JEROME            ID      83338   LP     S07223     P        VNY       72
TRIPLETT                  ASHLEY H                609 MAIN STREET               PO BOX 547          FILER             ID      83328   LP     S07223     P        VNY       72
TRIPP                     EMILY G                 2808 MARKAY ST SE                                 ROCHESTER         MN      55904   HP     S22022     P        VNY      220
TRISKA                    LAUREN Q                2841 SHERWOOD CT                                  BURLINGTON        KY      41005   LP     S14823     P        VNY      148
TRITCH                    TAYLOR N                1112 10TH N ST                                    FARGO             ND      58103   HP     S00522     P        VNY        5
TROUTMAN                  MONICA L                2295 WOODPARK DR                                  COLORADO SPRING   CO      80951   HM     S16430     F        VNY      164
TRUJILLO                  SADIE D                 672 N 3530 EAST                                   MENAN             ID      83434   FR     S07122     P        VNY       71
TRUJILLO                  TAYLOR R                1644 SOUTH SPRUCE ST                              CASPER            WY      82601   HP     S12822     P        VNY      128
TRUMPP                    KIMBERLY L              204 E WILSON ST                                   SALINA            KS      67401   HM     S25130     F        VNY      251
TSCHETTER                 REBA R                  746 49TH ST SOUTH                                 FARGO             ND      58103   LP     S00523     P        VNY        5




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Schedule E - EMPLOYEE (NOTICE ONLY)
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Legal Name                                        Home Address                                      City              State   Zip          Code   PR Dept   FT/PT    Code   Location
TULLY                     KATHLEEN A              222 N 74TH ST                                     MILWAUKEE         WI      53213        LP     S04823     P        VNY       48
TURNER                    DESTINY M               625 WINTERGRREN DRIVE                             O FALLON          IL      62269        HP     S14122     P        VNY      141
TURNER                    ALISHA M                10776 90TH ST.                                    OTTUMWA           IA      52501        AF     S24425     F        VNY      244
UNRUH                     SHAWNEE S               2052 COUNTY 13                                    ZAP               ND      58580        HP     S00422     P        VNY        4
UTASH                     ANDREA M                815 HOWARD STREET APT 3                           PORT HURON        MI      48060        LP     S22323     P        VNY      223
UTTER                     KYLEE L                 2101 HANAFORD AVE                                 BISMARCK          ND      58501        HP     S00422     P        VNY        4
VAILLETTE                 OTHILA J                358 BOCAGE DR                                     CHEYENNE          WY      82009        HP     S12922     P        VNY      129
VALDEZ                    BOBBY L                 3460 39TH ST S                                    MOORHEAD          MN      56560        WF     H26510     F        VNI      265
VALDEZ                    MELISSA M               90 MAYFAIR DR                                     MOORHEAD          MN      56560        HP     H26511     P        VNI      265
VALDEZ                    CLARIVEL                9603 PALOMINO DR                                  PASCO             WA      99301        HP     S16322     P        VNY      163
VALISH                    KELSIE R                1048 ISAAC DR                                     LINCOLN           NE      68521        LP     S06023     P        VNY       60
VALTIERREZ VIZCARRA       RUBISELA                18932 DUNBURY AVE                                 FARMINGTON        MN      55024        HP     S21322     P        VNY      213
VAN DAME                  MORGAN L                594 W 125 S                                       WILLIAMSPORT      IN      47993        LP     S27023     P        VNY      272
VANDAELE                  JAMIE L                 9812 FERDER RD                                    MAYBEE            MI      48159        LP     S27523     P        VNY      275
VANDERHOOF                MORGAN B                60 PINEWOOD KNOLL                                 ROCHESTER         NY      14624        HP     S18522     P        VNY      185
VANDORIN                  TRULEIGH L              305 E. HICKORY ST.                                BLAKESBURG        IA      52536        LP     S24423     P        VNY      244
VANG                      JESSICA P               1904 NEUPERT AVE APT. 6                           SCHOFIELD         WI      54476        LP     S05123     P        VNY       51
VANGSNESS                 CHRISTINE E             1620 36TH AVE S                                   FARGO             ND      58104         S     H26605     F        VNI      266
VARGAS                    LESLIE S                101 S LYNCH #17                                   HOLCOMB           KS      67851        LP     S25023     P        VNY      250
VASQUEZ                   DESTINY R               3752 ST REGIS DR                                  WHITE BEAR LAKE   MN      55110        HP     S22622     P        VNY      226
VCELIK                    COURTNEY J              117 N COOPER                                      OLATHE            KS      66061        HM     S24930     F        VNY      249
VEIT                      ANGELA K                401 W 2ND ST                                      ODEBOLT           IA      51458        AF     S13125     F        VNY      131
VEITH                     BRENDA L                3302 WEST F ST                                    NORTH PLATTE      NE      69101        LP     S06923     P        VNY       69
VELA                      DESTINEE E              4658 HAYES RD                 #2                  MADISON           WI      53704        HP     S09822     P        VNY       98
VELEZ TORRES              JANETTE                 966 HEDGE APPLE DR                                CLARKSVILLE       TN      37040        LP     S08323     P        VNY      83
VEU                       KATHLEEN K              8731 N OAKWOOD AVE                                NEENAH            WI      54956        LP     S04723     P        VNY       47
VIENS                     SARAH A                 1501 VANDIVER DR              LOT 209             COLUMBIA          MO      65202        HP     S23222     P        VNY      232
VIETOR                    MADELINE G              23865 477TH AVE                                   TRENT             SD      57065        LP     S01123     P        VNY       11
VIGIL                     MIRANDA A               2007 Ridgewood Ln                                 Pueblo            CO      81005-2522   HP     S16522     P        VNY      165
VIGNEAU                   TORI L                  4404 RHODES RD                                    RHODES            MI      48652        LP     S08423     P        VNY       84
VILLAGOMEZ                CALLISTA M              3528 RABBIT RUN TRAIL                             ADAMS             TN      37010        HP     S08322     P        VNY       83
VITTITOW                  MEGAN M                 1718 RAINBOW DR.                                  LONGVIEW          TX      75604        LP     S17923     P        VNY      179
VOGELSANG                 JAMIE L                 2401 36TH ST S APT 208                            MOORHEAD          MN      56560        HP     S00522     P        VNY        5
VOIGT                     KAITLYN M               2318 N 7TH STREEY                                 WAUSAU            WI      54403        HP     S05122     P        VNY       51
VOIGTS                    ANGELA C                1926 4TH AVE N                                    FT DODGE          IA      50501        AF     S13225     F        VNY      132
VOLK STENSON              SARAH A                 3128 7TH STREET EAST                              WEST FARGO        ND      58078         S     H25907     F        VNI      259
VOLLUZ                    SYLVIA J                364 STONEHEDGE DRIVE           #12L               SALT LAKE CITY    UT      84107        HM     S12230     F        VNY      122
VONDERHEIDE               EMILY K                 1341 N 1405 L                                     FOWLER            IL      62338        HP     S14722     P        VNY      147
VOSBERG                   KERRIGAN J              1302 12TH AVE SW                                  WATERTOWN         SD      57201        LP     S02523     P        VNY       25
VRANEY                    ALEXANDRA K             4506 AUGUSTINE AVE.                               WESTON            WI      54476        LP     S01223     P        VNY       12
WADDELL                   SYDNEY M                1487 DERBYSHIRE DRIVE                             GREENWOOD         IN      46143        HP     S11222     P        VNY      112
WADDELL                   TRACI L                 1738 WHITT HUNT RD                                PLEASANT GARDEN   NC      27313        LP     S21723     P        VNY      217
WADE                      ALYSSA M                318 CARRIE LANE                                   CHATHAM           IL      62629        HP     S20222     P        VNY      202




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WAGNER                    TERISA E                11962 85TH PLACE N                                MAPLE GROVE       MN      55369        DM     H26406     F        VNI      264
WAGNER                    LINDSEY K               2915 Blue Stem Dr                                 West Fargo        ND      58078-8014   FR     S00522     P        VNY        5
WAGNER                    TANISHA M               6401 IRVINE AVE LOT 20                            BEMIDJI           MN      56601        HP     S00922     P        VNY        9
WAITE                     KATHERINE L             3005 STATE ROUTE 676                              STOCKPORT         OH      43787        LP     S18323     P        VNY      183
WALD                      CAITLIN R               101 BROOKSIDE AVE                                 BLACK MOUNTAIN    NC      28711        HP     S21822     P        VNY      218
WALDERA ISHAUG            RHONDA R                337 EDGEWATER DR                                  WEST FARGO        ND      58078         S     H26406     F        VNI      264
WALKER                    ARIEL L                 5217 WAXWING                                      RAPID CITY        SD      57702        LP     S01823     P        VNY       18
WALKER                    NATALYA E               37691 SW HEIGHT OF LND DR                         ROCHERT           MN      56578        HP     S02222     P        VNY       22
WALKER                    RYLEE M                 5112 END ST                                       LEHIGH            IA      50557        HP     S13222     P        VNY      132
WALKER                    KATIE L                 6040 BELPREE RD               APT B117            AMARILLO          TX      79119        AF     S17125     F        VNY      171
WALLIN                    KRISTI C                2028 11TH ST                                      PERU              IL      61354        HP     S14022     P        VNY      140
WALLIS                    KANDI M                 81 N County Road 830                              Mendon            IL      62351-1016   HP     S14722     P        VNY      147
WALLNER                   TAMMI R                 1717 49TH ST S                                    FARGO             ND      58103        HF     H26205     F        VNI      262
WALTERS                   KAYLA D                 1620 KELBY AVE                APT 3               BILLINGS          MT      59105        LP     S01523     P        VNY       15
WALTERS                   BRITTANY A              314 36TH ST                                       VIENNA            WV      26105        LP     S18323     P        VNY      183
WALTON                    LINDSEY L               1301 1ST ST N                                     FARGO             ND      58102        HF     H26807     F        VNI      268
WAMBACH                   MARGARET A              1413 3RD AVE N #B                                 FARGO             ND      58102        WF     H26511     F        VNI      265
WANNEMACHER               TAMMY A                 105 ALBERT DRIVE                                  OTTOVILLE         OH      45876        AF     S11625     F        VNY      116
WAREHAM                   TAMARA L                13716 N MEADOWLARK COURT                          MEAD              WA      99021        LP     S07523     P        VNY       75
WARNER                    TRAE D                  2 WEST MAIN ST                                    GREENWOOD         IN      46142        HM     S11230     F        VNY      112
WARNER                    HANNAH C                1608 BALDWIN STREET                               HARLAN            IA      51537        LP     S13323     P        VNY      133
WASHBURN                  SARA L                  4230 HICKORY LANE             APT. 426            SIOUX CITY        IA      51106        LP     S02823     P        VNY       28
WATSON                    EMILY R                 3946 STELLA DRIVE                                 CLARKSVILLE       TN      37040        HP     S08322     P        VNY       83
WATSON                    THERESA D               9834 MOLINE RD                                    DENVER            IA      50622        LP     S13123     P        VNY      131
WATTS                     JESSICA L               1970 REDMON RD                                    LONGVIEW          TX      75602        HP     S17922     P        VNY      179
WATTS                     EMILY J                 2060 WILLOW TRL                                   ST.CHARLES        MO      63303        HP     S23422     P        VNY      234
WEGNER                    ELIZABETH M             267 E SHATTUCK LN                                 MIDLAND           MI      48640        HP     S27722     P        VNY      277
WEIDENBACH                MACKENZIE               493 9th Ave                                       Walcott           ND      58077        HP     H26905     P        VNI        1
WEIDOW                    KATIE M                 56 CHEROKEE DRIVE                                 GREAT FALLS       MT      59404        HP     S03622     P        VNY       36
WEIGEN                    EMMA L                  6524 S MEMORIAL DR                                TULSA             OK      74133        HM     S19930     F        VNY      199
WEISEL                    SARAH J                 4814 SALTSBURG ROAD                               MURRYSVILLE       PA      15668        HP     S18122     P        VNY      181
WELCH                     ALEXIS                  5139 W HAYDEN AVE                                 RATHDRUM          ID      83858        HP     S01322     P        VNY       13
WELCH                     BRITTANY M              1081 HENDRIX RD                                   MOSCOW            ID      83843        HM     S07630     F        VNY       76
WELCH                     HANNAH G                50 LILAC                                          CASPER            WY      82604        HP     S12822     P        VNY      128
WELCH                     PATRICIA L              42 N. 91ST E. AVE                                 TULSA             OK      74115        HP     S19922     P        VNY      199
WEMETT                    HANNAH M                979 CLEVELAND AVENUE                              DUBUQUE           IA      52003        AF     S13825     F        VNY      138
WENDELL                   BRYNN K                 735 W 3500 N                                      PLEASENT VIEW     UT      84414        HP     S07822     P        VNY       78
WENDLAND                  MEGHAN L                4415 10th ST W                                    WEST FARGO        ND      58078        HP     H26511     P        VNI      265
WENDT                     BETHANY L               W5102 BRADLEY RD                                  ROI               WI      53960        LP     S09823     P        VNY       98
WENTZ                     AMBER L                 1322 13TH AVE E                                   HIBBING           MN      55746        HP     S04222     P        VNY       42
WESDORP                   KELSEY M                41972 EHRKE DR                                    CLINTON TOWNSHI   MI      48038        LP     S14523     P        VNY      145
WEST                      KAILA D                 304 OAK HILL RD                                   CANDLER           NC      28715        HP     S21822     P        VNY      218
WHEATLEY                  MADISYN A               5128 BUENA DRIVE                                  GRANITE CITY      IL      62040        LP     S14123     P        VNY      141




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Legal Name                                        Home Address                                      City              State   Zip     Code   PR Dept   FT/PT    Code   Location
WHITE                     TASIA L                 12406 S 1450 W                                    RIVERTON          UT      84065   AF     S12225     F        VNY      122
WHITE                     VICKI M                 1602 HILLCREST DRIVE          APT 301             MANHATTAN         KS      66502   HP     S25422     P        VNY      254
WHITTEN                   JENNIFER A              318 CRABAPPLE DRIVE                               HOWARD            OH      43028   HM     S13630     F        VNY      136
WHITTINGTON               KEELY R                 5550 AVIE LANE                                    BEAUMONT          TX      77708   HP     S17422     P        VNY      174
WICHLINSKI                KYRSTEN E               2020 PUGET DR                                     WEST LAFAYETTE    IN      47906   LP     S27223     P        VNY      272
WICKA                     ANDREA D                N2622A ST. ROAD 35                                STODDARD          WI      54658   LP     S10523     P        VNY      105
WIEDRICH                  MORGAN A                5207 33RD AVE S #310                              FARGO             ND      58104    S     H26708     F        VNI      267
WIGAL                     MONICA L                93 ELM ST                                         DAVISVILLE        WV      26142   HM     S18330     F        VNY      183
WIGGERT                   BRANDON L               2320 65th Ave S #112                              Fargo             ND      58104   HF     H26305     F        VNI      263
WILDE                     SKYLER B                1690 NORTH HAYES                                  POCATELLO         ID      83204   HP     S07022     P        VNY       70
WILEY                     CASSANDRA G             3608 BROOKSIDE DR                                 WYLIE             TX      75098   HM     S17730     F        VNY      177
WILGUS                    CAITLIN M               2019 TOLER RD APT 613                             LONGVIEW          TX      75605   LP     S17923     P        VNY      179
WILLHOITE                 LAURIE J                119 CLUBHOUSE LANE            UNIT B              LEBANON           OH      45036   HP     S11422     P        VNY      114
WILLIAMS                  MATTHEW R               703 MOON FIRE ROAD                                SANDPOINT         ID      83864    S     H26605     F        VNI      266
WILLIAMS                  ASHLEY A                2998 PARK PLACE                                   NORWALK           IA      50211   HP     S07322     P        VNY       73
WILLIAMS                  TA 'SHAY L              22 1/2 2ND ST NE                                  MASON CITY        IA      50401   HP     S07722     P        VNY       77
WILLIAMS                  CARRISA C               4850 SNAIL SHELL CAVE RD                          ROCKVALE          TN      37353   HP     S08222     P        VNY       82
WILLIAMS                  SARA N                  314 NICE DR.                                      CLARKSVILLE       TN      37042   LP     S08323     P        VNY       83
WILLIAMS                  MONICA T                1054 SCHUMARD AVENUE                              Cincinnati        OH      45215   HP     S12422     P        VNY      124
WILLIAMS                  KAYLA N                 2203 ALBEMARLE DR                                 FAIRFIELD         OH      45014   LP     S12423     P        VNY      124
WILLIAMS                  RITA L                  2809 ONTARIO ST                                   PUEBLO            CO      81004   HM     S16530     F        VNY      165
WILLIAMS                  DEANNA R                477 PATE RD                                       NEW BERN          NC      28562   HP     S21722     P        VNY      217
WILLIAMS                  DAZESHA I               1007 INTERNATIONAL AVE                            JOPLIN            MO      64801   HP     S23622     P        VNY      236
WILLIAMS                  RENEE D                 8705 W 9 MILE RD                                  OAK PARK          MI      48237   HM     S27530     F        VNY      275
WILLIAMSON DAVIS          DARIAN L                3424 SCOTT ST                                     ST JOSEPH         MO      64507   HP     S23322     P        VNY      233
WILLIE                    CAROLINE A              57 AVONDALE RD                                    ASHEVILLE         NC      28803   LP     S21823     P        VNY      218
WILLROTH                  ANDREA F                211 DOVER ST                                      KINGSLEY          IA      51028   AF     S02825     F        VNY       28
WILSON                    HALLIE E                2113 BEVERLY BLVD                                 NORTH PLATTE      NE      69101   LP     S06923     P        VNY       69
WILSON                    ASHLEY T                1182 STONEWOLF TRAIL                              FAIRVIEW HEIGHT   IL      62208   LP     S14123     P        VNY      141
WILSON                    MELISSA S               520 OAKLAND BLVD                                  CAMBRIDGE         OH      43725   AF     S15225     F        VNY      152
WILSON                    MELINDA R               3101 SW WANNAMAKER DR                             TOPEKA            KS      66614   LP     S21423     P        VNY      214
WINDOM                    MELISSA R               2431 LINDSAY LN                                   GRAND BLANC       MI      48439   HM     S04930     F        VNY       49
WINKELMANN                BRIDGETTE A             1900 MURPHY LANE                                  EAU CLAIRE        WI      54703   HP     S10422     P        VNY      104
WINN                      CASEY L                 1180 W. AKEMAN BRIDGE RD                          COLUMBIA          MO      65202   HP     S23222     P        VNY      232
WINSLOW                   MCKENZEY M              518 S 2ND ST                                      WAPELLO           IA      52653   HP     S13922     P        VNY      139
WINTER                    HAILEY A                368 PINE RIDGE RD                                 SARTELL           MN      56377   HP     S07722     P        VNY       77
WINTER                    AIMEE S                 21363 WHITE PINE LN                               NEW VIENNA        IA      52065   HP     S13022     P        VNY      130
WIRTH                     BARBARA M               101 WARREN ST                                     DAVENPORT         ND      58021   HF     H00105     F        VNI        1
WITTY                     GRACE A                 412 S TURNBERRY                                   MUNCIE            IN      47396   HP     S11022     P        VNY      110
WOLFGANG                  EMILY A                 607 W SALZBURG RD                                 AUBURN            MI      48611   HP     S08422     P        VNY       84
WOLFORD                   ALYSHA S                3012 W 17TH ST                                    JOPLIN            MO      64801   HP     S23622     P        VNY      236
WOLSCHLAGER               KAYLA L                 1629 OKLAHOMA AVE                                 FLINT             MI      48502   LP     S27623     P        VNY      276
WOODARD                   TAI C                   2445 WHITMORE                                     OMAHA             NE      68112   HP     S06122     P        VNY       61




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WRIGHT                    ANDRESHA M              4514 JAYNES ST.                                     OMAHA            NE      68104   HP     S06122     P        VNY       61
WURGLER                   PAISLEY K               1134 1ST ST NW                                      ROCHESTER        MN      55901   HF     H25707     F        VNI      257
YADRO                     JENNA L                 5635 BUTTERNUT DR                                   KEWASKUM         WI      53040   LP     S04423     P        VNY       44
YELTON                    ASHLEY L                424 VISCOUNT DR                                     CINCINNATI       OH      45238   AF     S12425     F        VNY      124
YENDRA                    KYLIE M                 1523 AVE Q                                          KEARNEY          NE      68847   HP     S06622     P        VNY       66
YOUNG                     JENNIFER L              5901 DARTMOUTH DR                                   MOUNTAIN GREEN   UT      84050   DM     H26406     F        VNI      264
YOUNG                     OLIVIA M                509 W 2ND AVE                                       LENNOX           SD      57039   HP     S01122     P        VNY       11
YOUNG                     MARSHA R                463 CHICAGO AVE                                     YOUNGSTOWN       OH      44511   HP     S11722     P        VNY      117
YOUNG                     LAKESHIA A              3485 MAIDA                                          BEAUMONT         TX      77708   LP     S17423     P        VNY      174
YOUNG                     ROBYN R                 12 KIRKLEY LN                                       SPRINGFIELD      IL      62704   HP     S20222     P        VNY      202
YOUNG                     ANNABELLE R             5100 S MAIN AVE APT B100                            SPRINGFIELD      MO      65810   AF     S23025     F        VNY      230
YOUNG                     BRITTNEY L              2767 BLOOMFIELD DR                                  ST LOUIS         MO      63129   HP     S23522     P        VNY      235
YOUNG                     KEELY E                 2512 MEADOW DR                                      LAFAYETTE        IN      47909   HP     S27222     P        VNY      272
YOUNG                     NATALIE L               1718 7TH ST S                                       FARGO            ND      58103   SM     S29730     F        VNY      297
YOUSIF                    MENA D                  2119 15TH ST SE                                     ROCHESTER        MN      55904   HP     S22022     P        VNY      220
ZADEH                     SHERELL L               14202 MOLASSES MILL DR                              DRAPER           UT      84020   HP     S12222     P        VNY      122
ZARATE                    MARIAH C                1963 S LAYTON BLVD                                  MILWAUKEE        WI      53215   HP     S04822     P        VNY       48
ZEMLJAK                   KELI J                  19 LUMBER JACK RD                                   BUTTE            MT      59701   LP     S03523     P        VNY       35
ZERMENO                   NICOLE                  16920 W 63RD PLACE                                  ARVADA           CO      80403   RM     H26406     F        VNI      264
ZETOCHA                   BAILEY R                3100 HOMESTEAD DR                                   BISMARCK         ND      58503   HP     S00422     P        VNY        4
ZILLMER                   BRIANNA M               806 WABASHA AVE                                     ST. CHARLES      MN      55972   HP     S22022     P        VNY      220
ZIMMERMAN                 SAMATHA K               1959 WHISPERING OAK                                 DAYTON           OH      45440   HP     S11522     P        VNY      115
ZINTL                     SAMANTHA J              2641 WOODLAKE CT                APT 3               WYOMING          MI      49519   AF     S08025     F        VNY       80
ZITZELBERGER              VICTORIA J              708 MARDIS DRIVE                                    JONESBORO        AR      72404   HP     S20922     P        VNY      209
ZUBACK                    MCKENZIE E              1632 S 59 STREET                                    WEST ALLIS       WI      53214   LP     S20723     P        VNY      207
ZUBER                     SHONNA D                13 N JFK RD                                         EAST DUBUQUE     IL      61025   HM     S07330     F        VNY       73
ZUEGE                     JALISSA S               302 FOREST LANE                                     MARYSVILLE       MI      48040   HP     S22322     P        VNY      223




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                                                                                                        VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                     Case No. 17-30112
Schedule F
Governmental Units

                            CreditorName                                        CreditorNoticeName                               Address1                             Address2                Address3               City        State           Zip
ATTORNEY GENERALS
Arkansas Attorney General                                            Attn Bankruptcy Department                   323 Center St. Ste 200                                                                        Little Rock      AR      72201-2610
Colorado Attorney General                                            Attn Bankruptcy Department                   Ralph L Carr Colorado Judicial Center   1300 Broadway, 10th Fl                                Denver           CO      80203
Idaho Attorney General                                               Attn Bankruptcy Department                   Statehouse                                                                                    Boise            ID      83720-1000
Illinois Attorney General                                            Attn Bankruptcy Department                   James R. Thompson Ctr                   100 W. Randolph St.                                   Chicago          IL      60601
Indiana Attorney General                                             Attn Bankruptcy Department                   Indiana Govt Center South 5th Fl        302 West Washington St                                Indianapolis     IN      46204
Iowa Attorney General                                                Attn Bankruptcy Department                   Hoover State Office Bldg                1305 E. Walnut                                        Des Moines       IA      50319
Kansas Attorney General                                              Attn Bankruptcy Department                   120 SW 10th Ave., 2nd Fl                                                                      Topeka           KS      66612-1597
Kentucky Attorney General                                            Attn Bankruptcy Department                   700 Capitol Avenue                      Capitol Building, Suite 118                           Frankfort        KY      40601
Michigan Attorney General                                            Attn Bankruptcy Department                   525 W. Ottawa St.                       P.O. Box 30212                                        Lansing          MI      48909-0212
Minnesota Attorney General                                           Attn Bankruptcy Department                   State Capitol, Ste. 102                                                                       St. Paul         MN      55155
Missouri Attorney General                                            Attn Bankruptcy Department                   Supreme Court Bldg                      207 W. High St.                                       Jefferson City   MO      65101
Montana Attorney General                                             Attn Bankruptcy Department                   Justice Bldg                            215 N. Sanders 3rd Fl         PO Box 201401           Helena           MT      59620-1401
Nebraska Attorney General                                            Attn Bankruptcy Department                   State Capitol                           P.O. Box 98920                                        Lincoln          NE      68509-8920
New York Attorney General                                            Attn Bankruptcy Department                   Office of the Attorney General          The Capitol, 2nd Fl.                                  Albany           NY      12224
North Carolina Attorney General                                      Attn Bankruptcy Department                   Department of Justice                   P.O. Box 629                                          Raleigh          NC      27602-0629
North Dakota Attorney General                                        Attn Bankruptcy Department                   State Capitol                           600 E. Boulevard Ave.                                 Bismarck         ND      58505-0040
Ohio Attorney General                                                Attn Bankruptcy Department                   State Office Tower                      30 E. Broad St. 14th Fl                               Columbus         OH      43266-0410
Oklahoma Attorney General                                            Attn Bankruptcy Department                   313 NE 21st St                                                                                Oklahoma City    OK      73105
Pennsylvania Attorney General                                        Attn Bankruptcy Department                   1600 Strawberry Square                                                                        Harrisburg       PA      17120
South Dakota Attorney General                                        Attn Bankruptcy Department                   1302 East Highway 14                    Suite 1                                               Pierre           SD      57501-8501
Tennessee Attorney General                                           Attn Bankruptcy Department                   Office of the Attorney General          PO Box 20207                                          Nashville        TN      37202-0207
Texas Attorney General                                               Attn Bankruptcy Department                   Capitol Station                         P.O. Box 12548                                        Austin           TX      78711-2548
Utah Attorney General                                                Attn Bankruptcy Department                   Utah State Capitol Complex              350 North State St Ste 230                            Salt Lake City   UT      84114-2320
Washington Attorney General                                          Attn Bankruptcy Department                   1125 Washington St SE                   PO Box 40100                                          Olympia          WA      98504-0100
West Virginia Attorney General                                       Attn Bankruptcy Department                   State Capitol Bldg 1 Rm E-26            1900 Kanawha Blvd., East                              Charleston       WV      25305
Wisconsin Attorney General                                           Attn Bankruptcy Department                   Wisconsin Dept. of Justice              State Capitol Room 114 East   PO Box 7857             Madison          WI      53707-7857
Wyoming Attorney General                                             Attn Bankruptcy Department                   State Capitol Bldg, Room 123            200 W. 24th Street                                    Cheyenne         WY      82002

CONSUMER PROTECTION AGENCIES
Office of the Attorney General - Albany Office                       Bureau of Consumer Fruads and Protection     The Capitol                                                                                   Albany           NY      12224-0341
Office of the Attorney General - New York City Office                Bureau of Consumer Fruads and Protection     120 Broadway, 3rd Floor                                                                       New York         NY      10271-0332
Office of the Attorney General                                       Bureau of Consumer Protection                Strawberry Square, 14th Floor                                                                 Harrisburg       PA      17120
Wisconsin Department of Agriculture, Trade and Consumer Protection   Bureau of Consumer Protection                2811 Agriculture Dr                     PO Box 8911                                           Madison          WI      53708-8911
Tennessee Office of the Attorney General                             Consumer Advocate and Protection Division    PO Box 20207                                                                                  Nashville        TN      37202-0207
Illinois Office of the Attorney General - Carbondale                 Consumer Fraud Bureau                        601 S. University Ave                                                                         Carbondale       IL      62901
Illinois Office of the Attorney General - Chicago                    Consumer Fraud Bureau                        100 W. Randolph St                                                                            Chicago          IL      60601
Illinois Office of the Attorney General - Springfield                Consumer Fraud Bureau                        500 S. 2nd St                                                                                 Springfield      IL      62706
Office of Kansas Attorney                                            Consumer Protection and Antitrust Division   120 S.W. 10th Ave, 2nd Floor                                                                  Topeka           KS      66612-1597
Office of the Attorney General                                       Consumer Protection and Antitrust Division   1050 E. Interstate Ave                  Suite 200                                             Bismarck         ND      58503-5574
Arkansas Office of the Attorney General                              Consumer Protection Division                 323 Center St.                          Suite 200                                             Little Rock      AR      72201
Colorado Office of the Attorney General                              Consumer Protection Division                 Ralph L. Carr Judicial Building         1300 Broadway, 7th Floor                              Denver           CO      80203
Idaho Attorney Generals Office                                       Consumer Protection Division                 954 W. Jefferson                        2nd Floor                     PO Box 83720            Boise            ID      83720
Iowa Office of the Attorney General                                  Consumer Protection Division                 Hoover State Office Building            1305 E. Walnut St.                                    Des Moines       IA      50319-0106
Kentucky Office of the Attorney General                              Consumer Protection Division                 1024 Capital Center Dr                  Suite 200                                             Frankfort        KY      40601
Nebraska Office of the Attorney General                              Consumer Protection Division                 2115 State Capitol                                                                            Lincoln          NE      68509
North Carolina Office of the Attorney General                        Consumer Protection Division                 Mail Service Center 9001                                                                      Raleigh          NC      27699-9001
Office of the Attorney General                                       Consumer Protection Division                 Government Center South                 5th Floor                     302 W. Washington St.   Indianapolis     IN      46204
Office of the Attorney General                                       Consumer Protection Division                 PO Box 30213                                                                                  Lansing          MI      48909-7713
Office of the Attorney General                                       Consumer Protection Division                 PO Box 1789                                                                                   Charleston       WV      25326-1789
Texas Office of the Attorney General                                 Consumer Protection Division                 PO Box 12548                                                                                  Austin           TX      78711-2548
Washington Office of the Attorney General                            Consumer Protection Division                 1125 Washington St., SE                 PO Box 40100                                          Olympia          WA      98504-0100
Ohio Attorney Generals Office                                        Consumer Protection Section                  30 E. Broad St., 14th Floor                                                                   Columbus         OH      43215-3400
Office of the Attorney General                                       Consumer Protection Unit                     Kendrick Building                       2320 Capitol Avenue                                   Cheyenne         WY      82002
Oklahoma Attorney General                                            Consumer Protection Unit                     313 NE 21st St                                                                                Oklahoma City    OK      73105
Missouri Attorney Generals Office                                    Consumer Protection Unit                     PO Box 899                                                                                    Jefferson City   MO      65102
Office of the Attorney General                                       Consumer Services Division                   1400 NCL Tower                          445 Minnesota St                                      St. Paul         MN      55101
Tennessee Department of Commerce and Insurance                       Division of Consumer Affairs                 500 James Robertson Pkwy., 12th Floor                                                         Nashville        TN      37243-0600
New York State Department of State                                   Division of Consumer Protection              Consumer Assistance Unit                99 Washington Ave                                     Albany           NY      12231
South Dakota Office of the Attorney General                          Division of Consumer Protection              1302 E Hwy 14                           Suite 3                                               Pierre           SD      57501
Utah Department of Commerce                                          Division of Consumer Protection              160 East 300 South, 2nd Floor           PO Box 146704                                         Salt Lake City   UT      84114-6704
Montana Office of Consumer Protection                                Office of Consumer Protection                PO Box 200151                                                                                 Helena           MT      59620-0151
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                                                                                                                                                        VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                                        Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group        Leased Premises                           Landlord Name and Address                              Registered Agent and Address                                Notice Address                         Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                                  Amount
  2      Simon                 1600 Miller Trunk Highway, Space #I-5     Simon Property Group, L.P.                             REJECTED SERVICE OF PROCESS                                                                        Leslie C. Heilman                                              $15,219.47    2/17 Rent
                               Duluth, MN 55811-5607                     c/o M.S. Management Associates Inc.                    (Not the Registered Agent)                                                                         Ballard Spahr, LLP
                                                                         225 West Washington Street                             Corporation Service Company                                                                        2029 Century Park East, Suite 800
                                                                         Indianapolis, IN 46204-3438                            Registered Agent for Simon Property Group, L.P.                                                    Los Angeles, CA 90067-2909
                                                                                                                                2711 Centerville Rd, Ste. 400
                                                                                                                                Wilmington, DE 19808                                                                               Ronald M. Tuckler
                                                                                                                                                                                                                                   Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                   225 W. Washington St.
                                                                                                                                                                                                                                   Indianapolis, IN 46204
  3      GK Development        2800 So. Columbia Rd. #329                Columbia Grand Forks, LLC                              The Corporation Trust Company                                                                                                                                    $13,802.14     2/17 Rent
                               Grand Forks, ND 58201-6030                c/o GK Development, Inc.                               Registered Agent for Columbia Grand Forks, LLC
                                                                         257 East Main Street, Ste. 100                         1209 Orange St
                                                                         Barrington, IL 60010                                   Corporation Trust Center
                                                                                                                                Wilmington, DE 19801
  4      CBL                   626 Kirkwood Mall #175                    Kirkwood Mall Acquisition LLC                          Corporation Service Company                                                                        Schenk Annes Tepper Campbell Ltd.                             $11,063.22     2/17 Rent
                               Bismarck, ND 58504-5704                   CBL & Associates Management, Inc.                      Registered Agent for Kirkwood Mall Acquisition LLC                                                 Attn: Andrew J. Annes, Esquire
                                                                         2030 Hamilton Place Boulevard                          2711 Centerville Rd, Ste. 400                                                                      311 South Wacker Drive, Ste. 2500
                                                                         CBL Center, Suite 500                                  Wilmington, DE 19808                                                                               Chicago, IL 60606
                                                                         Chattanooga, TN 37421-6000
  5      West Acres            3902 13th Avenue South, Suite #2321       West Acres Development, LLP                            G. Bradley Schlossman                                                                                                                                            ($2,674.13)    2016 Rent Adj
         Development, LLP      Fargo, ND 58103                           Attn: Landlord                                         Registered Agent for West Acres Development LLP
                                                                         3902 13th Ave S, Suite 3717                            3902 13th Ave S
                                                                         Fargo, ND 58103                                        Fargo, ND 58103
  7      Westridge Mall        Westridge Mall                            Westridge Mall Limited Partnership                     Richard E. Brandwein                                                                                                                                              $2,083.14     2/17 Rent; 1st Qtr Marketing Dues
         Limited Partnership   2001 W Lincoln Ave #51                    c/o Martin H. Graff, General Partner                   1200 Shermer Rd, Suite 108
                               Fergus Falls, MN 56537                    Westridge Mall Associates, Inc.                        Northbrook, IL 60062
                                                                         560 Green Bay Road, Suite 403
                                                                         Winnetka, IL 60093
  8      Lexington Realty      Westgate Mall                             Westgate Mall Realty Group, LLC successor to           Westgate Mall Realty Group, LLC                                                                                                                                   $7,460.49     2/17 Rent
         International, LLC    4136 Baxter Dr, #30                       Developers Diversified Realty Corporation              Registered Agent
                               Brainerd, MN 56401                        American Redevelopers, Inc.,                           David Jackson
                                                                         6600 France Avenue South, Ste. 174                     14136 Baxter Drive, Ste. 51
                                                                         Minneapolis, MN 55435                                  Baxter, MN 56425
  9      Lexington Realty      1201 Paul Bunyan Dr. NW #48               Bemidji Holdings LLC, successor in interest to         Registered Agent Solutions, Inc.                            Bemidji Holdings, LLC                                                                                 $5,950.99     2/17 Rent
         International, LLC    Bemidji, MN 56601-4155                    Developers Diversified Realty Corporation              Registered Agent for Bemidji Holdings LLC                   c/o Lexington Realty
                                                                         c/o GJ Realty                                          1679 S Dupont Hwy, Ste. 100                                 911 East Country Line Road, Ste. 203
                                                                         49 West 37th Street, 9th Floor                         Dover, DE 19901                                             Lakewood, NJ 08701
                                                                         New York, NY 10018-6257
  10     J Herzog              1605 1st Street South #A-117              Rockstep Willmar, LLC                                  Andy Weiner                                                                                                                                                       $4,407.57     2/17 Rent
                               Willmar, MN 56201-4234                    Attn: Vice President - Leasing                         Registered Agent for Rockstep Willmar, LLC
                                                                         55 Public Square, Suite 1910                           1445 North Loop West, Ste. 625
                                                                         Cleveland, OH 44113                                    Houston, TX 77008
  11     WPG                   4001 West 41st St. #1540                  SM Empire Mall, LLC                                    The Corporation Trust Company                                                                      Ronald E. Gold                                                $28,250.45     2/17 Rent
                               Sioux Falls, SD 57106                     c/o M.S. Management Associates Inc.                    Registered Agent for Empire Mall, LLC                                                              Frost Brown Todd LLC
                                                                         225 West Washington Street                             1209 Orange St                                                                                     3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438                            Corporation Trust Center                                                                           301 E. Fourth St.
                                                                                                                                Wilmington, DE 19801                                                                               Cincinnati, OH 45202
  12     GGP                   1850 Adams Street #120                    River Hills Mall, LLC                                  Corporation Service Company                                                                        Thor McLaughlin                                               $15,034.91     2/17 Rent; 1/17-2/17 CAM Adj
                               Mankato, MN 56001-4847                    Attn: Law/Lease Administration Department              Registered Agent for River Hills Mall, LLC                                                         Ivan M. Gold
                                                                         c/o River Hills Mall Partners                          2711 Centerville Rd, Ste. 400                                                                      Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                         110 North Wacker Drive                                 Wilmington, DE 19808                                                                               Three Embarcadero Center, 12th Floor
                                                                         Chicago, IL 60606                                                                                                                                         San Francisco, CA 94111-4074
  13     Rouse Properties      200 West Hanley Avenue, Suite D413        Silver Lake Mall, LLC                                  Corporation Service Company                                 Silver Lake Mall                       Dustin P. Branch                                               $6,499.94     2/17 Rent
                               Coeur d'Alene, ID 83815                   Attn: General Counsel                                  Registered Agent for Silver Lake Mall, LLC                  Attn: General Manager                  Ballard Spahr LLP
                                                                         c/o Rouse Properties, Inc.                             2711 Centerville Rd, Ste 400                                200 W. Henry Ave                       2029 Century Park East, Suite 800
                                                                         1114 Avenue of the Americas, Suite 280                 Wilmington, DE 19808                                        Coeur D'Alene, ID 83815                Los Angeles, CA 90067-2909
                                                                         New York, NY 10036


  15     Starwood Retail       300 So. 24th St. West, Suite #A13         Rimrock Owner L.P. successor in interest to Macerich   The Corporation Trust Company                               Rimrock Owner, L.P.                    Dustin P. Branch                                              $18,299.46     2/17 Rent
                               Billings, MT 59102-2464                   Rimrock Limited Partnership                            Registered Agent for Rimrock Owner L.P.                     Attn: General Manager                  Ballard Spahr LLP
                                                                         Attn: Lease Coordination                               1209 Orange St                                              300 South 24th Street W                2029 Century Park East, Suite 800
                                                                         Starwood Retail Property Management, LLC               Corporation Trust Center                                    Billings, MT 59102                     Los Angeles, CA 90067-2909
                                                                         One East Wacker Drive, Ste 3700                        Wilmington, DE 19801
                                                                         Chicago, IL 60601
  16     Gallatin Mall Group, 2825 Main Street, Unit 5-G                 Gallatin Mall Group, L.L.C.                            Steven J Corning                                                                                                                                                  $6,198.33     2/17 Rent
         LLC                  Bozeman, MT 59718-3927                     PO Box 80510                                           Registered Agent for Gallatin Mall Group, L.L.C.
                                                                         Billings, MT 59108-0510                                PO Box 80510
                                                                                                                                Billings, MT 59108-0510
  18     WPG                   2200 North Maple Ave, Space #2440         SM Rushmore Mall, LLC                                  The Corporation Trust Company                                                                      Ronald E. Gold                                                $13,996.42     2/17 Rent; 1/17 CAM/Promo Adj
                               Rapid City, SD 57701-7881                 c/o M.S. Management Associates Inc.                    Registered Agent for SM Rushmore Mall, LLC                                                         Frost Brown Todd LLC
                                                                         225 West Washington Street                             1209 Orange St                                                                                     3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438                            Corporation Trust Center                                                                           301 E. Fourth St.
                                                                                                                                Wilmington, DE 19801                                                                               Cincinnati, OH 45202




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                                                                                                                                                                    Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group       Leased Premises                         Landlord Name and Address                           Registered Agent and Address                                  Notice Address                                Additional Notice                                       Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                                         Amount
  19     GPCME                1681 3rd Avenue West #15                Great Plains Clinic Medical Enterprises, LLC        Mark Grove                                                    Prairie Hills Mall                                                                                                $5,237.23    2/17 Rent
                              Dickinson, ND 58601-3025                PO Box 2121                                         Registered Agent for Great Plains Clinic Medical              Attn: Peggy O'Brien
                                                                      Dickinson, ND 58602-2121                            Enterprises, LLC                                              1681 3rd Ave W
                                                                                                                          1487 W High St.                                               Dickinson, ND 58601
                                                                                                                          Dickinson, ND 58601-3681
  20     Nodana Petroleum     PO Box 1492                             Nodana Petroleum Corporation                        The Corporation Trust Company                                                                                                                                                 $31,648.88     1/17-2/17 % Rent
         Corporation          Williston, ND 58801                     PO Box 1221                                         Registered Agent for Nodana Petroleum Corporation
                                                                      Williston, ND 58802-1221                            1209 Orange St
                                                                                                                          Corporation Trust Center
                                                                                                                          Wilmington, DE 19801
  22     Milton Swedberg      815 Lake Avenue, Suite 9                Washington Square Limited Partnership               Winton D. Johnson and Ronald A. Ohe                                                                                                                                            $3,462.26     2/17 Rent
                              Detroit Lakes, MN 56501-3065            PO Box 996                                          Registered Agent for Washington Square Limited
                                                                      Moorhead , MN 56560                                 Partnership
                                                                                                                          1001 Center Ave #D
                                                                                                                          Moorhead , MN 56560
  25     Lexington Realty     1300 9th Avenue SE, Ste. 54             Watertown Plaza LLC successor in interest to DDR    Registered Agent Solutions, Inc.                                                                                                                                               $4,265.16     2/17 Rent
         International, LLC   Watertown, SD 57201-5399                Watertown LLC successor in interest to Watertown    Registered Agent for Watertown Plaza LLC
                                                                      Mall Associates                                     1679 S Dupont Hwy, Ste 100
                                                                      34555 Chagrin Boulevard                             Dover, DE 19901
                                                                      Moreland Hills, OH 44022
  26     CBL                  2400 10th Street SW #409                Minot Dakota Mall LLC                               National Registered Agents, Inc.                              Lightstone Group                              Schenk Annes Tepper Campbell Ltd.                                 $16,904.34     2/17 Rent; 2015 Ins Adj
                              Minot, ND 58701-6997                    Attn: General Counsel                               Registered Agent for Minot Dakota Mall LLC                    C/O Landlord                                  Attn: Andrew J. Annes, Esquire
                                                                      c/o Prime Retail Property Management, LLC           160 Greentree Dr., Ste. 101                                   326 3rd Street                                311 South Wacker Drive, Ste. 2500
                                                                      217 East Redwood Street                             Dover, DE 19904                                               Lakewood, NJ 08701                            Chicago, IL 60606
                                                                      Baltimore, MD 21202
  27     GGP                  4201 West Division Street; Suite 14     St. Cloud Mall L.L.C.                               Corporation Service Company                                   Crossroads Center (MN)                        Thor McLaughlin                                                   $24,456.61     2/17 Rent; 1/17 CAM adj
                              St Cloud, MN 56301-6601                 Attn: Law/Lease Administration Department           Registered Agent for St. Cloud Mall LLC                       Attn: General Manager                         Ivan M. Gold
                                                                       c/o Crossroads Center (MN)                         2711 Centerville Rd, Ste. 400                                 4101 West Division Street                     Allen Matkins Leck Gamble Mallory & Natsis LLP, Three
                                                                      110 N. Wacker Dr.                                   Wilmington, DE 19808                                          St. Cloud, MN 56301                           Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                               San Francisco, CA 94111-4074
  28     WPG                  4400 Sergeant Road Suite 370            SM Southern Hills Mall, LLC                         The Corporation Trust Company                                                                               Ronald E. Gold                                                    $26,905.51     2/17 Rent
                              Sioux City, IA 51106-4711               c/o M.S. Management Associates Inc.                 Registered Agent for SM Southern Hills Mall, LLC                                                            Frost Brown Todd LLC
                                                                      225 West Washington Street                          1209 Orange St                                                                                              3300 Great American Tower
                                                                      Indianapolis, IN 46204-3438                         Corporation Trust Center                                                                                    301 E. Fourth St.
                                                                                                                          Wilmington, DE 19801                                                                                        Cincinnati, OH 45202
  31     John V. Olson        3015 Highway 29 So, Suite 4006          Viking Plaza Realty Group LLC successor to Viking   Scot L. Snitker                                                                                                                                                                $5,866.59     2/17 Rent; 2016 CAM/Ins/ReTax Adj
                              Alexandria, MN 56308-3403               Plaza Center-L.P.                                   Registered Agent for Viking Plaza Realty Group LLC
                                                                      3015 Hwy 29 S, Ste. 4035                            3015 Hwy 29 South
                                                                      Alexandria, MN 56308                                Alexandria, MN 56308
  32     Central Square Mall, 201 NW 4th Street #32                   Central Square Mall, L.L.C.                         Registered Agent for Central Square Mall, L.L.C.                                                                                                                              $29,422.26     2/17 Rent
         LLC                  Grand Rapids, MN                        Ryan Development                                    201 NW 4th Str
                                                                      PO Box 598                                          Grand Rapids, MN 55744
                                                                      Grand Rapids, MN 55744
  35     Hyman Family Trust 3100 Harrison Ave, Space C-4              Anne Hyman, The Northern Trust Company & Timothy                                                                  Anne Hyman, The Northern Trust Company &                                                                         $4,574.84     1/17 Rent; 2/17 Rent
                            Butte, MT 59701                           M. Ison as co-trustees of the                                                                                     Timothy M. Ison as co-trustees of the Hyman
                                                                      Hyman Family Trust                                                                                                Family Trust
                                                                      3100 Harrison Ave                                                                                                 3625 E. Thousand Oaks Blvd, Ste. 325
                                                                      Butte, MT 59701                                                                                                   Westlake Village, CA 91362
  36     GK Development       1200 10th Avenue South, #63             GK Holiday Village, LLC                             The Corporation Trust Company                                                                                                                                                 $13,305.14     2/17 Rent
                              Great Falls, MT 59405-4424              c/o GK Development, Inc.                            Registered Agent for GK Holiday Village, LLC
                                                                       257 East Main Street, Ste. 100                     1209 Orange St
                                                                      Barrington, IL 60010                                Corporation Trust Center
                                                                                                                          Wilmington, DE 19801
  42     Rubloff Tri-State    Thunderbird Mall                        Rubloff Tri-State Thunderbird Portfolio, L.L.C.     Donald Q. Manning                                                                                                                                                              $3,376.87     2/17 Rent
         Thunderbird          1401 S 12th Ave W                       ATTN: General Counsel                               6735 Vistagreen Way
         Portfolio, L.L.C.    Virginia, MN 55792                      4949 Harrison Avenue, Suite 200                     Rockford, IL 61107
                                                                      Rockford, IL 61108

                                                                      Rubloff Tri-State, L.L.C.
                                                                      6723 Weaver Rd, Suite 108
                                                                      Rockford, IL 61114
  46     CBL                  2500 Milton Ave Space 122A              Janesville Mall Limited Partnership                 Corporation Service Company                                                                                 Schenk Annes Tepper Campbell Ltd.                                  $4,583.33     2/17 Rent
                              Janesville, WI 53545                    CBL & Associates Management, Inc.                   Registered Agent for Janesville Mall Limited Partnership                                                    Attn: Andrew J. Annes, Esquire
                                                                      2030 Hamilton Place Boulevard                       8040 Excelsior Dr. Ste 400                                                                                  311 South Wacker Drive, Ste. 2500
                                                                      CBL Center, Suite 500                               Madison, WI 53717                                                                                           Chicago, IL 60606
                                                                      Chattanooga, TN 37421-6000
  47     GGP                  Fox River Mall, 4301 W Wisconsin        Fox River Shopping Center, LLC                      Corporation Service Company                                   Fox River Mall                                Thor McLaughlin                                                   ($6,680.03)    2/17 Rent; 1/17-2/17 Rent Adj
                              Appleton, WI 54913                      Attn: Law/Lease Administration Department           Registered Agent for Fox River Shopping Center, LLC           Attn: General Manager                         Ivan M. Gold
                                                                      c/o Fox River Mall                                  2711 Centerville Rd, Ste. 400                                 4301 West Wisconsin Ave                       Allen Matkins Leck Gamble Mallory & Natsis LLP, Three
                                                                      110 N Wacker Dr.                                    Wilmington, DE 19808                                          Appleton, WI 54913                            Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                               San Francisco, CA 94111-4074




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                                                                                                                                                                          Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group      Leased Premises                         Landlord Name and Address                                  Registered Agent and Address                                  Notice Address                             Additional Notice                                       Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                                            Amount
  48     Simon               5300 S 76th St #290                     Southridge Limited Partnership                             The Corporation Trust Company                                                                            Leslie C. Heilman                                                   $6,224.49    2/17 Rent
                             Greendale, WI 53129                     c/o M.S. Management Associates Inc.                        Registered Agent for Southridge Limited Partnership                                                      Ballard Spahr, LLP
                                                                     225 West Washington Street                                 1209 Orange St                                                                                           2029 Century Park East, Suite 800
                                                                     Indianapolis, IN 46204-3438                                Corporation Trust Center                                                                                 Los Angeles, CA 90067-2909
                                                                                                                                Wilmington, DE 19801
                                                                                                                                                                                                                                         Ronald M. Tuckler
                                                                                                                                                                                                                                         Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                         225 W. Washington St.
                                                                                                                                                                                                                                         Indianapolis, IN 46204
  49     Taubman             4282B Baldwin Rd., Space #530A          Taubman Auburn Hills Associates Limited Partnership        Corporation Service Company                                                                              Andrew S. Conway                                                  $28,291.02     2/17 Rent; 1/17 Elec; 2/16-12/16 % Rent
                             Auburn Hills, MI 48326                  PO Box 67000                                               Registered Agent for Taubman Auburn Hills Associates                                                     200 East Long Lake Road, Suite 300
                                                                     Department 124501                                          Limited Partnership                                                                                      Bloomfield Hills, MI 48304
                                                                     Detroit, MI 48267-1245                                     2711 Centerville Rd, Ste. 400
                                                                                                                                Wilmington, DE 19808
  51     CBL                 C320 Wausau Center, #320                C. Michelle Panovich, of Mid-America Asset                 Corporation Service Company                                   Mid-America Real Estate - Wisconsin, LLC   Schenk Annes Tepper Campbell Ltd.                                  $4,583.33     2/17 Rent
                             Wausau, WI 54403-5506                   Management, Inc., not personally but solely as Court       Registered Agent for Mid-American Real Estate -               648 Plankinton Ave, Ste. 264               Attn: Andrew J. Annes, Esquire
                                                                     Appointed Receiver pursuant to Case No. 16-CV-591          Wisconsin, LLC                                                Milwaukee, WI 53203                        311 South Wacker Drive, Ste. 2500
                                                                     pending in the Circuit Court of Marathon County, State     2711 Centerville Rd, Ste. 400                                                                            Chicago, IL 60606
                                                                     of Wisconsin                                               Wilmington, DE 19808
                                                                     c/o Mid-America Asset Management, Inc.
                                                                     One Parkview Plaza, Fifth Floor
                                                                     Oakbrook Terrace, IL 60181
  54     Simon               18813 East 39th Street, #2048           SPG Independence Center, LLC                               The Corporation Trust Company                                                                            Leslie C. Heilman                                                 $26,059.59     2/17 Rent; 2016 ReTax Adj
                             Independence, MO 64057                  c/o M.S. Management Associates Inc.                        Registered Agent for SPG Independence Center, LLC                                                        Ballard Spahr, LLP
                                                                     225 West Washington Street                                 1209 Orange St                                                                                           2029 Century Park East, Suite 800
                                                                     Indianapolis, IN 46204-3438                                Corporation Trust Center                                                                                 Los Angeles, CA 90067-2909
                                                                                                                                Wilmington, DE 19801
                                                                                                                                                                                                                                         Ronald M. Tuckler
                                                                                                                                                                                                                                         Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                         225 W. Washington St.
                                                                                                                                                                                                                                         Indianapolis, IN 46204
  60     Starwood Retail     228 Gateway Mall, #F-616                Starwood Retail                                            The Corporation Trust Company                                 SRP Property Management, LLC               Boston Financial                                                  $13,155.84     2/17 Rent; 2/17 HVAC Adj
                             Lincoln, NE 68505-2437                  Star-West Gateway LLC                                      Registered Agent for Star-West Gateway LLC                    Attn: Lease Coordination                   Attn: General Counsel
                                                                                                                                1209 Orange St                                                One East Wacker Drive, Ste. 3700           15303 Dallas Parkway/Suite 650
                                                                     ,                                                          Corporation Trust Center                                      Chicago, IL 60601                          Dallas, TX 75248
                                                                                                                                Wilmington, DE 19801
                                                                                                                                                                                                                                         Dustin P. Branch
                                                                                                                                                                                                                                         Ballard Spahr LLP, 2029 Century Park East, Suite 800
                                                                                                                                                                                                                                         Los Angeles, CA 90067-2909
  61     GGP                 10000 California Street, Suite 2248     Westroads Mall, L.L.C.                                     Corporation Service Company                                                                              Thor McLaughlin                                                    $6,308.33     2/17 Rent
                             Omaha-Westroad, NE 68114-2303           Attn: Law/Lease Administration Department                  Registered Agent for Westroads Mall, L.L.C.                                                              Ivan M. Gold
                                                                     c/o Westroads Mall                                         2711 Centerville Rd, Ste. 400                                                                            Allen Matkins Leck Gamble Mallory & Natsis LLP, Three
                                                                     110 N. Wacker Dr.                                          Wilmington, DE 19808                                                                                     Embarcadero Center, 12th Floor
                                                                     Chicago, IL 60606                                                                                                                                                   San Francisco, CA 94111-4074
  65     J Herzog            3404 West 13th Street, Suite 125                                                                   Martin H. Herzog                                                                                                                                                            $6,976.17     2/17 Rent; Annual ins adj
                             Grand Island, NE 68803-2389             Conestoga Mall 2002, LLC                                   Registered Agent for Conestoga Mall 2002, LLC
                                                                     25425 Center Ridge Road                                    1720 S Bellaire St., Ste. 1209
                                                                     Cleveland, OH 44145                                        Denver, CO 80222-4336
  66     DP Management,      5019 2nd Avenue, Suite 21               DROP-HT, LLC                                               Corporation Service Company                                                                              DROP-HT, LLC                                                       $5,240.53     2/17 Rent; 1/17 Rent adj
         LLC                 Kearney, NE 68847                       c/o DP Management, LLC                                     Registered Agent for DROP-HT, LLC                                                                        Manager
                                                                     11506 Nicholas St, Ste. 100                                2711 Centerville Rd, Ste. 400                                                                            4902 Solution Center
                                                                     Omaha, NE 68154                                            Wilmington, DE 19808                                                                                     Chicago, IL 60677-4009
  67     Rockstep Scottsbluff, Monument Mall Shopping Center         Rockstep Scottsbluff, LLC                                  National Registered Agents, Inc.                                                                                                                                            $2,271.44     1/17-2/17 % Rent
         LLC                   2302 Frontage Rd # 5                  1445 North Loop West                                       5601 South 59th Street
                               Scottsbluff, NE 69361                 Houston, TX 68516                                          Lincoln, NE 68516
  68     NSP, LLC              1700 Market Lane, Suite 8             Dial - Sunset Mall, L.L.C., successor in interest to the   Michael C. Carter                                             NSP, LLC                                   NSP, LLC                                                           $4,492.74     2/17 Rent; 2016 Rent Adj
                               Norfolk, NE 68701-0303                Ohio National Life Insurance Company                       Registered Agent for Dial-Sunset Mall, L.L.C.                 Asset Manager                              7322 Solutions Center
                                                                     Dial Enterprises, Corp.                                    11506 Nicholas Street, Ste. 103                               11506 Nicholas Street                      Chicago, IL 60677-7003
                                                                     11506 Nicholas #200                                        Omaha, NE 68154                                               Suite 100
                                                                     Omaha, NE 68154                                                                                                          Omaha, NE 68154
  69     Dial                1100 South Dewey #50                    North Platte Associates, L.L.C.                            Platte River Mall                                                                                                                                                           $3,243.59     2/17 Rent; 1/17 Rent Adj
                             North Platte, NE 69101-6161             Dial Enterprises, Corp.                                    Clarine R. Eickhoff, Registered Agent
                                                                     11506 Nicholas #100                                        1000 S Dewey
                                                                     Omaha, NE 68154                                            North Platte, NE 69101
  70     GGP                 4155 Yellowstone Ave, Suite 1210        Pine Ridge JC, LLC in successor in interest to Pine        John Sheehan                                                  Pine Ridge Mall                            Thor McLaughlin                                                    $4,417.81     2/17 Rent; 1/17-2/17 % Rent
                             Chubbuck, ID 83202-2452                 Ridge Mall L.L.C.                                          Registered Agent for Pine Ridge JC, LLC                       Attn: General Manager                      Ivan M. Gold
                                                                     Attn: Law/Lease Administration Dept                        3220 W Edgewood, Ste E                                        4155 Yellowstone Highway                   Allen Matkins Leck Gamble Mallory & Natsis LLP, Three
                                                                     c/o Pine Ridge Mall                                        Jefferson City, MO 65109                                      Chubbuck, ID 83203                         Embarcadero Center, 12th Floor
                                                                     110 N. Wacker Dr.                                                                                                                                                   San Francisco, CA 94111-4074
                                                                     Chicago, IL 60606
  71     GGP                 2300 East 17th Street, Space 136        Grand Teton Mall, LLC                                      Corporation Service Company                                   Grand Teton Mall                           Thor McLaughlin                                                   $13,393.03     2/17 Rent; 1/17-2/17 CAM Adj
                             Idaho Falls, ID 83404-6554              Attn: Law/Lease Administration Dept                        Registered Agent for Grand Teton Mall, LLC                    Attn: General Manager                      Ivan M. Gold
                                                                     c/o Grand Teton Mall                                       2711 Centerville Rd, Ste. 400                                 2300 East 17th Street                      Allen Matkins Leck Gamble Mallory & Natsis LLP, Three
                                                                     110 N. Wacker Dr.                                          Wilmington, DE 19808                                          Idaho Falls, ID 83404                      Embarcadero Center, 12th Floor
                                                                     Chicago, IL 60606                                                                                                                                                   San Francisco, CA 94111-4074




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                                                                                                                                                       VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                                         Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group       Leased Premises                         Landlord Name and Address                                Registered Agent and Address                                  Notice Address              Additional Notice                                Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                     Amount
  72     Woodbury Corp        1485 Poleline Rd. East, Suite 227       Magic Valley Mall LLC                                    Walker Kennedy III                                            Fund A Magic Valley, Inc.   Boston Financial                                             $7,506.21    2/17 Rent
                              Twin Falls, ID 83301-3597               c/o Magic Valley Mall                                    Registered Agent for Magic Valley Mall LLC                    c/o Magic Valley Mall       Attn: General Counsel
                                                                      1485 Pole Line Road East                                 2733 E Parleys Way, Ste. 300                                  1485 Pole Line Road East    15303 Dallas Parkway/Suite 650
                                                                      Twin Falls, ID 83301                                     Salt Lake City, UT 84109                                      Twin Falls, ID 83301        Dallas, TX 75248

                                                                                                                                                                                                                         Schroder Real Estate Associates
                                                                                                                                                                                                                         Attn: Norman Peck
                                                                                                                                                                                                                         437 Madison Ave
                                                                                                                                                                                                                         New York, NY 10022
  73     GGP                                                          Jordan Creek Town Center, LLC                            Corporation Service Company                                   Jordan Creek Town Center    Thor McLaughlin                                            $19,484.56     2/17 Rent; 1/17-2/17 CAM Adj
                              West Des Moines, IA                     Attn: Law/Lease Administration Dept                      Registered Agent for Jordan Creek Town Center, LLC            Attn: General Manager       Ivan M. Gold
                                                                      c/o Jordan Creek Town Center                             2711 Centerville Rd, Ste. 400                                 1001 Jordan Creek Parkway   Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                      110 N. Wacker Dr.                                        Wilmington, DE 19808                                          West Des Moines, IA 50266   Three Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                  San Francisco, CA 94111-4074
  74     GGP                  350 North Milwaukee #2007               Boise Mall, LLC                                          Corporation Service Company                                   Boise Towne Square          Thor McLaughlin                                            $13,744.90     2/17 Rent & 1/17-2/17 CAM/Retax adj
                              Boise, ID 83704                         Attn: Law/Lease Administration Dept                      Registered Agent for Boise Mall, LLC                          Attn: General Manager       Ivan M. Gold
                                                                      c/o Boise Towne Square                                   2711 Centerville Rd, Ste. 400                                 350 North Milwaukee         Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                      110 N. Wacker Dr.                                        Wilmington, DE 19808                                          Boise, ID 83704             Three Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                  San Francisco, CA 94111-4074
  75     GGP                  4750 North Division, Space 2214         North Town Mall, LLC                                     Corporation Service Company                                   North Town Mall             Thor McLaughlin                                            $20,769.61     2/17 Rent; 1/17-2/17 HVAC Adj; 2/16-
                              Spokane, WA 99207                       Attn: Law/Lease Administration Dept                      Registered Agent for North Town Mall, LLC                     Attn: General Manager       Ivan M. Gold                                                              1/17 % Rent
                                                                      c/o North Town Mall                                      2711 Centerville Rd, Ste. 400                                 4750 North Division         Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                      110 N. Wacker Dr.                                        Wilmington, DE 19808                                          Boise, ID 83704             Three Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                  San Francisco, CA 94111-4074
  76     GGP                  14700 E Indiana, Space 1024             Spokane Mall L.L.C.                                      Corporation Service Company                                   Spokane Valley Mall         Thor McLaughlin                                            $14,632.26     2/17 Rent; 1/17-2/17 CAM Adj; 2016
                              Spokane, WA 99216                       Attn: Law/Lease Administration Dept                      Registered Agent for Spokane Mall L.L.C.                      Attn: General Manager       Ivan M. Gold                                                              ReTax Adj
                                                                      Spokane Valley Mall                                      2711 Centerville Rd, Ste. 400                                 14700 East Indiana          Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                      110 N. Wacker Dr.                                        Wilmington, DE 19808                                          Spokane, WA 99216           Three Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                  San Francisco, CA 94111-4074
  77     Jones Lang LaSalle   100 South Federal Avenue #108           U.S. Bank NA, as Trustee for the registered holders of                                                                                                                                                         $5,909.74     2/17 Rent
                              Mason City, IA 50401-3700               J.P. Morgan Chase Commercial Mortgage Securities
                                                                      Corp., Commercial Mortgage Pass-Through
                                                                      Certificates, Series 2005-LDP1, a national banking
                                                                      association
                                                                      Attn: General Manger, Southbridge Mall
                                                                      c/o Jones Lang LaSalle Americas, Inc.
                                                                      100 South Federal Ave
                                                                      Mason City, IA 50401
  78     GGP                  1214 New Gate Mall Space #1214          GGP-Newgate Mall, LLC                                    Corporation Service Company                                   Newgate Mall                Thor McLaughlin                                            $14,823.40     2/17 Rent; 1/17 CAM Adj
                              Ogden, UT 84405                         Attn: Law/Lease Administration Department                Registered Agent for GGP-Newgate Mall, LLC                    Attn: General Manager       Ivan M. Gold
                                                                      c/o Newgate Mall                                         2711 Centerville Rd, Ste. 400                                 3651 Wall Ave., Ste. 2000   Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                      110 N. Wacker Dr.                                        Wilmington, DE 19808                                          Ogden, UT 84405             Three Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                  San Francisco, CA 94111-4074
  80     GGP                  3700 Rivertown Pkwy #2010               GGP-Grandville L.L.C.                                    Corporation Service Company                                   RiverTown Crossings         Thor McLaughlin                                             $8,689.61     2/17 Rent; 10/16-2/17 Elec/Gas; 2016
                              Grandville, MI 49418                    Attn: Law/Lease Administration Department                Registered Agent for GGP-Granville L.L.C.                     Attn: General Manager       Ivan M. Gold                                                              ReTax Adj
                                                                      c/o RiverTown Crossings                                  2711 Centerville Rd, Ste. 400                                 3700 RiverTown Parkway      Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                      110 N. Wacker Dr.                                        Wilmington, DE 19808                                          Grandville, MI 49418        Three Embarcadero Center, 12th Floor
                                                                      Chicago, IL 60606                                                                                                                                  San Francisco, CA 94111-4074
  81     WPG                  2011 North Roan St.                     Glimcher MJC, LLC                                        The Corporation Trust Company                                                             Ronald E. Gold                                              $9,877.22     2/17 Rent
                              Johnson City, TN 37601                  Attn: General Counsel                                    Registered Agent for Glimcher MJC, LLC                                                    Frost Brown Todd LLC
                                                                      180 East Broad Street, 21st Floor                        1209 Orange St                                                                            3300 Great American Tower, 301 E. Fourth St.
                                                                      Columbus, OH 43215                                       Corporation Trust Center                                                                  Cincinnati, OH 45202
                                                                                                                               Wilmington, DE 19801
  82     SVAP II Stones       1720 Old Fort Parkway, Space #F0105     Aslan III Stones River, L.L.C.                           The Corporation Trust Company                                                                                                                         $5,836.20     2/17 Rent; 11/16, 1/17, 2/17 Wtr/Swr Adj
         River, LLC           Murfreesboro, TN 37129                  Stones River Mall                                        Registered Agent for Aslan III Stones River, L.L.C.
                                                                      200 West Madison, Ste 3200                               1209 Orange St
                                                                      Chicago, IL 60606                                        Corporation Trust Center
                                                                                                                               Wilmington, DE 19801
  83     Cafaro               2801 Wilma Rudolph Blvd, Suite 870      Governor's Square Company                                Governor's Square Company                                                                 Richard T. Davis                                          ($14,053.84)    10/16-1/17 Rent Adj;10/16-2/17 % Rent;
                              Clarksville, TN 37040                   2445 Belmont Ave                                         Registered Agent                                                                          The Cafaro Company                                                        2016 ReTax Adj
                                                                      PO Box 2186                                              5577 Youngstown-Warren Rd                                                                 5577 Youngstown-Warren Rd.
                                                                      Youngstown, OH 44504-0186                                Niles, OH 44446                                                                           Niles, OH 44446
  84     CBL                  4880 Fashion Square Mall #116           Fashion Square Mall CMBC LLC                             Corporation Service Company                                                                                                                          $12,256.44     2/17 Rent; 1/17 CAM/Elec Adj
                              Saginaw, MI 48604                       CBL & Associates Management, Inc.                        Registered Agent for Fashion Square Mall CMBS, LLC
                                                                      2030 Hamilton Place Boulevard                            2711 Centerville Rd, Ste. 400
                                                                      CBL Center, Suite 500                                    Wilmington, DE 19808
                                                                      Chattanooga, TN 37421-6000
  87     GGP                  6191 S. State St. #148                  Fashion Place, LLC                                       Corporation Service Company                                                                                                                             $619.56     1/1/17 Rent
                              Murray, UT 84107                        c/o Fashion Place                                        Registered Agent for Fashion Place, LLC
                                                                      110 N. Wacker Dr.                                        2711 Centerville Rd, Ste. 400
                                                                      Chicago, IL 60606                                        Wilmington, DE 19808
  88     Rouse Properties     1300 Cache Valley Mall, Space 1340      Cache Valley, LLC                                        Corporation Service Company                                                                                                                         ($21,739.50)    2/16-12/16 CAM Adj credit; 1/17-3/17
                              Logan, UT 84341                         Attn: General Counsel                                    Registered Agent for Cache Valley, LLC                                                                                                                              Rent
                                                                      1114 Avenue of the Americas, Ste. 2800                   2711 Centerville Rd, Ste. 400
                                                                      New York, NY 10036                                       Wilmington, DE 19808




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                                                                                                                                           VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                           Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group   Leased Premises                              Landlord Name and Address                   Registered Agent and Address                                Notice Address                            Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                        Amount
  90     WPG              7850 Mentor Ave, Space #554B                 Mall at Great Lakes, LLC                    The Corporation Trust Company                                                                         Ronald E. Gold                                                  $9,041.67    2/17 Rent
                          Mentor, OH 44060                             Attn: General Counsel                       Registered Agent for Mall at Great Lakes, LLC                                                         Frost Brown Todd LLC
                                                                       180 E Broad St, Floor 20                    1209 Orange St                                                                                        3300 Great American Tower
                                                                       Columbus, OH 43125                          Corporation Trust Center                                                                              301 E. Fourth St.
                                                                                                                   Wilmington, DE 19801                                                                                  Cincinnati, OH 45202
  92     GGP              2625 Scottsville Road, Space #330            Greenwood Mall L.L.C.                       Corporation Service Company                                                                           Thor McLaughlin                                               $14,917.20     2/17 Rent; 1/17-2/17 CAM Adj
                          Bowling Green, KY 42104                      Attn: Law/Lease Administration Department   Registered Agent for Greenwood Mall L.L.C.                                                            Ivan M. Gold
                                                                       c/o Greenwood Mall                          2711 Centerville Rd, Ste. 400                                                                         Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                       110 N. Wacker Dr.                           Wilmington, DE 19808                                                                                  Three Embarcadero Center, 12th Floor
                                                                       Chicago, IL 60606                                                                                                                                 San Francisco, CA 94111-4074
  94     CBL              1036 Layton Hills Mall                       Layton Hills Mall CMBS, LLC                 Corporation Service Company                                                                                                                                          $7,945.38     2/17 Rent; 1/17 Rent Adj
                          Layton, UT 84041-2103                        CBL & Associates Management, Inc.           Registered Agent for Layton Hills Mall CMBS, LLC
                                                                       2030 Hamilton Place Boulevard               2711 Centerville Rd, Ste. 400
                                                                       CBL Center, Suite 500                       Wilmington, DE 19808
                                                                       Chattanooga, TN 37421-6000
  96     CBL              Meridian Mall, 1982 W Grand River Ave #245   Meridian Mall Limited Partnership           CSC-Lawyers Incorporating Service (Company)                                                                                                                          $6,464.28     2/17 Rent; 2/17 Elec
                          Okemos (East Lansing), MI 48864              CBL & Associates Management, Inc.           Registered Agent for Meridian Mall Limited Partnership
                                                                       2030 Hamilton Place Boulevard               601 Abbott Road East
                                                                       CBL Center, Suite 500                       Lansing, MI 48823
                                                                       Chattanooga, TN 37421-6000
  98     CBL              8 East Towne Mall, E-506                     Madison/East Towne, LLC                     Corporation Service Company                                                                                                                                          $9,041.67     2/17 Rent
                          Madison East, WI 53704                       CBL & Associates Management, Inc.           Registered Agent for Madison/East Towne, LLC
                                                                       2030 Hamilton Place Boulevard               2711 Centerville Rd, Ste. 400
                                                                       CBL Center, Suite 500                       Wilmington, DE 19808
                                                                       Chattanooga, TN 37421-6000
 100 Cafaro               67800 Mall Road, Space 550                   Ohio Valley Mall Company                    Michael J. Wright                                                                                     Richard T. Davis                                              $12,962.40     2/17 Rent; 1/17-2/17 Rent Adj; 2017
                          St. Clairsville, OH 43950                    2445 Belmont Ave                            Registered Agent for Ohio Valley Mall Company                                                         The Cafaro Company                                                           Ins/Priv Tax Adj
                                                                       PO Box 2186                                 5577 Youngstown Warren Rd.                                                                            5577 Youngstown-Warren Rd.
                                                                       Youngstown, OH 44504-0186                   Niles, OH 44446                                                                                       Niles, OH 44446
 104 GGP                  4800 Golf Road, Space 334                    Oakwood Hills Mall, LLC                     Corporation Service Company                                 Oakwood Mall                              Thor McLaughlin                                               $14,772.47     2/17 Rent; 1/17-2/17 CAM Adj
                          Eau Claire, WI 54701-9026                    Attn: Law/Lease Administration Department   Registered Agent for Oakwood Hills Mall, LLC                Attn: General Counsel                     Ivan M. Gold
                                                                       c/o Oakwood Mall                            2711 Centerville Rd, Ste. 400                               4800 Golf Road                            Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                       110 N. Wacker Dr.                           Wilmington, DE 19808                                        Eau Claire, WI 54701                      Three Embarcadero Center, 12th Floor
                                                                       Chicago, IL 60606                                                                                                                                 San Francisco, CA 94111-4074
 105 PREIT                3800 State Road #16                          PR Valley View Limited Partnership          The Corporation Trust Company                               PR Valley View Limited Partnership        Jeffrey E. Kurtzman                                           $14,402.60     2/17 Rent; 1/17 CAM Adj
                          La Crosse, WI 54601                          Attn: Director, Legal                       Registered Agent for PREIT Services, LLC                    Management Office                         Kurtzman Steady, LLC
                                                                       c/o PREIT Services, LLC                     1209 Orange St                                              Attn: General Manager, Valley View Mall   401 S. 2nd St., Suite 200
                                                                       200 South Broad Street                      Corporation Trust Center                                    3800 State Road                           Philadelphia, PA 19147
                                                                       The Bellevue, Third Floor                   Wilmington, DE 19801                                        La Crosse, WI 54601
                                                                       Philadelphia, PA 19102
 106 Simon                275 Bay Park Square, #275                    Simon Capital Limited Partnership           The Corporation Trust Company                                                                         Leslie C. Heilman                                             $14,205.80     2/17 Rent
                          Green Bay 2, WI 54304-5103                   c/o M.S. Management Associates Inc.         Registered Agent for Simon Capital Limited Partnership                                                Ballard Spahr, LLP
                                                                       225 West Washington Street                  1209 Orange St                                                                                        2029 Century Park East, Suite 800
                                                                       Indianapolis, IN 46204-3438                 Corporation Trust Center                                                                              Los Angeles, CA 90067-2909
                                                                                                                   Wilmington, DE 19801
                                                                                                                                                                                                                         Ronald M. Tuckler
                                                                                                                                                                                                                         Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                         225 W. Washington St
                                                                                                                                                                                                                         Indianapolis, IN 46204
 108 GGP                  4201 Coldwater Road, Space M16A              GGP-Glenbrook L.L.C.                        Corporation Service Company                                 Glenbrook Square                          Thor McLaughlin                                                $1,783.08     2/17 Rent; 1/17-2/17 Retax/HVAC Adj;
                          Fort Wayne, IN 46805                         Attn: Law/Lease Administration Department   Registered Agent for GGP-Glenbrook L.L.C.                   Attn: General Manager                     Ivan M. Gold                                                                 2008-11 ReTax Adj
                                                                       c/o Glenbrook Square                        2711 Centerville Rd, Ste. 400                               4201 Coldwater Boulevard                  Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                       110 N. Wacker Dr.                           Wilmington, DE 19808                                        Fort Wayne, IN 46805                      Three Embarcadero Center, 12th Floor
                                                                       Chicago, IL 60606                                                                                                                                 San Francisco, CA 94111-4074
 109 Simon                2894 E 3rd Street, Space PO6                 Simon Property Group, L.P.                  The Corporation Trust Company                                                                         Leslie C. Heilman                                              $7,964.38     2/17 Rent
                          Bloomington, IN 47401                        c/o M.S. Management Associates Inc.         Registered Agent for Simon Property Group, LP                                                         Ballard Spahr, LLP
                                                                       225 West Washington Street                  1209 Orange St                                                                                        2029 Century Park East, Suite 800
                                                                       Indianapolis, IN 46204-3438                 Corporation Trust Center                                                                              Los Angeles, CA 90067-2909
                                                                                                                   Wilmington, DE 19801
                                                                                                                                                                                                                         Ronald M. Tuckler
                                                                                                                                                                                                                         Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                         225 W. Washington St.
                                                                                                                                                                                                                         Indianapolis, IN 46204
 110 WPG                  3501 N Granville Ave, Space L03A             Muncie Mall, LLC                            The Corporation Trust Company                                                                         Ronald E. Gold                                                $13,985.79     2/17 Rent; 1/17 % Rent
                          Muncie, IN 47303-1263                        c/o M.S. Management Associates Inc.         Registered Agent for Muncie Mall, LLC                                                                 Frost Brown Todd LLC
                                                                       225 West Washington Street                  1209 Orange St                                                                                        3300 Great American Tower
                                                                       Indianapolis, IN 46204-3438                 Corporation Trust Center                                                                              301 E. Fourth St.
                                                                                                                   Wilmington, DE 19801                                                                                  Cincinnati, OH 45202
 111 Rockstep Aberdeen, 3315 6th Avenue SE, Suite 51                   Rockstep Aberdeen, LLC                      Andy Weiner                                                                                                                                                          $5,264.61     2/17 Rent; 1/17 ReTax Adj
         LLC              2nd Aberdeen, SD 57401-5544                  Attn: Tommy Stewart                         Registered Agent for Rockstep Aberdeen, LLC
                                                                       1445 North Loop West, Ste. 625              1445 North Loop West, Ste. 625
                                                                       Houston, TX 77008                           Houston, TX 77008




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                                                                                                                                                         VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                                            Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group    Leased Premises                              Landlord Name and Address                                Registered Agent and Address                                   Notice Address                               Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                                            Amount
 112     Simon             1251 US 31 North, Space F-13                 Greenwood Park Mall, LLC                                 The Corporation Trust Company                                                                               Leslie C. Heilman                                              $17,977.76    2/17 Rent; 2016 ReTax Adj
                           Greenwood, IN 46142                          c/o M.S. Management Associates Inc.                      Registered Agent for Greenwood Park Mall, LLC                                                               Ballard Spahr, LLP
                                                                        225 West Washington Street                               1209 Orange St                                                                                              2029 Century Park East, Suite 800
                                                                        Indianapolis, IN 46204-3438                              Corporation Trust Center                                                                                    Los Angeles, CA 90067-2909
                                                                                                                                 Wilmington, DE 19801
                                                                                                                                                                                                                                             Ronald M. Tuckler
                                                                                                                                                                                                                                             Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                             225 W. Washington St.
                                                                                                                                                                                                                                             Indianapolis, IN 46204
 114 WPG                   2727 Fairfield Commons, Space #W223          MFC Beavercreek, LLC                                     The Corporation Trust Company                                                                               Ronald E. Gold                                                $15,625.00     2/17 Rent; 11/16-12/16 Rent Adj
                           Beavercreek, OH 45431                        Attn: General Counsel                                    Registered Agent for MFC Beavercreek, LLC                                                                   Frost Brown Todd LLC
                                                                        180 E Broad St, Floor 20                                 1209 Orange St                                                                                              3300 Great American Tower
                                                                        Columbus, OH 43125                                       Corporation Trust Center                                                                                    301 E. Fourth St.
                                                                                                                                 Wilmington, DE 19801                                                                                        Cincinnati, OH 45202
 115 WPG                   2700 Miamisburg-Centerville Mall Space 370   Dayton Mall II, LLC                                      The Corporation Trust Company                                                                               Ronald E. Gold                                                 $7,650.33     2/17 Rent
                           Dayton, OH 45459                             150 East Gay Street                                      Registered Agent for Dayton Mall II, LLC                                                                    Frost Brown Todd LLC
                                                                        Columbus, OH 43215                                       1209 Orange St                                                                                              3300 Great American Tower
                                                                                                                                 Corporation Trust Center                                                                                    301 E. Fourth St.
                                                                                                                                 Wilmington, DE 19801                                                                                        Cincinnati, OH 45202
 116 WPG                   Lima Mall, 2400 Elida Rd                     Mall at Lima, LLC                                        CT Corporation System                                                                                       Ronald E. Gold                                                $13,791.19     2/17 Rent; 1/17-2/17 % Rent
                           Lima, OH 45805                               c/o M.S. Management Associates Inc.                      Registered Agent for Mall at Lima, LLC                                                                      Frost Brown Todd LLC
                                                                        225 West Washington Street                               150 West Market Street, Ste. 800                                                                            3300 Great American Tower
                                                                        Indianapolis, IN 46204-3438                              Indianapolis, IN 46204                                                                                      301 E. Fourth St.
                                                                                                                                                                                                                                             Cincinnati, OH 45202
 117 WPG                   Southern Park Mall, 7401 Market St.          Southern Park Mall, LLC                                  CT Corporation System                                                                                       Ronald E. Gold                                                 $7,500.00     2/17 Rent
                           Youngstown, OH 44512                         c/o M.S. Management Associates Inc.                      Registered Agent for Southern Park Mall, LLC                                                                Frost Brown Todd LLC
                                                                        225 West Washington Street                               150 West Market Street, Ste. 800                                                                            3300 Great American Tower
                                                                        Indianapolis, IN 46204                                   Indianapolis, IN 46204                                                                                      301 E. Fourth St.
                                                                                                                                                                                                                                             Cincinnati, OH 45202
 122 ST Mall Owner, LLC 10450 S State Street, Ste. 2312                 ST Mall Owner, LLC                                       Corporation Service Company                                    ST Mall Owner, LLC                                                                                         ($2,568.65)    2/17 Rent; 12/16-2/17 % Rent; 1/17-2/17
                           Sandy, UT 84070-4131                         Attn: Managing Principal                                 Registered Agent for ST Mall Owner, LLC                        c/o South Towne Mall Management Office                                                                                    Rent/Wtr Adj; 2015 Retax Adj
                                                                        100 North Sepulveda Blvd Ste.1925                        2711 Centerville Rd, Ste. 400                                  10450 South State Street
                                                                        El Segundo, CA 90245                                     Wilmington, DE 19808                                           Sandy, UT 84070
 124 Urban Retail          Tri-County Mall, Springdale, OH              Tri-County Mall, LLC                                     CT Corporation System                                          Arnall Golden Gregory LLP                                                                                   $2,181.66     2/17 Rent; 1/17-2/17 % Rent
         Properties        Tri-County, OH 45246                         Attn: Renee Bell                                         Registered Agent for Tri-County Mall, LLC                      Attn: Adam Balthrop
                                                                        11700 Princeton Pike                                     1300 East Ninth Street                                         171 17th Street NW, Suite 2100
                                                                        Cincinnati, OH 45246                                     Cleveland, OH 44114                                            Atlanta, GA30363
 126 Southgate Mall        2901 Brooks St, #H-2                         Southgate Mall Associates, LLP                                                                                                                                       Dustin P. Branch                                              $12,099.91     2/17 Rent; 2016 CAM/Util Adj; 1st Qtr
         Association       Missoula, MT 59801-7712                      c/o Lambros Real Estate                                                                                                                                              Ballard Spahr LLP                                                            Merchant Dues
                                                                        3011 American Way                                                                                                                                                    2029 Century Park East, Suite 800
                                                                        Missoula, MT 59808                                                                                                                                                   Los Angeles, CA 90067-2909
 128 GGP                   601 SE Wyoming Blvd. - Space 270             PDC-Eastridge Mall L.L.C.                                Corporation Service Company                                    PDC-Eastridge Mall L.L.C.                    Thor McLaughlin                                               $13,356.73     2/17 Rent; 1/17-2/17 CAM Adj
                           Casper, WY 82609-4209                        Attn: Law/Lease Administration Department                Registered Agent for PDC-Eastridge Mall L.L.C.                 Attn: General Manager                        Ivan M. Gold
                                                                        Eastridge Mall c/o Eastridge Mall L.L.C.                 2711 Centerville Rd, Ste. 400                                  601 SE Wyoming Boulevard                     Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                        110 N Wacker Dr.                                         Wilmington, DE 19808                                           Casper, WY 82609                             Three Embarcadero Center, 12th Floor
                                                                        Chicago, IL 60606                                                                                                                                                    San Francisco, CA 94111-4074
 129 CBL                   1400 Dell Range Blvd., Space #91             Frontier Mall Associates Limited Partnership             Corporation Service Company                                                                                                                                                $6,713.53     2/17 Rent
                           Cheyenne, WY 82009                           CBL & Associates Management, Inc.                        Registered Agent for Frontier Mall Associates Limited
                                                                        2030 Hamilton Place Boulevard                            Partnership
                                                                        CBL Center, Suite 500                                    1821 Logan Ave
                                                                        Chattanooga, TN 37421-6000                               Cheyenne, WY 82001
 130 Waterloo Owner LLC 2060 Crossroads Blvd., Space 220                Waterloo Owner LLC                                       The Corporation Trust Company                                  GG&A Crossroads Center                       Jones Lang LaSalle Americas, Inc.                              $9,595.71     2/17 Rent
                           Waterloo, IA 50702-4400                      9911 Shelbyville Road, Suite 200                         Registered Agent for Waterloo Owner LLC                        Attn: President                              Attn: Counsel - Crossroads Center
                                                                        Louisville, KY 40223                                     1209 Orange St                                                  c/o Gregory Greenfield & Associates, Ltd.   3344 Peachtree Road, NE, Ste. 1200
                                                                                                                                 Corporation Trust Center                                       124 Johnson Ferry Road                       Atlanta, GA 30326
                                                                                                                                 Wilmington, DE 19801                                           Atlanta, GA 30328
 131 GK Development        1395 College Square Mall                     College Square Mall Partners, LLC                        The Corporation Trust Company                                                                                                                                             $11,017.86     2/17 Rent; 1/17 physical inventory
                           Cedar Falls, IA 50613-5267                   c/o GK Development, Inc.                                 Registered Agent for College Square Mall Partners, LLC                                                                                                                                   security
                                                                        257 East Main Street, Ste. 100                           1209 Orange St
                                                                        Barrington, IL 60010                                     Corporation Trust Center
                                                                                                                                 Wilmington, DE 19801
 132 J. Herzog             217 South 25th St, Space E-5                 Crossroads Mall 1999, LLC                                Martin H. Herzog                                                                                                                                                           $4,662.87     1/17 % Rent; 2/17 Rent
                           Fort Dodge, IA 50501-4341                    Attn: Vice President - Leasing                           Registered Agent for Crossroads Mall 1999, LLC
                                                                        55 Public Square, Ste 1910                               1720 S Bellaire St., Ste. 1209
                                                                        Cleveland, OH 44113                                      Denver, CO 80222-4336
 133 GK Development        2801 Grand Avenue #1375                      U.S. Bank National Association, as Trustee, as                                                                                                                                                                                      $5,620.61     2/17 Rent
                           Ames, IA 50010-4652                          successor in interest to Bank of America, N.A, as
                                                                        successor by merger to LaSalle Bank National
                                                                        Association, as Trustee, for the registered holders of
                                                                        Bear Stearns Commercial Mortgage Securities Inc,
                                                                        Commercial Mortgage Pass-Through Certificates,
                                                                        Series 2007-PWR16
                                                                        Attn: Michele Ray
                                                                        c/o C-III Asset Management LLC
                                                                        5221 N O'Connor Blvd, Ste. 600
                                                                        Irving, TX 75039




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                                                                                                                                               VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                               Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group    Leased Premises                                  Landlord Name and Address                   Registered Agent and Address                               Notice Address                 Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                 Amount
 136     Central Richard   2201 Richland Mall, Space A4                     Centro Richland LLC                         Corporation Service Company                                                                                                                               $5,793.95    2/17 Rent
                           Mansfield, OH 44906                              2209 Richland Mall                          Registered Agent for Centro Richland LLC
                                                                            Mansfield, OH 44906                         2711 Centerville Rd, Ste. 400
                                                                                                                        Wilmington, DE 19808
 137 Simon                 4444 1st Ave NE, #78                             Lindale Mall, LLC                           The Corporation Trust Company                                                             Leslie C. Heilman                                             $11,184.27     2/17 Rent
                           Cedar Rapids, IA 52402                           c/o M.S. Management Associates Inc.         Registered Agent for Lindale Mall, LLC                                                    Ballard Spahr, LLP
                                                                            225 West Washington Street                  1209 Orange St                                                                            2029 Century Park East, Suite 800
                                                                            Indianapolis, IN 46204-3438                 Corporation Trust Center                                                                  Los Angeles, CA 90067-2909
                                                                                                                        Wilmington, DE 19801
                                                                                                                                                                                                                  Ronald M. Tuckler
                                                                                                                                                                                                                  Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                  225 W. Washington St.
                                                                                                                                                                                                                  Indianapolis, IN 46204
 138 Cafaro                555 JFK Road, Space 274                          Kennedy Mall, LTD                           Michael J. Wright                                                                         Richard T. Davis                                              $10,968.40     2/17 Rent; 1/17 Rent Adj; 2017 Ins Adj
                           Dubuque, IA 52002                                2445 Belmont Ave                            Registered Agent for Kennedy Mall, Ltd                                                    The Cafaro Company
                                                                            PO Box 2186                                 5577 Youngstown-Warren Rd.                                                                5577 Youngstown-Warren Rd.
                                                                            Youngstown, OH 44504-0186                   Niles, OH 44446                                                                           Niles, OH 44446
 139 GK Development        550 S Gear Ave, Space 33                         Westland Mall Partners, LLC                 The Corporation Trust Company                                                                                                                            $7,178.29     2/17 Rent
                           West Burlington, IA 52655                        c/o GK Development, Inc.                    Registered Agent for Westland Mall Partners, LLC
                                                                             257 East Main Street, Ste. 100             1209 Orange St
                                                                            Barrington, IL 60010                        Corporation Trust Center
                                                                                                                        Wilmington, DE 19801
 140 GK Development        3940 Route 251, Ste B120                         Peru GKD Partners, LLC                      Garo Kholamian                                                                                                                                           $3,408.33     2/17 Rent
                           Peru, IL 61354                                   c/o GK Development, Inc.                    Registered Agent for Peru GKD Partners, LLC
                                                                             257 East Main Street, Ste. 100             257 E Main St #100
                                                                            Barrigton, IL 60010                         Barrigton, IL 60010
 141 CBL                   107 St. Clair Square                             St. Claire Square SPE, LLC                  Corporation Service Company                                                                                                                              $4,687.50     2/17 Rent
                           Fairview, IL 62208                               CBL & Associates Management, Inc.           Registered Agent for St. Claire Square SPE, LLC
                                                                            2030 Hamilton Place Boulevard               2711 Centerville Rd, Ste. 400
                                                                            CBL Center, Suite 500                       Wilmington, DE 19808
                                                                            Chattanooga, TN 37421-6000
 143 CBL                   7200 Harrison Ave, Space E64                     Cherryvale Mall, LLC                        Corporation Service Company                                                                                                                              $4,750.00     2/17 Rent
                           Rockford, IL 61112                               CBL & Associates Management, Inc.           Registered Agent for Cherryvale Mall, LLC
                                                                            2030 Hamilton Place Boulevard               2711 Centerville Rd, Ste. 400
                                                                            CBL Center, Suite 500                       Wilmington, DE 19808
                                                                            Chattanooga, TN 37421-6000
 145 GGP                   14000 Lakeside Circle #2510                      Lakeside Mall Property LLC                  Corporation Service Company                                Lakeside Mall                  Thor McLaughlin                                                $9,880.46     2/17 Rent
                           Sterling Heights, MI 48313                       Attn: Law/Lease Administration Department   Registered Agent for Lakeside Mall Property LLC            Attn: General Manager          Ivan M. Gold
                                                                            110 N. Wacker Dr.                           2711 Centerville Rd, Ste. 400                              14000 Lakeside Circle          Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                            Chicago, IL 60606                           Wilmington, DE 19808                                       Sterling Heights, MI 48313     Three Embarcadero Center, 12th Floor
                                                                                                                                                                                                                  San Francisco, CA 94111-4074
 146 WPG                                                                    Bloomingdale Court, LLC                     The Corporation Trust Company                                                             Ronald E. Gold                                                     $0.00
                                                                            c/o M.S. Management Associates Inc.         Registered Agent for Bloomingdale Court, LLC                                              Frost Brown Todd LLC
                           Bloomingdale Court                               225 West Washington Street                  1209 Orange St                                                                            3300 Great American Tower
                           342 West Army Trail                              Indianapolis, IN 46204-3438                 Corporation Trust Center                                                                  301 E. Fourth St.
                           Bloomingdale, IL 60108                                                                       Wilmington, DE 19801                                                                      Cincinnati, OH 45202
 147 Cullinan Properties   3347 Broadway, Space 3363                        Quincy Cullinan, LLC                        Richard M. Joseph                                          Jeff Krumpe, Attorney                                                                         $8,856.35     2/17 Rent
                           Quincy, IL 62301                                 209 East State Street                       Registered Agent for Quincy Cullinan, LLC                  416 Main, Suite 1125
                                                                            Columbus, OH 43215                          416 Main St, Ste. 1123                                     Peoria, IL 61602
                                                                                                                        Peoria, IL 61602
 148 GGP                   2028 Florence Mall, Space 1132                   Florence Mall L.L.C.                        Corporation Service Company                                Florence Mall                  Thor McLaughlin                                               $13,127.61     10/16-1/17 % Rent; 1/17-2/17 HVAC;
                           Florence, KY 41042                               Attn: Law/Lease Administration Department   Registered Agent for Florence Mall L.L.C.                  Attn: General Manager          Ivan M. Gold                                                                 10/16-12/16 ReTax Adj
                                                                            c/o Florence Mall                           2711 Centerville Rd, Ste. 400                              2028 Florence Mall             Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                            110 N. Wacker Dr.                           Wilmington, DE 19808                                       Florence, KY 41042             Three Embarcadero Center, 12th Floor
                                                                            Chicago, IL 60606                                                                                                                     San Francisco, CA 94111-4074
 152 GGP                   3575 N Maple Ave #164                            Colony Square Mall, L.L.C.                  Corporation Service Company                                Colony Square Mall L.L.C.      Thor McLaughlin                                                $5,967.13     2/17 Rent
                           Zanesville, OH 43701                             Attn: General Counsel                       Registered Agent for Colony Square Mall, LLC               Attn: General Manager          Ivan M. Gold
                                                                            1114 Avenue of the Americas, Ste. 2800      2711 Centerville Rd, Ste. 400                              3575 Maple Ave                 Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                            New York, NY 10036                          Wilmington, DE 19808                                       Zanesville, OH 43701           Three Embarcadero Center, 12th Floor
                                                                                                                                                                                                                  San Francisco, CA 94111-4074
 163 Simon                 1321 N. Columbia Center Blvd. #401A              Columbia Mall Partnership                                                                                                             Leslie C. Heilman                                             $15,657.89     2/17 Rent
                           Kennewick, WA 99336                              c/o M.S. Management Associates Inc.                                                                                                   Ballard Spahr, LLP
                                                                            225 West Washington Street                                                                                                            2029 Century Park East, Suite 800
                                                                            Indianapolis, IN 46204-3438                                                                                                           Los Angeles, CA 90067-2909

                                                                                                                                                                                                                  Ronald M. Tuckler
                                                                                                                                                                                                                  Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                  225 W. Washington St.
                                                                                                                                                                                                                  Indianapolis, IN 46204
 164 Midwest               750 Citadel Drive East, PO Box 52, Space #2012   750 Citadel Drive Holdings, LLC             CSC - Lawyers Incorporating Service Company                The Citadel                                                                                  $14,640.18     2/17 Rent; 1/17 CAM/Merch adj
         Management        Colorado Springs, CO 80909-5343                  Attn: Legal Department                      Registered Agent for 750 Citadel Drive Holdings, LLC       750 Citadel Dr. E, Ste. 3114
                                                                            c/o CWCapital Asset Management LLC          7 St. Paul Street, Ste. 820                                Colorado Springs, CO 80909
                                                                            7501 Wisconsin Ave, Ste. 500 West           Baltimore, MD 21202
                                                                            Bethesda, MD 20814




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                                                                                                                                                                 Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group      Leased Premises                             Landlord Name and Address                      Registered Agent and Address                                 Notice Address                                Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                                  Amount
 165     Renaissance Partners 3284 Dillon Dr, #E-08A                     Renaissance Partners I, LLC                    The Corporation Trust Company                                Urban Retail Properties Co.                                                                                 ($2,473.36)    2/17 Rent; 1/17 Promo Adj; 2015 Rent
         I, LLC               Pueblo, CO 81008-1008                      5547 Paysphere Circle                          Registered Agent for Renaissance Partners I, LLC             900 North Michigan Ave                                                                                                     Adj
                                                                         Chicago, IL 60674-5547                         1209 Orange St                                               Chicago, IL 60611
                                                                                                                        Corporation Trust Center
                                                                                                                        Wilmington, DE 19801
 166 MLCFC 2006-4            Greeley Mall                                MLCFC 2006-4 Greeley Retail, LLC               REJCTED SERVICE OF PROCESS                                                                                                                                                $4,345.50     2/17 Rent
         Greeley Retail, LLC 2050 Greeley Mall                           c/o LNR Partners, LLC                          (No longer agent.)
                             Greeley, CO 80631                           1601 Washington Ave., Suite 800                The Corporation Company
                                                                         Miami Beach, FL 33139                          7700 E. Arapahoe Rd, Suite 220
                                                                                                                        Centennial, CO 80112-1268
                                                                         MLCFC 2006-4 Greeley Retail, LLC
                                                                         Greeley Mall
                                                                         2020 Greeley Mall
                                                                         Greeley, CA 80631
 167 WPG                     Mesa Mall, 2424 Old US Hwy 6 & 50 #110      SM Mesa Mall, LLC                              The Corporation Trust Company                                                                              Ronald E. Gold                                                $12,154.93     2/17 Rent; 1/16-2/17 Elec Adj
                             Grand Junction, CO 81505                    c/o M.S. Management Associates Inc.            Registered Agent for SM Mesa Mall, LLC                                                                     Frost Brown Todd LLC
                                                                         225 West Washington Street                     1209 Orange St                                                                                             3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438                    Corporation Trust Center                                                                                   301 E. Fourth St.
                                                                                                                        Wilmington, DE 19801                                                                                       Cincinnati, OH 45202
 170 Macerich                6002 Slide Road, Spc B13                    Macerich South Plains LP                       The Corporation Trust Company                                Macerich South Plains LP                      Dustin P. Branch                                              $11,564.95     2/17 Rent
                             Lubbock, TX 79414-4301                      Attn: Center Manager                           Registered Agent for Macerich South Plains LP                Attn: Legal Dept.                             Ballard Spahr LLP
                                                                         PO Box 68208                                   1209 Orange St                                               c/o Macerich                                  2029 Century Park East, Suite 800
                                                                         Lubbock, TX 79414                              Corporation Trust Center                                     401 Wilshire Boulevard, Ste. 700              Los Angeles, CA 90067-2909
                                                                                                                        Wilmington, DE 19801                                         PO Box 2172
                                                                                                                                                                                     Santa Monica, CA 90407
 171 Jones Lang LaSalle      7701 West Interstate 40 #160                Amarillo Mall LLC                              Corporation Service Company                                  Managing Agent                                                                                               $1,414.70     2/17 Rent & YE adj CAM/Retax/Elec
                             Amarillo, TX 79121-0106                     Attn: Asset Manager/Westgate Mall              Registered Agent for Amarillo Mall LLC                       Attn: Counsel/Westgate Mall
                                                                         B.F. Amarillo Fund, L.P.                       2711 Centerville Rd, Ste. 400                                3500 Piedmont Road NE, Ste. 600
                                                                         c/o Lend Lease Real Estate Investments, Inc.   Wilmington, DE 19808                                         Atlanta, GA 30305
                                                                         3424 Peachtree Rd, NE, Ste. 400
                                                                         Atlanta, GA 30326
 173 Jones Lang LaSalle      4001 Sunset Dr #1102                        Sunset Mall SPE, LP                            National Registered Agents, Inc.                             Sunset Mall SPE, LP                           Sunset Mall SPE, LP                                            $5,194.81     2/17 Rent
                             San Angelo, TX 76904-5655                   c/o Radiant Partners, LLC                      Registered Agent for Sunset Mall SPE, LP                     c/o Jones Lang LaSalle Management Services,   Attn: General Manager
                                                                         145 West 45th Street, 10th Floor               160 Greentree Dr, Ste. 101                                   Inc.                                          4001 Sunset Drive, Ste. 1182
                                                                         New York, NY 10036                             Dover, DE 19904                                              3344 Peachtree Road NE, Ste. 1200             San Angelo, TX 76904
                                                                                                                                                                                     Atlanta, GA 30326
 174 CBL                     6155 Eastex Freeway, Space 266              Parkdale Mall CMBS, LLC                        Corporation Service Company                                                                                                                                              $15,330.94     2/17 Rent
                             Beaumont, TX 77706-6797                     CBL & Associates Management, Inc.              Registered Agent for Parkdale Mall CMBS, LLC
                                                                         2030 Hamilton Place Boulevard                  2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                          Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 176 Simon                   4511 N. Midkiff Drive #E03                  Midland Park Mall, L.P.                        The Corporation Trust Company                                                                                                                                             ($151.25)     2016 ReTax Adj; 1/17 Rent Adj
                             Midland, TX 79705                           M.S. Management Associates Inc.                Registered Agent for Midland Park Mall, L.P.
                                                                         225 West Washington Street                     1209 Orange St
                                                                         Indianapolis, IN 46204-3438                    Corporation Trust Center
                                                                                                                        Wilmington, DE 19801
 177 Simon                   Firewheel Town Center, 255 Cedar Sage Dr.   Simon Property Group (Texas), L.P.             CT Corporation System                                                                                      Leslie C. Heilman                                                  $0.00
                             Garland, TX 75040                           c/o M.S. Management Associates Inc.            Registered for Simon Property Group (Texas), L.P.                                                          Ballard Spahr, LLP
                                                                         225 West Washington Street                     1999 Bryan St, Ste. 900                                                                                    2029 Century Park East, Suite 800
                                                                         Indianapolis, IN 46204-3438                    Dallas, TX 75201-3136                                                                                      Los Angeles, CA 90067-2909

                                                                                                                                                                                                                                   Ronald M. Tuckler
                                                                                                                                                                                                                                   Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                   225 W. Washington St.
                                                                                                                                                                                                                                   Indianapolis, IN 46204
 178 Simon                   4601 S Broadway Ave                         Simon Property Group (Texas), L.P.             CT Corporation System                                                                                      Leslie C. Heilman                                                  $0.00
                             Tyler, TX 75703                             c/o M.S. Management Associates Inc.            Registered for Simon Property Group (Texas), L.P.                                                          Ballard Spahr, LLP
                                                                         225 West Washington Street                     1999 Bryan St, Ste. 900                                                                                    2029 Century Park East, Suite 800
                                                                         Indianapolis, IN 46204-3438                    Dallas, TX 75201-3136                                                                                      Los Angeles, CA 90067-2909

                                                                                                                                                                                                                                   Ronald M. Tuckler
                                                                                                                                                                                                                                   Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                   225 W. Washington St.
                                                                                                                                                                                                                                   Indianapolis, IN 46204
 179 WPG                     3500 McCann Rd                              Mall at Longview, LLC                          CT Corporation System                                                                                      Ronald E. Gold                                                 $6,511.32     2/17 Rent
                             Longview, TX 75605                          c/o M.S. Management Associates Inc.            Registered Agent for Mall at Longview, LLC                                                                 Frost Brown Todd LLC
                                                                         225 West Washington Street                     150 West Market Street, Ste. 800                                                                           3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438                    Indianapolis, IN 46204                                                                                     301 E. Fourth St.
                                                                                                                                                                                                                                   Cincinnati, OH 45202
 181 CBL                     223 Monroeville Mall                        CBL/Monroeville, L.P.                          Corporation Service Company                                                                                                                                               $6,629.53     2/17 Rent
                             Monroeville, PA 15146                       CBL & Associates Management, Inc.              Registered Agent for CBL & Associates Management, Inc.
                                                                         2030 Hamilton Place Boulevard                  2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                          Chattanooga, TN 37421-6000
                                                                         Chattanooga, TN 37421-6000




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                                                                                                                                                    VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                                    Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group     Leased Premises                                 Landlord Name and Address                        Registered Agent and Address                               Notice Address                              Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                                   Amount
 183     WPG                100 Grand Central Mall                          Grand Central Parkersburg LLC                    The Corporation Trust Company                                                                          Ronald E. Gold                                                  $8,830.33    2/17 Rent; 1/17-2/17 Elec
                            Parkersburg, WV 26105                           Attn: General Counsel                            Registered Agent for Grand Central Parkersburg LLC                                                     Frost Brown Todd LLC
                                                                            180 East Broad St., 21st Floor                   1209 Orange St                                                                                         3300 Great American Tower
                                                                            Columbus, OH 43215                               Corporation Trust Center                                                                               301 E. Fourth St.
                                                                                                                             Wilmington, DE 19801                                                                                   Cincinnati, OH 45202
 184 WPG                    9317 Mall Road, Space #317                      Morgantown Mall Associates Limited Partnership   CT Corporation System                                                                                  Ronald E. Gold                                                $14,038.23     2/17 Rent
                            Morgantown, WV 26501                            Attn: General Counsel                            Registered Agent for Morgantown Mall Associates Limited                                                Frost Brown Todd LLC
                                                                            180 East Broad Street, 21st Floor                Partnership                                                                                            3300 Great American Tower
                                                                            Columbus, OH 43215                               1300 East Ninth Street                                                                                 301 E. Fourth St.
                                                                                                                             Cleveland, OH 44114                                                                                    Cincinnati, OH 45202
 185 Wilmorite             701 Miracle Mile Drive                           The Marketplace                                                                                                                                                                                                        $5,575.00     2/17 Rent; 2016 Water Adj
         Management Group, Rochester, NY 14623                              Attn: General Counsel
         LLC                                                                1265 Scottsville Road
                                                                            Rochester, NY 14624
 190 J Herzog               4125 West Garriot Road I F-2                    Oakwood Mall 2001, LLC                           Martin H. Herzog                                                                                                                                                      $3,242.68     2/17 Rent
                            Enid, OK 73703-4816                             Attn: Mall Manager                               Registered Agent for Oakwood Mall 2001, LLC
                                                                            4125 West Owen K Garriott Rd, Ste 2000           1720 S Bellaire St., Ste. 1209
                                                                            Enid, OK 73703                                   Denver, CO 80222-4336
 195                        1901 NW Expressway, Suite 2006A        Oklahoma Penn Square Mall, LLC                            The Corporation Trust Company                                                                                                                                           $267.81     2016 ReTax Adj
                            City, OK 73118                                  c/o M.S. Management Associates Inc.              Registered Agent for Penn Square Mall, LLC
                                                                            225 West Washington Street                       1209 Orange St
                                                                            Indianapolis, IN 46204-3438                      Corporation Trust Center
                                                                                                                             Wilmington, DE 19801
 199 Simon                  7021 South Memorial Drive, Suite 221            Woodland Hills Mall, LLC                         The Corporation Trust Company                                                                          Leslie C. Heilman                                              $9,505.23     2/17 Rent; 2016 ReTax adj; 8/15-12/16
                            Tulsa, OK 74133                                 c/o M.S. Management Associates Inc.              Registered Agent for Woodland Hills Mall, LLC                                                          Ballard Spahr, LLP                                                           Elec Adj
                                                                            225 West Washington Street                       1209 Orange St                                                                                         2029 Century Park East, Suite 800
                                                                            Indianapolis, IN 46204-3438                      Corporation Trust Center                                                                               Los Angeles, CA 90067-2909
                                                                                                                             Wilmington, DE 19801
                                                                                                                                                                                                                                    Ronald M. Tuckler
                                                                                                                                                                                                                                    Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                    225 W. Washington St.
                                                                                                                                                                                                                                    Indianapolis, IN 46204
 202 Simon                  2501 West Wabash Ave., Space E-11               Mall at White Oaks, LLC                          The Corporation Trust Company                                                                          Leslie C. Heilman                                              $9,401.93     2/17 Rent
                            Springfield, IL 62704                           c/o M.S. Management Associates Inc.              Registered Agent for Mall at White Oaks, LLC                                                           Ballard Spahr, LLP
                                                                            225 West Washington Street                       1209 Orange St                                                                                         2029 Century Park East, Suite 800
                                                                            Indianapolis, IN 46204-3438                      Corporation Trust Center                                                                               Los Angeles, CA 90067-2909
                                                                                                                             Wilmington, DE 19801
                                                                                                                                                                                                                                    Ronald M. Tuckler
                                                                                                                                                                                                                                    Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                                    225 W. Washington St.
                                                                                                                                                                                                                                    Indianapolis, IN 46204
 203 WPG                    2200 W War Memorial Dr, Space DL07              Northwoods Shopping Center, LLC                  CT Corporation System                                                                                  Ronald E. Gold                                                 $8,342.97     2/17 Rent
                            Peoria, IL 61613                                c/o M.S. Management Associates Inc.              Registered Agent for Northwoods Shopping Center, LLC                                                   Frost Brown Todd LLC
                                                                            225 West Washington Street                       150 West Market Street, Ste. 800                                                                       3300 Great American Tower
                                                                            Indianapolis, IN 46204-3438                      Indianapolis, IN 46204                                                                                 301 E. Fourth St.
                                                                                                                                                                                                                                    Cincinnati, OH 45202
 207 CBL                    Brookfield Square, 95 N. Moorland Rd Space #D2 Brookfield Square Joint Venture                   Brookfield Square Joint Venture                                                                                                                                       $5,833.33     2/17 Rent
                            Brookfield, WI 53005                           CBL & Associates Management, Inc.                 Registered Agent
                                                                           2030 Hamilton Place Boulevard                     2030 Hamilton Place Boulevard
                                                                           CBL Center, Suite 500                             CBL Center, Ste. 500
                                                                           Chattanooga, TN 37421-6000                        Chattanooga, TN 37421
 209 Rouse Properties       3000 East Highland, Suite 602                   RPI Turtle Creek Mall, LLC                       Corporation Service Company                                RPI Turtle Creek Mall, LLC                  RPI Turtle Creek Mall, LLC                                    $10,001.51     2/17 Rent; 2015 ReTax/Ins Adj
                            Jonesboro, AR 72401                             Attn: General Counsel                            Registered Agent for RPI Turtle Creek Mall, LLC                                                        Attn: General Manager
                                                                            1114 Ave of the Americas, Ste. 2800              2711 Centerville Rd, Ste. 400                              PO Box 643614                               3000E Highland Dr, #200
                                                                            New York, NY 10036                               Wilmington, DE 19808                                       Cincinnati, OH 45264-3614                   Jonesboro, GA 72401
 210 Jones Lang LaSalle     5111 Rogers Ave. Box 40A                        Fort Smith Mall LLC                              The Corporation Trust Company                              Jones Lang LaSalle Americas, Inc.                                                                         $11,299.31     2/17 Rent
                            Fort Smith, AR 72903-2033                       c/o Gregory Greenfield & Associates              Registered Agent for Fort Smith Mall LLC                   Attn: Counsel - Central Mall (Fort Smith)
                                                                            Attn: Asset Manager/ Central Mall (Fort Smith)   1209 Orange St                                             3344 Peachtree Road, NE, Ste. 1200
                                                                            124 Johnson Ferry Rd                             Corporation Trust Center                                   Atlanta, GA 30326
                                                                            Atlanta, GA 30328                                Wilmington, DE 19801
 212 WPG                    2625 Northtown Drive, Space H-20                Glimcher Northtown Venture, LLC                  REJECTED SERVICES OF PROCESS                                                                           Ronald E. Gold                                                $14,019.07     1/17 Elec; 2/17 Rent
                            Blaine, MN 55434                                180 East Broad Street, 21st Floor                (Not on their records.)                                                                                Frost Brown Todd LLC
                                                                            Columbus, OH 43215                               The Corporation Trust Company                                                                          3300 Great American Tower
                                                                                                                             Registered Agent for Gliimcher Northtown Venture, LLC                                                  301 E. Fourth St.
                                                                                                                             1209 Orange St                                                                                         Cincinnati, OH 45202
                                                                                                                             Corporation Trust Center
                                                                                                                             Wilmington, DE 19801
 213 CBL                    1178 Burnsville Center, Space 1080              Burnsville Center SPE, LLC                       Corporation Service Company                                                                                                                                           $6,400.28     2/17 Rent
                            Burnsville, MN 55306                            CBL & Associates Management, Inc.                Registered Agent for Burnsville Center SPE, LLC
                                                                            2030 Hamilton Place Boulevard                    2711 Centerville Rd, Ste. 400
                                                                            CBL Center, Suite 500                            Wilmington, DE 19808
                                                                            Chattanooga, TN 37421-6000




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                                                                                                                                                        VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                                          Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group   Leased Premises                                Landlord Name and Address                              Registered Agent and Address                                  Notice Address                   Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                              Amount
 214     Dial             2918 Vine Street, Space 270                    Hays Mall, L.L.C., successor in interest to Warmack-   Hays Mall LLC                                                 Hays Mall, LLC                                                                                   $6,028.63    2/17 Rent; 11/16-1/17 Rent Adj
                          Hays, KS 67601                                 Rogers Avenue Limited Partnership                      Registered Agent                                              Asset Manager
                                                                         Warmack-Rogers Avenue Limited Partnership              2918 Vine Street                                              11506 Nicholas Street, Ste 100
                                                                         c/o Warmack and Company, LLC                           Hays, KS 67601                                                Omaha, NE 68154
                                                                         650 Central Mall
                                                                         Texarkana, TX 75503-2497
 217 GGP                  410 Four Seasons Blvd, Space #146              GGP-Four Seasons L.L.C.                                Corporation Service Company                                   Four Seasons Town Centre         Thor McLaughlin                                                $8,151.08     2/17 Rent; 1/17 HVAC Adj; 9/16 Adj
                          Greensboro, NC 27427                           Attn: Law/Lease Administration Dept                    Registered Agent for GGP-Four Seasons L.L.C.                  Attn: General Manager            Ivan M. Gold
                                                                         c/o Four Seasons Town Centre                           2711 Centerville Rd, Ste. 400                                 410 Four Seasons Town Centre     Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                         110 N Wacker Dr.                                       Wilmington, DE 19808                                          Greensboro, NC 27427             Three Embarcadero Center, 12th Floor
                                                                         Chicago, IL 60606                                                                                                                                     San Francisco, CA 94111-4074
 218 CBL                  Asheville Mall, 3 S Tunnel Road                Asheville Mall CMBS, LLC                               Corporation Service Company                                                                                                                                   $4,958.33     2/17 Rent
                          Asheville, NC 28805                            CBL & Associates Management, Inc.                      Registered Agent for Asheville Mall CMBS, LLC
                                                                         2030 Hamilton Place Boulevard                          2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                                  Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 219 CBL                  Hanes Mall, 3320 Silas Creek Parkway           JG Winston-Salem, LLC                                  Corporation Service Company                                                                                                                                   $8,496.08     2/17 Rent; 10/16-2/17 Wtr/Swr
                          Winston-Salem, NC 27103                        CBL & Associates Management, Inc.                      Registered Agent for JG Winston-Salem, LLC
                                                                         2030 Hamilton Place Boulevard                          50 West Broad Street, Ste. 1330
                                                                         CBL Center, Suite 500                                  Columbus, OH 43215
                                                                         Chattanooga, TN 37421-6000
 220 GGP                  658 Apache Mall Space 220                      Apache Mall, LLC                                       Corporation Service Company                                   Apache Mall                      Thor McLaughlin                                               $22,684.06     2/17 Rent & YE adj CAM/Retax/Elec
                          Rochester, MN 55902                            Attn: Law/Lease Administration Department              Registered Agent for Apache Mall, LLC                         Attn: General Manager            Ivan M. Gold
                                                                         c/o Apache Mall                                        2711 Centerville Rd, Ste. 400                                 333 Apache Mall, Ste. 333        Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                         110 N Wacker Dr.                                       Wilmington, DE 19808                                          Rochester, MN 55902              Three Embarcadero Center, 12th Floor
                                                                         Chicago, IL 60606                                                                                                                                     San Francisco, CA 94111-4074
 221 GGP                  3301 144th St. S., Suite 1025                  Oak View Mall L.L.C.                                   Corporation Service Company                                   Oak View Mall                    Thor McLaughlin                                               $10,017.80     2/17 Rent
                          Omaha, NE 68144                                Attn: Law/Lease Administrative Dept                    Registered Agent for Oak View Mall L.L.C.                     Attn: General Manager            Ivan M. Gold
                                                                         c/o Oak View Mall                                      2711 Centerville Rd, Ste. 400                                 3001 South 144th St, Ste. 2029   Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                         110 Wacker Dr.                                         Wilmington, DE 19808                                          Omaha, NE 68144                  Three Embarcadero Center, 12th Floor
                                                                         Chicago, IL 60606                                                                                                                                     San Francisco, CA 94111-4074
 223 Birchwood Mall,      4350 24th Ave                                  Birchwood Mall, LLC                                    CSC-Lawyers Incorporating Service (Company)                                                    Birchwood Mall                                                 $4,200.52     2/17 Rent
         LLC              Fort Gratiot, MI 48059                         ATTN: General Counsel                                  601 Abbot Road                                                                                 ATTN: General Manager
                                                                         1114 Avenue of the Americas, Suite 2800                East Lansing, MI 48823                                                                         4350 24th Avenue
                                                                         New York, NY 10036                                                                                                                                    PO Box 4350
                                                                                                                                                                                                                               Fort Gratiot, MI 48059
 226 WPG                  2033 Maplewood Mall Dr                         Maplewood Mall, LLC                                    CT Corporation System                                                                          Ronald E. Gold                                                $12,379.93     2/17 Rent
                          Maplewood, MN 55109                            c/o M.S. Management Associates Inc.                    Registered Agent for Maplewood Mall, LLC                                                       Frost Brown Todd LLC
                                                                         225 West Washington Street                             150 West Market Street, Ste. 800                                                               3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438                            Indianapolis, IN 46204                                                                         301 E. Fourth St.
                                                                                                                                                                                                                               Cincinnati, OH 45202
 230 Simon                2825 Glenstone Avenue E04C                     Battlefield Mall, LLC                                  The Corporation Trust Company                                                                  Leslie C. Heilman                                             $15,403.42     2/17 Rent; 2016 ReTax Adj
                          Springfield, MO 65804-3723                     c/o M.S. Management Associates Inc.                    Registered Agent for Battlefield Mall, LLC                                                     Ballard Spahr, LLP
                                                                         225 West Washington Street                             1209 Orange St                                                                                 2029 Century Park East, Suite 800
                                                                         Indianapolis, IN 46204-3438                            Corporation Trust Center                                                                       Los Angeles, CA 90067-2909
                                                                                                                                Wilmington, DE 19801
                                                                                                                                                                                                                               Ronald M. Tuckler
                                                                                                                                                                                                                               Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                               225 W. Washington St.
                                                                                                                                                                                                                               Indianapolis, IN 46204
 232 GGP                  Columbia Mall, 2300 Bernadette Dr, Ste. #318   Columbia Mall L.L.C.                                   Corporation Service Company                                   Columbia Mall (MO)               Thor McLaughlin                                                $6,667.50     2/17 Rent; 1/17 rent credit; 10/16 Const
                          Columbia, MO 65203                             Attn: Law/Lease Administrative Dept                    Registered Agent for Columbia Mall L.L.C.                     Attn: General Manager            Ivan M. Gold                                                                 util; 2016 Retax adj
                                                                         c/o Columbia Mall (MO)                                 2711 Centerville Rd, Ste. 400                                 2300 Bernadette Dr.              Allen Matkins Leck Gamble Mallory & Natsis LLP
                                                                         110 N Wacker Dr.                                       Wilmington, DE 19808                                          Columbia, MO 65203               Three Embarcadero Center, 12th Floor
                                                                         Chicago, IL 60606                                                                                                                                     San Francisco, CA 94111-4074
 233 MD Management,       3702 Frederick Ave #22                         Belt Highway, L.P.                                     The Corporation Trust Company                                 East Hills Mall                                                                                 $6,602.77     2/17 Merchant Dues; 2/17 Rent
         Inc.             St. Joseph, MO 64506                           Law Department                                         Registered Agent for Belt Highway, L.P.                       c/o Management Office
                                                                         c/o M.D. Management, Inc                               1209 Orange St                                                3702 Frederick Blvd
                                                                         5201 Johnson Drive, Ste. 411                           Corporation Trust Center                                      St. Joseph, MO 64506
                                                                         Mission, KS 66205                                      Wilmington, DE 19801
 234 CBL                  1010 Mid Rivers Mall                           Mid Rivers Mall CMBS, LLC                              Corporation Service Company                                                                                                                                   $4,770.25     2/17 Rent
                          St. Peters, MO 63376                           CBL & Associates Management, Inc.                      Registered Agent for Mid River Mall CMBS, LLC
                                                                         2030 Hamilton Place Boulevard                          2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                                  Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 235 CBL                  South County Center, 415 S County Center Way   South County Shoppingtown LLC                          Corporation Service Company                                                                                                                                  $10,794.70     2/17 Rent
                          St. Louis, MO 63129                            CBL & Associates Management, Inc.                      Registered Agent for South County Shoppingtown LLC
                                                                         2030 Hamilton Place Boulevard                          2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                                  Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 236 CBL                  101 North Range Line Space 230                 Northpark Mall/Joplin, LLC                             Corporation Service Company                                                                                                                                  $12,711.74     2/17 Rent
                          Joplin, MO 64801                               CBL & Associates Management, Inc.                      Registered Agent for Northpark Mall/Joplin, LLC
                                                                         2030 Hamilton Place Boulevard                          2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                                  Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000




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                                                                                                                                         VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                                          Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group       Leased Premises                            Landlord Name and Address                Registered Agent and Address                                Notice Address                     Additional Notice                                   Prepetition Debt      Description of Prepetition Debt
  No.                                                                                                                                                                                                                                                                Amount
 244     Lexington Realty     1110 N Quincy Ave Box 18, Space #2         Quincy Place Holdings LLC                Registered Agent Solutions, Inc.                            Quincy Place Holdings, LLC                                                                         $3,726.11    2/17 Rent
         International, LLC   Ottumwa, IA 52501                          c/o GJ Realty                            Registered Agent for Quincy Place Holdings LLC              c/o Lexington Realty
                                                                         49 West 37th St, 9th Floor               1679 S Dupont Hwy, Ste. 100                                 911 East County Line Rd, Ste 203
                                                                         New York, NY 10018-6257                  Dover, DE 19901                                             Lakewood, NJ 08701
 245 Watson Centers Inc. West Des Moines, IA                             Valley West Mall, LLC                    National Registered Agents, Inc.                                                                                                                              $7,633.33     2/17 Rent
                                                                         3100 West Lake St, Ste. 420              Registered Agent for Valley West Mall, LLC
                                                                         Minneapolis, MN 55416-4599               160 Greentree Dr, Ste. 101
                                                                                                                  Dover, DE 19904
 249 CBL                      Independence Center                        Oak Park Mall, LLC                       Corporation Service Company                                                                                                                                       $0.00
                              18813 East 39th St S #2048                 CBL & Associates Management, Inc.        Registered Agent for Oak Park Mall, LLC
                              Independence (Overland Park), KS 64057     2030 Hamilton Place Boulevard            2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                    Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 250 Garden City Plaza        2214 E Kansas Ave                          Garden City Plaza, LLC                   Hays Mall LLC                                                                                                                                                 $4,849.13     2/17 Rent
         LLC                  Garden City, KS 67846                      The RBS Group LLC                        Registered Agent for Garden City Plaza, LLC
                                                                         PO Box 540523                            2918 Vine St
                                                                         Omaha, NE 68154                          Hays, KS 67601
 251 Urban Retail             2259 South 9th Street, #26                 Central Mall Realty Holding, LLC         DSD Service Corporation                                                                                                                                       $7,719.11     2/17 Rent
         Properties           Salina, KS 67401-7313                      1010 Northern Blvd, Suite 212            Registered Agent for Central Mall
                                                                         Great Neck, NY 11021                     Realty Holding, LLC
                                                                         Overland Park, KS 66210                  11040 Oakmont
                                                                                                                  Overland Park, KS 66210
 254 Urban Retail             100 Manhattan Town Center, Space 685       Urbancal Manhattan Town Center, LLC      The Corporation Trust Company                               Manhattan Town Center                                                                            $11,886.89     2/17 Rent
         Properties           Manhattan, KS 66502                        Attn: Chief Executive Officer            Registered Agent for Urbancal Manhattan Town Center,        Attn: Property Manager
                                                                         111 East Wacker Dr., Ste. 2400           LLC                                                         100 Manhattan Town Center
                                                                         Chicago, IL 60601                        1209 Orange St                                              Manhattan, KS 66502
                                                                                                                  Corporation Trust Center
                                                                                                                  Wilmington, DE 19801
 255 WPG                      1801 SW Wanamaker Rd                       West Ridge Mall, LLC                     The Corporation Trust Company                                                                  Ronald E. Gold                                                 $8,034.18     2/17 Rent
                              Topeka, KS 66604                           c/o M.S. Management Associates Inc.      Registered Agent for West Ridge Mall, LLC                                                      Frost Brown Todd LLC
                                                                         225 West Washington St                   1209 Orange St                                                                                 3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438              Corporation Trust Center                                                                       301 E. Fourth St.
                                                                                                                  Wilmington, DE 19801                                                                           Cincinnati, OH 45202
 271 CBL                      3401 South Highway 41, Space J-7           Honey Creek Mall, LLC                    Corporation Service Company                                                                    Caleb T. Holzaepfel                                           $15,739.89     2/17 Rent; 10/16-12/16 % Rent
                              Terra Haute, IN 47802                      CBL & Associates Management, Inc.        Registered Agent for Honey Creek Mall, LLC                                                     Husch Blackwell LLP
                                                                         2030 Hamilton Place Boulevard            135 North Pennsylvania St, Ste, 1610                                                           736 Georgia Ave., Suite 300
                                                                         CBL Center, Suite 500                    Indianapolis, IN 46204                                                                         Chattanooga, TN 37402-2059
                                                                         Chattanooga, TN 37421-6000
 272 Simon                    2415 Sagamore Pkwy S, Space #C01           Simon Property Group, L.P.               REJECTED SERVICE OF PROCESS                                                                    Leslie C. Heilman                                             $13,641.23     2/17 Rent; 1/17 % Rent; 2/17 Trash Adj
                              Lafayette, IN 47905-5124                   c/o M.S. Management Associates Inc.      (Not the registered agent)                                                                     Ballard Spahr, LLP
                                                                         225 West Washington Street               Corporation Service Company                                                                    2029 Century Park East, Suite 800
                                                                         Indianapolis, IN 46204-3438              Registered Agent for Simon Property Group, LP                                                  Los Angeles, CA 90067-2909
                                                                                                                  2711 Centerville Rd, Ste. 400
                                                                                                                  Wilmington, DE 19808                                                                           Ronald M. Tuckler
                                                                                                                                                                                                                 Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                                                 225 W. Washington St.
                                                                                                                                                                                                                 Indianapolis, IN 46204
 275 Cafaro                   2121 N. Monroe St, Space #565              Frenchtown Square Partnership            Frenchtown Square Partnership                                                                  Richard T. Davis                                              $27,207.26     2/17 Rent; 1/17-2/17 % Rent; 1/17
                              Monroe, MI 48162                           2445 Belmont Ave                         Registered Agent                                                                               The Cafaro Company                                                           Security
                                                                         PO Box 2186                              5577 Youngstown-Warren Rd                                                                      5577 Youngstown-Warren Rd.
                                                                         Youngstown, OH 44504-0186                Niles, OH 44446                                                                                Niles, OH 44446
 276 Spinoso Real Estate 3365 South Linden Road, Space 570               LSREF3 Spartan (Genesee), LLC            The Corporation Trust Company                               Hudson Americas LLC                Spinoso Real Estate Group                                     $10,288.11     1/17-2/17 % Rent; 1/17-2/17
         Group                Flint, MI 48507                            Attention Asset Manager                  Registered Agent for LSREF3 Spartan (Genesse), LLC          Attn: Legal Dept.                  100 Northern Concourse North                                                 Swr/Wtr/Elec/HVAC
                                                                         2711 N. Haskell Ave, Ste. 1700           1209 Orange St                                              2711 N Haskell Ave, Ste. 1800      Syracuse, NY 13212
                                                                         Dallas, TX 75204                         Corporation Trust Center                                    Dallas, TX 75204
                                                                                                                  Wilmington, DE 19801                                                                           Genesee Valley Center
                                                                                                                                                                                                                 G-3341 South Linden Road
                                                                                                                                                                                                                 Flint, MI 48507
 277 Farbman                  6800 Eastman Ave E552                      Midland Mall LLC                         Corporation Service Company                                                                                                                                   $7,757.44     1/17-2/17 % Rent; 1/17 Elec
                              Midland, MI 48642                          CBL & Associates Management, Inc.        Registered Agent for Midland Mall LLC
                                                                         2030 Hamilton Place Boulevard            2711 Centerville Rd, Ste. 400
                                                                         CBL Center, Suite 500                    Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 285 CBL                      South County Center                        South County Shoppingtown, LLC           Corporation Service Company                                                                                                                                       $0.00
                              18 South County Center Way                 CBL & Associates Management, Inc.        Registered Agent for South County Shoppingtown LLC
                              Mehlville, MO 63129                        CBL Center, Suite 500                    2711 Centerville Road, Suite 400
                                                                         2030 Hamilton Place Boulevard            Wilmington, DE 19808
                                                                         Chattanooga, TN 37421-6000
 286 WPG                      Southdale Center                           Southdale Center, LLC                    The Corporation Trust Company                                                                  Ronald E. Gold                                                     $0.00
                              10 Southdale Center                        c/o M.S. Management Associates Inc.      Registered Agent for Southdale Center, LLC                                                     Frost Brown Todd LLC
                              Edina, MN 55435                            225 West Washington Street               1209 Orange St                                                                                 3300 Great American Tower
                                                                         Indianapolis, IN 46204-3438              Corporation Trust Center                                                                       301 E. Fourth St.
                                                                                                                  Wilmington, DE 19801                                                                           Cincinnati, OH 45202




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                                                                                                                              VANITY SHOP OF GRAND FORKS, INC.
                                                                                                                                           Case No. 17-30112

Schedules F & G
Store Listings and Landlords
 Store   Landlord Group     Leased Premises                 Landlord Name and Address                Registered Agent and Address                              Notice Address   Additional Notice                                   Prepetition Debt     Description of Prepetition Debt
  No.                                                                                                                                                                                                                               Amount
 287     Simon              Barton Creek Square             Simon Property Group (Texas) , L.P.                                                                                 Leslie C. Heilman                                                  $0.00
                            2901 S Capital of Texas Hwy     c/o M.S. Management Associates Inc.                                                                                 Ballard Spahr, LLP
                            Austin, TX 78746                225 West Washington Street                                                                                          2029 Century Park East, Suite 800
                                                            Indianapolis, IN 46204-3438                                                                                         Los Angeles, CA 90067-2909

                                                                                                                                                                                Ronald M. Tuckler
                                                                                                                                                                                Simon Property Group, Inc. & Its Related Entities
                                                                                                                                                                                225 W. Washington St.
                                                                                                                                                                                Indianapolis, IN 46204
 288     WPG                Penn Square Mall                Penn Square Mall, LLC                    The Corporation Trust Company                                              Ronald E. Gold                                                     $0.00
                            1901 Northwest Expressway       c/o M.S. Management Associates Inc.      Registered Agent for Penn Square Mall, LLC                                 Frost Brown Todd LLC
                            Oklahoma City, OK 73118         225 West Washington Street               1209 Orange St                                                             3300 Great American Tower
                                                            Indianapolis, IN 46204-3438              Corporation Trust Center                                                   301 E. Fourth St.
                                                                                                     Wilmington, DE 19801                                                       Cincinnati, OH 45202
 297     Barrier Lake       E-Commerce, ND                  Vanity, Inc.                             CT Corporation System                                                                                                                     $3,142.36     Real Estate Taxes for 1/2 year
         Investments, LLC                                   1001 N 25th St                           Registered Agent for Vanity, Inc.
                                                            Fargo, ND 58102                          314 E Thayer Ave
                                                                                                     Bismarck, ND 58501-4018
                                                                                                                                                                                                                                           $1,332,783.47




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